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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                    )
 In re:                                                             )   Chapter 11
                                                                    )
 THE GREAT ATLANTIC & PACIFIC TEA                                   )   Case No. 10-24549 (RDD)
 COMPANY, INC., et al.1                                             )
                                                                    )
                                       Debtors.                     )   Jointly Administered
                                                                    )

                        DEBTORS’ DISCLOSURE STATEMENT FOR THE
                   DEBTORS’ JOINT PLAN OF REORGANIZATION PURSUANT
                  TO CHAPTER 11 OF THE UNITED STATES BANKRUPTCY CODE

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 Counsel to the Debtors and Debtors in Possession
 Dated: December 19, 2011




 1        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
          number, are: The Great Atlantic & Pacific Tea Company, Inc. (0974); 2008 Broadway, Inc. (0986); AAL Realty
          Corporation (3152); Adbrett Corporation (5661); Amsterdam Trucking Corporation (1165); APW Supermarket
          Corporation (7132); APW Supermarkets, Inc. (9509); Bergen Street Pathmark, Inc. (1604); Best Cellars DC Inc.
          (2895); Best Cellars Inc. (9550); Best Cellars Licensing Corp. (2896); Best Cellars Massachusetts, Inc. (8624); Best
          Cellars VA Inc. (1720); Bev, Ltd. (9046); Borman’s Inc. (9761); Bridge Stuart, Inc. (8652); Clay-Park Realty Co., Inc.
          (0902); Compass Foods, Inc. (0653); East Brunswick Stuart, LLC (9149); Farmer Jack’s of Ohio, Inc. (5542); Food
          Basics, Inc.(1210); Gramatan Foodtown Corp. (5549); Grape Finds At DuPont, Inc. (9455); Grape Finds Licensing
          Corp. (7091); Grapefinds, Inc. (4053); Greenlawn Land Development Corp. (7062); Hopelawn Property I, Inc. (6590);
          Kohl’s Food Stores, Inc. (2508); Kwik Save Inc. (8636); Lancaster Pike Stuart, LLC (9158); LBRO Realty, Inc.
          (1125); Lo-Lo Discount Stores, Inc. (8662); Mac Dade Boulevard Stuart, LLC (9155); McLean Avenue Plaza Corp.
          (5227); Milik Service Company, LLC (0668); Montvale Holdings, Inc. (6664); North Jersey Properties, Inc. VI (6586);
          Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge, LLC (5965); SEG Stores, Inc. (4940); Shopwell, Inc.
          (3304); Shopwell, Inc. (1281); Spring Lane Produce Corp. (5080); Super Fresh/Sav-A-Center, Inc. (0228); Super Fresh
          Food Markets, Inc. (2491); Super Market Service Corp. (5014); Super Plus Food Warehouse, Inc. (9532);
          Supermarkets Oil Company, Inc. (4367); The Food Emporium, Inc. (3242); The Old Wine Emporium of Westport, Inc.
          (0724); The South Dakota Great Atlantic & Pacific Tea Company, Inc (4647); Tradewell Foods of Conn., Inc. (5748);
          Upper Darby Stuart, LLC (9153); and Waldbaum, Inc. (8599). The location of the Debtors’ corporate headquarters is
          Two Paragon Drive, Montvale, New Jersey 07645.



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                Bankruptcy Code

Exhibit B       Approved Disclosure Statement Order

Exhibit C       The Reorganized Debtors’ Financial Projections

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                                    DISCLAIMER

       THE DISCLOSURE STATEMENT CONTAINS SUMMARIES OF CERTAIN PROVISIONS
 OF THE DEBTORS’ PLAN (AS DEFINED HEREIN) AND CERTAIN OTHER DOCUMENTS AND
 FINANCIAL INFORMATION.     THE INFORMATION INCLUDED IN THE DISCLOSURE
 STATEMENT IS PROVIDED FOR THE PURPOSE OF SOLICITING ACCEPTANCES OF THE
 PLAN AND SHOULD NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO
 DETERMINE WHETHER AND HOW TO VOTE ON THE PLAN. THE DEBTORS BELIEVE THAT
 THESE SUMMARIES ARE FAIR AND ACCURATE. THE SUMMARIES OF THE FINANCIAL
 INFORMATION AND THE DOCUMENTS WHICH ARE ATTACHED TO, OR INCORPORATED
 BY REFERENCE IN, THE DISCLOSURE STATEMENT ARE QUALIFIED IN THEIR ENTIRETY
 BY REFERENCE TO SUCH INFORMATION AND DOCUMENTS. IN THE EVENT OF ANY
 INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION IN THE DISCLOSURE
 STATEMENT OR THE OTHER DOCUMENTS AND FINANCIAL INFORMATION AND THE
 TERMS AND PROVISIONS OF THE PLAN REFERENCED IN THE DISCLOSURE STATEMENT,
 THE PLAN OR THE OTHER DOCUMENTS AND FINANCIAL INFORMATION, AS THE CASE
 MAY BE, SHALL GOVERN FOR ALL PURPOSES.

       THE STATEMENTS AND FINANCIAL INFORMATION CONTAINED IN THE
 DISCLOSURE STATEMENT HAVE BEEN MADE AS OF THE DATE OF THE DISCLOSURE
 STATEMENT UNLESS OTHERWISE SPECIFIED. HOLDERS OF CLAIMS AND INTERESTS
 REVIEWING THE DISCLOSURE STATEMENT SHOULD NOT ASSUME AT THE TIME OF SUCH
 REVIEW THAT THERE HAVE BEEN NO CHANGES IN THE FACTS SET FORTH IN THE
 DISCLOSURE STATEMENT SINCE THE DATE OF THE DISCLOSURE STATEMENT. EACH
 HOLDER OF A CLAIM ENTITLED TO VOTE ON THE PLAN SHOULD CAREFULLY REVIEW
 THE PLAN, THE DISCLOSURE STATEMENT, AND THE PLAN SUPPLEMENT IN THEIR
 ENTIRETY BEFORE CASTING A BALLOT. THE DISCLOSURE STATEMENT DOES NOT
 CONSTITUTE LEGAL, BUSINESS, FINANCIAL, OR TAX ADVICE. ANY ENTITIES DESIRING
 ANY SUCH ADVICE SHOULD CONSULT WITH THEIR OWN ADVISORS.

       NO ONE IS AUTHORIZED TO PROVIDE ANY INFORMATION WITH RESPECT TO THE
 PLAN OTHER THAN THAT WHICH IS CONTAINED IN THE DISCLOSURE STATEMENT. NO
 REPRESENTATIONS CONCERNING THE DEBTORS OR THE VALUE OF THEIR PROPERTY
 HAVE BEEN AUTHORIZED BY THE DEBTORS OTHER THAN AS SET FORTH IN THE
 DISCLOSURE STATEMENT AND THE DOCUMENTS ATTACHED TO THE DISCLOSURE
 STATEMENT. ANY INFORMATION, REPRESENTATIONS, OR INDUCEMENTS MADE TO
 OBTAIN AN ACCEPTANCE OF THE PLAN WHICH ARE OTHER THAN AS SET FORTH IN, OR
 INCONSISTENT WITH, THE INFORMATION CONTAINED IN THE DISCLOSURE STATEMENT,
 THE DOCUMENTS ATTACHED TO THE DISCLOSURE STATEMENT, AND THE PLAN SHOULD
 NOT BE RELIED UPON BY ANY HOLDER OF A CLAIM OR INTEREST.

       WITH RESPECT TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND
 OTHER PENDING, THREATENED, OR POTENTIAL LITIGATION OR OTHER ACTIONS, THE
 DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE CONSTRUED AS,
 AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER, BUT RATHER AS A
 STATEMENT MADE IN THE CONTEXT OF SETTLEMENT NEGOTIATIONS PURSUANT TO
 RULE 408 OF THE FEDERAL RULES OF EVIDENCE.

      THE SECURITIES DESCRIBED IN THE DISCLOSURE STATEMENT TO BE ISSUED
 PURSUANT TO THE PLAN WILL BE ISSUED WITHOUT REGISTRATION UNDER THE
 SECURITIES ACT, AS AMENDED, OR ANY SIMILAR FEDERAL, STATE, OR LOCAL LAW,

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 GENERALLY IN RELIANCE ON THE EXEMPTIONS SET FORTH IN SECTION 4(2) OF THE
 SECURITIES ACT AND/OR SECTION 1145 OF THE BANKRUPTCY CODE.

       THE DISCLOSURE STATEMENT HAS NOT BEEN REVIEWED, APPROVED OR
 DISAPPROVED BY THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION, NOR
 HAS THE COMMISSION COMMENTED UPON THE ACCURACY OR ADEQUACY OF THE
 STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT.

       THE FINANCIAL INFORMATION CONTAINED IN OR INCORPORATED BY
 REFERENCE INTO THE DISCLOSURE STATEMENT HAS NOT BEEN AUDITED, EXCEPT AS
 SPECIFICALLY INDICATED OTHERWISE.

      THE FINANCIAL PROJECTIONS, ATTACHED HERETO AS EXHIBIT C AND
 DESCRIBED IN THE DISCLOSURE STATEMENT, HAVE BEEN PREPARED BY THE DEBTORS’
 MANAGEMENT TOGETHER WITH THEIR ADVISORS. THE FINANCIAL PROJECTIONS,
 WHILE PRESENTED WITH NUMERICAL SPECIFICITY, ARE NECESSARILY BASED ON A
 VARIETY OF ESTIMATES AND ASSUMPTIONS WHICH, THOUGH CONSIDERED
 REASONABLE BY THE DEBTORS’ MANAGEMENT AND THEIR ADVISORS, MAY NOT
 ULTIMATELY BE REALIZED, AND ARE INHERENTLY SUBJECT TO SIGNIFICANT BUSINESS,
 ECONOMIC, COMPETITIVE, INDUSTRY, REGULATORY, MARKET, AND FINANCIAL
 UNCERTAINTIES AND CONTINGENCIES, MANY OF WHICH ARE BEYOND THE DEBTORS’
 CONTROL. THE DEBTORS CAUTION THAT NO REPRESENTATIONS CAN BE MADE AS TO
 THE ACCURACY OF THESE PROJECTIONS OR TO THE ABILITY TO ACHIEVE THE
 PROJECTED RESULTS. SOME ASSUMPTIONS INEVITABLY WILL NOT MATERIALIZE.
 FURTHER, EVENTS AND CIRCUMSTANCES OCCURRING SUBSEQUENT TO THE DATE ON
 WHICH THE FINANCIAL PROJECTIONS WERE PREPARED MAY BE DIFFERENT FROM
 THOSE ASSUMED OR, ALTERNATIVELY, MAY HAVE BEEN UNANTICIPATED, AND, THUS,
 THE OCCURRENCE OF THESE EVENTS MAY AFFECT FINANCIAL RESULTS IN A
 MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER. THEREFORE, THE
 FINANCIAL PROJECTIONS MAY NOT BE RELIED UPON AS A GUARANTEE OR OTHER
 ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

       PLEASE REFER TO ARTICLE IX OF THE DISCLOSURE STATEMENT, ENTITLED
 “PLAN-RELATED RISK FACTORS AND ALTERNATIVES TO CONFIRMATION AND
 CONSUMMATION OF THE PLAN” FOR A DISCUSSION OF CERTAIN FACTORS THAT A
 CREDITOR VOTING ON THE PLAN SHOULD CONSIDER.

       FOR A VOTE ON THE PLAN TO BE COUNTED, THE BALLOT INDICATING
 ACCEPTANCE OR REJECTION OF THE PLAN MUST BE RECEIVED BY KURTZMAN CARSON
 CONSULTANTS, LLC, THE DEBTORS’ CLAIMS AGENT (“KCC”) NO LATER THAN 5:00 P.M.
 PREVAILING PACIFIC TIME, ON JANUARY 24, 2012. SUCH BALLOTS SHOULD BE CAST IN
 ACCORDANCE WITH THE SOLICITATION PROCEDURES DESCRIBED IN FURTHER DETAIL
 IN ARTICLE III OF THE DISCLOSURE STATEMENT. ANY BALLOT RECEIVED AFTER THE
 VOTING DEADLINE SHALL NOT BE COUNTED UNLESS OTHERWISE DETERMINED BY THE
 DEBTORS IN THEIR SOLE AND ABSOLUTE DISCRETION.

       THE CONFIRMATION HEARING WILL COMMENCE ON FEBRUARY 6, 2012 AT 10:00
 A.M. PREVAILING EASTERN TIME, BEFORE THE HONORABLE ROBERT D. DRAIN, UNITED
 STATES BANKRUPTCY JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 SOUTHERN DISTRICT OF NEW YORK, 300 QUARROPAS STREET, WHITE PLAINS, NEW
 YORK 10601 (THE “BANKRUPTCY COURT”). THE DEBTORS MAY CONTINUE THE

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 CONFIRMATION HEARING FROM TIME TO TIME WITHOUT FURTHER NOTICE OTHER
 THAN AN ADJOURNMENT ANNOUNCED IN OPEN COURT OR A NOTICE OF ADJOURNMENT
 FILED WITH THE BANKRUPTCY COURT AND SERVED ON THE MASTER SERVICE LIST AND
 THE ENTITIES WHO HAVE FILED AN OBJECTION TO THE PLAN, WITHOUT FURTHER
 NOTICE TO PARTIES IN INTEREST. THE BANKRUPTCY COURT, IN ITS DISCRETION AND
 BEFORE THE CONFIRMATION HEARING, MAY PUT IN PLACE ADDITIONAL PROCEDURES
 GOVERNING THE CONFIRMATION HEARING.        THE PLAN MAY BE MODIFIED, IF
 NECESSARY, PRIOR TO, DURING, OR AS A RESULT OF THE CONFIRMATION HEARING,
 WITHOUT FURTHER NOTICE TO PARTIES IN INTEREST.

       THE PLAN OBJECTION DEADLINE IS JANUARY 24, 2012, AT 4:00 P.M. PREVAILING
 EASTERN TIME. ALL PLAN OBJECTIONS MUST BE FILED WITH THE BANKRUPTCY COURT
 (WITH A CHAMBERS COPY SENT TO THE BANKRUPTCY COURT) AND SERVED ON THE
 DEBTORS AND CERTAIN OTHER PARTIES IN INTEREST IN ACCORDANCE WITH THE
 DISCLOSURE STATEMENT ORDER SO THAT THEY ARE RECEIVED ON OR BEFORE THE
 PLAN OBJECTION DEADLINE.




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                        Important Information About This Disclosure Statement

          This Disclosure Statement provides information regarding the Plan of Reorganization that the
 Debtors are seeking to have confirmed by the Bankruptcy Court. The Debtors believe that the Plan is in
 the best interests of all creditors. The Debtors urge all holders of Claims entitled to vote on the Plan to
 vote in favor of the Plan.

        Unless the context requires otherwise, reference to “we,” “our,” and “us” are to the
 Debtors.

         The confirmation of the Plan and effectiveness of the Plan are subject to certain material
 conditions precedent described herein. There is no assurance that the Plan will be confirmed, or if
 confirmed, that the conditions required to be satisfied will be satisfied or waived.

         You are encouraged to read this Disclosure Statement in its entirety, including without limitation,
 the Plan, which is annexed as Exhibit A hereto, and the section entitled “Risk Factors,” prior to
 submitting your ballot to vote on the Plan.

         The Bankruptcy Court’s approval of this Disclosure Statement does not constitute a
 guarantee of the accuracy or completeness of the information contained herein or an endorsement
 of the merits of the Plan by the Bankruptcy Court.

          Summaries of the Plan and statements made in this Disclosure Statement are qualified in their
 entirety by reference to the Plan, the exhibits and schedules attached to the Plan and this Disclosure
 Statement and the Plan Supplement. The statements contained in this Disclosure Statement are made only
 as of the date of this Disclosure Statement, and there is no assurance that the statements contained herein
 will be correct at any time after such date. Except as otherwise provided in the Plan or in accordance with
 applicable law, the Debtors are under no duty to update or supplement this Disclosure Statement.

         The information contained in this Disclosure Statement is included for purposes of soliciting
 acceptances to, and confirmation of, the Plan and may not be relied on for any other purpose. The Debtors
 believe that the summary of certain provisions of the Plan and certain other documents and financial
 information contained or referenced in this Disclosure Statement is fair and accurate. The summaries of
 the financial information and the documents annexed to this Disclosure Statement, including, but not
 limited to, the Plan and the exhibits attached thereto, or otherwise incorporated herein by reference, are
 qualified in their entirety by reference to those documents.

      IN THE EVENT OF ANY INCONSISTENCY BETWEEN THIS DISCLOSURE STATEMENT
 AND THE PLAN, THE RELEVANT PROVISION OF THE PLAN, AS IT RELATES TO SUCH
 INCONSISTENCY, WILL GOVERN.

         No representations concerning the Debtors or the value of the Debtors’ property have been
 authorized by the Debtors other than as set forth in this Disclosure Statement. Any information,
 representations or inducements made to obtain acceptance of the Plan, which are other than or
 inconsistent with the information contained in this Disclosure Statement and in the Plan, should not be
 relied on by any claim holder entitled to vote on the Plan.

         This Disclosure Statement has not been reviewed, approved or disapproved by the United States
 Securities and Exchange Commission (the “SEC”) or any similar federal, state, local or foreign regulatory
 agency, nor has the SEC or any other such agency passed upon the accuracy or adequacy of the
 statements contained in this Disclosure Statement.


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         The Debtors have sought to ensure the accuracy of the financial information provided in this
 Disclosure Statement, but the financial information contained in, or incorporated by reference into, this
 Disclosure Statement has not been and will not be audited or reviewed by the Debtors’ independent
 auditors unless explicitly provided otherwise.

          Some of the securities described in this Disclosure Statement will be issued without registration
 under the Securities Act of 1933, as amended (the “Securities Act”), or similar federal, state, local or
 foreign laws, in reliance on the exemption set forth in section 1145 of the Bankruptcy Code or other
 applicable exemptions. Other securities may be issued pursuant to other applicable exemptions under the
 federal securities laws. To the extent exemptions from registration, other than section 1145, apply, such
 securities may not be offered or sold except pursuant to a valid exemption or upon registration under the
 Securities Act.

         The Debtors make statements in this Disclosure Statement that are considered forward-looking
 statements under the federal securities laws. The Debtors consider all statements regarding anticipated or
 future matters, including the following, to be forward-looking statements:

                •   any future effects as a result of the pendency of the Chapter 11 Cases;

                •   the Debtors’ expected future financial position, liquidity, results of operations,
                    profitability and cash flows;

                •   projected dividends;

                •   competitive position;

                •   business strategy;

                •   budgets;

                •   projected cost reductions;

                •   projected and estimated liability costs, including pension, retiree, tort and environmental
                    costs and costs of environmental remediation;

                •   results of litigation;

                •   disruption of operations;

                •   plans and objectives of management for future operations;

                •   contractual obligations;

                •   off-balance sheet arrangements;

                •   growth opportunities for existing products and services;

                •   projected price increases;

                •   projected general market conditions;


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                •   benefits from new technology; and

                •   effects of changes in accounting due to recently issued accounting standards.

          Statements concerning these and other matters are not guarantees of the Debtors’ future
 performance. Such statements represent the Debtors’ estimates and assumptions only as of the date such
 statements were made. There are risks, uncertainties and other important factors that could cause the
 Debtors’ actual performance or achievements to be materially different from those they may project and
 the Debtors undertake no obligation to update any such statement. These risks, uncertainties and factors
 include:

                •   the ability of the Debtors to continue as going concerns;

                •   the ability of the Debtors to obtain Bankruptcy Court approval with respect to motions in
                    the Chapter 11 Cases;

                •   the ability of the Debtors to prosecute, develop and consummate the proposed Plan with
                    respect to the Chapter 11 Cases;

                •   the effects of the bankruptcy filing on the Debtors and the interests of various creditors,
                    equity holders and other constituents;

                •   Bankruptcy Court rulings in the Chapter 11 Cases and the outcome of the cases in
                    general;

                •   the length of time the Debtors will operate under the Chapter 11 Cases;

                •   risks associated with third-party motions in the Chapter 11 Cases, which may interfere
                    with the ability of the Debtors to develop and consummate the proposed Plan;

                •   the potential adverse effects of the Chapter 11 Cases on the Debtors’ liquidity or results
                    of operations;

                •   the ability to execute the Debtors’ business and restructuring plan and to timely and
                    effectively implement the turnaround strategy;

                •   increased legal costs related to the bankruptcy filing and other litigation;

                •   the Debtors’ ability to maintain contracts that are critical to its operation;

                •   the Debtors’ ability to obtain and maintain normal terms with customers, suppliers and
                    service providers;

                •   the Debtors’ ability to retain key executives, managers and employees;

                •   various operating factors and general economic conditions, competitive practices and
                    pricing in the food industry generally and particularly in our principal geographic
                    markets;

                •   our relationships with our employees;


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                •   the terms of future CBAs;

                •   the costs and other effects of lawsuits and administrative proceedings;

                •   the nature and extent of continued consolidation in the food industry;

                •   changes in the capital markets which may affect our cost of capital or the ability to access
                    capital;

                •   supply or quality control problems with our vendors;

                •   regulatory compliance; and

                •   changes in economic conditions, which may affect the buying patterns of our customers.

         Additional factors that could cause actual results to differ materially from the forward-looking
 statements we make in this Disclosure Statement are set forth in the reports or documents that we file
 from time to time with the SEC, including our most recent Annual Report on Form 10-K filed with the
 SEC on May 10, 2011 (File No. 001-04141), as amended by our Form 10-K/A filed with the SEC on
 June 24, 2011 (File No. 001-04141), and our Quarterly Report on Form 10-Q filed with the SEC on
 October 28, 2011 (File No. 001-04141), including any amendments thereto, each of which is hereby
 incorporated by reference herein.




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                                                ARTICLE I.
                                               INTRODUCTION

          On December 12, 2010, (the “Commencement Date”), the above-captioned debtors and debtors
 in possession (collectively, the “Debtors,” and with their non-Debtor affiliates, “A&P”) filed voluntary
 petitions for relief under chapter 11 of the Bankruptcy Code (as defined herein) in the Bankruptcy Court
 (the “Chapter 11 Cases”). On December 13, 2010, the Bankruptcy Court entered an order jointly
 administering the Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b) under the lead case: The Great
 Atlantic & Pacific Tea Company, Inc.; Case No. 10-24549. The Debtors are operating their business and
 managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the
 Bankruptcy Code. No trustee has been appointed in the Chapter 11 Cases. On December 21, 2010, the
 United States Trustee for the Southern District of New York (the “United States Trustee”) appointed an
 official committee of unsecured creditors (the “Creditors’ Committee”) pursuant to section 1102 of title
 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”).

         The Debtors submit this disclosure statement (the “Disclosure Statement”) pursuant to section
 1125 of the Bankruptcy Code for purposes of soliciting votes to accept or reject the Debtors’ Joint Plan of
 Reorganization Pursuant to Chapter 11 of the Bankruptcy Code (the “Plan”), filed contemporaneously
 herewith, a copy of which is attached to the Disclosure Statement as Exhibit A.2

          This Disclosure Statement sets forth certain information regarding the Debtors’ prepetition
 operations and financial history, their reasons for seeking protection under chapter 11, and significant
 events that have occurred during the Chapter 11 Cases. This Disclosure Statement also describes certain
 terms and provisions of the Plan, certain effects of Confirmation of the Plan, certain risk factors
 associated with the Plan and the securities to be issued under the Plan, and the manner in which
 distributions will be made under the Plan. In addition, this Disclosure Statement discusses the
 requirements for Confirmation of the Plan and the voting procedures that holders of Claims and Interests
 entitled to vote on the Plan must follow for their votes to be counted.

 A.       Rules of Interpretation

          The following rules for interpretation and construction shall apply to the Disclosure Statement:
 (1) whenever from the context it is appropriate, each term, whether stated in the singular or the plural,
 shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter
 gender shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any
 reference in the Disclosure Statement to a contract, instrument, release, indenture, or other agreement or
 document being in a particular form or on particular terms and conditions means that such document shall
 be substantially in such form or substantially on such terms and conditions; (3) unless otherwise
 specified, any reference in the Disclosure Statement to an existing document, schedule, or exhibit,
 whether or not filed, shall mean such document, schedule, or exhibit, as it may have been or may be
 amended, modified, or supplemented; (4) any reference to an Entity as a holder of a Claim or Interest
 includes that Entity’s successors and assigns; (5) unless otherwise specified, all references in the
 Disclosure Statement to Articles are references to Articles of the Disclosure Statement; (6) unless
 otherwise specified, all references in the Disclosure Statement to exhibits are references to exhibits to the
 Disclosure Statement; (7) the words “herein,” “hereof,” and “hereto” refer to the Disclosure Statement in
 its entirety rather than to a particular portion of the Disclosure Statement; (8) captions and headings to
 Articles are inserted for convenience of reference only and are not intended to be a part of or to affect the
 interpretation of the Disclosure Statement; (9) unless otherwise set forth in the Disclosure Statement, the

 2    Capitalized terms used in the Disclosure Statement and not otherwise defined shall have the meanings ascribed
      to such terms in Article I.A of the Plan.

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 rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (10) unless otherwise
 specified herein, any reference to the term “including” herein shall mean “including without limitation”
 and shall not be construed to limit any general statement that it follows to the specific or similar items or
 matters immediately following it; (11) any term used in capitalized form in the Disclosure Statement that
 is not otherwise defined in the Disclosure Statement, Plan, or exhibits to the Disclosure Statement Order,
 but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to such
 term in the Bankruptcy Code or the Bankruptcy Rules, as applicable; (12) all references to docket
 numbers of documents filed in the Chapter 11 Cases are references to the docket numbers under the
 Bankruptcy Court’s CM/ECF system; (13) all references to statutes, regulations, orders, rules of courts,
 and the like shall mean as amended from time to time, unless otherwise stated; (14) in computing any
 period of time prescribed or allowed, the provisions of Bankruptcy Rule 9006(a) shall apply, and if the
 date on which a transaction may occur pursuant to the Disclosure Statement shall occur on a day that is
 not a Business Day, then such transaction shall instead occur on the next succeeding Business Day; and
 (15) unless otherwise specified, all references in the Disclosure Statement to monetary figures shall refer
 to currency of the United States of America.

                                           ARTICLE II.
                                       OVERVIEW OF THE PLAN

 A.      General Structure of the Plan

          Pursuant to the Plan, the Investors are providing a total New Money Commitment of $490 million
 in the form of (i) $210 million3 face amount of privately placed New Second Lien Notes, (ii) $210 million
 face amount of privately placed New Convertible Third Lien Notes, and (iii) an $80 million New Equity
 Investment. The proceeds of the New Money Commitment will allow the Debtors to make distributions
 pursuant to the Plan, including paying certain secured creditors in full in cash, and will provide a cash
 pool of $40 million, less the amount distributed pursuant to the Substantive Consolidation Settlement, for
 distributions to General Unsecured Creditors.

          The Plan provides for a settlement and compromise of the intercreditor issues relating to whether
 the liabilities and assets of the Debtors should be substantively consolidated for purposes of distributions
 under the Plan. Except as modified by this Substantive Consolidation Settlement, Claims are treated
 generally in accordance with the priorities established under the Bankruptcy Code.

 B.      Classification of Claims and Interests Under the Plan

 1.              Classification

         The Plan divides all Claims (except Administrative Claims, Professional Claims, DIP Facility
 Claims, and Priority Tax Claims) and all Interests into various Classes. Listed below is a summary of the
 Classes of Claims and Interests under the Plan.

                  Class                                Claim or Interest
                    A                              Second Lien Note Claims
                    B                                Secured Tax Claims
                    C                               Other Secured Claims
                    D                                Other Priority Claims

 3       The $210 million face amount of the New Second Lien Notes will be issued with a 5.0% original issue
         discount, therefore, the aggregate amount of the securities includes $200 millionnot $210 millionin
         funds from the issuance of the New Second Lien Notes.

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                  Class                               Claim or Interest
                     E                            Convertible Notes Claims
                     F                           9.125% Senior Note Claims
                     G                          Quarterly Interest Bond Claims
                     H                                   Trade Claims
                     I                           Guaranteed Landlord Claims
                     J                           Pension Withdrawal Claims
                     K                                   Union Claims
                     L                            General Unsecured Claims
                     M                               Intercompany Claims
                     N                                 Interests in A&P
                     O                              Intercompany Interests
                     P                               Subordinated Claims

 2.              Unclassified Claims

         In accordance with section 1123(a)(1) of the Bankruptcy Code, the Plan does not classify
 Administrative Claims, Professional Claims, DIP Facility Claims, or Priority Tax Claims. These Claims
 are therefore excluded from the Classes of Claims set forth in Article III of the Plan. This information is
 provided in summary form for illustrative purposes only and is subject to material change.

                                                           Estimated Aggregate Amount   Projected
                                                             of Allowed Claims Under    Recovery
         Claim                  Plan Treatment                         Plan           Under the Plan

 Administrative and           Paid in full in Cash.              $165.0 million -              100%
   Professional                                                   $205.0 million
     Claims

      DIP Facility            Paid in full in Cash.               $355.0 million               100%
        Claims

      Priority Tax            Paid in full in Cash.         $1.0 million - $5.0 million        100%
        Claims


 C.      Treatment of Claims and Interests Under the Plan

         The table below summarizes the Classes of Claims and Interests under the Plan, the treatment of
 such Classes, the voting rights of such Classes, the projected recovery, if any, under the Plan for such
 Classes. This information (some of which is based on Proofs of Claim filed by Indenture Trustees or
 Agents, which Proofs of Claim remain subject to the Debtors’ further review and right to object thereto) is
 provided in summary form for illustrative purposes only and is subject to material change. To the extent
 of any inconsistency between the summaries contained in the Disclosure Statement and those set forth in
 the Plan, the Plan shall govern.




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                                                                                                          Estimated
                                                                                                           Range of
                                       Estimated Range of                                                 % Recovery
                 Type of Claim         Allowed Claims or                                                  Under the
     Class        or Interest               Interests                 Treatment of Claim/Interest            Plan

     A         Second Lien Note          $308.85 million -        •    If Class A votes to accept            100%
                   Claims                 $310.85 million              the Plan or is presumed to
                                                                       have accepted the Plan:
                                                                       Cash distributed on the
                                                                       Effective Date in an amount
                                                                       equal to such holder’s Pro
                                                                       Rata portion of the Second
                                                                       Lien Cash Pool;
                                                                  •    If Class A votes to reject the
                                                                       Plan: At the holder’s
                                                                       election, (A) Cash
                                                                       distributed on the Effective
                                                                       Date in an amount equal to
                                                                       such holder’s Pro Rata
                                                                       portion of the Second Lien
                                                                       Cash Pool (without any
                                                                       reduction on account of the
                                                                       Allowed amount of any
                                                                       Second Lien Note Claims
                                                                       that are satisfied with
                                                                       Replacement Second Lien
                                                                       Notes), or (B) Replacement
                                                                       Second Lien Notes with a
                                                                       present value equal to the
                                                                       Allowed amount of such
                                                                       holder’s Second Lien Note
                                                                       Claim (which may include
                                                                       any makewhole claim,
                                                                       prepayment penalty, or
                                                                       Applicable Premium
                                                                       Allowed by the Bankruptcy
                                                                       Court, if any, in addition to
                                                                       Second Lien Note Claims
                                                                       Allowed pursuant to Article
                                                                       III.C.1.b of the Plan).4


 4           Under Article III.C.1.c.ii of the Plan, a holder of Second Lien Note Claims that duly elects option (A) will
             receive its Pro Rata share of the Second Lien Cash Pool (as determined by such holder’s Pro Rata share of
             the aggregate principal amount of all Second Lien Note Claims) without regard to any Second Lien Note
             Claims satisfied by Replacement Second Lien Notes if Class A votes to reject the Plan.

             By way of illustration, under Article III.C.1.c.ii, a hypothetical holder of $26,000,000.00 in aggregate
             principal amount of Second Lien Note Claims (i.e., 10.0% of the aggregate principal amount of all Second
             Lien Note Claims) that duly elects option (A) will receive $30,966,000.00 on a March 1, 2012 Effective

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   B             Secured Tax         $0.07 million -        •   Paid in full in Cash on the          100%
                   Claims             $0.10 million             Initial Distribution Date or
                                                                as soon as practicable
                                                                thereafter;
                                                            • Paid in equal semi-annual
                                                                cash payments for up to five
                                                                years, in aggregate amount
                                                                equal to full Claim amount;
                                                                or
                                                            • Paid in regular Cash
                                                                payments in a manner not
                                                                less favorable than the most
                                                                favored non-priority Claim
   C            Other Secured        $0.7 million -         • Reinstated;                            100%
                   Claims             $1.2 million          • Paid in full (including
                                                                interest), in Cash; or
                                                            • Receive collateral securing
                                                                full amount of Claim
                                                                (including interest)
   D            Other Priority       $1.5 million -         Paid in full in Cash on the later        100%
                   Claims             $1.9 million          of:
                                                            • the Initial Distribution Date,
                                                                or
                                                            • the date the Claim becomes
                                                                Allowed
    E       Convertible Notes       $432.62 million         Paid Pro Rata share of                2.1% - 2.7%
                Claims                                      Unsecured Creditor Cash Pool
                                                            on the Initial Distribution Date

    F           9.125% Senior        $13.42 million         Paid Pro Rata share of                2.1% - 2.7%
                 Note Claims                                Unsecured Creditor Cash Pool
                                                            on the Initial Distribution Date
   G        Quarterly Interest      $202.14 million         Paid Pro Rata share of                2.1% - 2.7%
             Bond Claims                                    Unsecured Creditor Cash Pool
                                                            on the Initial Distribution Date




         Date if Class A votes to reject the Plan (i.e., 10.0% of the Second Lien Notes Cash Pool)—regardless of
         whether other holders of Second Lien Note Claims elect to share in the Second Lien Cash Pool or to
         receive Replacement Second Lien Notes, and regardless of whether any Replacement Second Lien Notes
         issued by the Debtors incorporate the value of a makewhole premium, prepayment penalty, or similar
         charge allowed by the Bankruptcy Court, if any.

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     H          Trade Claims          $40.00 million -        •   Paid Pro Rata share of              2.1% - 2.7%
                                       $50.00 million             Unsecured Creditor Cash
                                                                  Pool; and
                                                              •   If holder enters into a trade
                                                                  agreement acceptable to the
                                                                  Debtors and the Investors
                                                                  before the Effective Date,
                                                                  paid Pro Rata share of the
                                                                  Trade Claims Cash Pool5
     I        Guaranteed              $10.00 million -        •   Paid Pro Rata share of              3.0% - 3.9%
            Landlord Claims            $30.00 million             Unsecured Creditor Cash
                                                                  Pool; or
                                                              •   If holder votes in favor of
                                                                  the Plan, a Cash distribution
                                                                  from the Unsecured Creditor
                                                                  Cash Pool such that the
                                                                  applicable holder’s
                                                                  aggregate recovery for its
                                                                  Allowed Class I Claim is
                                                                  equal to the product of (x)
                                                                  what such holder would
                                                                  receive under the above
                                                                  clause for such Allowed
                                                                  Class I Claim (as adjusted
                                                                  for Pro Rata calculations)
                                                                  multiplied by (y) 1.46
     J          Pension              $150.00 million -        •   Paid Pro Rata share of              4.9% - 6.3%
           Withdrawal Claims          $310.00 million             Unsecured Creditor Cash
                                                                  Pool; or
                                                              •   If holder votes in favor of
                                                                  the Plan, a Cash distribution
                                                                  from the Unsecured Creditor
                                                                  Cash Pool such that the
                                                                  applicable holder’s total
                                                                  percentage recovery for its
                                                                  Allowed Class J Claim is
                                                                  equal to the product of (x)
                                                                  what such holder would
                                                                  receive under the above
                                                                  clause for such Allowed
                                                                  Class J Claim (as adjusted
                                                                  for Pro Rata calculations)
                                                                  multiplied by (y) 2.35


 5       The “Trade Claims Cash Pool” is a Cash pool up to $10 million, separate and apart from the Unsecured
         Creditor Cash Pool, to the extent approved by the Bankruptcy Court, from which discretionary Cash
         distributions may be made to holders of Allowed Trade Claims who enter into trade agreements acceptable
         to the Debtors and the Investors (and in consultation with the Creditors’ Committee and the DIP Facility
         Administrative Agent) prior to the Effective Date (to take effect upon and following the Effective Date), all
         as described in Exhibit A to the Plan.

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      K         Union Claims                N/A               Paid pursuant to Union                   N/A
                                                              Settlement Agreement

      L     General Unsecured        $440.00 million -        Paid Pro Rata share of               2.1% - 2.7%
                 Claims              $520.00 million6         Unsecured Creditor Cash Pool
                                                              on the Initial Distribution Date

      M         Intercompany                N/A               No recovery, but may be               0% - 100%
                    Claims                                    Reinstated in the discretion of
                                                              the Debtors

      N      Interests in A&P               N/A               Cancelled                                 0%

      O         Intercompany                N/A               No recovery, but may be               0% - 100%
                   Interests                                  Reinstated in the discretion of
                                                              the Debtors

      P         Subordinated                N/A               No recovery                               0%
                  Claims

          The Debtors’ Claims Agent has received approximately 10,700 Proofs of Claim. While the
 Debtors have not reconciled all filed Proofs of Claim against their books and records or begun the claims
 objection process, they believe that many of the filed Proofs of Claim are invalid, untimely, duplicative,
 or overstated, and, therefore, have assumed for purposes of estimating recoveries that such Claims shall
 be reduced in amount or expunged from the Claims Register, such that the actual total amount of the
 unsecured claims pool is approximately $1 billion to $1.7 billion, approximately $650 million of which is
 bond debt. However, this estimated range does not reflect the asserted face value of the various Proofs of
 Claim, which the Debtors have not fully analyzed. Further, additional Proofs of Claim may be filed after
 the Bar Date, which could be Allowed by the Bankruptcy Court. Accordingly, the ultimate number and
 Allowed amount of Claims asserted against the Debtors are not presently known and the final resolution
 of such Claims could result in a material adjustment to the recoveries and Claim estimates provided
 above. The Debtors reserve their right to contest any and all Proofs of Claim for any reason including,
 validity, amount, and timeliness.

 D.       Investment Analysis, Liquidation Analysis, and Financial Projections

 1.               Analysis of the Investors’ New Money Commitment to the Debtors

         Pursuant to the Plan and the Securities Purchase Agreements, the Investors are providing a total
 New Money Commitment of $490 million in the form of (i) $210 million7 face amount privately placed
 New Second Lien Notes, (ii) $210 million face amount privately placed New Convertible Third Lien
 Notes, and (iii) an $80 million New Equity Investment. The proceeds of the New Money Commitment

 6        Grocery Haulers, Inc. (“GHI”) has filed proofs of claim against A&P and Pathmark Stores, Inc. in the
          aggregate amount of approximately $220.9 million, of which GHI contends $107.9 million is an
          administrative claim. The Debtors disagree with the amount of GHI’s asserted general unsecured claim
          and believe that GHI does not have any administrative claim. The Debtors reserve their rights to contest
          GHI’s proofs of claim.
 7        The $210 million face amount of the New Second Lien Notes will be issued with a 5.0% original issue
          discount, therefore, the aggregate amount of the securities includes $200 millionnot $210 millionin
          funds from issuance of the New Second Lien Notes.

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 will allow the Debtors to make distributions pursuant to the Plan, including paying certain secured
 creditors in full in cash, and will provide a cash pool of $40 million, less the amount distributed pursuant
 to the Substantive Consolidation Settlement, for distributions to General Unsecured Creditors.

         The Debtors and Lazard believe that this new capital infusion and the post-reorganization capital
 structure proposed pursuant to the Plan is currently the best measure of the Debtors’ value and best
 maximizes the value of the Debtors’ estates and provides the Debtors with the best chances of
 reorganizing successfully because:

         o       the Debtors and their advisors believe that a substantial capital infusion is necessary for
                 the Debtors to reorganize and the Securities Purchase Agreements underlying the Plan
                 provide for that necessary capital;

         o       the investment represents the culmination of several months of robust negotiations that
                 culminated in the Securities Purchase Agreements through which the Investors will
                 provide the capital necessary to consummate the Plan and for the Debtors to reorganize;

         o       the Securities Purchase Agreements and the capital commitments contained therein were
                 approved by the Court and remain subject to in-bound higher or better offers, the plan
                 confirmation and disclosure statement requirements in the Bankruptcy Code;

         o       the Debtors received no viable inbound inquiries except from the Investors, which, given
                 the high profile of the Debtors’ Chapter 11 Cases and the fact that the Debtors filed for
                 bankruptcy protection in late 2010, make it unlikely that additional parties with serious
                 interest in providing the Debtors with the needed level of capital will emerge;

         o       the investment allows the Debtors to potentially emerge from bankruptcy instead of
                 lingering in chapter 11 and accruing extra bankruptcy-related costs;

         o       the investment remains subject to offers on higher or better terms, specifically, the
                 Debtors will be able to fully consider any proposal they receive from a third party and
                 should the Board approve the negotiation of such proposal, and under circumstances
                 delineated in the Securities Purchase Agreements, terminate such agreements, subject to a
                 $15 million market break-up fee; and

         o       the Debtors have encouraged the Creditors’ Committee’s advisors to market a different
                 deal to prospective investors if they deem it worthwhile.

 2.              Liquidation Analysis

          As described in greater detail in the Liquidation Analysis attached hereto as Exhibit D, in a
 hypothetical case under chapter 7 of the Bankruptcy Code, Holders of Allowed Administrative Claims
 would not be paid in full and Holders of Allowed Unsecured Claims would not receive any recovery. By
 comparison, under the Plan, Holders of Allowed Administrative Claims are paid in full in Cash, Holders
 of Allowed General Unsecured Claims receive their Pro Rata share of the Unsecured Creditor Cash Pool,
 Holders of Allowed Trade Claims who enter into a trade agreement acceptable to the Debtors and the
 Investors (and in consultation with the Creditors’ Committee and the DIP Facility Administrative Agent)
 prior to the Effective Date may receive a share of the Trade Claims Cash Pool, and Holders of Allowed
 Guaranteed Landlord Claims who vote in favor of the Plan and Holders of Allowed Pension Withdrawal
 Claims who vote in favor of the Plan, with the consent of the Investors (such consent shall not be
 unreasonably withheld or delayed in the case of a designation or distribution decision by the Debtors or


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 Reorganized Debtors that is not adverse to the Investors), and in consultation with the Creditors’
 Committee and the DIP Facility Administrative Agent, will receive an additional distribution pursuant to
 the Substantive Consolidation Settlement. Therefore, the Debtors believe that the Plan satisfies the “best
 interests test” under section 1129(a)(7) of the Bankruptcy Code.

         The Liquidation Analysis was prepared in a manner consistent with the settlement and
 compromise of issues related to substantive consolidation set forth in the Plan and as discussed herein.
 Even if a deconsolidated chapter 7 liquidation were possible, and the Debtors do not believe it would be
 possible, the Debtors believe that unsecured creditor recoveries in a liquidation under chapter 7 of the
 Bankruptcy Code would not exceed recoveries provided to prepetition unsecured creditors pursuant to the
 Plan in any reasonable scenario.

 3.              Financial Projections

          As further discussed in Article VIII of this Disclosure Statement, the Debtors believe the Plan
 meets the feasibility requirement set forth in section 1129(a)(11) of the Bankruptcy Code, as
 Confirmation is not likely to be followed by liquidation or the need for the financial reorganization of the
 Reorganized Debtors. In connection with developing the Plan, and for purposes of determining whether
 the Plan satisfies feasibility standards, the Debtors’ management has, through the development of
 financial projections, which reflect the proposed effect of the Union Settlement Agreement, for the years
 of 2012 through 2015 as attached hereto as Exhibit C (the “Financial Projections”), analyzed the
 Debtors’ ability to meet their obligations under the Plan and to maintain sufficient liquidity and capital
 resources to conduct their business. In general, as illustrated by the Financial Projections and the capital
 infusion contemplated under the Securities Purchase Agreements, the Debtors believe that the
 Reorganized Debtors’ businesses will be viable with long-term prospects, and will have sufficient
 liquidity to fund obligations as they arise, thereby maintaining value. Accordingly, the Debtors believe
 the Plan satisfies the feasibility requirement of section 1129(a)(11) of the Bankruptcy Code. The Debtors,
 with the assistance of Lazard, prepared the Financial Projections in good faith, based upon estimates and
 certain assumptions.

       THE FINANCIAL PROJECTIONS ASSUME THAT THE PLAN WILL BE CONSUMMATED
 IN ACCORDANCE WITH ITS TERMS AND THAT ALL TRANSACTIONS CONTEMPLATED BY
 THE PLAN WILL BE CONSUMMATED BY THE ASSUMED EFFECTIVE DATE. ANY DELAY IN
 THE ASSUMED EFFECTIVE DATE OF THE PLAN MAY HAVE A NEGATIVE IMPACT ON THE
 OPERATIONS AND FINANCIAL PERFORMANCE OF THE DEBTORS INCLUDING, BUT NOT
 LIMITED TO, AN INCREASED RISK OF INABILITY TO MEET SALES FORECASTS AND
 HIGHER REORGANIZATION EXPENSES.       ADDITIONALLY, THE ESTIMATES AND
 ASSUMPTIONS IN THE FINANCIAL PROJECTIONS, WHILE CONSIDERED REASONABLE BY
 MANAGEMENT, MAY NOT BE REALIZED, AND ARE INHERENTLY SUBJECT TO
 UNCERTAINTIES AND CONTINGENCIES. THESE ESTIMATES AND ASSUMPTIONS ALSO
 ARE BASED ON FACTORS SUCH AS INDUSTRY PERFORMANCE, GENERAL BUSINESS,
 ECONOMIC, COMPETITIVE, REGULATORY, MARKET, AND FINANCIAL CONDITIONS, ALL
 OF WHICH ARE SUBJECT TO CHANGE AND BEYOND THE DEBTORS’ CONTROL. GIVEN
 THAT FUTURE EVENTS AND CIRCUMSTANCES MAY AFFECT THE DEBTORS’ ESTIMATES
 AND ASSUMPTIONS, THE DEBTORS EXPECT THAT ACTUAL RESULTS WILL DIFFER FROM
 PROJECTED RESULTS IN SOME WAY AND THAT ACTUAL RESULTS MAY BE MATERIALLY
 GREATER OR LESS THAN THOSE CONTAINED IN THE FINANCIAL PROJECTIONS.
 ACCORDINGLY, NO REPRESENTATIONS CAN BE MADE AS TO THE ACCURACY OF THE
 FINANCIAL PROJECTIONS OR THE PURCHASER’S ABILITY TO ACHIEVE THE PROJECTED
 RESULTS. THE FINANCIAL PROJECTIONS CONTAINED HEREIN MAY NOT BE RELIED
 UPON AS A GUARANTY OR OTHER ASSURANCE OF THE ACTUAL RESULTS. THE

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 INCLUSION OF THE FINANCIAL PROJECTIONS HEREIN SHOULD NOT BE REGARDED AS AN
 INDICATION THAT THE DEBTORS CONSIDERED OR CONSIDER THE FINANCIAL
 PROJECTIONS TO RELIABLY PREDICT FUTURE PERFORMANCE.          THE FINANCIAL
 PROJECTIONS ARE SUBJECTIVE IN MANY RESPECTS, AND THUS ARE SUSCEPTIBLE TO
 INTERPRETATIONS AND PERIODIC REVISIONS BASED ON ACTUAL EXPERIENCE AND
 RECENT DEVELOPMENTS. THE DEBTORS DO NOT INTEND TO UPDATE OR OTHERWISE
 REVISE THE FINANCIAL PROJECTIONS TO REFLECT THE OCCURRENCE OF FUTURE
 EVENTS, EVEN IN THE EVENT THAT ASSUMPTIONS UNDERLYING THE FINANCIAL
 PROJECTIONS ARE NOT BORNE OUT. THE FINANCIAL PROJECTIONS SHOULD BE READ IN
 CONJUNCTION WITH THE ASSUMPTIONS AND QUALIFICATIONS SET FORTH HEREIN.

 E.      Certain Factors to Be Considered Prior to Voting

          There are a variety of factors that all holders of Claims entitled to vote on the Plan should
 consider prior to voting to accept or reject the Plan. Some of these factors, which are described in more
 detail in Article IX and Article X, are as follows and may impact recoveries under the Plan:

         o       Unless otherwise specifically indicated, the financial information contained in the
                 Disclosure Statement has not been audited and is based on an analysis of data available at
                 the time of the preparation of the Plan and Disclosure Statement.

         o       Article X describes certain significant federal tax consequences of the transactions
                 contemplated by the Plan that may affect the Debtors, including the realization of
                 cancellation of indebtedness income, reduction of net operating loss (“NOL”)
                 carryforwards and unrealized built-in losses, and the limitations that may apply to the
                 Debtors’ usage of those NOLs and unrealized built-in-losses. Article X also describes the
                 federal tax consequences of the transactions contemplated by the Plan that may affect
                 holders of Claims and Interests, including the recognition of taxable income by such
                 holders. Holders of Claims and Interests are urged to consult with their own tax advisors
                 regarding the federal, state, local, and foreign tax consequences of the Plan.

         o       Although the Debtors believe that the Plan complies with all applicable provisions of the
                 Bankruptcy Code, the Debtors cannot assure such compliance nor that the Bankruptcy
                 Court will confirm the Plan.

         o       The Debtors may request Confirmation without the acceptance of all Impaired Classes
                 entitled to vote in accordance with section 1129(b) of the Bankruptcy Code.

         o       Any delays of either Confirmation or Consummation could result in, among other things,
                 increased Administrative Claims and Professional Claims.

          While these factors could affect distributions available to holders of Allowed Claims under the
 Plan, the occurrence or impact of such factors will not necessarily affect the validity of the vote of the
 Impaired Classes entitled to vote to accept or reject the Plan (the “Voting Classes”) or necessarily require
 a re-solicitation of the votes of holders of Claims in such Voting Classes.




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                                                ARTICLE III.
                                              VOTING PROCEDURES

           The following Classes are the only Classes entitled to vote to accept or reject the Plan:

              Class                           Claim                                        Status
                A                 Second Lien Note Claims                          Impaired/Unimpaired8
                E                 Convertible Notes Claims                               Impaired
                F                9.125% Senior Note Claims                               Impaired
                G               Quarterly Interest Bond Claims                           Impaired
                H                       Trade Claims                                     Impaired
                I                Guaranteed Landlord Claims                              Impaired
                J                Pension Withdrawal Claims                               Impaired
                K                       Union Claims                                     Impaired
                L                 General Unsecured Claims                               Impaired

         If your Claim is not included in these Classes, you are not entitled to vote and you will not
 receive a Solicitation Package.9

 A.        Vote Required for Acceptance by a Class

          Under the Bankruptcy Code, acceptance of a plan of reorganization by a Class of Claims or
 Interests is determined by calculating the number and the amount of Claims or Interests voting to accept,
 based on the actual total Allowed Claims or Interests voting on the Plan. Acceptance by a Class requires
 more than one-half of the number of total Allowed Claims or Interests in the Class to vote in favor of the
 Plan and at least two-thirds in dollar amount of the total Allowed Claims or Interests in the Class to vote
 in favor of the Plan.

 B.        Classes Not Entitled to Vote

         Under the Bankruptcy Code, Creditors are not entitled to vote if their contractual rights are
 Unimpaired by the Plan or if they will receive no distribution of property under the Plan. Based on this
 standard, the following Classes will not be entitled to vote on the Plan:

      Class                            Claim                              Status               Voting Rights
       A              Second Lien Note Claims                       Impaired/             Entitled to Vote/
                                                                    Unimpaired            Conclusively Presumed
                                                                                          to Accept10
       B              Secured Tax Claims                            Unimpaired            Conclusively Presumed

 8         Pursuant to Article III.C.1.d of the Plan, Class A is Impaired and holders of Allowed Class A Claims may
           vote to accept or reject the Plan; provided that the Debtors reserve the right to assert the treatment provided
           to holders of Second Lien Note Claims under Article III.C.1 of the Plan renders holders of Second Lien
           Note Claims Unimpaired.
 9         Capitalized terms used in this Article III but not defined in the Disclosure Statement or the Plan shall have
           the meanings ascribed to them in the Solicitation Procedures attached as Exhibit 1 to the Disclosure
           Statement Order, once approved.
 10        Pursuant to Article III.C.1.d of the Plan, Class A is Impaired and holders of Allowed Class A Claims may
           vote to accept or reject the Plan; provided that the Debtors reserve the right to assert the treatment provided
           to holders of Second Lien Note Claims under Article III.C.1 of the Plan renders holders of Second Lien
           Note Claims Unimpaired.

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      Class                          Claim                             Status              Voting Rights
                                                                                      to Accept
       C           Other Secured Claims                          Unimpaired           Conclusively Presumed
                                                                                      to Accept
       D           Other Priority Claims                         Unimpaired           Conclusively Presumed
                                                                                      to Accept
       M           Intercompany Claims                           Impaired/            Deemed to Reject/
                                                                 Unimpaired           Conclusively Presumed
                                                                                      to Accept11
       N           Interests in A&P                              Impaired             Deemed to Reject
       O           Intercompany Interests                        Impaired/            Deemed to Reject/
                                                                 Unimpaired           Conclusively Presumed
                                                                                      to Accept12
       P           Subordinated Claims                           Impaired             Deemed to Reject


 C.        Solicitation Procedures

 1.                Claims Agent

          The Debtors retained KCC to, among other things, act as Claims Agent and will request authority
 to retain KCC in connection with the solicitation of votes to accept or reject the Plan (the “Solicitation
 Agent”). The Debtors anticipate requesting authority to retain KCC as their Solicitation Agent at or prior
 to the hearing on the Disclosure Statement.

 2.                Solicitation Package

           The following materials shall constitute the Solicitation Package:

           o       the appropriate Ballot(s) and Master Ballots and applicable voting instructions, together
                   with a pre-addressed, postage pre-paid return envelope;

           o       the Disclosure Statement, as approved by the Bankruptcy Court (with all appendices
                   thereto, including the Plan);

           o       a letter from the Debtors to the Voting Classes recommending that holders of Claims in
                   such Classes vote to accept the Plan; and

           o       any supplemental solicitation materials the Debtors may file with the Bankruptcy Court.




 11        Pursuant to Article III.C.12. of the Plan, Holders of Allowed Class L Claims are deemed to have rejected
           the Plan pursuant to section 1126(f) of the Bankruptcy Code, unless Allowed Class L Intercompany Claims
           are Reinstated, in which case the holders of Allowed Class L Intercompany Claims are Unimpaired and are
           conclusively presumed to accept.
 12        Pursuant to Article III.C.14. of the Plan, Holders of Allowed Class N Intercompany Interests are deemed to
           have rejected the Plan pursuant to section 1126(f) of the Bankruptcy Code, unless Allowed Class N
           Intercompany Interests are Reinstated, in which case the holders of Allowed Class N Intercompany
           Interests are Unimpaired and are conclusively presumed to accept.

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 3.              Distribution of the Solicitation Package and Plan Supplement

         Through the Solicitation Agent, the Debtors intend to distribute the Solicitation Packages on or
 before December 23, 2011, a date approximately 30 days in advance of the Voting Deadline.

          The Solicitation Package will be distributed in accordance with the Solicitation Procedures,
 which shall be attached as Exhibit 1 to the Disclosure Statement Order. The Solicitation Package (except
 the Ballots and Master Ballots) may also be obtained from the Claims Agent by: (a) calling the Debtors’
 restructuring hotline at (877) 660-6625 within the U.S. or Canada or, outside of the U.S. or Canada, by
 calling (732) 645-4133; (b) visiting the Debtors’ restructuring website at http://www.kccllc.net/APTea;
 and/or (c) writing to The Great Atlantic & Pacific Tea Company, c/o Kurtzman Carson Consultants LLC,
 2335 Alaska Avenue, El Segundo, California 90245. You may also obtain copies of any pleadings filed
 in these Chapter 11 Cases for free by visiting the Debtors’ restructuring website at
 http://www.kccllc.net/APTea or for a fee via PACER at http://ecf.nysb.uscourts.gov.

          Prior to the Confirmation Hearing, the Debtors intend to file a Plan Supplement that includes,
 among other things, the list of assumed Executory Contracts (with associated Cure Amounts, if any), and
 a description of retained Causes of Action. As the Plan Supplement is updated or otherwise modified,
 such modified or updated documents will be made available on the Debtors’ restructuring website. The
 Debtors will not serve paper or CD-ROM copies of the Plan Supplement; however, parties may obtain a
 copy of the Plan Supplement from the Claims Agent by: (a) calling the Debtors’ restructuring hotline at
 (877) 660- 6625 within the U.S. or Canada or, outside of the U.S. or Canada, calling (732) 645-4133;
 (b) visiting the Debtors’ restructuring website at: http://www.kccllc.net/APTea; and/or (c) writing to The
 Great Atlantic & Pacific Tea Company, c/o Kurtzman Carson Consultants LLC, 2335 Alaska Avenue, El
 Segundo, California 90245.

 D.      Voting Procedures

          The Voting Record Date is December 15, 2011. The Voting Record Date is the date for
 determining (1) which holders of Claims or Interests are entitled to vote to accept or reject the Plan and
 receive the Solicitation Package in accordance with the Solicitation Procedures and (2) whether Claims or
 Interests have been properly assigned or transferred to an assignee pursuant to Bankruptcy Rule 3001(e)
 such that the assignee can vote as the holder of a Claim. The Voting Record Date and all of the Debtors’
 solicitation and voting procedures shall apply to all of the Debtors’ Creditors and other parties in interest.

          Under the Plan, holders of Claims in the Voting Classes are entitled to vote to accept or reject the
 Plan. In order for the holder of a Claim in the Voting Classes to have such holder’s Ballot counted as a
 vote to accept or reject the Plan, such holder’s Ballot must be properly completed, executed, and
 delivered by using the return envelope provided by: (a) first class mail; (b) courier; or (c) personal
 delivery to The Great Atlantic & Pacific Tea Company Balloting Center c/o Kurtzman Carson
 Consultants LLC 2335 Alaska Avenue, El Segundo, CA 90245, so that such holder’s Ballot or the Master
 Ballot incorporating the vote cast by such Ballot, as applicable, is actually received by the Claims Agent
 prior to 5:00 p.m. prevailing Pacific Time on January 24, 2012 (the “Voting Deadline”).

       EXCEPT AS OTHERWISE PROVIDED HEREIN, IN THE MOTION TO APPROVE THE
 DISCLOSURE STATEMENT AND ITS RELATED EXHIBITS: (A) IF NO HOLDERS OF CLAIMS
 ELIGIBLE TO VOTE IN A PARTICULAR CLASS VOTE TO ACCEPT OR REJECT THE PLAN,
 THE PLAN SHALL BE DEEMED ACCEPTED BY THE HOLDERS OF SUCH CLAIMS IN SUCH
 CLASS; AND (B) ANY CLASS OF CLAIMS THAT DOES NOT HAVE A HOLDER OF AN
 ALLOWED CLAIM OR INTEREST OR A CLAIM TEMPORARILY ALLOWED BY THE
 BANKRUPTCY COURT AS OF THE DATE OF THE CONFIRMATION HEARING SHALL BE

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 DEEMED ELIMINATED FROM THE PLAN FOR PURPOSES OF VOTING TO ACCEPT OR
 REJECT THE PLAN AND FOR PURPOSES OF DETERMINING ACCEPTANCE OR REJECTION
 OF THE PLAN BY SUCH CLASS PURSUANT TO SECTION 1129(A)(8) OF THE BANKRUPTCY
 CODE.

      IF A BALLOT IS RECEIVED AFTER THE VOTING DEADLINE, IT WILL NOT BE
 COUNTED UNLESS THE DEBTORS DETERMINE OTHERWISE IN THEIR SOLE AND
 ABSOLUTE DISCRETION.

       ANY BALLOT THAT IS PROPERLY EXECUTED BY THE HOLDER OF A CLAIM BUT
 THAT DOES NOT CLEARLY INDICATE AN ACCEPTANCE OR REJECTION OF THE PLAN OR
 ANY BALLOT THAT INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN
 WILL NOT BE COUNTED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

       EACH HOLDER OF A CLAIM MUST VOTE ALL OF ITS CLAIMS WITHIN A
 PARTICULAR CLASS EITHER TO ACCEPT OR REJECT THE PLAN AND MAY NOT SPLIT
 SUCH VOTES. BY SIGNING AND RETURNING A BALLOT, EACH HOLDER OF A CLAIM WILL
 CERTIFY TO THE BANKRUPTCY COURT AND THE DEBTORS THAT NO OTHER BALLOTS
 WITH RESPECT TO SUCH CLAIM HAVE BEEN CAST OR, IF ANY OTHER BALLOTS HAVE
 BEEN CAST WITH RESPECT TO SUCH CLASS OF CLAIMS, SUCH OTHER BALLOTS
 INDICATED THE SAME VOTE TO ACCEPT OR REJECT THE PLAN.

      IT IS IMPORTANT THAT THE HOLDER OF A CLAIM IN THE VOTING CLASSES
 FOLLOW THE SPECIFIC INSTRUCTIONS PROVIDED ON SUCH HOLDER’S BALLOT AND THE
 ACCOMPANYING INSTRUCTIONS.

       IF YOU VOTE TO ACCEPT THE PLAN, YOU ARE AUTOMATICALLY DEEMED TO
 CONSENT TO THE THIRD PARTY RELEASE IN ARTICLE VIII.E OF THE PLAN. IF YOU VOTE
 TO REJECT THE PLAN OR DO NOT SUBMIT A VOTE, YOU ARE NOT BOUND BY THE THIRD
 PARTY RELEASE.

 E.      Confirmation Hearing

          Pursuant to section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, may hold
 a hearing on Confirmation of the Plan. Section 1128(b) of the Bankruptcy Code provides that any party
 in interest may object to Confirmation of the Plan.

         The Confirmation Hearing will commence on February 6, 2012 at 10:00 a.m. prevailing Eastern
 Time, before the Honorable Robert D. Drain, United States Bankruptcy Judge, in the United States
 Bankruptcy Court for the Southern District of New York, 300 Quarropas Street, White Plains, New York
 10601. The Confirmation Hearing may be continued from time to time without further notice other than
 an adjournment announced in open court or a notice of adjournment filed with the Bankruptcy Court and
 served on the master service list and the Entities who have filed an objection to the Plan (“Plan
 Objection”), without further notice to parties in interest. The Bankruptcy Court, in its discretion and prior
 to the Confirmation Hearing, may put in place additional procedures governing the Confirmation Hearing.
 The Plan may be modified, if necessary, prior to, during, or as a result of the Confirmation Hearing,
 without further notice to parties in interest.

         The deadline to file Plan Objections is 5:00 p.m. prevailing Eastern Time on January 24, 2012.
 All Plan Objections must be filed with the Bankruptcy Court and served on the Debtors and certain other



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 parties in interest in accordance with the Disclosure Statement Order so that they are received on or
 before the deadline to file Plan Objections.

 F.      Confirmation and Consummation of the Plan

         The Confirmation Order shall approve all provisions, terms, and conditions of the Plan unless
 such provisions, terms, or conditions are otherwise satisfied or waived pursuant to the Plan provisions
 described in Article VI.O.2 herein.

                                          ARTICLE IV.
                                       GENERAL INFORMATION

 A.      Overview of the Debtors’ History and Industry

          Headquartered in Montvale, New Jersey, the Debtors are a leading supermarket retailer, operating
 under a variety of well-known trade names, or “banners” across the mid-Atlantic and Northeastern United
 States. As of September 10, 2011, the Debtors operated approximately 336 conventional supermarkets,
 combination food and drug stores, and discount food stores under a variety of banners, including A&P,
 Waldbaum’s, SuperFresh, Pathmark, Food Basics, The Food Emporium, Best Cellars, and A&P Liquors,
 averaging approximately 42,000 square feet per store. As of September 10, 2011, the Debtors reported
 total assets of $2.34 billion and liabilities of $3.58 billion. The Debtors employ approximately 40,700
 employees of whom approximately 69 percent were employed on a part-time basis and approximately
 92 percent were covered by CBAs.

          The Debtors’ store locations are typically leased, although the Debtors own a limited number of
 properties, including undeveloped land. As of February 27, 2010, the Debtors’ open stores averaged
 approximately 42,200 square feet. The Debtors’ retail footprint also reflects their December 2007
 acquisition of Pathmark, in which the Debtors acquired 141 Pathmark-branded stores for total
 consideration of approximately $1.4 billion (the “Pathmark Acquisition”). The Debtors financed the
 Pathmark Acquisition through a combination of cash on hand, equity, and approximately $475 million of
 debt financing.

         The Debtors’ supermarkets typically offer a broad variety of branded and private label packaged
 or “shelf stable” foods, as well as fresh and frozen produce, meat, seafood, dairy, and general
 merchandise. Many of the Debtors’ supermarkets include in-store bakeries, delis, floral departments, and
 fresh meat and seafood counters, and in-store pharmacies. The Debtors experience high rates of
 inventory turnover as a function of both customer demand and perishability.

         The Debtors’ operating cash flow critically depends on their ability to provide customers with
 high volumes of fresh, high quality, food, beverage, pharmaceutical, and other products without
 interruption. On average, each of the Debtors’ supermarkets will sell approximately 25,000 different
 stock-keeping units in a given week.13 And, while the Debtors obtain a majority of inventory from C&S
 Wholesale Grocers, Inc. (“C&S”), with whom the Debtors restructured their supply and logistics
 agreement as described below, the Debtors also rely on a broad network of approximately 2,600 other




 13      Stock-keeping units (or “SKU”) are commonly used measurements for classifying and tracking separate
         inventory types in the retail industry. For example, 24 can packages of America’s Choice Diet Cola™, 12
         can packages of America’s Choice Diet Cola™, and 6 can packages of America’s Choice Diet Cola™ are
         each assigned unique SKUs in the Debtors’ inventory management system.

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 vendors, including suppliers of fresh dairy, meat, and seafood products, branded and private label food
 processors and other specialty suppliers, to fully satisfy their inventory and merchandising needs.14

 B.      A&P’s Corporate Structure

         A&P is the direct or indirect parent of each of the above-captioned Debtors. Tengelmann
 Warenhandelsgesellschaft KG (“Tengelmann”) controls approximately 42 percent of A&P’s issued and
 outstanding common shares, and is the largest holder of A&P common stock.15 Affiliates of The Yucaipa
 Companies LLC (collectively, “Yucaipa”) are the next largest holder of A&P common stock, controlling
 approximately 5% of its issued and outstanding common shares. As of December 13, 2010, A&P’s
 common stock and 9 3/8% senior quarterly interest bonds trade exclusively on the Pink OTCQB market
 and are currently traded under the symbols GAPTQ and GAJTQ, respectively. A chart presenting the
 Debtors’ corporate structure is illustrated below.
         See Exhibit E for a chart illustrating A&P’s Prepetition Corporate Structure.
 C.      Competition

         The grocery retailing industry is highly competitive and characterized by local, regional, and
 national competitors operating on slim profit margins. More recently, the Debtors have faced increasing
 competitive challenges from mass merchandisers, warehouse clubs, drug stores, dollar stores,
 convenience stores and other “out-of-channel” sellers of grocery merchandise, including Costco, Dollar
 Tree, Sam’s Club, and Target. The Debtors’ in-store pharmacy operations also face growing competition
 from mail-order and Internet-based prescription processors, as well as traditional brick and mortar
 pharmacies. This challenging operating environment has been compounded by falling producer and retail
 food prices, and competitors’ increased willingness to engage in price-based competition.

 D.      Legacy Obligations

          Prior to the Commencement Date, the Debtors’ cost structure reflected an unsustainable level of
 legacy obligations that placed the Debtors at a competitive disadvantage to their traditional and
 non-traditional peers. The Debtors were also parties to a number of materially unfavorable supply and
 services contracts. Longevity in the retail food industry—the result of a consistent focus on customer
 satisfaction—saddled the company with three significant prepetition legacy costs:

                 •    substantial obligations arising from “dark store” leases—i.e., locations where the
                      Debtors have ceased ongoing operations but have been unable to sublease, assign, or
                      terminate the relevant lease;

                 •    unfavorable supply and logistics agreements, including (a) a supply and logistics
                      contract with C&S through which C&S supplied approximately 70 percent of the
                      Debtors’ total inventory; and (b) a transportation and logistics contract with Grocery
                      Haulers Inc. (“GHI”) under which GHI provided certain transportation and logistics
                      services to the Debtors’ 120 Pathmark-branded stores, and certain transportation
                      services to other Debtor stores; and




 14      By way of reference, 30 percent of the Debtors’ cost of goods sold was approximately $1.8 billion in fiscal
         2009. See The Great Atlantic & Pac. Tea Co., Inc. (Annual Report), at 48 (May 6, 2010).
 15      As discussed more fully below, Tengelmann also controls certain Convertible Preferred Stock (as defined
         herein) that provides voting rights equivalent to 12,000,000 common shares.

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                 •    significant employee related obligations, including underfunded single- and multi-
                      employer pensions, expensive health and welfare programs, and high store labor
                      costs as a percentage of sales.

 E.      Executive Officers of the Debtors

                      Name                                                Title

 Samuel Martin                                  President and Chief Executive Officer

 Frederic F. Brace                              Chief Administrative Officer, Chief Restructuring Officer
                                                and Chief Financial Officer

 Paul Hertz                                     Executive Vice President, Operations

 Thomas O’Boyle                                 Executive Vice President, Merchandising, Marketing and
                                                Supply & Logistics

 Christopher W. McGarry                         Senior Vice President and General Counsel

 Carter Knox                                    Senior Vice President, Human Resources &
                                                Communications


          Mr. Martin was appointed President and Chief Executive Officer on July 29, 2010. Prior to
 joining A&P, Mr. Martin served as Executive Vice President and Chief Operating Officer of OfficeMax
 Incorporated, from September 2007 to July 2010. Prior to joining OfficeMax, Mr. Martin served as
 Senior Vice President of Operations for Wild Oats Markets, Inc. from January 2006 to September 2007.
 Prior to joining Wild Oats, Mr. Martin served as Senior Vice President of Supply Chain at Shopko from
 April 2003 to April 2006. From 1998 until 2003, he was Regional Vice President, Western Region and
 General Manager for Toys “R” Us, Inc., where he was responsible for operations, including stores,
 distribution, and logistics.

         Mr. Brace was appointed Chief Financial Officer on March 28, 2011, Chief Restructuring Officer
 on December 9, 2010 and Chief Administrative Officer on August 20, 2010. Mr. Brace was a member of
 the Board of Directors of the Company from August 4, 2009 to August 20, 2010. Mr. Brace served as
 Executive Vice President and the Chief Financial Officer of UAL Corp., an air transportation company,
 from August 2002 until his retirement from UAL Corp. in October 2008. From 2004 to 2008, Mr. Brace
 also served as a member of the Board of Directors, chair of the audit and finance committees, and
 member of the executive committee of SIRVA, Inc., a relocation logistics services provider, from 2004
 through 2008. During 2009, Mr. Brace also served as a member of the Board of Directors and of the
 audit committee of BearingPoint, Inc., a leading global management and technology consulting services
 firm during 2009. Currently, Mr. Brace is also a member of the Board of Directors, the audit committee
 and the compensation committee of Anixter International, a communications, electrical wire and cable
 products distribution company.

         Mr. Hertz was appointed Executive Vice President of Operations on August 18, 2010. Prior to
 joining A&P, Mr. Hertz was Executive Vice President of Retail Stores for OfficeMax, which he joined in
 September 2007. Previously, Mr. Hertz served as Vice President of Stores for Wild Oats Markets, Inc.
 from August 2006 to September 2007. Prior to joining Wild Oats, Mr. Hertz served as Vice President of

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 Store Operations for ShopKo Stores Inc. from April 2003 to August 2006. For the 16 years prior to
 joining Shopko, Mr. Hertz held positions of increasing responsibility with Fred Meyer Stores, a division
 of The Kroger Company including, Vice President, Regional Director of Stores.

         Mr. O’Boyle was appointed Executive Vice President, Merchandising and Marketing on August
 25, 2010. Prior to joining A&P, Mr. O’Boyle was President and Senior Vice President, Food and Drug,
 for Sears Holdings from 2008 to 2010. Before joining Sears, Mr. O’Boyle was Senior Vice President,
 Merchandising and Marketing for Albertson’s from 2005 to 2006. Before that he held merchandising and
 marketing management positions at Jewel Food Stores and American Stores.

         Mr. McGarry was appointed Senior Vice President, General Counsel and Secretary on October 7,
 2009. Mr. McGarry joined A&P in March 2006 as Vice President of Legal Services. From July 2006 to
 October 2009, he served as Vice President, Legal Compliance Officer and Assistant Secretary. Prior to
 joining A&P, Mr. McGarry was General Counsel from 2003 to 2005 for Exel, Inc., successor-in-interest
 to Tibbett & Britten Group Americas, a major international logistics service provider for the food and
 beverage, fashion and other consumer product sectors. From 1992 to 1998 and from 2001 to 2003, he
 was a Partner and attorney in various New Jersey based law firms. From 1998 to 2001, Mr. McGarry
 served as Assistant General Counsel and Corporate Secretary for The Grand Union Company.

         Mr. Knox was appointed Senior Vice President of Human Resources and Communications on
 August 19, 2010. Prior to joining A&P, Mr. Knox was Senior Vice President of Human Resources for
 OfficeMax from 2005 to August 2010. Before joining OfficeMax, Mr. Knox held roles of increasing
 responsibility at Fred Meyer, a division of The Kroger Company, over more than 30 years. His
 responsibilities spanned store operations, merchandising, marketing and human resources.


 F.      The Debtors’ Prepetition Capital Structure

          As of the Commencement Date, the Debtors were obligated on approximately $1.0 billion in
 funded debt, comprised of: (a) obligations under the Secured Credit Facility; (b) the Second Lien Notes;
 (c) four series of Unsecured Notes; and (d) a $10.0 million unsecured Promissory Note (each as defined
 herein). The Debtors also have 175,000 shares of convertible preferred stock issued and outstanding, with
 a $1,000 per share liquidation preference.

         The Debtors’ prepetition indebtedness and preferred equity capital can be summarized as follows:

 ($ millions)                         Funded Debt/
 Debt/Preferred Equity                Liquidation Preference

 Secured Credit Facility - ABL           $         38.0
 Secured Credit Facility - Term                    97.5
 Second Lien Notes                                260.0
 Unsecured Notes                                  632.8
 Promissory Note                                   10.0
        Total Funded Debt                $      1,038.3
 Convertible Preferred Stock                      175.0




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 1.               Secured Credit Facility

          Prior to the Commencement Date, the Debtors, Bank of America, N.A., as administrative agent
 (the “First Lien Agent”), and the lenders party thereto were parties to that certain Amended and Restated
 Credit Agreement, dated as of December 27, 2007 (as amended, supplemented, modified, or amended and
 restated from time to time, the “First Lien Credit Agreement”). The First Lien Credit Agreement
 provided the Debtors with $620 million in total availability through: (a) a “Tranche A” revolver
 (providing $502 million in maximum availability, with no balance drawn as of December 11, 2010); (b) a
 “Tranche A-1” revolver (providing $20 million in maximum availability, with no balance drawn as of
 December 11, 2010); (c) a $47.5 million “Term Loan”; and (d) a $50 million “Term A-2” Loan
 (collectively, the “Secured Credit Facility”). The Secured Credit Facility also provided for, among other
 things, a $400 million letter of credit subfacility under which approximately $196.2 million in letters of
 credit are issued and outstanding as of December 11, 2010.16

          Generally, the payment waterfall incorporated into the First Lien Credit Agreement provided that
 obligations arising under the Term Loan have a senior interest in certain “Principal Properties” (as
 defined in the First Lien Credit Agreement) versus other claims arising under the Term Loan.17 The
 payment waterfall further provided that proceeds from non-Principal Properties collateral is used: first to
 satisfy claims arising under the Tranche A revolver and Term Loan (ratably); second to cash collateralize
 issued but undrawn letters of credit issued by lenders under the Tranche A revolver; third to satisfy the
 Tranche A-1 revolver; and fourth to satisfy claims arising under the Term A-2 Loan.

 2.               Second Lien Notes

          A&P as issuer, and each of the above-captioned Debtors, as guarantors, have issued senior
 secured notes (collectively, the “Second Lien Notes”) pursuant to that indenture dated as of August 4,
 2009 (the “Second Lien Notes Indenture”) by and between the Debtors and Wilmington Trust Company
 in its capacity as original trustee and collateral agent (the “Original Second Lien Indenture Trustee”).
 Wells Fargo Bank, National Association became the successor trustee and collateral agent under the
 Second Lien Notes Indenture (the “Second Lien Indenture Trustee”), pursuant to an Agreement of
 Removal, Appointment and Acceptance, dated as of March 11, 2011, by and among the Second Lien
 Indenture Trustee and The Bank of New York Mellon Trust Company, National Association, as the
 predecessor trustee and collateral agent. The Second Lien Notes bear interest at 11.375% per annum, and
 approximately $260.0 million principal amount Second Lien Notes remained outstanding as of the
 Commencement Date. The Second Lien Notes mature on August 4, 2015.

         The Second Lien Notes are secured by second priority liens on substantially all the Debtors’
 personal property, including inventory and receivables, pursuant to that certain security agreement dated
 as of August 4, 2009, by and between the Debtors and the Original Second Lien Indenture Trustee, in its
 capacity as original collateral agent (the “Second Lien Security Agreement”). The Second Lien
 Indenture Trustee became the successor collateral agent (“Second Lien Agent”) under the Second Lien
 Security Agreement in connection with its becoming the successor trustee under the Second Lien Notes
 Indenture. The Second Lien Notes are also secured by certain of the Debtors’ leaseholds and owned real
 property other than the Principal Properties.




 16      Generally, letters of credit issued under the Secured Credit Facility reduce availability under the Tranche A
         revolver.
 17      Principal Properties are three parcels of real property owned or leased by the Debtors.

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 3.              Intercreditor Agreement

          On August 4, 2009, the First Lien Agent, in its capacity as collateral agent under the Secured
 Credit Facility, and the Original Second Lien Indenture Trustee, in its capacity as original collateral agent
 under the Second Lien Security Agreement, entered into an agreement that, among other things, assigned
 relative priorities to liens arising under the Secured Credit Facility, the Second Lien Indenture and Second
 Lien Security Agreement against certain collateral of the Debtors (the “Intercreditor Agreement”).
 Among other things, the Intercreditor Agreement provides that liens arising under the Second Lien Notes,
 the Second Lien Indenture, and the Second Lien Security Agreement are subordinate to liens arising
 under the Secured Credit Facility. The Intercreditor Agreement also imposes certain conditions on:
 (a) certain rights and remedies available to the Second Lien Agent in an event of default; (b) the ability of
 the Second Lien Agent or holders of Second Lien Notes (collectively, the “Second Lien Noteholders”) to
 challenge the validity or priority of liens arising under the Secured Credit Facility; and (c) the extent to
 which the Second Lien Noteholders and Second Lien Agent may contest a postpetition financing provided
 by or consented-to by lenders (or their successors) under the Secured Credit Facility (including a
 refinanced facility) or the First Lien Agent (or its successors) for failure to provide adequate protection
 during a bankruptcy proceeding, provided that certain conditions specified in the Intercreditor Agreement
 are met. The Debtors expressly are not third party beneficiaries of the Intercreditor Agreement.

 4.              Unsecured Notes

         In addition to its secured debt, A&P has issued four series of unsecured notes: (a) $165.0 million
 in 5.125% unsecured convertible notes (collectively, the “5.125% Convertible Notes”); (b) $12.8 million
 in 9.125% unsecured notes due 2011 (collectively, the “9.125% Senior Notes”); (c) $255.0 million in
 6.75% unsecured convertible notes due 2012 (collectively, the “6.75% Convertible Notes”); and
 (d) $200.0 million in unsecured quarterly interest notes due 2039 (collectively, the “Quarterly Interest
 Bonds,” and together with the 5.125% Convertible Notes, the 9.125% Senior Notes, and the
 6.75% Convertible Notes, the “Unsecured Notes”). The Unsecured Notes are unsecured obligations of
 A&P.

 5.              Promissory Note

         As of the Commencement Date, A&P had issued a $10.0 million unsecured promissory note
 payable to Erivan Karl Haub (the “Promissory Note”). Mr. Haub is the father of Christian Wilhelm Erich
 Haub, the Debtors’ former Executive Chairman. Interest on the Promissory Note accrued at 6.00% per
 year, and the Promissory Note matured in August 2011.

 6.              Convertible Preferred Stock

          In 2009, the Debtors issued 175,000 outstanding shares of convertible preferred stock, $1,000 per
 share liquidation preference, in two separate series: (a) 115,000 shares of “Series A- Y” convertible
 preferred stock; and (b) 60,000 shares of convertible preferred stock issued through a “Series A-T”
 (collectively, the “Convertible Preferred Stock”). Mandatory quarterly dividends are payable on the
 Convertible Preferred Stock at either 8.00% (cash) or 9.50% (paid-in-kind). The Convertible Preferred
 Stock is convertible to common A&P stock under certain conditions, and holders of the Convertible
 Preferred Stock vote on matters requiring shareholder approval on an “as converted” basis.

          Affiliates of Yucaipa control the Debtors’ Series A-Y Convertible Preferred Stock. Yucaipa is
 also entitled to appoint 2 directors to the A&P board by virtue of its control of the Series A-Y Convertible




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 Preferred Stock.18 Tengelmann controls the Series A-T Convertible Preferred Stock, and Tengelmann is
 entitled to appoint 4 directors to the A&P board by virtue of its control of the Series A-T Convertible
 Preferred Stock.19

 G.      Employees

           As of February 26, 2011, the Debtors employed approximately 40,700 Employees, of whom
 approximately 68% are employed on a part-time basis. As of February 26, 2011 approximately 92% of
 the employees were members of unions, and the Debtors were party to 35 collective bargaining
 agreements (“CBAs”) with the various bargaining units of certain international and local unions,
 including (a) the Retail and Wholesale Union, (b) the Retail, Wholesale and Department Store Union,
 (c) the United Food and Commercial Workers International Union, (d) the 1199 National Health and
 Human Services Employees Union, (e) the United Pharmacists Guild and (f) the International Union of
 Operating Engineers. In addition to their employees, the Debtors supplement their workforce by utilizing
 (a) approximately three temporary employees who are provided to the Debtors and (b) approximately 13
 independent contractors that provide services related to many aspects of the Debtors’ operations and are
 vital to the Debtors’ businesses.

 H.      Benefit Plans

          As of the Commencement Date, the Debtors sponsored, maintained or contributed to the
 following employee pension benefit plans: (1) an A&P-sponsored, single employer defined benefit plan,
 entitled The Great Atlantic & Pacific Tea Company, Inc. Pension Plan (“A&P Plan”), that covers certain
 non-union and union-represented employees of A&P; (2) a single employer defined benefit pension plan
 sponsored and administered by a joint board of trustees for the benefit of certain eligible full-time
 employees of A&P who are represented by United Food and Commercial Workers (“UFCW”) Local
 464A and certain retirees who were represented by UFCW Locals 342-50 and 174 , entitled the New
 York-New Jersey Amalgamated Pension Plan for A&P Employees ( the “Amalgamated Plan”); (3) an
 A&P-sponsored multiple employer defined benefit pension plan that covers certain A&P employees and
 certain collectively bargained employees of GHI, entitled the Pathmark Stores, Inc. Pension Plan (the
 “Pathmark Plan”); (4) an A&P-sponsored single employer defined benefit pension plan covering only
 seven retirees from a former A&P subsidiary, entitled the Delaware County Dairies, Inc. Hourly
 Employees’ Pension Plan (the “Delaware Dairies Plan,” together with the A&P Plan, the Amalgamated
 Plan, and the Pathmark Plan, the “Pension Plans”); and (5) 12 multiemployer defined benefit pension
 plans (the “Multiemployer Plans”). Each of the Pension Plans and Multiemployer Plans are governed by
 provisions of the Employee Retirement Income Security Act of 1974, as amended (“ERISA”) and the
 Internal Revenue Code of 1986, as amended (the “Internal Revenue Code”). Further, the Pension Plans
 and Multiemployer Plans are covered by the termination insurance program described in Title IV of
 ERISA. The Pension Benefit Guaranty Corporation (“PBGC”) is a wholly-owned United States
 government corporation created by ERISA to administer the mandatory pension plan termination
 insurance program. The PBGC’s principal purpose is to guarantee the payment of certain pension
 benefits to participants upon termination of a pension plan.20

          The Debtors also provide health and welfare benefits to eligible active employees (and their
 eligible dependents) under various benefit plans sponsored and maintained by A&P. The A&P-sponsored

 18      The Series A-Y Convertible Preferred Stock also provides Yucaipa with voting rights equivalent to
         23,000,000 shares of common stock.
 19      The Series A-T Convertible Preferred Stock also provides Tengelmann with voting rights equivalent to
         12,000,000 shares of common stock.
 20      See 29 U.S.C. § 1302.

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 medical plans are primarily self-funded, although certain medical and other welfare coverage options are
 fully insured. A&P also provides retiree health and retiree life insurance to certain closed groups of
 retirees and their spouses. Pursuant to certain CBAs, the Debtors also contribute to certain multiemployer
 health and welfare funds that provide medical and other health and welfare benefits for union-represented
 employees and retirees.

 1.              Single Employer Pension Plans

                 a.                The A&P Plan

          As of January 1, 2010, the A&P Plan covered approximately 15,000 participants, including
 approximately 6,500 active employees. Both union and non-union employees and former employers
 participate in the A&P Plan. Benefit accruals for non-union employees under the A&P Plan were frozen
 in 2010, but benefit accruals for eligible union employees continue in accordance with the applicable
 CBAs.

         The A&P Plan includes the ability of certain participants to receive benefits in a lump sum.
 However, due to the payment restrictions imposed by Section 436 of the Internal Revenue Code and
 Section 206(g) of ERISA, lump sum benefit payments are currently not available from the A&P Plan.

          A&P’s projected annual minimum required contributions to the A&P Plan, which were due in
 fiscal year 2011 and cover the 2010 and 2011 plan years, are approximately $15.56 million. This includes
 a contribution of approximately $8.4 million that was due on September 15, 2011 with respect to the A&P
 Plan’s 2010 plan year and quarterly contributions of approximately $1.79 million with respect to the A&P
 Plan’s 2011 plan year that were due on each of April 15, July 15, and October 15, 2011, as well as a
 similar contribution which will be due on January 15, 2012. Because of the Chapter 11 Cases, these
 contributions remain unpaid to date. Under ERISA, these contributions are joint and several liabilities of
 each of the Debtors who are part of the same “controlled group.”21 Absent termination of the A&P Plan in
 accordance with ERISA, the Debtors anticipate making any missed contributions (plus applicable
 interest) to the A&P Plan prior to the Effective Date.

                 b.                The Amalgamated Plan

         The Amalgamated Plan is a single employer plan under ERISA, and A&P is the employer
 obligated to contribute to the Amalgamated Plan. However, A&P does not sponsor or administer the
 Amalgamated Plan. A&P contributes monthly to the Amalgamated Plan based on the requirements set
 forth in the applicable CBAs. The Amalgamated Plan’s actuaries estimated the minimum funding
 contribution for the calendar year 2011 to total $1.9 million.

                 c.                Delaware Dairies Plan

         The Delaware Dairies Plan is a single employer defined benefit pension plan. As of December 31,
 2010, there were only seven participants in this plan, all of whom were retirees. The assets of the
 Delaware Dairies Plan totaled approximately $73,000 as of December 31, 2010, and no minimum
 contributions have been due during the Chapter 11 Cases.




 21      See 29 U.S.C. § 1082(b)(2) and (d)(3).

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 2.              Multiple Employer Plan - The Pathmark Plan

         As of January 1, 2010, the Pathmark Plan covered approximately 6,700 participants, including
 approximately 1,500 active employees. Both union and non-union employees and former employees of
 A&P participate in the Pathmark Plan. Benefit accruals for A&P employees under the Pathmark Plan
 were frozen as of December 31, 2007, and many such participants under the Pathmark Plan began
 accruing benefits under the A&P Plan on January 1, 2008.

          Effective August 31, 2008 and prior to the rejection of the GHI Contract (described below) and
 the subsequent termination by GHI of the employment of relevant employees, benefit accruals under the
 Pathmark Plan were provided only to certain eligible employees of GHI who were represented by the
 International Brotherhood of Teamsters Local 863 (“Teamsters 863”). GHI is an unrelated company that
 formerly handled transportation and logistics services for the Pathmark stores. The participation of GHI
 employees in the Pathmark Plan is the basis for the classification of the Pathmark Plan as a multiple
 employer plan.

           GHI employees’ participation in the Pathmark Plan was negotiated simultaneously with GHI’s
 withdrawal from the Local Union No. 863 I.B. of T. Pension Fund (“Local 863 Fund”), a multiemployer
 pension plan. Such negotiation triggered withdrawal liability of GHI. In satisfaction of such withdrawal
 liability, A&P, GHI and the Local 863 Fund trustees negotiated an arrangement whereby the Pathmark
 Plan received a transfer of pension assets and liabilities for GHI employees from the Local 863 Fund. In
 January 2009, approximately $12 million in assets and approximately $81 million in liabilities were
 transferred from the Local 863 Fund to the Pathmark Plan. Under an August 29, 2008 letter agreement
 between GHI and A&P, A&P assumed economic responsibility with respect to the GHI employees in the
 Pathmark Plan (the “Spinoff Agreement”). Since the Debtors’ rejection of the GHI Contract and the
 subsequent termination by GHI of the employment of relevant employees, such employees are no longer
 accruing benefits under the Pathmark Plan. The Debtors do not intend to assume the Spinoff Agreement,
 and instead, the Debtors intend to reject the Spinoff Agreement to the extent it is executory. GHI asserts
 that the Spinoff Agreement cannot be rejected as an executory contract. The Debtors disagree, but in any
 event, the Debtors believe that no claims would arise under the Spinoff Agreement, and to the extent any
 claims arise under the Spinoff Agreement, such claims would be general unsecured prepetition claims.

           A&P’s projected annual minimum required contributions to the Pathmark Plan, which were due
 in fiscal year 2011 and cover the 2010 and 2011 plan years, are approximately $5.2 million. This includes
 a contribution of approximately $3.1 million that was due on September 15, 2011 with respect to the
 Pathmark Plan’s 2010 plan year and quarterly contributions of approximately $0.7 million with respect to
 the Pathmark Plan’s 2011 plan year that were due on each of April 15, July 15, and October 15, 2011, as
 well as a similar contribution which will be due on January 15, 2012. Because of the Chapter 11 Cases,
 these contributions remain unpaid to date. Under ERISA, these contributions are joint and several
 liabilities of each of the Debtors who are part of the same “controlled group”22 Absent termination of the
 Pathmark Plan in accordance with ERISA, the Debtors anticipate making any missed contributions (plus
 applicable interest) to the Pathmark Plan prior to the Effective Date.

         Pursuant to Articles IV.P.3 and I.A.11 of the Plan, as of the Effective Date, the Reorganized
 Debtors shall continue the A&P Pension Plans (which include the A&P Plan, the Amalgamated Plan, the
 Delaware Dairies Plan, and the Pathmark Plan) in accordance with, and subject to, their terms, ERISA,
 and the Internal Revenue Code, and the Reorganized Debtors shall preserve all of their rights thereunder.
 The A&P Pension Claims and all Proofs of Claims filed on account thereof shall be deemed withdrawn as


 22      See 29 U.S.C. § 1082(b)(2) and (d)(3).

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 of the Effective Date without any further action of the Debtors, the Reorganized Debtors or the PBGC,
 and without any further action, order, or approval of the Bankruptcy Court.

 3.              Multiemployer Plans

         A&P currently contributes to 12 multiemployer defined benefit pension plans under a number of
 existing CBAs between various labor unions and A&P. Pursuant to the CBAs, A&P contributes monthly
 amounts to the Multiemployer Plans on behalf of A&P’s active employees. A&P’s projected annual
 contributions for fiscal year 2011 to all of the Multiemployer Plans are approximately $48.7 million.
 A&P’s annual contributions to the Multiemployer Plans vary widely by plan, ranging from $0.2 million
 with respect to one Multiemployer Plan to $8 million with respect to another Multiemployer Plan.

          In addition to periodic contributions required by the CBAs, additional liability, known as
 “withdrawal liability,” can be imposed on an employer (and its controlled group) under ERISA in the
 event of a “withdrawal” by the employer from a multiemployer pension plan.23 Until a contributing
 employer withdraws from a multiemployer plan, withdrawal liability is a contingent liability of the
 employer. Under ERISA, a withdrawal occurs when an employer stops contributing – or significantly
 reduces its contributions over a period of time – to a multiemployer pension plan.24 In general terms,
 withdrawal liability is the employer’s pro rata share of the plan’s unfunded vested benefits. The
 multiemployer plans have filed several Proofs of Claim against the Debtors for (a) contingent withdrawal
 liability and (b) prepetition withdrawal liability. The Debtors have received 11 Proofs of Claim on
 account of contingent withdrawal liability totaling approximately $406 million.

         The Debtors withdrew from the Central States, Southeast and Southwest Areas Pension Fund
 (“Central States Fund”) in 2008. The Central States Fund filed a Proof of Claim asserting a claim for
 approximately $58 million on account of a pre-petition complete withdrawal by Debtors on June 21,
 2008. The Debtors have reached an agreement with the Central States Fund, whereby, among other
 things, the Debtors will stipulate that Central States Fund’s claim in the amount of approximately
 $58 million is Allowed, undisputed, and shall be deemed an Allowed Pension Withdrawal Claim.

         The Debtors withdrew from the Retail, Wholesale and Department Store International Union and
 Industry Benefit and Pension Funds (“RWDSU Fund”) in 1999. The RWDSU Fund filed a Proof of
 Claim asserting a claim for approximately $3 million in unpaid pre-petition withdrawal liability relating
 to the Debtors’ June 25, 1999 withdrawal from the RWDSU Fund.

         The Debtors withdrew from the UFCW Local 1262 and Employees Pension Fund (“Local 1262
 Fund”) in 2009. The Local 1262 Fund filed a Proof of Claim asserting a claim for approximately
 $14 million on account of a pre-petition partial withdrawal by Debtors related to the conversion of
 Pathmark-bannered stores to Food Basics-bannered stores in 2009.

           The Debtors withdrew from the Amalgamated Meat Cutters and Retail Food Store Employees
 Union Local 342 Pension Fund (“Local 342 Fund”) in 2008. In 2009, the Local 342 Fund assessed
 withdrawal liability against the Debtors totaling approximately $28 million on account of Debtors’
 complete withdrawal from the Local 342 Fund in 2008. Effective December 1, 2010, the Local 342 Fund
 asserted that it terminated by reason of the withdrawal of every employer from the plan under 29 U.S.C.
 1341A(a)(2), and on June 17, 2011 the Local 342 Fund filed a Proof of Claim asserting withdrawal
 liability against Debtors of approximately $71 million on account of such mass withdrawal termination.


 23      See 29 U.S.C. § 1381 et seq.
 24      See 29 U.S.C. §§ 1383, 1385.

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           In June 2011, the Debtors sold the Southern Stores pursuant to a Bankruptcy Court-approved
 asset sale. The Debtors had obligations under certain CBAs to contribute to the Food Employers Labor
 Relations Association and United Food and Commercial Workers Pension Fund (“FELRA Fund”) with
 respect to employees in the Southern Stores. As a result of the sale of the Southern Stores, such
 employees were terminated and the Debtors’ obligations to contribute to FELRA with respect to such
 employees ceased, which the Debtors believe resulted in prepetition withdrawal liability against them.
  The FELRA Fund filed a contingent Proof of Claim asserting approximately $77 million of withdrawal
 liability.

           The Debtors contribute to the United Food and Commercial Workers Union and Participating
 Food Industry Employers Tri-State Pension Fund (“Tri-State Fund”) on behalf of certain employees
 represented by CBAs. Under the modified CBAs, the Debtors will no longer have an obligation to
 contribute to the Tri-State Fund, triggering a complete withdrawal from the Tri-State Fund, if the
 contribution rates negotiated by the Debtors and the applicable local unions are not accepted by the Tri-
 State Fund trustees on or before December 31, 2011. In such event, the Tri-State Fund would have a
 claim against the Debtors. Although the Tri-State Fund filed a proof of claim for contingent withdrawal
 liability, no amount of estimated withdrawal liability was specified. If the Tri-State Fund trustees do
 accept the parties’ proposed contribution rates, the Debtors will not withdraw from the Tri-State Fund on
 or before December 31, 2011.

 4.              PBGC Claims

          On or about June 17, 2011, the PBGC filed 13 separate Proofs of Claim against the Debtors with
 respect to the A&P Plan, the Amalgamated Plan and the Pathmark Plan. In accordance with the Order
 Approving Stipulation Permitting Pension Benefit Guaranty Corporation To File Consolidated Claims
 Under A Single Case Number [Docket No. 1949], a single Proof of Claim was deemed to constitute the
 filing of a Proof of Claim against each and every Debtor in the Chapter 11 Cases. Specifically, the PBGC
 filed Claims for:

         o       the estimated amount of such Pension Plans’ unfunded benefit liabilities if the Pension
                 Plans were to terminate (“Underfunded Liability Claims”);25

         o       the estimated amount of unpaid minimum funding contributions that may be owed to
                 such Pension Plans (the “Funding Claims”); 26

         o       the estimated amount of premium payments owed to the PBGC with respect to such
                 Pension Plans (including the plan termination PBGC premium added to ERISA by the
                 Deficit Reduction Act of 2005, 27 which could apply if such Pension Plans were
                 terminated) (the “Premium Claims”);28



 25      Specifically, the PBGC filed Underfunded Liability Claims for: (a) the A&P Plan in the amount of the
         $82.1 million; and (b) the Amalgamated Plan in the amount of $39.4 million. The PBGC filed an
         Underfunded Liability Claim for the Pathmark Plan in an unliquidated amount. The PBGC asserted a
         portion of these amounts is entitled to Administrative Claim or Priority Claim status.
 26      Specifically, the PBGC filed Funding Claims for: (a) the A&P Plan in the amount of $13, 745,517; (b) the
         Amalgamated Plan in the amount of $1,489,241; and (c) the Pathmark Plan in the amount of $7,578,513.
         The PBGC asserted a portion of these amounts is entitled to Administrative Claim or Priority Claim status.
 27      See 29 U.S.C. §1306(a)(7).
 28      Specifically, the PBGC filed Premium Claims that included the contingent termination premium estimated
         by the PBGC as follows: (a) the A&P Plan in the amount of $56,220,000; (b) the Amalgamated Plan in the

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         o       the shortfall and waiver amortization charges that may be owed to the Pension Plans (the
                 “Waiver Amortization Claims”);29 and

         o       the estimated amount of liability that may have resulted if the Debtors withdrew from the
                 Pathmark Plan (the “Pathmark Plan Withdrawal Claim”).30

 I.      Securities Class Action Lawsuit

          On September 9, 2011, a securities class action lawsuit was filed in the United States District
 Court for the District of New Jersey (Dudley v. Haub, et al., Case No. 11-cv-05196-WJM-MF) that
 alleges on behalf of purchasers of the Debtors’ securities during the period between July 23, 2009 and
 December 10, 2010, that certain of the Debtors’ former and current executives violated the securities laws
 by making fraudulent or misleading statements with respect to material adverse facts about the Debtors’
 financial condition, business and prospects (as filed or amended, the “Securities Class Action
 Lawsuit”). The Debtors are not named as defendants in the Securities Class Action Lawsuit. However,
 the Debtors’ current CEO and two members of the Debtors’ Board of Directors are individually named
 defendants. The Debtors view the Securities Class Action Lawsuit as lacking merit, as, among other
 things, the statements and disclosures forming the basis for the allegations are forward-looking statements
 subject to “safe harbor” protections, or are otherwise not actionable. The Debtors and applicable non-
 Debtors do not concede any liability and do not agree with the allegations in the Securities Class Action
 Lawsuit. The Debtors reserve any and all rights to contest the claims and to enforce any stay of the
 actions as against the Debtors.

          Notwithstanding anything in the Plan or in any Confirmation Order to the contrary, nothing in the
 Plan or any Confirmation Order, except for the Third-Party Release in Article VIII.E of the Plan, shall
 discharge, release or enjoin claims, or the prosecution of claims asserted in the Securities Class Action
 Lawsuit, against non-Debtors, or limit the rights of any non-Debtor parties in connection with any
 settlement, or enforcement of any settlement or judgment, obtained in the Securities Class Action Lawsuit
 against non-Debtors, including without limitation to the extent of available insurance coverage and
 proceeds under any directors and officers insurance for the benefit of the non-Debtor defendants in such
 litigation.

         Nothing in the Plan shall affect any otherwise applicable law or rule requiring the Debtors, the
 Reorganized Debtors and any transferee, and any of their successors or assigns to provide for an adequate
 protocol for the preservation of the Debtors’ records or documents in connection with the Securities Class
 Action Lawsuit.

          The Debtors and applicable non-Debtors do not concede any liability and do not agree with the
 allegations in the Securities Class Action Lawsuit. The Debtors and applicable non-Debtors reserve any
 and all rights to contest the claims and to enforce any stay of the actions as against the Debtors.




         amount of $15,896,250; and (c) the Pathmark Plan in an unliquidated amount. The PBGC asserted a portion
         of these amounts is entitled to Administrative Claim or Priority Claim status.
 29      Specifically, the PBGC filed Waiver Amortization Claims for: (a) the A&P Plan in the amount of
         $45,543,464; (b) the Amalgamated Plan in the amount of $23,230,041; and (c) the Pathmark Plan in the
         amount of $63,558,032, each asserted as a general unsecured claim.
 30      Specifically, the PBGC filed the Withdrawal Claim for the Pathmark Plan in an unliquidated amount. The
         Withdrawal Claim assumes a withdrawal on June 30, 2011, and in such claim the PBGC demands payment
         of the liability to the PBGC to be held in escrow pursuant to 29 U.S.C. §1363(b).

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                                           ARTICLE V.
                                       THE CHAPTER 11 CASES

          The following is a general summary of the Chapter 11 Cases, including certain events preceding
 the Chapter 11 Cases, the stabilization of the Debtors’ operations, and the Debtors’ restructuring
 initiatives implemented since the Commencement Date.

 A.      Events Leading to the Commencement of the Chapter 11 Cases

 1.              Challenging Operating Environment

         Ongoing challenges facing the U.S. economy and the corresponding slowdown in consumer
 purchasing negatively impacted the Debtors’ revenues and operating cash flow. Falling consumer
 spending rates were exacerbated by declines in producer and retail food prices, resulting in retail price
 deflation across the grocery industry as a whole. This deflationary cycle was compounded by the intense
 competitive pressure found in the supermarket industry. The Debtors’ $8.4 billion in revenues over the
 twelve months ended September 11, 2010 reflected an 8.9 percent decline over the period ended
 September 10, 2009, with the Debtors generating only $104 million in EBITDA over this time. The
 reduction in EBITDA left the Debtors with diminished capacity to invest in long-term capital projects,
 with projected capital expenditures for the current fiscal year reduced over $10 million from fiscal 2009
 and over $40 million from fiscal 2008. The Debtors’ comparable store sales growth was also down
 approximately 6.9 percent on a year to date basis.

          Margin pressure imposed by declining operating cash flow had, in turn, amplified the bottom line
 effects of the Debtors’ leveraged balance sheet and significant legacy costs. The Debtors estimated that
 “dark store” leases would impose approximately $77 million of costs in fiscal 2011 alone. Further,
 unfavorable contracts with parties such as C&S and GHI continued to weigh on the Debtors, and ongoing
 pension and post-retirement obligations had contributed to the Debtors’ declining performance.

 2.              Restructuring Initiatives

         Prior to the Commencement Date, the Debtors took steps to both increase liquidity and reduce
 costs. In August 2009, the Debtors raised approximately $162.2 million in preferred equity capital
 through their sale of Convertible Preferred Stock. Also in August 2009, the Debtors raised an additional
 $253.0 million through the sale of the Second Lien Notes.

         In July 2010, the Debtors publicly launched a comprehensive, five-point turnaround plan to
 increase profitability and stakeholder value. This plan was focused on: (a) installing a strong
 management team; (b) reducing structural and operating costs; (c) improving customer value;
 (d) enhancing the overall customer experience; and (e) increasing liquidity. Through this plan, the
 Debtors implemented wholesale changes to their management team in 2010, including their appointment
 of a new chief executive officer, the appointment of three new executive officers with significant industry
 expertise, and the appointment of a new Chief Administrative Officer in August 2010.

          Liquidity-enhancing initiatives included the sale of non-core or underperforming assets and
 liquidity-enhancing transactions such as an $89.8 million sale-leaseback of six owned store locations.
 The Debtors also sought to increase operating cash flow by optimizing inventory mix, increasing sales
 training initiatives, and introducing new higher margin, “owned label” brands and products across their
 store fleet.




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          The Debtors initiated a major liquidity enhancing initiative in July 2010, when they retained Bank
 of America, the First Lien Agent, to secure a leasehold mortgage financing to upsize the First Lien Credit
 Facility ABL by approximately $200 million. Yet, in the days after Thanksgiving when it became clear
 that certain of the Debtors’ business partners could not provide meaningful cost concessions—an
 important part of the business plan underlying this facility—the Debtors were forced to abandon this
 financing initiative.

         The Debtors took additional prepetition steps to address their uncompetitive cost structure. The
 Debtors conducted multiple reductions in force, cut corporate spending, and reduced general and
 administrative costs. These initiatives have already generated total cost savings of approximately
 $40 million on an annualized basis, including over $10 million in annual salary savings.

         The Debtors sought to work constructively with their business partners in this process. In
 particular, the Debtors made repeated efforts to engage C&S, given C&S’s undeniable importance to the
 Debtors’ supply chain and cost structure as a whole. Prior to filing these Chapter 11 Cases, it became
 clear that C&S was unwilling or unable to provide meaningful cost or trade concessions outside of the
 chapter 11 process.

          The Debtors ultimately determined that the combination of falling revenues, a leveraged balance
 sheet, legacy costs, and unfavorable supply relationships could not be fixed outside of chapter 11. Of
 course, the Debtors were acutely aware of the operational and financial challenges facing chapter 11
 debtors in general, and the unique challenges facing retail debtors in particular. As a result, the Debtors
 immediately took actions to make sure they had more than sufficient liquidity to fund their in-court
 restructuring, including obtaining a debtor-in-possession financing facility. Based on these efforts, the
 Debtors secured a fully-committed, $800 million credit facility (the “DIP Facility”) from JPMorgan
 Chase Bank (“JPM”), which is described in greater detail below.

 B.      Stabilization of Operations

         Upon commencing the Chapter 11 Cases, the Debtors sought and obtained a number of orders
 from the Bankruptcy Court to ensure a smooth transition of their operations into chapter 11 and facilitate
 the administration of the Chapter 11 Cases. Several of these orders are briefly summarized below.

 1.              Administrative Motions

         To facilitate a smooth and efficient administration of the Chapter 11 Cases and to reduce the
 administrative burden associated therewith, the Bankruptcy Court entered the following procedural
 orders: (a) authorizing the joint administration of the Debtors’ Chapter 11 Cases [Docket No. 68];
 (b) granting the Debtors an extension of time to file their schedules of assets and liabilities and statement
 of financial affairs (collectively, the “Schedules and Statements”) [Docket No. 496];31 (c) establishing
 certain notice, case management and administrative procedures [Docket No. 75]; (d) preparing a list of
 creditors in lieu of a formatted mailing matrix and consolidating the list of creditors to the 40 largest
 unsecured creditors [Docket No. 79]; and (e) authorizing the employment and retention of KCC as notice
 and claims agent [Docket No 207].




 31      On March 25 2011, the Debtors filed their Schedules and Statements with the Bankruptcy Court [Docket
         No. 1080].

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 2.              Motion to Continue Using Existing Cash Management System [Docket No. 17]

         The Bankruptcy Court authorized the Debtors to continue using their cash management systems
 and their respective bank accounts, business forms, and investment practices by a Final Order dated
 February 7, 2011 [Docket No. 733]. The cash management order also approved the Debtors’ investment
 and deposit guidelines and permitted the Debtors to set off both prepetition and postpetition intercompany
 obligations between Debtors, or between Debtors and non-Debtor Affiliates.

 3.              Motion to Pay Shippers and Lienholder Prepetition Claims [Docket No. 8]

        By interim order granted on December 14, 2010 [Docket No. 77], and Final Order granted on
 January 12, 2011 [Docket No. 500], the Bankruptcy Court authorized the Debtors to pay the prepetition
 Secured Claims of, among other parties, shippers, warehousemen, and lienholders up to $3.4 million.

 4.              Motion to Pay Employee Wages and Benefits [Docket No. 3]

         By interim order granted on December 14, 2010 [Docket No. 54], and Final Order granted on
 January 12, 2011 [Docket No. 497], the Debtors obtained authorization from the Bankruptcy Court to: (a)
 pay certain prepetition wages, salaries and other compensation, taxes withholdings and reimbursable
 expenses of their employees; (b) to pay and honor obligations relating to employee medical and other
 benefit programs; and (c) to continue their employee benefits programs on a postpetition basis.

 5.              Motion to Pay Critical Trade Vendors [Docket No. 15]

          By interim order granted on December 14, 2010 [Docket No. 55], and Final Order granted on
 January 12, 2011 [Docket No. 504], the Bankruptcy Court authorized the Debtors to pay prepetition
 Claims of certain critical vendors. Specifically, the Debtors were authorized to pay (a) $61 million in
 prepetition Claims to a highly select group of vendors, that are not party to Executory Contracts, who
 supply the Debtors’ stores with product on trade terms and (b) up to $5 million in Section 503(b)(9)
 Claims.

 6.              Motion to Authorize Maintenance of Customer Programs [Docket No. 4]

         By interim order granted on December 14, 2010 [Docket No. 73], and Final Order granted on
 January 12, 2011 [Docket No. 498], the Bankruptcy Court authorized the Debtors to continue to maintain
 and administer prepetition customer programs, promotions and practices and pay and otherwise honor
 their obligations to customers relating thereto in the ordinary course of business consistent with past
 practice.

 7.              Motion to Establish Notification and
                 Hearing Procedures for Trading in Equity Securities [Docket No. 10]

          As of the Commencement Date, the Debtors’ NOLs and certain other tax attributes were
 estimated to be approximately $979 million. Under the Internal Revenue Code, NOLs that accumulate
 prior to emergence from bankruptcy may be used to offset post-emergence taxable income. Under the
 applicable federal tax laws, however, the Debtors would lose the ability to utilize a significant portion of
 their NOLs if an “ownership change” were to occur prior to completion of the Chapter 11 Cases.
 Consequently, trading in the equity securities of the Debtors could have jeopardized the Debtors’ ability
 to use those NOLs. To protect these valuable NOL carryforwards for future use to offset taxable income,
 the Debtors sought and obtained an interim order from the Bankruptcy Court on December 15, 2010



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 [Docket No. 82], and a Final Order on January 12, 2011 [Docket No. 502] restricting trading of their
 equity securities.

 8.              Motion Determining Adequate Assurance of
                 Payment for Future Utility Services [Docket No. 11]

         By Final Order granted on January 12, 2011 [Docket No. 503], the Bankruptcy Court established
 procedures for determining adequate assurance of payment for future utility service in recognition of the
 severe impact even a brief disruption of utility services would have on the Debtors. Subsequently, certain
 of the Debtors’ utility providers appealed the Bankruptcy Court’s final order. On November 15, 2011, the
 United States District Court for the Southern District of New York affirmed the Bankruptcy Court’s Final
 Order [Docket No. 2871].

 9.              Motion to Pay Prepetition Sales, Use, and Franchise Taxes [Docket No. 6]

         By interim order granted on December 14, 2010 [Docket No. 76], and Final Order granted on
 January 12, 2011 [Docket No. 499], the Bankruptcy Court authorized the Debtors to pay prepetition sales,
 use, franchise, income, property, and other taxes and any tax-related fees charges, and assessments
 accrued prepetition.

 10.             Motion For Entry of An Order Authorizing Debtors to Release Certain
                 Funds Held in Trust and to Continue Performance of and Honor Obligations
                 Under Consignment Arrangements and Deposit Arrangements [Docket No. 9]

          By Final Order granted on January 12, 2011 [Docket No. 501], the Bankruptcy Court authorized
 the Debtors to release certain funds held in trust and to continue to perform and honor obligations under
 their pre-petition consignment and deposit arrangements in the ordinary course of business, in a manner
 consistent with past practice, in order to uphold the Debtors’ reputation for reliability and to preserve the
 loyalty, goodwill and support of their Customers.

 11.             Motions for Entry of an Order Authorizing Rejection of Certain
                 Unexpired Nonresidential Real Property Leases [Docket Nos. 18, 164]

         By Final Order granted on December 14, 2010 [Docket No. 81] and Final Orders granted on
 January 12, 2011 [Docket Nos. 507, 508], the Bankruptcy Court authorized the Debtors to reject certain
 “dark store” leases where they have ceased ongoing operations and have been unable to sublease, assign,
 or terminate the relevant leases and reject certain underperforming nonresidential leases and related
 subleases.

 12.             Applications for Retention of Debtors’ Professionals

         Throughout the Chapter 11 Cases, the Bankruptcy Court has approved the Debtors’ retention of
 certain Professionals to represent and assist the Debtors in connection with the Chapter 11 Cases. These
 Professionals include, among others: (a) Kirkland & Ellis LLP as counsel for the Debtors (order granted
 January 12, 2011) [Docket No. 488]; (b) Huron Consulting Services LLC, as Financial Advisory (order
 granted January 12, 2011) [Docket No. 486]; and (c) Lazard Freres & Co. LLC (“Lazard”) as investment
 bankers for the Debtors (order granted January 12, 2011) [Docket No. 487].




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 C.       Postpetition Financing

 1.              DIP Financing

          As noted above, at the outset of the Chapter 11 Cases, the Debtors focused on negotiating and
 obtaining a DIP financing facility that would provide liquidity and ensure continued operations
 throughout the Chapter 11 Cases, and upon emergence from bankruptcy. With the assistance of their
 investment banker, Lazard, the Debtors’ management team engaged in a competitive process to procure
 the best available postpetition financing facility which resulted in competing DIP financing proposals.
 Ultimately, the Debtors’ entered into a credit agreement with JPM (the “DIP Agreement”) to obtain the
 $800 million DIP Facility. The Debtors filed a motion for approval of the DIP Facility on December 12,
 2010 [Docket No. 19]. Over several objections, the Bankruptcy Court, by interim order [Docket No. 43]
 and Final Order [Docket No. 479] (collectively, the “DIP Orders”), authorized the Debtors to: (a) enter
 into the DIP Facility, consisting of (i) a $350 million term loan facility to refinance the Debtors’
 prepetition senior secured credit facility and provide approximately $187 million in incremental liquidity
 and (ii) a $450 million revolving facility, including access to a $250 million letter of credit sublimit; and
 (b) grant adequate protection to the Debtors’ secured lenders.

         As approved on January 11, 2011 [Docket No. 479], the DIP Facility and accompanying DIP
 Orders provided the following relief:

                 a.       Financing: authority to enter into the DIP Agreement for an $800 million debtor-
                          in-possession financing facility, which:

                              o   repaid approximately $135.5 million outstanding under the prepetition
                                  Secured Credit Facility upon entry of the interim order;

                              o   provided approximately $187 million in incremental liquidity to fund the
                                  Debtors’ operations through a secured superpriority priming senior term
                                  loan facility upon entry of the interim order and approximately $263
                                  million of incremental liquidity upon entry of the Final Order; and

                              o   provided a $450 million secured superpriority priming senior revolving
                                  borrowing base facility with approximately $200 million in letters of
                                  available credit upon entry of the interim order, the remainder of which
                                  was made available upon entry of the Final Order.

                 b.        DIP Liens: authority to grant:

                              o   a first-priority, fully perfected lien on all unencumbered assets (primarily
                                  consisting of certain of the Debtors’ leasehold interests);

                              o   a first-priority, fully perfected priming lien on all assets of the Debtors
                                  subject to the lien securing the notes issued by A&P under the indenture
                                  dated as of August 4, 2009, pursuant to section 364(d) of the Bankruptcy
                                  Code; and

                              o   a fully perfected junior lien on all property subject to other pre-existing,
                                  validly perfected, non-avoidable liens existing as of the Commencement
                                  Date.



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                 c.      Adequate Protection: approval of the form and manner of adequate protection
                         provided to the Second Lien Lenders pursuant to sections 361(a) and 363(c) of
                         the Bankruptcy Code.

                 d.      DIP Claims: authority to grant a superpriority administrative claim with respect
                         to all loans made and obligations incurred by the Debtors on or after the
                         Commencement Date pursuant to the DIP Agreement, subject only to the Carve
                         Out set forth in the DIP Orders, pursuant to section 364(c)(1) of the Bankruptcy
                         Code.

                 e.      Cash Collateral: authority to use cash collateral within the meaning of section
                         361 of the Bankruptcy Code.

          As of the date hereof, the DIP Agreement has been twice amended. The first amendment to the
 DIP Agreement, among other things, provided that the Debtors’ disposition of the Southern Stores (as
 defined herein) would not result in a Prepayment Event, as defined under the DIP Agreement, thereby
 allowing the Debtors to retain the $40 million in proceeds generated from the sale of the Southern Stores
 without having to pay down the DIP Facility. The second amendment to the DIP Agreement modified
 certain financial covenants which, among other things, waived and allows for the waiver of the minimum
 cumulative EBITDA requirements for December 31, 2011 and January 28, 2012, provided, that, the
 Debtors file a plan of reorganization by January 30, 2012 that contemplates full indefeasible repayment of
 the obligations under the DIP Agreement, in cash, upon the effective date of such plan. The filing of the
 Plan satisfies the requirement entitling the Debtors to the EBITDA waiver described in the previous
 sentence.

 D.      Appointment of Committees

 1.              The Creditors’ Committee

         On December 21, 2010, the United States Trustee appointed the Creditors’ Committee pursuant
 to section 1102 of the Bankruptcy Code, consisting of: (a) the Wilmington Trust Company; (b) the
 PBGC; (c) United Food & Commercial Workers International Union, CLC; (d) Central States, Southeast
 and Southwest Areas Pension Fund; (e) 1199 SEIU Healthcare Employees Pension Fund; (f) Kimco
 Realty Corporation; (g) McKesson Pharmaceutical; (h) C&S Wholesale Grocers, Inc.; and (i) Calip
 Dairies Inc. On June 3, 2011, the United States Trustee appointed Kraft Foods Global, Inc. to the
 Creditors’ Committee.

         The Bankruptcy Court has approved the Creditors’ Committees’ retention of the following
 professionals: (a) Milbank, Tweed, Hadley & McCloy LLP as counsel [Docket No. 998]; (b) Klestadt
 & Winters, LLP as conflicts-counsel [Docket No. 1048]; and (c) FTI Consulting, Inc. as restructuring and
 financial advisors [Docket No. 999].

 E.      Operational Restructuring Initiatives

          The Debtors have used the tools of chapter 11 to implement certain operational restructuring
 initiatives to successfully reorganize their business, including: (a) rationalizing their store footprint;
 (b) strategically replacing and improving their supply and logistics arrangements; and (c) executing labor
 cost savings initiatives.




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 1.              Rationalization of Store Portfolio

          A fundamental component of the Debtors’ operational restructuring plan has been the
 rationalization of the Debtors’ footprint. The Debtors, with the assistance of their advisors and in
 consultation with the Creditors’ Committee, engaged in a comprehensive review of their store portfolio
 with the objective of identifying and closing unprofitable and non-core store locations.

                 a.               Dark Stores Leases

          In accordance with the Debtors’ operational restructuring activities, the Debtors, with the
 assistance of their advisors, began the process of reviewing and analyzing their contractual obligations so
 as to identify the contracts and leases that are burdensome to the Estates and may be rejected pursuant to
 section 365 of the Bankruptcy Code. By the Commencement Date, the Debtors had identified 73 “dark
 store” leases where the Debtors had ceased ongoing operations and were unable to sublease, assign, or
 terminate the relevant leases (collectively, the “Dark Store Leases”). The Debtors’ estimated that the
 Dark Store Leases would have imposed tens of millions of accrued actual costs in the fiscal year 2011
 alone, with the full economic impact on the Estates potentially even more dramatic. The Dark Store
 Leases represented an unnecessary expense to the Estates and effectively contributed no value to the
 Debtors’ balance sheet. Thus, pursuant to the Debtors’ First Omnibus Motion for Entry of an Order
 Authorizing Rejection of Certain Unexpired Nonresidential Real Property Leases Nunc Pro Tunc to the
 Date Hereof [Docket No. 18] and the Debtors’ Second Omnibus Motion for Entry of an Order
 Authorizing Rejection of Certain Unexpired Nonresidential Real Property Leases and Related Subleases
 [Docket No. 164], the Debtors obtained authority from the Bankruptcy Court to reject 73 Dark Store
 Leases, another 25 underperforming leases and 26 subleases [Docket Nos. 81, 507, and 508].

                 b.               Southern Stores

         In the process of evaluating their store portfolio, the Debtors identified 25 stores in the mid-
 Atlantic region operating under the SuperFresh banner (collectively, the “Southern Stores”) as non-core
 assets. Following a robust marketing process and a two-day public auction, on June 20, 2011, and June
 23, 2011, the Bankruptcy Court entered orders approving the sales of assets associated with the Southern
 Stores including, grocery stores, lease assignments and pharmacy assets to the highest bidders [Docket
 Nos. 1947, 1944, 1962, and 1965]. The Bankruptcy Court also authorized the Debtors to conduct store
 closing sales to dispose of all inventory and assets of the Southern Stores that were no successfully
 auctioned, and any assets excluded from the purchase agreements of the Southern Stores that were
 successfully auctioned [Docket No. 1734]. The sale of the assets of the Southern Stores generated more
 than $40 million in cash proceeds (excluding additional proceeds for inventory) for the Estates and freed
 the Debtors from the costs of operating underperforming stores that are not part of their going-forward
 business plan. Further, pursuant to the first amendment to the DIP Agreement, the Debtors were not
 obligated to use the proceeds from the Southern Store sales to pay down the DIP Facility.

                 c.               Store Closing Sales

         To facilitate the Debtors’ efforts to rationalize their store footprint, the Debtors sought authority
 from the Bankruptcy Court to: (i) commence store closing sales at stores the Debtors identify from time
 to time for closure in accordance with certain EBITDA related store rationalization procedures,
 notwithstanding any contractual provisions or state and local laws restricting such sales (the “Store
 Closing Sales”); (ii) sell certain of the Debtors assets in connection with the Store Closing Sales free and
 clear of all liens, claims and encumbrances; (iii) enter into a consulting agreement with a liquidation
 consultant; and (iv) assume, assign or reject unexpired leases subject to the Store Closing Sales [Docket



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 No. 1004]. To date, the Debtors have executed approximately 32 Store Closing Sales, generating
 approximately $24 million in annual EBITDA improvement.

         The Debtors are continuing to evaluate their Unexpired Leases in consultation with the Investors.

 2.              Implementing Improved Supply and Logistics Arrangements

          Another key aspect of the Debtors’ operational restructuring plan has been the replacement of
 costly, out-dated supply and logistics arrangements with new agreements tailored to the Debtors’ revised
 store footprint that provide significant cost savings.

                 a.                The New C&S Agreement

          C&S is the Debtors’ primary supplier, supplying approximately 70% of the merchandise sold by
 the Debtors, as of the Commencement Date. On March 7, 2008, A&P and C&S entered into an
 agreement under which C&S provided warehousing, transportation, and procurement services supporting
 virtually all of the Debtors’ operations (the “C&S Agreement”).

         The Debtors thoroughly analyzed the C&S Agreement and concluded that it was materially
 unfavorable to A&P and incompatible with an emergence strategy. In December of 2010, the Debtors
 hired Marie Robinson, an experienced supply and logistics executive, who developed and supervised a
 substantial effort to re-engineer A&P’s supply and logistics arrangements and analyze all alternatives.

          In early 2011, the Debtors initiated a multi-month and multi-round request for proposal process
 (“RFP”) from several supply and logistics providers, including C&S. The Debtors and their advisors
 considered C&S’s bid and also assembled composite bids based on a multi-provider solution that split the
 services that C&S currently provides among multiple suppliers. After analyzing all of the bids and
 following several weeks of negotiations with C&S, and with input from the Creditors’ Committee and the
 Debtors’ other key constituents, the Debtors concluded that the best option was to accept C&S’s bid
 offering a replacement contract and enter into a new supply and logistics contract with C&S (the “New
 C&S Agreement”).

          On June 23, 2011, the Bankruptcy Court authorized the Debtors to reject the C&S Agreement and
 enter into the New C&S Agreement and to settle certain prepetition claims between the Debtors and C&S
 related thereto, including rejection damages [Docket No. 1964]. The projected net cost savings from the
 New C&S Agreement exceeds $50 million in the first year following emergence, alone, which, upon the
 Effective Date of the Plan, will become operative. In addition, the New C&S Agreement provides for
 immediate and improved operational efficiencies and controls, flexibility to remain effective upon
 implementation of the Plan, and more favorable payment terms. Further, the New C&S Agreement
 contemplates C&S waiving its damages claim arising from the Debtors’ rejection of the C&S
 Agreement.32 The New C&S Agreement also resolves the setoff dispute among the parties embodied in
 the Stipulation and Agreed Order Regarding Setoff Rights [Docket No. 1483], entered by the Court on
 May 2, 2011 whereby the parties reserved all rights to litigate the disputed amounts and categories of
 claims at a later date. The Debtors shall retain the $5.8 million already remitted by C&S, and C&S shall



 32      C&S’s rejection damages claim waiver is voided if the New C&S Agreement is terminated prior to the
         Debtors’ emergence from chapter 11 and C&S may terminate the New C&S Agreement if the Debtors fail
         to emerge from chapter 11 by June 12, 2012 as an operating enterprise. Notably, this is the same date upon
         which the DIP facility matures and becomes fully payable.


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 retain the remaining $12.2 million and apply that amount in satisfaction of C&S’s liquidated prepetition
 claim.

                 b.               Rejection of GHI Trucking Agreement

          On February 4, 2011, the Bankruptcy Court entered an order authorizing the Debtors’ rejection of
 the trucking agreement with GHI (the “GHI Contract’) upon entering into an alternative transportation
 logistics arrangement [Docket No. 721] (the “GHI Contract Order”).33

          The GHI Contract was inherited in the Pathmark Acquisition. The GHI Contract gave GHI the
 exclusive right to service the Pathmark-branded stores regardless of the origin or the volume of products
 to be delivered. The Debtors analyzed the costs and benefits of the GHI Contract and found that they paid
 substantially more for the services they receive under the GHI Contract than the prices they could
 negotiate with other parties in the current marketplace for comparable logistics. In response to the
 general need to economically restructure their third-party logistics arrangements, and, in the short-term,
 secure a less costly provider of interim trucking services to the Pathmark-branded stores, the Debtors
 circulated RFPs to numerous transportation services, including GHI and C&S. Ultimately, C&S’s bid for
 interim trucking services was the most favorable and the Debtors entered into an interim trucking
 agreement with C&S. The interim trucking agreement with C&S permitted the Company to realize
 material transportation cost savings immediately upon rejection of the GHI Contract. The interim
 trucking agreement was later incorporated into the New C&S Agreement.

 3.              Reducing Labor Costs

          The final piece of the Debtors’ operational restructuring plan has been the development of a
 sustainable labor solution that sufficiently accommodates the Debtors’ needs to: (a) control labor costs;
 (b) attract and maintain a qualified and motivated workforce; (c) have sufficient flexibility to adapt their
 labor arrangements to their business needs; and (d) achieve a sustainable balance between the Debtors’
 capital structure and pension obligations to ensure the availability of favorable exit financing options.

         The Debtors are parties to 35 CBAs, which cover approximately 92% of their workforce. Among
 other things, these agreements require the Debtors to make significant pension, and health care-related
 contributions on their employees’ behalf. The Debtors contributed $56.6 million, $62.3 million and $48.2
 million to the Multiemployer Pension Plans in the fiscal years 2010, 2009 and 2008, respectively.
 Moreover, the Debtors believe their collectively bargained wage, pension, and health care obligations
 placed them at a competitive disadvantage and were unsustainable at existing levels.

         To develop a sustainable labor solution, the Debtors worked with their labor constituencies for
 months in extensive, arm’s-length negotiations. The Debtors and their advisors devised term sheets for
 each of their 35 CBAs and delivered them to the local unions on May 5, 2011. In the several months
 following the delivery of the term sheets, the Debtors’ senior management engaged in multiple
 negotiations with union representatives and exchanged counteroffers and term sheet revisions.

         The pace of the parties’ negotiations accelerated when the Debtors reached agreement on the
 Securities Purchase Agreements, dated as of November 3, 2011 (and since amended and restated), with


 33      On February 3, 2011, in anticipation of the GHI Contract Order, GHI filed an emergency motion for stay
         pending appeal of the GHI Contract Order [Docket No. 714]. On February 4, 2011, the Debtors filed an
         opposition to GHI’s motion for stay pending appeal of the GHI Contract Order [Docket No. 720]. On
         February 7, 2011, the Bankruptcy Court denied GHI’s motion for stay pending appeal of the GHI Contract
         Order [Docket No. 730].

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 the Investors. A key factor in the Debtors’ acceptance of the deal with the Investors was the UFCW’s
 support of the Debtors’ and the Investors’ work towards a successful restructuring transaction. The
 Securities Purchase Agreements provided deadlines for the completion of negotiations between the
 Debtors and their local unions. In addition, the Securities Purchase Agreements brought Yucaipa, and its
 proven acumen in grocery and labor-related matters, into the negotiations as an additional voice to help
 both sides reach consensus.

         Ultimately, the parties met the entire week of November 11, 2011 and began a series of
 negotiations aimed at closing the gap and reaching a final deal. The parties continued to document their
 agreements over the following week, and the final local union term sheet was executed on November 23,
 2011. That same day, the Debtors filed a motion seeking Court authority to enter into modifications to 34
 CBAs [Docket No. 2910] (the “Modified CBAs Motion”). At a hearing on December 5, 2011, the
 Bankruptcy Court approved the Modified CBAs Motion, and on December 8, 2011, the Bankruptcy Court
 entered an order approving the Modified CBAs Motion [Docket No. 3007].

          The Debtors estimate that the modified CBAs will generate material savings, which savings are
 reflected in the Financial Projections attached hereto as Exhibit C. Although the modified CBAs require
 substantial sacrifices from the Debtors’ employees, they will permit the Debtors to survive in the
 competitive grocery business while still permitting the Debtors to retain and attract high-quality
 associates.

          The terms of the modified CBAs are extended, which will provide the Debtors with substantial
 stability as reorganized entities. The modified CBAs also make myriad changes, varying by CBA, to 34
 different CBAs among the Debtors and 13 independent local unions. In general, the modified CBAs alter
 certain provisions relating to wages, benefits, and working conditions, all of which have a direct and
 favorable impact on the Debtors’ bottom line. The terms of the modified CBAs are described in greater
 detail in the Modified CBAs Motion.

         As of the filing of this Disclosure Statement, the Debtors have reached an agreement in principle
 with the Service Employees International Union, Local 1199 (“SEIU Local Union”), pursuant to which
 SEIU Local Union has agreed to certain modifications to its CBA that will provide cost savings to the
 Debtors. The modifications to SEIU Local Union’s CBA, subject to ratification by the members of SEIU
 Local Union and Bankruptcy Court approval, are intended to become effective on or before
 January 1, 2012.

 F.      Executory Contracts and Unexpired Leases

          The Bankruptcy Code authorizes a debtor, subject to the approval of the Bankruptcy Court, to
 assume and assign, or reject Executory Contracts and Unexpired Leases. In conjunction with their overall
 asset rationalization efforts, the Debtors have engaged in a comprehensive evaluation of their Executory
 Contracts and Unexpired Leases.

         The overwhelming majority of the Debtors’ store locations are leased, and as of the
 Commencement Date, the Debtors were parties to more than 700 unexpired leases of nonresidential real
 property, including subleases and leases on account of vacant properties, or locations previously assigned
 by the Debtors. The Leases are also a key component of the collateral package supporting the Debtors’
 postpetition lending facility and borrowing base. In order to right-size their store footprint, the Debtors,
 with the assistance of their advisors, have engaged in a comprehensive review of their store portfolio with
 the objective of identifying and selling non-core store locations.




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          On March 8, 2011 the Debtors sought and received approval of streamlined procedures to
 assume, assign or reject Unexpired Leases [Docket No. 1004]. During the course of the Chapter 11
 Cases, the Debtors and their Professionals have evaluated Executory Contracts and Unexpired Leases in
 the context of the Debtors’ business plan. For each of these Executory Contracts and Unexpired Leases,
 the Debtors determined, based on the economics of the specific contract and their overall restructuring
 efforts, whether the contract was a candidate for assumption, rejection, or amendment and assumption.

          To date, the Debtors have filed six omnibus motions to assume certain unexpired nonresidential
 leases [Docket Nos. 1959, 2271, 2486, 2656, 2780, 2936]. The Bankruptcy Court, pursuant to sections
 363(b) and 365(a) of the Bankruptcy Code, has granted the Debtors authority to assume approximately
 385 unexpired nonresidential leases and related subleases pertaining to approximately 235 operating
 stores, which compromise is the cornerstone for the Debtors’ ongoing business operations [Docket Nos.
 2181, 2372, 2636, and 2879].

 G.      Analysis and Resolution of Claims

         The Debtors’ Schedules and Statements provide information pertaining to the Claims against the
 Estates. On March 25, 2011, the Debtors filed their Schedules and Statements with the Bankruptcy
 Court. Interested parties may review the Schedules and Statements at the office of the Clerk of the United
 States Bankruptcy Court for the Southern District of New York, White Plains Division, 300 Quarropas
 Street, White Plains, New York 10601 or online at http://www.kccllc.net/APTea.

 1.              Claims Bar Date

         On May 2, 2011 the Bankruptcy Court entered an order (the “Bar Date Order”) [Docket No.
 1476] requiring all persons or entities, except as otherwise provided in the Bar Date Order, that can assert
 a Claim against the Debtors that arose or is deemed to have arisen prior to the Commencement Date,
 including all claims, as defined in section 101(5) of the Bankruptcy Code, all claims pursuant to section
 503(b)(9) of the Bankruptcy Code and all claims held by governmental units, to submit a written Proof of
 Claim so as to be actually received on or before June 17, 2011 at 5:00 p.m. (prevailing Eastern Time) by
 KCC, the Debtors’ Claims Agent, in accordance with the Bar Date Order.

         To date, KCC has received approximately 10,700 Proofs of Claim. Based upon a general
 reconciliation of the Debtors’ books and records, the Debtors believe that many of the filed Proofs of
 Claim are invalid, untimely, duplicative, or overstated, and, have therefore calculated the recoveries under
 the Plan with the assumption that such Claims will be expunged from the Claims Register. Based on this
 general reconciliation effort, the Debtors believe the actual total amount of the unsecured Claims Pool is
 approximately $1.0 billion to $1.7 billion, approximately $650 million of which is bond debt.

 2.              De Minimis Settlement Procedures

          On March 10, 2011, the Bankruptcy Court approved the Debtors’ motion seeking approval of
 certain procedures (the “De Minimis Settlement Procedures”) for settling de minimis Claims [Docket No.
 1002] (the “De Minimis Claims Order”). Under the De Minimis Settlement Procedures, where the
 proposed settlement amount is of a Claim or Cause of Action by a third party against one or more of the
 Debtors (the “Third Party Claims”) and is equal to or less than $75,000, the Debtors, in their reasonable
 business judgment, may settle such Claim without prior notice to any third parties or further notice or
 action by the Bankruptcy Court. Where the proposed settlement amount is of a Third Party Claim and is
 greater than $75,000 but less than $2,250,000, the Debtors, in their reasonable business judgment, may
 settle such Claim without further action of the Bankruptcy Court, provided, that the Debtors provide ten



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 days written notice to certain parties in interest pursuant to the De Minimis Claims Order and no
 objection is received from such parties within those ten days.

 H.      Maintaining Exclusive Right to File a Plan of Reorganization

          Section 1121(b) of the Bankruptcy Code establishes an initial period of 120 days after the
 Bankruptcy Court enters an order for relief under chapter 11 of the Bankruptcy Code during which only
 the debtor may file a plan. Without further order of the Bankruptcy Court, the Debtors’ initial exclusivity
 period to file a plan would have expired on April 9, 2011. By order dated March 10, 2011, the
 Bankruptcy Court extended the Debtors’ exclusivity periods through and including December 31, 2011
 (to file a plan) and through and including February 29, 2011 (to solicit acceptances) [Docket No. 1003].
 The order authorizing these extensions reserved the Debtors’ right to seek additional extensions of these
 exclusivity periods.

        On August 1, 2011 the Debtors filed their second motion to extend their exclusive periods
 [Docket No. 2268]. On August 18, 2011, the Bankruptcy Court approved the motion and extended the
 Debtors exclusive periods to both file and solicit votes for their plan of reorganization to January 16, 2012
 and March 16, 2012, respectively [Docket No. 2370].

 I.      Negotiations Relating to the Development of the Plan

          Beginning several months ago, at the same time that the Debtors were executing their substantial
 reorganization initiatives, the Debtors engaged in plan discussions with the Convertible Noteholders,
 which resulted in substantial dialogue during the months of August, September and October regarding
 capital investments to support a plan of reorganization, and which contributed to the terms memorialized
 in the Securities Purchase Agreements (the “Noteholders’ Proposal”). The Convertible Noteholders
 represent the Debtors’ largest unsecured creditor group and had demonstrated the financial wherewithal to
 deliver the capital infusion the Debtors needed to emerge from chapter 11. The material terms of the
 Noteholders’ Proposal were nearly finalized as of the end of October and the Debtors were prepared to
 file a motion for approval of the agreement on October 28, 2011, with the proposed investment contingent
 upon obtaining labor savings that the Debtors had yet to secure.

           However, on October 24, 2011, Yucaipa submitted to A&P’s Board of Directors a letter of
 interest to provide an alternative investment. At 8:30 AM on October 26, 2011, the Board formed an
 independent restructuring committee, excluding those directors that could be perceived as having an
 affiliation with Yucaipa (the “Restructuring Committee”), to evaluate both the Convertible Noteholders’
 Proposal and Yucaipa’s proposal. The first meeting of the Restructuring Committee took place thirty
 minutes later, at 9:00 AM on October 26, 2011, for the purpose of evaluating Yucaipa’s proposal.
 Following the October 26, 2011 Restructuring Committee meeting, the Debtors’ management and
 professionals engaged in parallel, around-the clock negotiations with the Convertible Noteholders and
 Yucaipa, providing updates to the Restructuring Committee on October 28, October 31 and November 1,
 2011. Before submission of the joint proposal, the Debtors’ believed Yucaipa’s proposal offered certain
 advantages to the Convertible Noteholdersnamely that (i) a Yucaipa-sponsored plan of reorganization
 was more likely to garner support from the Debtors’ unions; (ii) Yucaipa had general familiarity with the
 Debtors’ operations; and (iii) Yucaipa had the supermarket industry experience that could benefit the
 Debtors’ going-forward operations and efforts to obtain exit financing. On the other hand, that the sale of
 certain assets to Yucaipa in conjunction with the Debtors’ emergence from chapter 11 apart from the rest
 of the corporate enterprise could possibly have made outside financing more costly to obtain.

        Ultimately, the convertible noteholders and Yucaipa expressed an interest in submitting a joint
 proposal early in the morning hours of November 1, and it became clear to the Debtors and the

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 Restructuring Committee that the best solution for the Debtors and their estates would be to allow the
 Convertible Noteholders and Yucaipa to jointly invest, harnessing the benefits of each proposal. The
 Securities Purchase Agreements embody the results of these negotiations. Lazard and Kirkland updated
 the Restructuring Committee on November 1 of the developments overnight and moved forward with
 documenting a joint proposal. Specifically, as a result of these negotiations, the Convertible Noteholders
 agreed to, among other things, (a) decrease the $26 million agreed-to break-up fee to $20 million and (b)
 a include a “fiduciary out” provision which would allow the Debtors to consider unsolicited proposals
 upon execution of the Securities Purchase Agreements. For its part, Yucaipa agreed to forgo its earlier
 plan to purchase certain assets concurrently with the Debtors’ emergence.

         On November 2, 2011, the Restructuring Committee recommended that the Board authorize the
 Debtors’ management to enter into the Securities Purchase Agreements, and the Board gave such
 authorization on that same day. The Debtors’ management and professionals then finalized the Securities
 Purchase Agreements, and the parties signed the Securities Purchase Agreements on November 3, 2011.
 The parties amended and restated the Securities Purchase Agreements and submitted them to the
 Bankruptcy Court, certain parties in interest and (in a redacted form) to certain parties that objected to the
 Debtors’ motion to enter into the Securities Purchase Agreements. On December 6, 2011, the Bankruptcy
 Court entered an order authorizing the Debtors to enter into the amended and restated Securities Purchase
 Agreements [Docket No. 2962]. The Securities Purchase Agreements are the backbone of the Plan,
 which the Debtors believe represents their best option to maximize value for the estates, exit chapter 11 as
 expeditiously as possible, and provide their reorganized enterprise with the capital needed to implement
 their post-reorganization business plan.

 J.      Plan Support Agreement With Certain Holders of Debtors’ Second Lien Notes

         A&P, as issuer, and each of the Debtors, as guarantors, have issued notes (the “Second Lien
 Notes”) pursuant to that indenture dated as of August 4, 2009 (the “Second Lien Indenture”) by and
 between the Debtors and Wells Fargo Bank, N.A. in its capacity as successor trustee (the “Second Lien
 Trustee”). The Second Lien Notes are secured by liens on substantially all the Debtors’ personal property
 and certain parcels of the Debtors’ real property. Holders of the Second Lien Notes beneficially owning
 approximately 70% of the aggregate principal value of the Second Lien Notes are members of the Ad Hoc
 Consortium of Second Lien Noteholders.34

         Beginning in mid-November, 2011, the Debtors, the Ad Hoc Consortium of Second Lien
 Noteholders, the Investors, and the Second Lien Trustee and their respective professionals engaged in
 arm’s length, good faith negotiations around the terms of a potential settlement to address their respective
 positions and, ultimately, to secure the collective support of certain holders of the Debtors’ Second Lien
 Notes for the Debtors’ proposed Plan. Through these negotiations, the parties addressed:

                 •    the treatment under the Plan of certain holders of the Debtors’ Second Lien Notes
                      that have executed the Plan Support Agreement (collectively, the “Consenting
                      Noteholders”),35 including the treatment of makewhole claims potentially arising
                      under the Second Lien Indenture and the Second Lien Notes and the treatment of
                      other claims arising under the Second Lien Indenture and the Second Lien Notes
                      under the Plan, including default interest, interest on interest, and other claims;

 34      The Ad Hoc Consortium of Second Lien Noteholders is described more fully in the Amended Verified
         Statement of Brown Rudnick LLP Pursuant to Bankruptcy Rule 2019(a) filed with the Bankruptcy Court on
         November 11, 2011 [Docket No. 2856].
 35      Collectively, the Consenting Noteholders hold approximately $204 million of the Debtors’ Second Lien
         Notes—or approximately 79% of the Second Lien Notes’ aggregate principal value.

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                  •    issues related to the Debtors’ potential cramdown of the Consenting Noteholders
                       under the Plan; and

                  •    the Consenting Noteholders’ ultimate support for the Debtors’ Plan.

           The negotiations were a success and are embodied in the Plan Support Agreement. Pursuant to
 the Plan Support Agreement, the Debtors have agreed to amend the Plan to provide for: (a) the allowance
 of Second Lien Note Claims in the aggregate amount of $309,660,000.00 (assuming a March 1, 2012
 Effective Date), subject to a per diem adjustment for the accrual of interest of $108,785.00 per day;36
 (b) the payment of the Consenting Noteholders’ Second Lien Note Claims on a Pro Rata basis in full in
 Cash; (c) the Consenting Noteholders and, subject to certain conditions, the Second Lien Trustee to be
 Released Parties and Exculpated Parties under the Plan; and (d) the allowance and payment of the
 Consenting Noteholders’ and the Second Lien Trustee’s reasonable and documented fees and expenses as
 of the Effective Date in an amount not to exceed $1,800,000, plus any fees and expenses payable by the
 Debtors pursuant to the Final DIP Order that remain unpaid as of the Plan Effective Date.37

         Pursuant to the Plan Support Agreement, and as described more fully in Article VI.G.1 herein, the
 treatment of holders of Allowed Class A Second Lien Note Claims depend on whether Class A votes to
 accept the Plan (or is presumed to have accepted the Plan) or votes to reject the Plan.

         The Bankruptcy Court authorized the Debtors to enter into the Plan Support Agreement at a
 hearing held on December 15, 2011.38

                                               ARTICLE VI.
                                               PLAN SUMMARY

 A.      Overview of Chapter 11

          Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. Under
 chapter 11, a debtor can reorganize its business for the benefit of itself, its creditors, and interest holders.
 Chapter 11 also strives to promote equality of treatment for similarly situated creditors and similarly
 situated interest holders with respect to the distribution of a debtor’s assets.

         The commencement of a chapter 11 case creates an estate that is comprised of all of the legal and
 equitable interests of a debtor as of the filing date. The Bankruptcy Code provides that the debtor may
 continue to operate its business and remain in possession of its property as a “debtor-in-possession.”



 36      As set forth more fully in the Plan Support Agreement, this amount excludes and does not include any
         Applicable Premium (as defined in the Second Lien Indenture), makewhole premium, prepayment penalty,
         or similar Claim arising under or related to the Second Lien Indenture or the Second Lien Notes. Subject to
         the terms and conditions set forth in the Plan Support Agreement, the Debtors expressly reserve all rights to
         contest any such claims on any basis.
 37      The Final DIP Order provides for the reimbursement of up to $175,000 of reasonable fees and expenses per
         month as further adequate protection for the Second Lien Trustee, subject to the terms and conditions set
         forth more fully therein. (See Final DIP Order ¶ 15(e)(ii).) To be clear, the Debtors will not be obliged to
         pay any additional fees and expenses under the Plan Support Agreement unless and until the Plan is
         confirmed and consummated, nor is the Second Lien Trustee waiving any rights with respect to such fees
         and expenses pursuant to section 506(b) of the Bankruptcy Code.
 38      See Order Authorizing the Debtors to Enter Into a Plan Support Agreement With Certain Holders of the
         Debtors’ Second Lien Notes [Docket No. ].

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         The consummation of a plan of reorganization is the principal objective of a chapter 11 case. A
 plan of reorganization sets forth the means for satisfying claims against, and interests in, a debtor.
 Confirmation of a plan of reorganization makes the plan binding upon the debtor, any issuer of securities
 under the plan, any person or entity acquiring property under the plan, and any creditor of or equity holder
 in the debtor, whether or not such creditor or equity holder is impaired under or has accepted the plan, or
 receives or retains any property under the plan. Subject to certain limited exceptions, and except as
 otherwise provided in the plan or the confirmation order itself, a confirmation order discharges the debtor
 from any debt that arose prior to the date of confirmation of the Plan and substitutes for those debts the
 obligations specified under the confirmed plan.

          A chapter 11 plan may specify that the legal, contractual, and equitable rights of the holders of
 claims or interests in certain classes are to remain unaltered by the reorganization effectuated by the plan.
 Such classes are referred to as “unimpaired” and, because of such favorable treatment, are presumed to
 accept the plan. Accordingly, a debtor need not solicit votes from the holders of claims or interests in
 such unimpaired classes. A chapter 11 plan also may specify that certain classes will not receive any
 distribution of property or retain any claim against a debtor. Such classes are deemed to reject the plan
 and, therefore, need not be solicited to vote to accept or reject the plan. Any classes that are receiving a
 distribution of property under the plan but are not “unimpaired” will be solicited to vote to accept or reject
 the plan.

          Section 1123 of the Bankruptcy Code provides that a plan of reorganization shall classify the
 claims of a debtor’s creditors and interest holders. In compliance therewith, the Plan divides Claims and
 Interests into various Classes and sets forth the treatment for each Class. The Debtors believe that the
 Plan has classified all Claims and Interests in compliance with section 1122 of the Bankruptcy Code, but
 it is possible that a holder of a Claim or Interest may challenge the classification of Claims and Interests
 and that the Bankruptcy Court may find that a different classification is required for the Plan to be
 confirmed. In such event, the Debtors intend, to the extent permitted by the Bankruptcy Court and the
 Plan, to make such modifications of the classifications under the Plan to permit Confirmation and to use
 the Plan acceptances received in this solicitation for the purpose of obtaining the approval of the
 reconstituted Class or Classes of which the accepting holder is ultimately deemed to be a member. Any
 such reclassification could adversely affect the Class in which such holder was initially a member, or any
 other Class under the Plan, by changing the composition of such Class and the vote required of that Class
 for approval of the Plan.

       THE REMAINDER OF THIS SECTION PROVIDES A SUMMARY OF THE STRUCTURE
 AND MEANS FOR IMPLEMENTATION OF THE PLAN AND THE CLASSIFICATION AND
 TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN, AND IS QUALIFIED IN ITS
 ENTIRETY BY REFERENCE TO THE PLAN, THE PLAN SUPPLEMENT, AND THE EXHIBITS
 AND DEFINITIONS CONTAINED IN EACH DOCUMENT.

      THE STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT INCLUDE
 SUMMARIES OF THE PROVISIONS CONTAINED IN THE PLAN AND IN THE DOCUMENTS
 REFERRED TO IN THE PLAN. THE STATEMENTS CONTAINED IN THE DISCLOSURE
 STATEMENT DO NOT PURPORT TO BE PRECISE OR COMPLETE STATEMENTS OF ALL THE
 TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS REFERRED TO IN THE PLAN,
 AND REFERENCE IS MADE TO THE PLAN AND TO SUCH DOCUMENTS FOR THE FULL AND
 COMPLETE STATEMENT OF SUCH TERMS AND PROVISIONS OF THE PLAN OR
 DOCUMENTS REFERRED TO IN THE PLAN.

      THE PLAN ITSELF AND THE DOCUMENTS IN THE PLAN CONTROL THE ACTUAL
 TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN AND WILL, UPON THE

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 OCCURRENCE OF THE EFFECTIVE DATE, BE BINDING UPON, AMONG OTHER ENTITIES,
 ALL HOLDERS OF CLAIMS AND INTERESTS, THE REORGANIZED DEBTORS, ALL ENTITIES
 RECEIVING PROPERTY UNDER THE PLAN, AND OTHER PARTIES IN INTEREST. IN THE
 EVENT OF ANY CONFLICT BETWEEN THE DISCLOSURE STATEMENT AND THE PLAN OR
 ANY OTHER OPERATIVE DOCUMENT, THE TERMS OF THE PLAN AND SUCH OTHER
 OPERATIVE DOCUMENT SHALL CONTROL.

 B.      Overall Structure of the Plan

         Pursuant to the Plan, the Investors are providing a total New Money Commitment of $490 million
 in the form of (i) $210 million39 face amount of privately placed New Second Lien Notes, (ii) $210
 million face amount of privately placed New Convertible Third Lien Notes, and (iii) an $80 million New
 Equity Investment. Pursuant to the Substantive Consolidation Settlement described herein, holders of
 allowed General Unsecured Claims will receive their Pro Rata share of a cash pool of $40 million, less
 the amount distributed pursuant to the Substantive Consolidation Settlement.

         In connection with its purchase of the NewCo Equity and the New Convertible Third Lien Notes,
 Yucaipa will acquire warrants to purchase NewCo Equity representing 7.0% of the fully diluted (prior to
 the issuance of any equity incentives pursuant to any management equity incentive plan A&P may
 implement pursuant to the Plan) common equity in Reorganized A&P at the time of the Plan Effective
 Date (the “Investment Warrants”).

         As part of the Plan, on November 3, 2011, the Debtors and the Investors entered into security
 purchase agreements in respect of the New Second Lien Notes, the New Convertible Third Lien Notes
 and the New Equity Investment (collectively, the “Securities Purchase Agreements”). The Securities
 Purchase Agreements each provide that the parties will support the Plan in all aspects. Each of the
 Investors has agreed that, subject to certain exceptions, so long as the Company is in compliance with its
 obligations under the Securities Purchase Agreements and the Securities Purchase Agreements have not
 been terminated, the Investors will, subject to the receipt by the Investors of a Disclosure Statement
 approved by the Bankruptcy Court, timely vote or cause to be voted all of their Claims against the
 Debtors to accept the Plan, and not to change or withdraw such vote.

         The Securities Purchase Agreements contain customary representations, warranties and
 covenants. In certain limited circumstances, the Investors have the right to terminate the Securities
 Purchase Agreements and withdraw their support for the Plan. For example, the Investors may terminate
 the Securities Purchase Agreements and will not be required to support the Plan if (a) the representations
 and warranties made by the Debtors in connection with the Securities Purchase Agreements fail to be true
 and correct in all material respects or (b) the Debtors fail to materially perform or comply with any
 covenants contained in the Securities Purchase Agreements.

         The Securities Purchase Agreements contain both exclusivity and non-solicitation covenants that
 prohibit the Debtors from soliciting alternative transactions; however, they also contain a limited
 “fiduciary out” permitting the Debtors to consider unsolicited superior offers.

         The Securities Purchase Agreements provide that the Debtors will pay the Investors a $40 million
 commitment fee payable in New Convertible Third Lien Notes and, under certain circumstances, a
 $15 million break-up fee to the Investors. They also provide that the Debtors will pay the Investors’

 39      The $210 million face amount of the New Second Lien Notes will be issued with a 5.0% original issue
         discount, therefore, the aggregate amount of the securities includes $200 millionnot $210 millionin
         funds from the issuance of the New Second Lien Notes.

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 reasonable fees and expenses, provided, that to the extent the total fees and expenses of professional
 advisors retained by the Investors (excluding any success fees, transaction fees or comparable fees set
 forth on Schedule 1.7 of the Company Disclosure Schedule attached to the Securities Purchase
 Agreements) which are incurred during the period from and after the Execution Date of the Securities
 Purchase Agreements and on or before the Closing Date of the Securities Purchase Agreements (or any
 earlier termination of the Securities Purchase Agreements, exceed $5.0 million, the payment (or
 reimbursement) of such professional fees and expenses in excess of $5.0 million shall be subject to
 further approval by the Bankruptcy Court.

         The Securities Purchase Agreements are the backbone of the Plan, which the Debtors believe
 represents their best option to maximize value for the estates, exit chapter 11 as expeditiously as possible,
 and provide their reorganized enterprise with the capital needed to implement their post-reorganization
 business plan.

         The preceding description is a summary of the Securities Purchase Agreements and does not
 purport to be complete. This summary is subject to and is qualified by reference to all the provisions of
 Securities Purchase Agreements.

 C.      Substantive Consolidation Settlement

          The Plan provides for a settlement and compromise of the issues relating to whether the liabilities
 and assets of the Debtors should be substantively consolidated for purposes of distributions under the
 Plan. These issues include: (a) whether the elements necessary to obtain an order of substantive
 consolidation are satisfied in the Chapter 11 Case; (b) the value of the Debtors’ Estates on an individual
 and a consolidated basis, and the proper method of determining such value; (c) whether the Estate of each
 Debtor should be treated separately for purposes of making payments to holders of Claims; (d) whether it
 is possible to attribute particular Claims asserted in the Chapter 11 Cases to a specific Debtor; (e) the
 value to be accorded to guarantees issued by one Debtor in favor of another Debtor; (f) the strength of the
 relative rights and positions of the different Classes of unsecured Claims with respect to disputes over
 substantive consolidation; (g) other issues having to do with the rights of certain Estates, Claims, or
 Classes of Claims vis-à-vis other Estates, Claims, or Classes of Claims; and (h) the nature of
 Intercompany Claims arising in the ordinary course of business.

         Substantive consolidation is a judicially-created remedy whereby the assets and liabilities of two
 or more related entities are pooled, and the pooled assets are used to satisfy the claims of creditors of all
 the consolidated entities. The Debtors believe there is sufficient evidence to satisfy the legal standard for
 substantive consolidation, specifically that the Debtors’ businesses are “hopelessly entangled” and
 creditors relied on the Debtors as a single economic unit when transacting business with the Debtors in
 the ordinary course. However, certain creditors, namely holders of Guaranteed Landlord Claims and
 Pension Withdrawal Claims, may assert that they would be disadvantaged by substantive consolidation.
 After considering the various factors weighing both in favor of and against substantive consolidation, and
 in consultation with the Creditors’ Committee, the Debtors concluded that complex, time-consuming, and
 ultimately uncertain substantive consolidation litigation was likely if the Debtors pursued substantive
 consolidation of their estates, and that the cost of such litigation could pose material risk to the Debtors’
 reorganization efforts and all creditor recoveries. Therefore, the Plan proposes a compromise that would
 eliminate the necessity of such costly and time-consuming litigation and that best approximates the
 equitable distribution of the Debtors’ assets after taking into account the issues described in the preceding
 paragraph.




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 1.               Legal Standard for Substantive Consolidation

          The Second Circuit, in Union Sav. Bank v. Augie/Restivo Baking Co. (In re Augie/Restivo Baking
 Co.), 860 F.2d 515, 518 (2d Cir. 1988) established a two-pronged test for determining whether the
 equitable remedy of substantive consolidation is appropriate: (i) did creditors deal with the entities as a
 single economic unit and not rely on the separate identity of the debtors in extending credit or (ii) are the
 affairs of the debtors so hopelessly entangled that consolidation will benefit all creditors. See
 Augie/Restivo, 860 F.2d at 518. Substantive consolidation is appropriate where either test is satisfied. In
 applying these tests, courts generally consider several of the following factors when determining whether
 to grant substantive consolidation of debtors in chapter 11, including: (a) the presence or absence of
 consolidated financial statements; (b) the unity of interests and ownership between the various entities; (c)
 the existence of intercompany guarantees; (d) the degree of difficulty in segregating and ascertaining the
 assets and liabilities of the various entities; (e) the informal transfer of assets among the entities; (f) the
 commingling of assets, liabilities, and business functions; (g) the profitability of consolidation at a single
 location; (h) whether a parent owns a majority of its subsidiary’s stock; (i) whether the entities have
 common officers and directors; (j) whether a subsidiary is grossly undercapitalized; (k) whether a
 subsidiary solely conducts business with its parent; (l) disregard of the legal requirements of a subsidiary
 as a corporation separate from its parent; (m) the existence of a single cash management system; (n)
 whether different entities were created only to provide tax benefits; (o) assumption by a parent of
 contractual obligations of its subsidiaries; (p) sharing of overhead, management, accounting, and other
 related expenses among different corporate entities; (q) failure to distinguish between property of each
 entity; (r) a parent paying salaries of employees of subsidiaries; (s) a parent or its affiliates financing the
 subsidiary; (t) a parent shifting people on and off its subsidiary’s board of directors; (u) a parent referring
 to its subsidiary as a department or division; (v) directors of a subsidiary not acting independently in the
 interest of the subsidiary, but taking direction from the parent; and (w) a parent acting from the same
 business location as its affiliates and subsidiaries. See, e.g., In re Vecco Constr. Indus., Inc., 4 B.R. 407,
 410 (Bankr. E.D. Va. 1980); PBGC v. Ouimet Corp., 711 F.2d 1085, 1093 (1st Cir. 1983); In re Drexel
 Lambert Grp., Inc., 138 B.R. 723, 766 (Bankr. S.D.N.Y. 1992); In re Eagle-Picher Indus., Inc., 192 B.R.
 903, 907 (Bankr. S.D. Ohio 1996); In re Lionel L.L.C., Case No. 04-17324, 2008 WL 905928, at *11
 (Bankr. S.D.N.Y. Mar. 31, 2008). As the above-mentioned factors indicate, a substantive consolidation
 analysis is extremely fact-intensive.

 2.               The Debtors’ Analysis of Substantive Consolidation

          The Debtors’ management and advisors undertook a comprehensive analysis of many of the
 factors listed in Article VI.C.1 above that courts consider in a substantive consolidation analysis. The
 Debtors reviewed, among other things, the Debtors books and records, public filings, accounting and cash
 management systems, intercompany claims, intercompany guarantees, and expense allocations. Through
 this extensive analysis, the Debtors determined that substantive consolidation may be feasible.

                  a.               Hopeless Entanglement

         The Debtors believe that a number of factors support a conclusion that their businesses are
 “hopelessly entangled” on a financial and operational basis, and that such factors satisfy the second prong
 of the Augie/Restivo test described above.

         The Debtors’ reporting and accounting systems do not record information that would enable a
 determination of each individual Debtor’s financial picture with a high degree of certainty, although the
 Debtors maintained financial statements by Debtor entity prior to the Petition Date. Prior to the Petition
 Date, the Debtors financial reporting system generated intercompany balances arising from the ordinary
 operation of the Debtors’ business. Intercompany balances for any particular legal entity could fluctuate

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 based on, among other things, transfers of cash or personal property from one legal entity to another,
 invoices satisfied by one legal entity on another’s behalf, or the allocation of corporate overhead or other
 expenses among different legal entities.

         For example, the Debtors would typically pay vendor invoices through a disbursement from an
 A&P-owned bank account, regardless of whether inventory was delivered to an A&P-owned store or a
 location nominally owned by an affiliated Debtor. Thus, a $1,000,000 payment on account of inventory
 delivered to a store location owned by Pathmark Stores, Inc. would be reflected as a $1,000,000 increase
 to A&P’s intercompany receivable balance, and a $1,000,000 decrease to Pathmark Stores, Inc.’s
 intercompany receivable balance. Prior to the Petition Date, the Debtors’ financial reporting system
 would record thousands of transactions like this in the ordinary course of business.

         However, the Debtors’ financial reporting did not track the particular entity to which any given
 intercompany receivable is due, or vice versa. For example, the Debtors do not historically maintain an
 account that tracks all A&P/Pathmark Stores, Inc. transactions. Instead, each Debtor maintained a single
 intercompany balance that aggregated all intercompany transactions for that entity (as opposed to
 maintaining separate balances for intercompany transactions with each of its 53 Debtor Affiliates),
 although such transactions would be recorded in the Debtors’ general ledger. In other words, the Debtors
 cannot readily identify the affiliate(s) from which a particular prepetition intercompany balance is due.

          Further, until 2009, the Debtors maintained financial statements on a consolidated basis only.
 The Debtors’ initial legal entity balance sheets were developed based on available records and required
 significant estimates with respect to, among other things, the assets (including inventory, contracts, store
 leases, and personal property), liabilities, and intercompany balances. Even after the Debtors began legal
 entity accounting, they continued to publicly file audited financial statements on a consolidated basis
 only. As a result, the Debtors’ intercompany balances have never been audited or otherwise tested by the
 Debtors’ independent accountants.

         After extensively reviewing their financial accounting, the Debtors believe that it would be
 extremely difficult and prohibitively expensive to deconstruct their intercompany balances and
 consolidated financial statements and accurately determine the amount of assets and liabilities at each
 Debtor.

         Further, the Debtors share overhead, management, accounting, and other related expenses. Each
 Debtor is managed and operated by the same executive management team based in Montvale, New
 Jersey. Corporate overhead is generally allocated to each Debtor as a percentage of sales or expenses to
 cover the pro rata share for costs such as executive compensation but is not allocated based on actual use
 of shared resources. Other corporate overhead expenses are allocated to divisions, and to the stores
 within a particular division, based on sales. However, these relationships are not governed by formal
 intercompany services agreements among the respective Debtors but are, instead, a function of accounting
 practices utilized by the Debtors’ centralized financial staff in the ordinary course of business.

         Although, given a significant level of professional resources and a commensurate amount of time,
 it may be possible to reconcile or validate the Debtors’ intercompany books and records through a
 forensic accounting analysis, the Debtors believe this exercise would be prohibitive in terms of both cost
 and the resulting delays that would necessarily be imposed upon their overall reorganization efforts.

                 b.               Creditors’ Reliance on the Debtors as a Single Integrated Enterprise

         The Debtors believe the vast majority of their creditors perceived and relied upon the Debtors as a
 single economic unit and did not rely on the separate identity of any Debtor in the ordinary course of

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 business because, among other things: (i) most of the Debtors’ major vendor contracts are entered into by
 only A&P regardless of the fact that such vendors supplied store locations nominally owned by subsidiary
 Debtors; (ii) marketing relationships and merchandising programs were typically negotiated by the
 Debtors’ centralized merchandising staff on behalf of the A&P enterprise as a whole; (iii) the Debtors
 issued financial statements on a “consolidated only” basis prior to the Prepetition Date; (iv) the Debtors
 typically used the same letterhead, business cards, and check forms for business (regardless of the
 particular legal entity at issue); (v) creditors of A&P subsidiaries generally did not have access to
 financial statements of such entities, but instead only had access to consolidated financial statements;
 (vi) most of the Debtors did not have individual credit ratings, and (vii) substantially all cash
 disbursements are made through bank accounts owned or maintained by A&P. Overall, the Debtors
 generally presented themselves as a single integrated enterprise and their creditors did not rely on the
 separate identity of any one Debtor.

 3.               The Substantive Consolidation Settlement

         Despite the strength of the Debtors’ arguments, the Debtors identified certain risks and barriers to
 continuing to dispute the substantive consolidation issue. Litigation, which would require significant
 discovery in addition to hearings and trial, could easily span several months and cost millions of dollars.
 Without the Substantive Consolidation Settlement, the Chapter 11 Cases would be substantially
 prolonged, and the Debtors would face not only the increased costs of substantive consolidation litigation
 but also the additional costs inherent in lingering in bankruptcy. In addition, the Debtors recognize that
 certain creditors may have relied on the corporate separateness of particular Debtors when electing to
 extend credit on a prepetition basis or that may otherwise hold claims against multiple Debtor entities on
 account of creditor-specific contractual rights.40

         Accordingly, and with the goal of effectuating a reorganization that maximizes value to creditors,
 the Debtors met with advisors to the Creditors’ Committee on numerous occasions to keep them apprised
 of the Debtors’ analysis, and also to provide the Creditors’ Committee with the opportunity to test the
 Debtors’ legal and factual determinations. The Debtors also provided the Creditors’ Committee’s
 advisors with significant levels of diligence throughout this process, including the opportunity to meet
 with various members of the Debtors’ legal, financial, and merchandising teams. Through these
 discussions, the Debtors proposed the framework for the Substantive Consolidation Settlement in
 consultation with the Creditors’ Committee’s advisors.

          Pursuant to the Substantive Consolidation Settlement embodied in the Plan, holders of Allowed
 Unsecured Claims will receive their Pro Rata shares of the Unsecured Creditor Cash Pool. The Debtors
 believe that the substantive consolidation of the Debtors may adversely impact holders of Allowed
 (Class I) Guaranteed Landlord Claims and Allowed (Class J) Pension Withdrawal Claims because such
 holders may be entitled to a recovery from multiple operating Debtors on account of their Allowed
 (Class I) Guaranteed Landlord Claims and Allowed (Class J) Pension Withdrawal Claims. Therefore, in
 order to provide an equitable distribution to holders of Allowed Pension Withdrawal Claims and holders
 of Allowed Guaranteed Landlord Claims who vote to approve the Plan, in consultation with the
 Creditors’ Committee, the Plan and Substantive Consolidation Settlement provide for an enhanced
 recovery to these holders as provided in Article III.C.9.b and Article III.C.10.b of the Plan. The terms of
 the Substantive Consolidation Settlement shall not be changed without the consent of the Investors (such
 consent shall not be unreasonably withheld or delayed in the case of a change that is not adverse to the

 40      The Debtors reserve their rights, subject to the consent of the Investors (such consent shall not be
         unreasonably withheld or delayed in the case of a decision by the Debtors or Reorganized Debtors that is
         not adverse to the Investors), to substantively consolidate their estates, in full, outside of the terms of the
         Substantive Consolidation Settlement.

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 Investors), and any change shall be made in consultation with the Creditors’ Committee and the DIP
 Facility Administrative Agent.

         Holders of Allowed Guaranteed Landlord Claims specifically bargained to have recourse against
 both an operating Debtor and A&P, through a guarantee. Also, holders of Allowed Pension Withdrawal
 Claims assert that they are entitled to recover from all of the Debtors on a joint and several basis pursuant
 to ERISA and PBGC regulations.41 Accordingly, the Debtors believe that holders of Allowed Guaranteed
 Landlord Claims and holders of Allowed Pension Withdrawal Claims would have potentially viable
 arguments in opposition to the substantive consolidation of the Debtors’ Estates.

          As a result of the Substantive Consolidation Settlement, except as otherwise provided herein
 (including any exhibits or supplements hereto), and only for purposes of voting and distributions under
 the Plan: (a) the separate Chapter 11 Cases of the Debtors will be consolidated into the case of A&P as a
 single consolidated case; (b) all property of the Estate of each Debtor will be deemed to be property of the
 consolidated Estates; (c) all Claims against each Estate will be deemed to be Claims against the
 consolidated Estates, any Proof of Claim filed against one or more of the Debtors will be deemed to be a
 single Proof of Claim filed against the consolidated Estates, and all duplicate Proofs of Claim filed on
 account of a Claim representing a single liability (other than Claims filed against multiple Debtors on the
 basis of joint and several liability) will be deemed expunged; (d) no distributions under the Plan will be
 made on account of Intercompany Claims or Intercompany Interests; (e) Allowed Claims based on joint
 and several liability shall be deemed satisfied by a single distribution as if the Claim were held solely
 against one Debtor Entity; (f) except as provided in the Plan with respect to the treatment of Guaranteed
 Landlord Claims and Pension Withdrawal Claims, all Claims based upon pre-petition unsecured
 guarantees by one Debtor in favor of any other of the Debtors or other basis of co-Debtor liability will be
 eliminated (other than guarantees existing under assumed Executory Contracts or Unexpired Leases), and
 no distributions under the Plan will be made on account of Claims based upon such guarantees or other
 basis of co-Debtor liability; and (g) for purposes of determining the availability of the right of setoff
 under section 553 of the Bankruptcy Code, the Debtors will be treated as one consolidated entity so that,
 subject to the other provisions of section 553 of the Bankruptcy Code, pre-petition debts due to any of the
 Debtors may be set off against the pre-petition debts of any other of the Debtors.

          The Plan will not result in the merger or otherwise affect the separate legal existence of each
 Debtor, other than with respect to distribution rights under the Plan. The compromise plan structure will
 not (a) impair the validity or enforceability of guarantees that exist under or with respect to assumed
 executory contracts or unexpired leases; (b) affect valid, enforceable, and unavoidable Liens that would
 not otherwise be terminated under the Plan, except for Liens that secure a Claim that is eliminated by
 virtue of the plan structure and Liens against collateral that are extinguished by virtue of such plan
 structure; (c) have the effect of creating a Claim in a Class different from the Class in which a Claim
 would have been placed in the absence of such structure; or (d) affect the obligation of each of the
 Reorganized Debtors, pursuant to section 1930 of Title 28 of the United States Code, to pay quarterly fees
 to the Office of the United States Trustee until such time as each particular Debtor’s case is closed.

         The Substantive Consolidation Settlement is the result of negotiations among the advisors to the
 Creditors’ Committee and the Debtors. This negotiation followed extensive legal analysis by the Debtors
 regarding whether substantive consolidation was appropriate. The Debtors will address certain aspects of
 their analysis at the Confirmation Hearing in support of the Substantive Consolidation Settlement.
 Among other things, key factors assessed in the analyses included:



 41      See 29 U.S.C. 1381; 29 U.S.C. 1301(b)(1); 29 C.F.R. 4001.2; 29 C.F.R. 4001.3.

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                •   the strength of a given holder’s argument that their recoveries are materially
                    affected by substantive consolidation of the Debtors in light of applicable law;

                •   the probability that a given holder would be successful in opposing substantive
                    consolidation of the Debtors’ estates;

                •   the risks and costs of substantive consolidation;

                •   the magnitude and likely treatment of intercompany claims;

                •   the estimated size of a given holders’ claims relative to the estimated size of the entire
                    Unsecured Creditors’ claims pool; and

                •   the projected recoveries of Unsecured Creditors on a consolidated basis with and without
                    implementation of the Substantive Consolidation Settlement.

         Based upon the Debtors’ analysis and negotiations with the Creditors’ Committee, the Debtors
 and the advisors for the Creditors’ Committee agreed that Pension Withdrawal Claims and Guaranteed
 Landlord Claims should be entitled to a recovery enhancement under the Substantive Consolidation
 Settlement. The Debtors and the advisors for the Creditors’ Committee then allocated the percentages in
 negotiations based upon the factors described above and their respective analyses. As a result of these
 analyses and negotiations, the Debtors’ determined that the Pension Withdrawal Claims and Guaranteed
 Landlord Claims’ incremental recovery as a multiple of General Unsecured Claims should be 2.35 times
 and 1.46 times General Unsecured Claim Recoveries, respectively. The Creditors’ Committee continues
 to consider and analyze the Substantive Consolidation Settlement.

           As a result of the Substantive Consolidation Settlement, the Debtors estimate that holders of
 Allowed Pension Withdrawal Claims, Allowed Guaranteed Landlord Claims and other Allowed
 Unsecured Claims will receive the recoveries summarized in the table below. The below table is
 illustrative of projected recoveries and reflects current estimates of the categories of Claims below. The
 amounts and percentages, as applicable, may materially change. However, pursuant to the Substantive
 Consolidation Settlement, the row pertaining to the “Recovery as Multiple of Other Unsecured Claims”
 ratios will remain constant regardless of fluctuations in the ultimate amount of Allowed Claims.




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                             Pension Withdrawal             Guaranteed Landlord       Other Unsecured
                                   Claims                         Claims                  Claims
 Estimated Amount of                $238.0 million                  $25.0 million           $1.237 billion
 Allowed Claims
 Estimated Aggregate                   $12.2 million                  $0.8 million           $27.01 million
 Recovery
 Percent Recovery                              5.1%                         3.2%                      2.2%
 Incremental Recovery                          2.9%                         1.0%                       N/A
 due to Substantive
 Consolidation
 Settlement v. Other
 Unsecured Claims
 Recovery as Multiple                          2.35x                        1.46x                     N/A
 of Other Unsecured
 Claims


 4.              The Substantive Consolidation Settlement is in the Best Interests of all Creditors

         The Plan is deemed to be a motion under sections 105, 363, and 1123 of the Bankruptcy Code
 and Rule 9019 of the Bankruptcy Rules for approval of the compromise and settlement of the issues
 described above. The confirmation of the Plan shall constitute approval of such motion by the
 Bankruptcy Court, and the Confirmation Order shall contain findings supporting and conclusions
 approving the compromise and settlement as fair and equitable and within the bounds of reasonableness.

          As indicated above, pursuant to Section 1123(b)(3)(A) of the Bankruptcy Code and Rule 9019 of
 the Bankruptcy Rules, the Plan incorporates the proposed Substantive Consolidation Settlement. In order
 to approve a compromise or settlement, a court must find that the proposed compromise is fair and
 equitable and in the best interests of the bankruptcy estate. See Protective Comm. for Indep. Stockholders
 of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424, (1968); Fisher v. Pereira (In re 47-49 Charles
 St., Inc.), 209 B.R. 618, 620 (S.D.N.Y. 1997). In the context of evaluating a settlement, the court may
 approve a settlement so long as the settlement does not “fall below the lowest point in the range of
 reasonableness.” Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir. 1983) (citing
 Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972). In considering a settlement, a court need not conduct
 a “mini-trial” of the merits of the claims being settled, W.T. Grant Co., 699 F.2d at 608, or conduct an
 extended full independent investigation. In re Drexel Burnham, 134 B.R. at 496.

          Courts in this Circuit consider the following factors when determining whether to approve a
 settlement under Rule 9019: (a) the balance between the litigation’s possibility of success and the
 settlement’s future benefits; (b) the likelihood of complex and protracted litigation, “with its attendant
 expense, inconvenience, and delay;” (c) “the paramount interests of the creditors;” (d) whether other
 parties in interest support the settlement; (e) the “competency and experience of counsel” supporting, and
 “[t]he experience and knowledge of the bankruptcy court judge” reviewing, the settlement; (f) “the nature
 and breadth of releases to be obtained by officers and directors”; and (g) “the extent to which the
 settlement is the product of arm’s length bargaining.” See In re Iridium Operating LLC, 478 F.3d 452,
 462 (2d Cir. 2007) (quoting In re WorldCom, Inc., 347 B.R. 123, 137 (Bankr. S.D.N.Y. 2006)).

          The decision to approve a settlement lies within the sound discretion of the bankruptcy court.
 Nellis v. Shugrue, 165 B.R. 115, 122-23 (S.D.N.Y. 1994). The court may give weight to the informed


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 judgment of the debtor that a compromise is fair and equitable. In re Purofied Down Prods. Corp., 150
 B.R. 519, 522 (S.D.N.Y. 1993). Additionally, a court may exercise its discretion “in light of the general
 public policy favoring settlements.” In re Hibbard Brown & Co., Inc., 217 B.R. 41, 46 (Bankr. S.D.N.Y.
 1998).

          The Debtors believe that the proposed Substantive Consolidation Settlement is in the best
 interests of the Debtors’ Estates because of the complexity of potential substantive consolidation
 litigation, the Debtors’ corporate and operational structure, and the available proceeds for distribution to
 unsecured creditors. The Debtors, the Creditors’ Committee, and major creditor constituencies
 recognized that litigation would likely require a detailed, fact-intensive inquiry that would require
 substantial time, energy and expense to discover and adjudicate. Such lengthy litigation would
 significantly delay confirmation of the Plan and could significantly impair the Debtors’ ability to
 consummate the Securities Purchase Agreements on which the Debtors’ restructuring efforts hinge.
 Indeed, the benefit to the Debtors’ Estates is derived not only from the aforementioned benefits, but also
 from the fact that without the Debtors’ negotiation of the terms of the Substantive Consolidation
 Settlement, the Plan likely would not exist.

         Finally, the Debtors recognized that preserving the Debtors’ corporate structure (a) was essential
 to the Debtors’ success after the Effective Date, (b) would ultimately enhance creditor recoveries, and
 (c) avoided potentially inaccurate valuations of entities that did not have historical stand-alone values.

          Therefore, after taking into account the aforementioned facts, the Debtors conclude that the
 Substantive Consolidation Compromise and the related features embodied in the Plan are equitable and in
 the best interests of the Debtors’ Estates.

 D.      Trade Creditors

         Trade Creditors who enter into a Trade Agreement, as defined in Exhibit A to the Plan,
 acceptable to the Debtors and the Investors (and in consultation with the Creditors’ Committee and the
 DIP Facility Administrative Agent) prior to the Effective Date (to take effect upon and following the
 Effective Date) may receive an enhanced recovery on their applicable Allowed Trade Claim from the
 Trade Claims Cash Pool, as described in Exhibit A to the Plan.

         On or before January 15, 2012, or such later date that may be agreed to by the Debtors and the
 Investors (in consultation with the Creditors’ Committee and the DIP Facility Administrative Agent), the
 Debtors shall provide a form of Trade Agreement to certain Trade Creditors under which the Debtors and
 the Investors may elect to provide an Incremental Trade Recovery, as defined in Exhibit A to the Plan,
 pursuant to the Plan.

          As a condition to receive an Incremental Trade Recovery, the applicable Trade Creditor must
 hold an Allowed Class H Trade Claim and must execute a Trade Agreement on or before the objection
 deadline for the Confirmation Hearing, as such date may be extended by the Debtors and the Investors in
 their discretion. Unless otherwise agreed-to by the Debtors and the Investors (in consultation with the
 Creditors’ Committee and the DIP Facility Administrative Agent), each Trade Agreement shall provide
 the Reorganized Debtors with trade terms (including trade credit, pricing, and credit limits) at least as
 favorable to the Debtors as those in place prior to the Commencement Date. The executed form of Trade
 Agreement must be acceptable to the Debtors and the Investors (in consultation with the Creditors’
 Committee and the DIP Facility Administrative Agent) for the applicable Trade Creditor to receive an
 Incremental Trade Recovery.




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          On a weekly basis following entry of an order approving Disclosure Statement by the Bankruptcy
 Court, the Debtors shall disclose all Incremental Trade Recoveries to be provided pursuant to executed
 Trade Agreements, if any, to: (1) the Creditors’ Committee’s professionals (on a “professional eyes only”
 basis); (2) the DIP Facility Administrative Agent and its counsel; (3) the office of the United States
 Trustee; (4) the Investors; and (5) such other parties as may be agreed-to by the Debtors and the Investors
 or otherwise ordered by the Bankruptcy Court.

         Notwithstanding anything herein or in the Plan to the contrary, (1) the Debtors shall be under no
 obligation to offer or agree to provide any Incremental Trade Recovery to any Trade Creditor and (2) the
 amount of any Incremental Trade Recovery offered or ultimately provided to a Trade Creditor, if any,
 shall be determined by the Debtors and the Investors in their discretion (in consultation with the
 Creditors’ Committee and the DIP Facility Administrative Agent).

 E.      Administrative and Priority Claims

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
 Professional Claims, DIP Facility Claims, and Priority Tax Claims have not been classified and thus are
 excluded from the Classes of Claims set forth in this Article VI.

 1.              Administrative Claims

          Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the Debtors (in
 consultation with the Creditors’ Committee and the DIP Facility Administrative Agent) or Reorganized
 Debtors, as applicable, each holder of an Allowed Administrative Claim (other than of a Professional
 Claim), including any Allowed Administrative Claim of the Notes Trustee or Second Lien Trustee, will
 receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to the amount of
 such Allowed Administrative Claim either: (1) on the Effective Date, or as soon as practicable thereafter,
 (2) if the Administrative Claim is not Allowed as of the Effective Date, no later than 30 days after the
 date on which an order Allowing such Administrative Claim becomes a Final Order, or as soon as
 reasonably practicable thereafter, (3) if the Allowed Administrative Claim is based on liabilities incurred
 by the Debtors in the ordinary course of their business after the Commencement Date, pursuant to the
 terms and conditions of the particular transaction giving rise to such Allowed Administrative Claims,
 without any further action by the holders of such Allowed Administrative Claims, (4) for any amounts
 owed pursuant to the Securities Purchase Agreements, in accordance with the Securities Purchase
 Agreements or as allowed pursuant to the Securities Purchase Agreements Order or (5) for any
 professional fee and expense amounts owed pursuant to the Union Settlement Agreements, in accordance
 with the Union Settlement Agreements, not to exceed $2.75 million pursuant to the terms thereof. For the
 avoidance of doubt, all reasonable fees and expenses that are submitted to the Debtors and the Creditors’
 Committee of the Notes Trustee (and its counsel, agents, and advisors) that are provided for under the
 Notes Indentures, as applicable, shall be paid in full in Cash on the Effective Date, or as soon as
 practicable thereafter, without a reduction to the recoveries of applicable holders of Allowed Claims only
 if Classes E, F and G (defined below) each vote in favor of the Plan.

         Additionally, the reasonable and documented fees and expenses of (a) the Second Lien Trustee
 and Seward & Kissell LLP in its capacity as counsel to the Second Lien Trustee, and (b) Brown Rudnick
 LLP and Miller Buckfire & Co. LLC in their capacities as advisors to the Second Lien Trustee and/or the
 Ad Hoc Consortium (as defined in the Plan Support Agreement, and as applicable) submitted to the
 Debtors (subject to redaction to preserve attorney-client privilege) shall be Administrative Claims
 Allowed against the Debtors’ estates payable on the Effective Date in an aggregate amount not to exceed
 $1,800,000.00 plus any fees and expenses payable by the Debtors pursuant to Paragraph 15(e)(ii) of the
 Final DIP Order that remain unpaid as of the Effective Date (the “Second Lien Professional Fee Cap”);

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 provided that the foregoing shall not in any way limit, waive, or modify (x) the rights of the Second Lien
 Trustee and its attorneys, professionals, and advisors to seek payment and/or reimbursement of fees,
 costs, and expenses pursuant to the Second Lien Indenture, including any such fees, costs, and expenses
 exceeding the Second Lien Professional Fee Cap or (y) any party’s ability to contest any such additional
 fees or expenses sought under clause (x) hereof; provided further that the foregoing shall not limit nor be
 deemed to limit fees and expenses payable by the Debtors pursuant to Paragraph 15(e)(ii) of the Final DIP
 Order). For the avoidance of doubt, the fees and expenses payable pursuant to this paragraph: (i) shall
 not be subject to a request for payment of Administrative Claims (other than with respect to fees and
 expenses requested pursuant to clause (x) of this paragraph) and (ii) shall not reduce the recoveries of the
 holders of Allowed Second Lien Note Claims (other than through the Second Lien Trustee’s exercise of
 its charging lien under Section 7.07 of the Second Lien Indenture in accordance with Article VII.A.3 of
 the Plan).

          Except as otherwise provided in Article II.A of the Plan, unless previously filed, requests for
 payment of Administrative Claims (other than requests for the payment of Transaction Expenses, which
 shall be governed pursuant to the terms of the Securities Purchase Agreements and the Securities
 Purchase Agreements Order) must be filed and served on the Reorganized Debtors no later than the
 Administrative Claims Bar Date pursuant to the procedures specified in the Confirmation Order and the
 notice of entry of the Confirmation Order. Holders of Administrative Claims that are required to file and
 serve a request for payment of such Administrative Claims that do not file and serve such a request by the
 Administrative Claims Bar Date shall be forever barred, stopped and enjoined from asserting such
 Administrative Claims against the Debtors, the Reorganized Debtors or their property and Estates and
 such Administrative Claims shall be deemed discharged as of the Effective Date. For the avoidance of
 doubt, the payment of the Break-Up Fee and any Transaction Expenses shall be governed by the
 Securities Purchase Agreements and the Securities Purchase Agreements Order.

         The UFCW Local Unions, on behalf of the employees represented by the UFCW Local
 Unions, shall accrue and shall be entitled to a stipulated, approved and allowed administrative
 claim in the amount of the actual cash savings provided to the Debtors under the Modified
 Collective Bargaining Agreements from the effective date of the Union Settlement Agreements
 through Confirmation, as provided in the Union Settlement Agreements.                  Any such
 administrative expense claim will be capped at a maximum of $18 million based on cash savings
 provided in the fourth calendar quarter of 2011 and $7 million based on cash savings provided in
 the first calendar quarter of 2012, it being understood that if the cash savings during the fourth
 calendar quarter of 2011 are less than $18 million, any excess will be added to the $7 million cap
 for the first calendar quarter of 2012. If the actual cash savings provided to the Company under
 the Modified Collective Bargaining Agreements between the effective date of the Union
 Settlement Agreements and Confirmation exceeds the amounts of the caps described above, any
 excess savings shall be treated as a stipulated, approved, and allowed administrative claim that is
 subordinated in priority and (to the extent relevant) payment timing to any other administrative
 expense claims allowed in the Chapter 11 Cases. In any event, any such administrative claim
 shall be waived, extinguished, and forever discharged upon Confirmation of a Plan which
 contemplates the continued operation of a chain of grocery stores, by either the Company or a
 buyer through a plan-related sale that is otherwise consistent with the Union Settlement
 Agreements.




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 2.              Professional Claims

                 a.               Final Fee Applications

          All final requests for payment of Professional Claims shall be filed and served no later than 60
 days after the Confirmation Date. After notice and a hearing in accordance with the procedures
 established by the Bankruptcy Code and prior Bankruptcy Court orders, the Allowed amounts of such
 Professional Claims shall be determined by the Bankruptcy Court.

                 b.               Professional Fee Escrow Account

         In accordance with Article VI.E.2.c hereof, on the Confirmation Date, the Debtors shall establish
 and fund the Professional Fee Escrow Account with Cash equal to the aggregate Professional Fee Reserve
 Amount for all Professionals. The Professional Fee Escrow Account shall be maintained in trust for the
 Professionals. Except as provided in the last sentence of this paragraph, such funds shall not be
 considered property of the estates of the Debtors or Reorganized Debtors, as applicable. The amount of
 Professional Claims owing to the Professionals shall be paid in Cash to such Professionals by the
 Reorganized Debtors from the Professional Fee Escrow Account within 10 days after such Claims are
 Allowed by a Final Order. When all Allowed Professional Claims have been paid in full, amounts
 remaining in the Professional Fee Escrow Account, if any, shall revert to the Reorganized Debtors.

                 c.               Professional Fee Reserve Amount

          To receive payment for unbilled fees and expenses incurred through the Effective Date, the
 Professionals shall provide good faith estimates of their Professional Compensation prior to and as of the
 Effective Date and shall deliver such estimates to the Debtors no later than 10 days prior to the
 Confirmation Hearing, provided, however, that such estimate shall not be considered an admission with
 respect to the fees and expenses of such Professional. If a Professional does not provide an estimate, the
 Reorganized Debtors may estimate the unbilled fees and expenses of such Professional. The total amount
 so estimated as of the Effective Date shall comprise the Professional Fee Reserve Amount.

                 d.               Post-Effective Date Fees and Expenses

          Except as otherwise specifically provided in the Plan, from and after the Effective Date, the
 Debtors or the Reorganized Debtors, as applicable, shall, without any further notice to or action, order, or
 approval of the Bankruptcy Court, pay in Cash the reasonable legal, professional, or other fees and
 expenses related to implementation and Consummation incurred by the Debtors or Reorganized Debtors,
 as applicable. Upon the Effective Date, any requirement that Professionals comply with sections 327
 through 331 and 1103 of the Bankruptcy Code or the Interim Compensation Order in seeking retention or
 compensation for services rendered after such date shall terminate, and the Reorganized Debtors may
 employ and pay any Professional in the ordinary course of business without any further notice to or
 action, order, or approval of the Bankruptcy Court.

 3.              DIP Facility Claims

         Except to the extent that a holder of an Allowed DIP Facility Claim agrees to a less favorable
 treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for each and
 every Allowed DIP Facility Claim, each such Allowed Claim shall be paid in full in Cash on the Effective
 Date, or as soon as practicable thereafter, provided such payments shall be distributed to the DIP Facility
 Administrative Agent on behalf of holders of such Allowed Claims.



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 4.                 Priority Tax Claims

         With the reasonable consent of the Investors, each holder of an Allowed Priority Tax Claim due
 and payable on or before the Effective Date shall receive one of the following treatments on account of
 such Claim (1) Cash, payable by the Debtors on the Effective Date, in an amount equal to the amount of
 such Allowed Priority Tax Claim, (2) Cash in an amount agreed to by the Debtor or Reorganized Debtor
 (on the Effective Date), as applicable, and such holder, provided, however, that such parties may further
 agree for the payment of such Allowed Priority Tax Claim to occur at a later date, or (3) at the option of
 the Debtors (on the Effective Date) or the Reorganized Debtors (after the Effective Date), Cash in the
 aggregate amount of such Allowed Priority Tax Claim payable in installment payments over a period not
 more than five years after the Commencement Date pursuant to section 1129(a)(9)(C) of the Bankruptcy
 Code. To the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such
 Claim shall be paid in full in Cash in accordance with the terms of any agreement between the Debtors
 (on the Effective Date) or the Reorganized Debtors (after the Effective Date) and the holder of such
 Claim, or as may be due and payable under applicable non-bankruptcy law or in the ordinary course of
 business.

 F.        Classification of Claims and Interests

          The Plan constitutes a separate plan of reorganization for each Debtor, provided, however, that
 the classifications, recoveries and voting rights set forth below reflect the Substantive Consolidation
 Settlement described in Article IV.B above. Except for the Claims addressed in Article IV. E above, all
 Claims and Interests are classified in the Classes set forth below pursuant to section 1122 of the
 Bankruptcy Code. As set forth above, in accordance with section 1123(a)(1) of the Bankruptcy Code, the
 Debtors have not classified Administrative Claims, Professional Claims, DIP Facility Claims or Priority
 Tax Claims. A Claim or Interest is classified in a particular Class only to the extent that the Claim or
 Interest qualifies within the description of that Class and is classified in other Classes to the extent that
 any portion of the Claim or Interest qualifies within the description of such other Classes. A Claim or
 Interest is also classified in a particular Class for the purpose of voting and receiving distributions
 pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that
 Class and has not been paid, released, or otherwise satisfied prior to the Effective Date.

           Below is a chart assigning each Class a letter for purposes of identifying each separate Class.

      Class                     Claim or Interest                         Status               Voting Rights
       A           Second Lien Note Claims                          Impaired/             Entitled to Vote/
                                                                    Unimpaired            Conclusively Presumed
                                                                                          to Accept 42
       B           Secured Tax Claims                               Unimpaired            Conclusively Presumed
                                                                                          to Accept
       C           Other Secured Claims                             Unimpaired            Conclusively Presumed
                                                                                          to Accept
       D           Other Priority Claims                            Unimpaired            Conclusively Presumed
                                                                                          to Accept
       E           Convertible Notes Claims                         Impaired              Entitled to Vote
       F           9.125% Senior Note Claims                        Impaired              Entitled to Vote

 42        Pursuant to Article III.C.1.d of the Plan, Class A is Impaired and holders of Allowed Class A Claims may
           vote to accept or reject the Plan; provided that the Debtors reserve the right to assert the treatment provided
           to holders of Second Lien Note Claims under Article III.C.1 of the Plan renders holders of Second Lien
           Note Claims Unimpaired.

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      Class                    Claim or Interest                       Status               Voting Rights
       G           Quarterly Interest Bond Claims                 Impaired             Entitled to Vote
       H           Trade Claims                                   Impaired             Entitled to Vote
       I           Guaranteed Landlord Claims                     Impaired             Entitled to Vote
       J           Pension Withdrawal Claims                      Impaired             Entitled to Vote
       K           Union Claims                                   Impaired             Entitled to Vote
       L           General Unsecured Claims                       Impaired             Entitled to Vote
       M           Intercompany Claims                            Impaired/            Deemed to Reject/
                                                                  Unimpaired           Conclusively Presumed
                                                                                       to Accept43
       N           Interests in A&P                               Impaired             Deemed to Reject
       O           Intercompany Interests                         Impaired/            Deemed to Reject/
                                                                  Unimpaired           Conclusively Presumed
                                                                                       to Accept44
       P           Subordinated Claims                            Impaired             Deemed to Reject



 G.        Treatment of Classes of Claims and Interests

 1.                Class A — Second Lien Note Claims

                   a.                Classification: Class A consists of all Second Lien Note Claims.

                   b.               Allowance: Second Lien Note Claims shall be Allowed in the aggregate
                           amount of $309,660,000.00; provided the Allowed aggregate Second Lien Note
                           Claims shall (x) increase by $108,785.00 for each day that the Effective Date
                           occurs after March 1, 2012 and (y) decrease by $108,785.00 for each day that the
                           Effective Date occurs before March 1, 2012. For the avoidance of doubt, Second
                           Lien Note Claims Allowed pursuant to this Article III.C.1b of the Plan excludes
                           and shall not include any Applicable Premium (as defined in the Second Lien
                           Indenture), makewhole premium, prepayment penalty, or similar Claim arising
                           under or related to the Second Lien Indenture or the Second Lien Notes.

                   c.                Treatment: Except to the extent that a holder of an Allowed Class A
                           Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                           release, and discharge of and in exchange for each and every Allowed Class A
                           Claim, each such holder of an Allowed Class A Claim shall receive:




 43        Pursuant to Article III.C.12. of the Plan, Holders of Allowed Class N Interests are deemed to have rejected
           the Plan pursuant to section 1126(f) of the Bankruptcy Code, unless Allowed Class N Interests are
           Reinstated, in which case the holders of Allowed Class N Interests are Unimpaired and are conclusively
           presumed to accept.
 44        Pursuant to Article III.C.14. of the Plan, Holders of Allowed Class N Interests are deemed to have rejected
           the Plan pursuant to section 1126(f) of the Bankruptcy Code, unless Allowed Class N Interests are
           Reinstated, in which case the holders of Allowed Class N Interests are Unimpaired and are conclusively
           presumed to accept.

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                          (i)              If Class A votes to accept the Plan or is presumed to have
                                   accepted the Plan: Cash distributed on the Effective Date in an amount
                                   equal to such Holder’s Pro Rata portion of the Second Lien Cash Pool.

                          (ii)             If Class A votes to reject the Plan: At the holder’s election,
                                   (A) Cash distributed on the Effective Date in an amount equal to such
                                   holder’s Pro Rata portion of the Second Lien Cash Pool (without any
                                   reduction on account of the Allowed amount of any Second Lien Note
                                   Claims that are satisfied with Replacement Second Lien Notes), or (B)
                                   Replacement Second Lien Notes with a present value equal to the
                                   Allowed amount of such holder’s Second Lien Note Claim (which may
                                   include any makewhole claim, prepayment penalty, or Applicable
                                   Premium Allowed by the Bankruptcy Court, if any, in addition to Second
                                   Lien Note Claims Allowed pursuant to Article III.C.1.b of the Plan).45

                 d.                Voting: Class A is Impaired and holders of Allowed Class A Claims
                         may vote to accept or reject the Plan; provided that the Debtors reserve the right to
                         assert the treatment provided to holders of Second Lien Note Claims under
                         Article III.C.1 of the Plan renders holders of Second Lien Note Claims
                         Unimpaired.

                  e.               Holders of Class A Claims must clearly indicate their election with
                         respect to the treatment of their Second Lien Notes Claim in the event Class
                         A votes to reject the Plan, as provided in the applicable Ballot. If a holder of
                         Second Lien Notes Claims fails to make such an election or fails to timely
                         return a duly completed Ballot, it will be deemed to have elected the cash
                         distribution provided under Article III.C.1.c.ii.A of the Plan (which excludes
                         any makewhole claim, prepayment penalty, or similar claim or charge) if
                         Class A votes to reject the Plan. If Class A votes to accept the Plan, holders of
                         Class A Claims will receive a cash distribution in an amount equal their pro
                         rata portion of the Second Lien Cash Pool (which excludes any makewhole
                         claim, prepayment penalty, or similar claim or charge) regardless of any such
                         election.

 2.              Class B — Secured Tax Claims

                 a.                Classification: Class B consists of all Secured Tax Claims.


 45      Under Article III.C.1.c.ii of the Plan, a holder of Second Lien Note Claims that duly elects option (A) will
         receive its Pro Rata share of the Second Lien Cash Pool (as determined by such holder’s Pro Rata share of
         the aggregate principal amount of all Second Lien Note Claims) without regard to any Second Lien Note
         Claims satisfied by Replacement Second Lien Notes if Class A votes to reject the Plan.

         By way of illustration, under Article III.C.1.c.ii, a hypothetical holder of $26,000,000.00 in aggregate
         principal amount of Second Lien Note Claims (i.e., 10.0% of the aggregate principal amount of all Second
         Lien Note Claims) that duly elects option (A) will receive $30,966,000.00 on a March 1, 2012 Effective
         Date if Class A votes to reject the Plan (i.e., 10.0% of the Second Lien Notes Cash Pool)—regardless of
         whether other holders of Second Lien Note Claims elect to share in the Second Lien Cash Pool or to
         receive Replacement Second Lien Notes, and regardless of whether any Replacement Second Lien Notes
         issued by the Debtors incorporate the value of a makewhole premium, prepayment penalty, or similar
         charge allowed by the Bankruptcy Court, if any.

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                b.              Treatment: Except to the extent that a holder of an Allowed Class B
                      Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of and in exchange for each and every Allowed Class B
                      Claim, each such holder of an Allowed Class B Claim shall receive, at the option
                      of the Debtors or the Reorganized Debtors (with the reasonable consent of the
                      Investors), as applicable:

                       (i)              Cash on the Initial Distribution Date, or as soon as practicable
                               thereafter, in an amount equal to such Allowed Class B Claim; or

                       (ii)             commencing on the Initial Distribution Date, or as soon as
                               practicable thereafter, and continuing over a period not exceeding five
                               years from the Commencement Date, equal semi-annual Cash payments
                               in an aggregate amount equal to such Allowed Class B Claim, together
                               with interest at the applicable non-default contract rate under non-
                               bankruptcy law, subject to the option of the Debtors or the Reorganized
                               Debtors to prepay the entire amount of such Allowed Claim during such
                               time period.

                c.              Voting: Class B is Unimpaired, and the holders of Allowed Class B
                      Claims are conclusively presumed to have accepted the Plan pursuant to section
                      1126(f) of the Bankruptcy Code. Therefore, holders of Allowed Class B Claims
                      are not entitled to vote to accept or to reject the Plan.

 3.             Class C — Other Secured Claims

                a.             Classification: Class C consists of all Other Secured Claims.

                b.              Treatment: Except to the extent that a holder of an Allowed Class C
                      Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of and in exchange for each and every Allowed Class C
                      Claim, each such holder of an Allowed Class C Claim shall, at the option of the
                      Debtors or the Reorganized Debtors, as applicable, and the Investors:

                       (i)               have its Allowed Class C Claim Reinstated and rendered
                               Unimpaired in accordance with section 1124(2) of the Bankruptcy Code,
                               notwithstanding any contractual provision or applicable non-bankruptcy
                               law that entitles the holder of an Allowed Class C Claim to demand or
                               receive payment of such Allowed Class C Claim prior to the stated
                               maturity of such Allowed Class C Claim from and after the occurrence of
                               a default; or

                       (ii)             receive Cash in an amount equal to such Allowed Class C Claim,
                               including any interest on such Allowed Class C Claim required to be paid
                               pursuant to section 506(b) of the Bankruptcy Code, on the later of the
                               Initial Distribution Date and the date such Allowed Class C Claim
                               becomes an Allowed Class C Claim, or as soon as practicable thereafter;
                               or

                       (iii)            receive the collateral securing its Allowed Class C Claim.



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                c.              Voting: Class C is Unimpaired, and holders of Allowed Class C Claims
                      are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
                      of the Bankruptcy Code. Therefore, holders of Allowed Class C Claims are not
                      entitled to vote to accept or reject the Plan.

 4.             Class D — Other Priority Claims

                a.             Classification: Class D consists of all Other Priority Claims.

                b.              Treatment: Except to the extent that a holder of an Allowed Class D
                      Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of and in exchange for each and every Allowed Class D
                      Claim, each such holder of an Allowed Class D Claim shall have its Allowed
                      Class D Claim paid in full in Cash on the later of (i) the Initial Distribution Date,
                      or as soon as practicable thereafter and (ii) the date such Class D Claim becomes
                      Allowed, or as soon as practicable thereafter.

                c.              Voting: Class D is Unimpaired, and holders of Allowed Class D Claims
                      are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
                      of the Bankruptcy Code. Therefore, holders of Allowed Class D Claims are not
                      entitled to vote to accept or reject the Plan.

 5.             Class E — Convertible Notes Claims

                a.             Classification: Class E consists of all Convertible Note Claims.

                b.              Treatment: Except to the extent that a holder of an Allowed Class E
                      Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of and in exchange for each and every Allowed Class E
                      Claim, each holder of an Allowed Class E Claim shall receive on the Initial
                      Distribution Date, or as soon as practicable thereafter, Cash equal to its Pro Rata
                      portion of the Unsecured Creditor Cash Pool.

                c.              Voting: Class E is Impaired and holders of Allowed Class E Claims are
                      entitled to vote to accept or reject the Plan.

 6.             Class F — 9.125% Senior Note Claims

                a.             Classification: Class F consists of all 9.125% Senior Note Claims.

                b.              Treatment: Except to the extent that a holder of an Allowed Class F
                      Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of and in exchange for each and every Allowed Class F
                      Claim, each holder of an Allowed Class F Claim shall receive on the Initial
                      Distribution Date, or as soon as practicable thereafter, Cash equal to its Pro Rata
                      portion of the Unsecured Creditor Cash Pool.

                c.              Voting: Class F is Impaired and holders of Allowed Class F Claims are
                      entitled to vote to accept or reject the Plan.




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 7.             Class G — Quarterly Interest Bond Claims

                a.             Classification: Class G consists of all Quarterly Interest Bond Claims.

                b.              Treatment: Except to the extent that a holder of an Allowed Class G
                      Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of and in exchange for each and every Allowed Class G
                      Claim, each holder of an Allowed Class G Claim shall receive on the Initial
                      Distribution Date, or as soon as practicable thereafter, Cash equal to its Pro Rata
                      portion of the Unsecured Creditor Cash Pool.

                c.              Voting: Class G is Impaired and holders of Allowed Class G Claims are
                      entitled to vote to accept or reject the Plan.

 8.             Class H — Trade Claims

                a.             Classification: Class H consists of all Trade Claims.

                b.              Treatment: Except to the extent that a holder of an Allowed Class H
                      Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of and in exchange for each and every Allowed Class H
                      Claim, each holder of an Allowed Class H Claim shall receive on the Initial
                      Distribution Date, or as soon as practicable thereafter: (a) Cash equal to its Pro
                      Rata portion of the Unsecured Creditor Cash Pool; and (b) if such holder enters
                      into a trade agreement acceptable to the Debtors (and in consultation with the
                      Creditors’ Committee and the DIP Facility Administrative Agent) and the
                      Investors before the Effective Date, that provides for a distribution from the Trade
                      Claims Cash Pool, a distribution from the Trade Claims Cash Pool.

                c.              Voting: Class H is Impaired and holders of Allowed Class H Claims are
                      entitled to vote to accept or reject the Plan.

 9.             Class I — Guaranteed Landlord Claims

                a.             Classification: Class I consists of all Guaranteed Landlord Claims.

                b.              Treatment: Except to the extent that a holder of an Allowed Class I
                      Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                      release, and discharge of and in exchange for each and every Allowed Class I
                      Claim, each holder of an Allowed Class I Claim shall receive on the Initial
                      Distribution Date, or as soon as practicable thereafter: (a) Cash equal to its Pro
                      Rata portion of the Unsecured Creditor Cash Pool or (b) if such holder votes in
                      favor of the Plan, a Cash distribution from the Unsecured Creditor Cash Pool such
                      that the applicable holder’s aggregate recovery for its Allowed Class I Claim is
                      equal to the product of (x) what such holder would receive under clause (a) above
                      for such Allowed Class I Claim (as adjusted for Pro Rata calculations) and
                      (y) 1.46.

                c.              Voting: Class I is Impaired and holders of Allowed Class I Claims are
                      entitled to vote to accept or reject the Plan.



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 10.            Class J — Pension Withdrawal Claims

                a.              Classification: Class J consists of all Pension Withdrawal Claims.

                b.               Treatment: Except to the extent that a holder of an Allowed Class J
                Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                release, and discharge of and in exchange for each and every Allowed Class J Claim,
                each holder of an Allowed Class J Claim shall receive on the Initial Distribution Date, or
                as soon as practicable thereafter: (a) Cash equal to its Pro Rata portion of the Unsecured
                Creditor Cash Pool or (b) if such holder votes in favor of the Plan, a Cash distribution
                from the Unsecured Creditor Cash Pool such that the applicable holder’s aggregate
                recovery for its Allowed Class J Claim is equal to the product of (x) what such holder
                would receive under clause (a) above for its Allowed Class J Claim (as adjusted for Pro
                Rata calculations) and (y) 2.35.

                c.                Voting: Class J is Impaired and holders of Allowed Class J Claims are
                entitled to vote to accept or reject the Plan.

 11.            Class K — Union Claims

                a.              Classification: Class K consists of all Union Claims.

                b.                Treatment: Except to the extent that a holder of an Allowed Class K
                       Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                       release, and discharge of and in exchange for each and every Allowed Class K
                       Claim, each holder of an Allowed Class K Claim shall receive the consideration
                       set forth in the Union Settlement Agreement.

                c.               Voting: Class K is Impaired and holders of Allowed Class K Claims are
                       entitled to vote to accept or reject the Plan.

 12.            Class L — General Unsecured Claims

                a.              Classification: Class L consists of all General Unsecured Claims.

                b.               Treatment: Except to the extent that a holder of an Allowed Class L
                       Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
                       release, and discharge of and in exchange for each and every Allowed Class L
                       Claim, each holder of an Allowed Class L Claim shall receive on the Initial
                       Distribution Date, or as soon as practicable thereafter, Cash equal to its Pro Rata
                       portion of the Unsecured Creditor Cash Pool.

                c.               Voting: Class L is Impaired and holders of Allowed Class L Claims are
                       entitled to vote to accept or reject the Plan.

 13.            Class M — Intercompany Claims

                a.              Classification: Class M consists of all Intercompany Claims.

                b.              Treatment: Subject to the provisions of Article IV.T. of the Plan
                       (“Restructuring Transactions”), holders of Allowed Class M Intercompany Claims


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                      shall not receive any distributions on account of such Allowed Class M
                      Intercompany Claims; provided, however, the Debtors and Reorganized Debtors
                      reserve the right to Reinstate any or all Allowed Class M Intercompany Claims on
                      or after the Effective Date in accordance with section 1124 of the Bankruptcy
                      Code and such Reinstated Intercompany Claims, including Intercompany Claims
                      against non-Debtor affiliates, shall vest in the applicable Reorganized Debtor or its
                      successor on the Effective Date free and clear of all Claims, Liens, charges, other
                      encumbrances and interests..

                c.             Voting: Class M is Impaired, and holders of Allowed Class M
                      Intercompany Claims are deemed to have rejected the Plan pursuant to section
                      1126(f) of the Bankruptcy Code, unless Allowed Class M Intercompany Claims
                      are Reinstated, in which case the holders of Allowed Class M Intercompany
                      Claims are Unimpaired and are conclusively presumed to accept the Plan.

 14.            Class N — Intercompany Interests

                a.             Classification: Class N consists of all Intercompany Interests.

                b.              Treatment: Subject to the provisions of Article IV.T. of the Plan
                      (“Restructuring Transactions”), holders of Allowed Class N Intercompany
                      Interests shall not receive any distributions on account of such Allowed Class N
                      Intercompany Interests; provided, however, the Debtors and the Reorganized
                      Debtors reserve the right to Reinstate any or all Allowed Class N Intercompany
                      Interests on or after the Effective Date in accordance with section 1124 of the
                      Bankruptcy Code and such Reinstated Intercompany Interests, including
                      Intercompany Interests in non-Debtor affiliates, shall vest in the applicable
                      Reorganized Debtor or its successor on the Effective Date free and clear of all
                      Claims, Liens, charges, other encumbrances and interests.

                c.             Voting: Class N is Impaired, and holders of Allowed Class N
                      Intercompany Interests are deemed to have rejected the Plan pursuant to section
                      1126(f) of the Bankruptcy Code, unless Class N Intercompany Interests are
                      Reinstated, in which case the holders of Allowed Class N Intercompany Interests
                      are Unimpaired and are conclusively presumed to accept the Plan.

 15.            Class O — Interests in A&P

                a.             Classification: Class O consists of all Interests in A&P.

                b.              Treatment: Holders of Allowed Class O Interests shall not receive any
                      distributions on account of such Allowed Class O Interests. On the Effective
                      Date, all Class O Interests shall be canceled and extinguished.

                c.             Voting: Class O is Impaired, and holders of Allowed Class O Interests
                      are deemed to have rejected the Plan pursuant to section 1126(f) of the Bankruptcy
                      Code. Therefore, holders of Allowed Class O Interests are not entitled to vote to
                      accept or reject the Plan.




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 16.             Class P — Subordinated Claims

                 a.               Classification: Class P consists of all Subordinated Claims.

                 b.               Treatment: Holders of Allowed Class P Claims shall not receive any
                        distributions on account of such Allowed Class P Claims. On the Effective Date,
                        all Class P Claims shall be discharged.

                 c.              Voting: Class P is Impaired and holders of Allowed Class P Claims are
                        deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
                        Code. Therefore, holders of Allowed Class P Claims are not entitled to vote to
                        accept or reject the Plan.

 H.      Special Provisions Governing Vote Tabulation

          Except as otherwise provided herein, in the motion to approve the Disclosure Statement and its
 related exhibits: (i) if no holders of Claims eligible to vote in a particular Class vote to accept or reject
 the Plan, the Plan shall be deemed accepted by the holders of such Claims in such Class; and (ii) any
 Class of Claims that does not have a holder of an Allowed Claim or Interest or a Claim temporarily
 allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be deemed eliminated
 from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
 acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

 I.      Special Provision Governing Unimpaired Claims

        Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the
 Reorganized Debtors’ rights in respect of any Unimpaired Claim, including all rights in respect of legal
 and equitable defenses to or setoffs or recoupments against the holder of any such Unimpaired Claim.

 J.      Provisions for Implementation of the Plan

 1.              Use of Proceeds from New Money Commitment and Exit Facility

           Unless otherwise provided in the Plan or the Securities Purchase Agreements, the Debtors and
 Reorganized Debtors, as applicable, shall use the proceeds received from the New Money Commitment,
 together with proceeds from the Exit Facility and other funds held by the Debtors on the Effective Date,
 (i) to make cash distributions required by the Plan, (ii) to pay Transaction Expenses not previously paid,
 (iii) to pay other expenses of the Chapter 11 Cases, to the extent so ordered by the Bankruptcy Court, and
 (iv) for general corporate purposes.

          The Debtors and their advisors have commenced a comprehensive process for obtaining an Exit
 Facility. As part of these efforts, the Debtors reached out to approximately a dozen banks, of which nine
 banks submitted proposals. The proposals contemplate a $400 million revolver and a $350 million term
 loan at market rates. The Debtors will likely select two to three banks to be underwriters or arrangers for
 the Exit Facility and anticipate having a fully underwritten Exit Facility by the Confirmation Hearing.

 2.              General Settlement of Claims and Interests

         Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
 consideration for the classification, distributions, releases, and other benefits provided under the Plan, on



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 the Effective Date, the provisions of the Plan shall constitute a good-faith compromise and settlement of
 all Claims and Interests and controversies resolved pursuant to the Plan.

 3.              NewCo Equity

          The issuance of the NewCo Equity by Reorganized A&P to the Investors on the Effective Date in
 consideration for the New Equity Investment is authorized without the need for any further corporate
 action or without any further action by the Debtors or Reorganized A&P, as applicable. Pursuant to the
 Plan, the issuance and distribution by Reorganized A&P on or after the Effective Date of shares of
 NewCo Equity to the Investors in consideration for the New Equity Investment (to the extent practicable,
 directly, or else through a Distribution Agent) to satisfy the Debtors’ obligations under the Securities
 Purchase Agreements, subject to dilution by the Management Equity Incentive Program and/or other
 agreement or as otherwise provided by the Securities Purchase Agreements, is authorized. All of the
 shares of NewCo Equity issued pursuant to the Plan shall be duly authorized, validly issued, fully paid,
 and non-assessable. On the Effective Date, each of Reorganized A&P and the other Reorganized Debtors
 shall be a private company. As such, the Reorganized Debtors will not list the NewCo Equity on a
 national securities exchange as of the Effective Date.

 4.              Registration Exemptions

          The offering, issuance, and distribution of any Securities pursuant to the Plan and any and all
 settlement agreements incorporated therein are expected to be exempt from applicable federal and state
 securities laws (including blue sky laws), registration and other requirements, including but not limited to,
 the registration and prospectus delivery requirements of section 5 of the Securities Act, pursuant to
 section 4(2) of the Securities Act, or another available exemption from registration under the Securities
 Act, as applicable. In addition, under section 1145 of the Bankruptcy Code, if applicable, any Securities
 issued pursuant to the Plan or any and all settlement agreements incorporated therein will be transferable
 under the Securities Act by the recipients thereof, subject to (1) the restrictions, if any, on the
 transferability of such Securities and instruments, including restrictions contained in the Reorganized
 A&P Charter and the Securities Purchase Agreements and (2) any other applicable regulatory and legal
 requirements.

 5.              Vesting of Assets in the Reorganized Debtors

         Except as specifically or expressly provided in the Plan or any agreement, instrument, or other
 document incorporated in the Plan, on the Effective Date, all property of the Debtors’ Estates, all of the
 Debtors’ Causes of Action, and any property acquired by any of the Debtors pursuant to the Plan shall
 vest in each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other
 encumbrances (except for Liens, if any, that may be specifically granted to secure the Exit Facility, the
 New Second Lien Notes and the New Convertible Third Lien Notes, and if applicable, the Replacement
 Second Lien Notes and the Other Secured Claims). On and after the Effective Date, except as otherwise
 provided in the Plan, each Reorganized Debtor may operate its business and may use, acquire, or dispose
 of property and compromise or settle any Claims, Interests, or Causes of Action without supervision or
 approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
 Rules.

 6.              Cancellation of Notes, Instruments, Certificates and Other Documents

         On the Effective Date, except as otherwise specifically provided for in the Plan or the Securities
 Purchase Agreements (and except for such Certificates, notes, or other instruments or documents
 evidencing indebtedness or obligations of the Debtors that are specifically Reinstated pursuant to the

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 Plan): (1) the obligations of the Debtors under the DIP Facility, the 1991 Indenture, the 2007 Indenture,
 the Second Lien Indenture, the Convertible Notes, the 9.125% Senior Notes, the Quarterly Interest Bonds
 and the Second Lien Notes and any other Certificate, share, note, bond, indenture, purchase right, or other
 instrument or document directly or indirectly evidencing or creating any indebtedness or obligation of or
 ownership interest, equity or profits interest in the Debtors or any warrants, options or other securities
 exercisable or exchangeable for, or convertible into, debt, equity, ownership or profits interests in the
 Debtors giving rise to any Claim or Interest, and any options, or other securities exercisable or
 exchangeable for, or convertible into Interests or equity of the Debtors, shall be cancelled as to the
 Debtors; (2) the obligations of the Debtors under the DIP Facility, the 1991 Indenture, the 2007 Indenture,
 the Second Lien Indenture, the Convertible Notes, the 9.125% Senior Notes, the Quarterly Interest Bonds
 and the Second Lien Notes shall be fully released, settled, and compromised as to the Debtors and the
 non-Debtor Affiliates, and the Reorganized Debtors shall not have any continuing obligations thereunder
 except as otherwise provided in the Plan; and (3) the obligations of the Debtors, the Reorganized Debtors
 and the non-Debtor Affiliates, pursuant, relating, or pertaining to any agreements, indentures, certificates
 of designation, bylaws, or certificate or articles of incorporation or similar documents governing any
 shares, Certificates, notes, bonds, indentures, purchase rights, options, warrants, or other instruments or
 documents evidencing or creating any indebtedness or obligation of the Debtors shall be fully released,
 settled, and compromised; provided, however, that notwithstanding Consummation or the occurrence of
 the Effective Date, any indenture or agreement that governs the rights of the holder of a Claim or Interest
 shall continue in effect solely for purposes of (1) allowing holders to receive distributions under the Plan,
 (2) allowing and preserving the rights of the DIP Facility Administrative Agent, Second Lien Trustee, and
 Wilmington Trust, as provided in Article VI.M herein.

 7.              Reinstatement of Intercompany Claims and Interests

          In the event that the Debtors elect to Reinstate Intercompany Claims or Intercompany Interests
 pursuant to Article III.C.13 or Article III.C.15 of the Plan, respectively, each Reorganized Debtor shall,
 without the need for any further corporate act or other action under any applicable law, regulation, order
 or rule, issue authorized new Equity Securities to the Reorganized Debtor that was that Debtor’s or non-
 Debtor Affiliate’s corporate parent prior to the Effective Date so that each Reorganized Debtor will retain
 its 100% ownership of its pre-Commencement Date subsidiaries. The foregoing may be modified by the
 Debtors and the Investors at any time.

 8.              Issuance of New Securities; Execution of Plan Documents

        Except as otherwise provided in the Plan or the Securities Purchase Agreements, the Reorganized
 Debtors shall issue on the Effective Date all Securities, notes, instruments, Certificates, and other
 documents required to be issued pursuant to the Plan and the Securities Purchase Agreements (as
 approved by the Securities Purchase Agreements Order).

 9.              Post-Confirmation Property Sales

         To the extent the Debtors (in consultation with the Creditors’ Committee and the DIP Facility
 Administrative Agent) or Reorganized Debtors, as applicable, purchase or sell any property after the
 Confirmation Date and prior to the Effective Date, the Debtors or Reorganized Debtors, as applicable,
 may elect to purchase or sell such property pursuant to sections 363, 1123(a)(5)(D), 1141(c), and 1146(a)
 of the Bankruptcy Code.




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 10.             Corporate Action

          Each of the matters provided for by the Plan involving the corporate structure of the Debtors or
 corporate or related actions to be taken by or required of the Debtors or the Reorganized Debtors, whether
 taken prior to or as of the Effective Date, shall be deemed authorized, approved and ratified without the
 need for any further corporate action or without any further action by the Debtors or the Reorganized
 Debtors, holders of Claims or Interests, directors, managers or officers of the Debtors, the Reorganized
 Debtors, or the Investors, or any other Entity or Person, as applicable. Such actions include (1) the
 adoption and filing of the Reorganized A&P Charter and the adoption of the Reorganized A&P Bylaws,
 (2) the appointment of the New Board, (3) the adoption and implementation of the Management Equity
 Incentive Program, (4) the adoption of severance agreements (as applicable) without action by the New
 Board as, and to the extent, provided in section 1.11 of the Securities Purchase Agreements, (5) entering
 into the Management Services Agreement, (6) the authorization, issuance and distribution pursuant to the
 Plan and the Securities Purchase Agreements of the New Second Lien Notes, the New Convertible Third
 Lien Notes, the NewCo Equity, the Investment Warrants and any other Securities to be authorized, issued
 and distributed pursuant to the Plan and Securities Purchase Agreements, and (7) the consummation and
 implementation of the Exit Financing.

 11.             Certificate of Incorporation and Bylaws

           The certificates of incorporation and bylaws (or other formation documents relating to limited
 liability companies, limited partnerships, or other forms of Entity) of the Debtors (other than A&P) shall
 be amended in a form as may be required to be consistent with the provisions of the Plan, the Securities
 Purchase Agreements and the Bankruptcy Code, and shall be in form and substance acceptable to the
 Investors. The certificate of incorporation and bylaws of A&P shall be as contained in the Plan
 Supplement and as acceptable to the Investors. The Reorganized A&P Charter will, among other things,
 (1) authorize the issuance of the shares of NewCo Equity; and (2) pursuant to and only to the extent
 required by section 1123(a)(6) of the Bankruptcy Code, include a provision prohibiting the issuance of
 non-voting Equity Securities.

         After the Effective Date, each Reorganized Debtor may amend and restate its certificate of
 incorporation and other constituent documents as permitted by the laws of its respective state, province,
 or country of formation and its respective charters and bylaws.

 12.             Effectuating Documents, Further Transactions

          On and after the Effective Date, the Reorganized Debtors, and the officers and members of the
 boards of directors thereof, are authorized to and may issue, execute, deliver, file, or record such
 contracts, Securities, instruments, releases, and other agreements or documents and take such actions as
 may be necessary or appropriate to effectuate, implement, and further evidence the terms and conditions
 of the Plan and the Securities Purchase Agreements and the Securities issued pursuant thereto in the name
 of and on behalf of the Reorganized Debtors, without the need for any approvals, authorizations, or
 consents except for those expressly required pursuant to the Plan or the Securities Purchase Agreements.

 13.             Section 1146(a) Exemption

         Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to the
 Plan shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar
 tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, or other similar tax or
 governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local
 governmental officials or agents shall forgo the collection of any such tax or governmental assessment

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 and accept for filing and recordation any of the foregoing instruments or other documents without the
 payment of any such tax, recordation fee, or governmental assessment. Such exemption specifically
 applies, without limitation, to (1) the Restructuring Transactions; (2) the creation of any mortgage, deed
 of trust, Lien or other security interest; (3) the making or assignment of any lease or sublease; (4) the
 issuance and/or distribution of NewCo Equity, any Replacement Second Lien Notes, the New Second
 Lien Notes, the New Convertible Third Lien Notes, the Investment Warrants and any other securities of
 the Debtors or the Reorganized Debtors; or (5) the making or delivery of any deed or other instrument of
 transfer under, in furtherance of or in connection with the Plan or the Securities Purchase Agreements,
 including: (a) any merger agreements; (b) agreements of consolidation, restructuring, disposition,
 liquidation, or dissolution; (c) deeds; (d) bills of sale; or (e) assignment executed in connection with any
 Restructuring Transaction occurring pursuant to the Plan or the Securities Purchase Agreements.

 14.             Directors and Officers of Reorganized A&P

          On the Effective Date, the term of the current members of the board of directors of A&P shall
 expire, and the New Board shall be appointed pursuant to the Securities Purchase Agreements. On and
 after the Effective Date, each director or officer of Reorganized A&P shall serve pursuant to the terms of
 the Reorganized A&P Charter, the Reorganized A&P Bylaws, or other constituent documents, the
 Management Services Agreement, as applicable, and applicable state corporation law. Pursuant to the
 terms of the Securities Purchase Agreements and the Union Settlement Agreements, the New Board shall
 be reconstituted to consist of seven (7) directors (or such larger number of directors as may be determined
 by the Investors in their discretion), of whom at least five (5) directors shall be persons designated by the
 Investors, one (1) person shall be a person designated by the UFCW (who (x) shall be an independent
 director and a grocery industry expert, and (y) shall not serve on behalf of, or take directions from, the
 UFCW), and one (1) person shall be the Chief Executive Officer of the Reorganized Debtors. The
 Reorganized A&P Bylaws and the Reorganized A&P Charter shall provide that the New Board will be
 divided into three classes serving staggered three-year terms. Pursuant to the Securities Purchase
 Agreements, on or before the Confirmation Hearing, the Investors may provide for employment offers for
 the Executive Management Team (as defined in the Securities Purchase Agreements).

 15.             Directors and Officers of Reorganized Debtors Other Than Reorganized A&P

         Unless otherwise provided in the Debtors’ disclosure pursuant to section 1129(a)(5) of the
 Bankruptcy Code, the officers of each of the Reorganized Debtors, other than Reorganized A&P, shall
 continue to serve in their current capacities after the Effective Date. The classification and composition
 of the boards of directors of the Reorganized Debtors other than Reorganized A&P shall be consistent
 with their respective new certificates of incorporation and bylaws, if any. Each such director or officer
 shall serve from and after the Effective Date pursuant to the terms of the applicable certificate of
 incorporation, bylaws, other constituent documents, and applicable state corporation law.

 16.             Compensation, Pensions, and Benefits Programs

         a.      Management Equity Incentive Program. The Management Equity Incentive Program for
 Reorganized A&P, in accordance with the terms and conditions set forth in the “Management Equity
 Incentive Program” to be attached as an exhibit to the Plan Supplement, shall become effective on the
 Effective Date without need for further corporate action as contemplated by the Securities Purchase
 Agreements.

        b.       Employee and Retiree Benefits. Except with respect to any equity based awards, rejected
 employment agreements and any other rejected benefit or compensation plans, and subject to the terms
 and conditions of the Securities Purchase Agreements and the Union Settlement Agreements, on and after

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 the Effective Date, the Reorganized Debtors may (1) honor, in the ordinary course of business, any
 contracts, agreements, policies, programs, and plans for compensation, including bonus compensation,
 health care benefits, disability benefits, travel benefits, savings, severance benefits, retirement benefits,
 welfare benefits, workers’ compensation insurance, and accidental death and dismemberment insurance
 for the directors, officers, and employees of any of the Debtors who served in such capacity at any time;
 and (2) honor, in the ordinary course of business, Claims of employees employed as of the Effective Date
 for accrued vacation time arising prior to the Commencement Date; provided, however, that the Debtors’
 or Reorganized Debtors’ performance pursuant to any employment agreement that is not a rejected
 employment agreement will not entitle any Person to any benefit or alleged entitlement under any policy,
 program or plan that has expired or been terminated before the Effective Date, or restore, Reinstate, or
 revive any such benefit or alleged entitlement under any such policy, program, or plan; provided, further
 that any such assumed plans and obligation shall be subject to modification in accordance with their
 terms. Nothing in the Plan shall limit, diminish, or otherwise alter the Reorganized Debtors’ defenses,
 claims, Causes of Action, or other rights with respect to any such contracts, agreements, policies,
 programs, and plans, nor shall Confirmation of the Plan and/or Consummation of the Restructuring
 Transactions constitute a change of control under any such contracts, agreements, policies, programs, and
 plans.

          c.      Pensions. As of the Effective Date, the Reorganized Debtors shall continue the A&P
 Pension Plans in accordance with, and subject to, their terms, ERISA, and the Internal Revenue Code, and
 shall preserve all of their rights thereunder. The A&P Pension Claims and all Proofs of Claims filed on
 account thereof shall be deemed withdrawn as of the Effective Date without any further action of the
 Debtors, Reorganized Debtors, or the PBGC, and without any further action, order, or approval of the
 Bankruptcy Court.

         d.      Workers’ Compensation Programs. As of the Effective Date, except as set forth in the
 Securities Purchase Agreements and Plan Supplement, the Debtors and the Reorganized Debtors shall
 continue to honor their obligations under: (i) all applicable workers’ compensation laws in states in which
 the Reorganized Debtors operate; and (ii) the Debtors’ (a) written contracts, agreements, and agreements
 of indemnity, in each case relating to workers’ compensation, (b) self insurer workers’ compensation
 bonds, policies, programs, and plans for workers’ compensation, and (c) workers’ compensation
 insurance. All Proofs of Claims on account of workers’ compensation shall be deemed withdrawn
 automatically and without any further notice to or action, order, or approval of the Bankruptcy Court;
 provided, however, that nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or
 Reorganized Debtors’ defenses, Causes of Action, or other rights under applicable non-bankruptcy law
 with respect to any such contracts, agreements, policies, programs and plans; provided, further, that
 nothing herein shall be deemed to impose any obligations on the Debtors in addition to what is provided
 for under applicable state law.

 17.             Intercompany Account Settlement

          The Debtors and the Reorganized Debtors, and their respective Affiliates, will be entitled to
 transfer funds between and among themselves as they determine to be necessary or appropriate to enable
 the Reorganized Debtors to satisfy their obligations under the Plan. Except as set forth herein, any
 changes in intercompany account balances resulting from such transfers will be accounted for and settled
 in accordance with the Debtors’ historical intercompany account settlement practices and will not violate
 the terms of the Plan.




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 18.             Preservation of Rights of Action

         Subject to the releases set forth in Article VI.N.4 and Article VI.N.5 below, unless any of the
 Debtors’ Causes of Action against an Entity are expressly waived, relinquished, exculpated, released,
 compromised, or settled in the Plan or a Final Order, in accordance with section 1123(b) of the
 Bankruptcy Code, the Reorganized Debtors shall retain and may enforce all rights to commence and
 pursue, as appropriate, any and all of the Debtors’ Causes of Action, whether arising before or after the
 Commencement Date, including any actions specifically enumerated in the Plan Supplement, and the
 Reorganized Debtors’ rights to commence, prosecute, or settle such Causes of Action shall be preserved
 notwithstanding the occurrence of the Effective Date. The Reorganized Debtors may pursue such Causes
 of Action, as appropriate, in accordance with the best interests of the Reorganized Debtors. No Entity
 may rely on the absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure
 Statement to any of the Causes of Action against it as any indication that the Debtors or the
 Reorganized Debtors will not pursue any and all of their available Causes of Action against it. The
 Debtors and the Reorganized Debtors expressly reserve all rights to prosecute any and all of their
 Causes of Action against any Entity, except as otherwise expressly provided in the Plan or a Final
 Order. Unless any of the Debtors’ Causes of Action against an Entity are expressly waived,
 relinquished, exculpated, released, compromised, or settled in the Plan or a Bankruptcy Court order, the
 Reorganized Debtors expressly reserve all such Causes of Action, for later adjudication, and, therefore no
 preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
 preclusion, estoppel (judicial, equitable or otherwise), or laches, shall apply to such Causes of Action
 upon, after, or as a consequence of the Confirmation or Consummation.

          Further, subject to the releases set forth in Article VI.N.4 and Article VI.N.5 below, the
 Reorganized Debtors reserve and shall retain the foregoing Debtors’ Causes of Action notwithstanding
 the rejection or repudiation of any Executory Contract during the Chapter 11 Cases or pursuant to the
 Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor
 may hold against any Entity shall vest in the Reorganized Debtors, as the case may be. The applicable
 Reorganized Debtor, through its authorized agents or representatives, shall retain and may exclusively
 enforce any and all such Causes of Action. The Reorganized Debtors shall have the exclusive right,
 authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
 compromise, release, withdraw or litigate to judgment any such Causes of Action and to decline to do any
 of the foregoing without the consent or approval of any third party or further notice to or action, order or
 approval of the Bankruptcy Court.

 19.             Avoidance Actions

         The Debtors and the Reorganized Debtors waive all Avoidance Actions, provided, however, that
 any Avoidance Actions against an Entity that has filed a Claim against the Debtors is expressly preserved
 solely for the purposes of resolving Disputed Claims pursuant to Article VI.L.6. The Debtors, in
 consultation with the Creditors’ Committee and the Investors, determined in an exercise of their business
 judgment that the waiver of Avoidance Actions pursuant to this Article VI.J.19 is in the best interests of
 the Debtors’ estates and the Debtors’ business going forward.

 20.             Restructuring Transactions

          On or prior to the Effective Date, the Debtors (in consultation with the Creditors’ Committee and
 the DIP Facility Administrative Agent) or the Reorganized Debtors may enter into such transactions,
 execute and deliver such agreements, instruments and other documents, and take any actions as may be
 necessary or appropriate to effect a corporate restructuring of their respective businesses or a corporate
 restructuring of the overall corporate structure of the Reorganized Debtors, as and to the extent provided

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 therein, with the consent of the Investors. The Restructuring Transactions may include one or more inter-
 company mergers, consolidations, amalgamations, arrangements, continuances, restructurings,
 conversions, dissolutions, transfers, asset sales, liquidations, or other corporate transactions as may be
 determined by the Debtors (in consultation with the Creditors’ Committee and the DIP Facility
 Administrative Agent) or the Reorganized Debtors, as applicable, and the Investors, to be necessary or
 appropriate to implement the transactions provided for in the Securities Purchase Agreements. None of
 the Restructuring Transactions contemplated herein or in the Securities Purchase Agreements shall
 constitute a change of control under any agreement, contract or document of the Debtors or Reorganized
 Debtors, as applicable. Subject to the Securities Purchase Agreements, the actions to effect the
 Restructuring Transactions may include: (1) the execution and delivery of appropriate agreements or
 other documents of merger, amalgamation, consolidation, restructuring, conversion, disposition, transfer,
 arrangement, continuance, dissolution, sale, purchase, or liquidation containing terms that are consistent
 with the terms of the Plan and the Securities Purchase Agreements and that satisfy the requirements of
 applicable law and any other terms to which the relevant entities may agree; (2) the execution and
 delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset,
 property, right, liability, debt, or obligation on terms consistent with the terms of the Plan and the
 Securities Purchase Agreements and having other terms for which the applicable parties agree; (3) the
 filing of appropriate certificates or articles of incorporation, reincorporation, merger, consolidation,
 conversion, amalgamation, arrangement, continuance, or dissolution pursuant to applicable state or
 provincial law; (4) pledging, granting of liens or security interests over, assuming or guarantying
 obligations or taking such similar actions as may be necessary to preserve the rights and collateral
 interests of the secured creditors of the Debtors and their subsidiaries at all times prior to the effectiveness
 and consummation of the Plan; (5) the creation of a new holding company, as provided in the Securities
 Purchase Agreements, or other changes to the organizational structure of the Debtors or the Reorganized
 Debtors, as applicable, as determined by the Debtors or the Reorganized Debtors, as applicable, and the
 Investors; and (6) all other actions that the applicable entities determine to be necessary or appropriate,
 including making filings or recordings that may be required by applicable law in connection with the
 Restructuring Transactions or that are otherwise provided for in the Securities Purchase Agreements.

 21.              Corporate Existence

         Except as otherwise provided in the Plan, each Debtor shall continue to exist after the Effective
 Date as a separate corporate Entity, limited liability company, partnership, or other form, as the case may
 be, with all the powers of a corporation, limited liability company, partnership, or other form, as the case
 may be, pursuant to the applicable law in the jurisdiction in which each applicable Debtor is incorporated
 or formed and pursuant to the respective certificate of incorporation and bylaws (or other formation
 documents) in effect prior to the Effective Date, except to the extent such certificate of incorporation and
 bylaws (or other formation documents) are amended pursuant to the Plan or otherwise, and to the extent
 such documents are amended, such documents are deemed to be amended pursuant to the Plan and
 without any further notice to or action, order, or approval of the Bankruptcy Court or any other court of
 competent jurisdiction (other than any requisite filings required under applicable state, provincial, or
 federal law), provided, however, that the Investors may elect to have a new holding company formed
 pursuant to the Securities Purchase Agreements.

 22.              Tax Reporting Matters

           All parties (including the Reorganized Debtors and holders of Claims and Interests) shall report
 for all federal income tax purposes in a manner consistent with the Plan.




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 23.             Management Services Agreement

         On the Effective Date, and pursuant to the terms of the Securities Purchase Agreements,
 Reorganized A&P or one of its Affiliates (as agreed among Yucaipa, Liberty Harbor, Mount Kellett and
 the Debtors or Reorganized Debtors, as applicable) shall enter into the Management Services Agreement
 with The Yucaipa Companies, LLC, and such Management Services Agreement shall be on terms and
 conditions acceptable to Yucaipa, Liberty Harbor and Mount Kellett.

 24.             Adequate Assurance Deposits

         Notwithstanding anything to the contrary in the Plan or in an order previously entered by the
 Bankruptcy Court, unless the Debtors (in consultation with the Creditors’ Committee and the DIP Facility
 Administrative Agent) or Reorganized Debtors, with the reasonable consent of the Investors, otherwise
 agree, all adequate assurance deposits provided by the Debtors to utility providers pursuant to the Order
 Determining Adequate Assurance of Payment for Future Utility Services [Docket No. 503] shall be
 returned to the Reorganized Debtors within 10 business days of the Effective Date.

 K.      Treatment of Executory Contracts and Unexpired Leases

 1.              Rejection of Executory Contracts and Unexpired Leases

         Except as otherwise provided herein and pursuant to the terms and conditions of the Securities
 Purchase Agreements, each Executory Contract and Unexpired Lease not previously assumed shall be
 deemed automatically rejected pursuant to sections 365 and 1123 of the Bankruptcy Code as of the
 Effective Date, unless any such Executory Contract or Unexpired Lease: (1) is listed on the schedule of
 “Assumed Executory Contracts and Unexpired Leases” in the Plan Supplement; (2) has been previously
 assumed by the Debtors by Final Order or has been assumed by the Debtors by order of the Bankruptcy
 Court as of the Effective Date (including retroactively), which order becomes a Final Order after the
 Effective Date; (3) is the subject of a motion to assume or reject pending as of the Effective Date; (4) is
 an Intercompany Contract, unless such Intercompany Contract previously was rejected by the Debtors
 pursuant to a Final Order, is the subject of a motion to reject pending on the Effective Date, or is listed on
 the schedule of “Rejected Executory Contracts and Unexpired Leases” in the Plan Supplement; or (5) is
 otherwise assumed pursuant to the terms herein.

          The Confirmation Order will constitute an order of the Bankruptcy Court approving such
 rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.
 Counterparties to Executory Contracts or Unexpired Leases that are deemed rejected as of the Effective
 Date shall have the right to assert any Claim on account of the rejection of such Executory Contracts or
 Unexpired Leases, including under section 502(g) of the Bankruptcy Code, subject to compliance with the
 requirements herein. All Executory Contracts and Unexpired Leases rejected by the Debtors on or prior
 to the Confirmation Date will not be continuing obligations of the Debtors or Reorganized Debtors.

         Further, the Plan Supplement will contain a schedule of “Rejected Executory Contracts and
 Unexpired Leases,” as may be amended from time to time with the consent, as provided in the Securities
 Purchase Agreements, of the Investors; provided, however, that any Executory Contract and Unexpired
 Lease not previously assumed, assumed and assigned, or rejected by an order of the Bankruptcy Court,
 and not listed in the schedule of “Rejected Executory Contracts and Unexpired Leases” will be rejected
 on the Effective Date, notwithstanding its exclusion from such schedule.




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 2.              Assumption of Executory Contracts and Unexpired Leases

          On the Effective Date, except as otherwise provided herein and pursuant to the terms and
 conditions of the Securities Purchase Agreements, in addition to those Executory Contracts and
 Unexpired Leases previously assumed by the Debtors pursuant to a Final Order (and not otherwise
 subsequently rejected prior to the Effective Date), the Debtors (in consultation with the Creditors’
 Committee and the DIP Facility Administrative Agent) shall assume all of the Executory Contracts and
 Unexpired Leases listed on the schedule of “Assumed Executory Contracts and Unexpired Leases,” as
 may be amended from time to time, in the Plan Supplement and otherwise identified for assumption
 pursuant to Article V.A of the Plan. With respect to each such Executory Contract and Unexpired Lease
 listed on the schedule of “Assumed Executory Contracts and Unexpired Leases,” the Debtors shall have
 designated a proposed Cure. The Confirmation Order shall constitute an order of the Bankruptcy Court
 approving any such assumptions pursuant to sections 365(a) and 1123 of the Bankruptcy Code; however,
 parties shall not be precluded from filing objections to the Debtors’ proposed Cure by the Cure Objection
 Deadline.

                 a.               Modifications, Amendments, Supplements,
                                  Restatements, or Other Agreements

         Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is
 assumed by the Debtors or the Reorganized Debtors shall include all modifications, amendments,
 supplements, restatements, or other agreements that in any manner affect such Executory Contract or
 Unexpired Lease, and all rights related thereto, if any, including all easements, licenses, permits, rights,
 privileges, immunities, options, rights of first refusal, and any other interests, unless any of the foregoing
 agreements has been previously rejected or repudiated or is rejected or repudiated hereunder; provided,
 however, that any anti-assignment provision in any assumed Executory Contract and/or Unexpired Lease
 shall be deemed invalid for the purposes of assumption and/or assignment pursuant to section 365 of the
 Bankruptcy Code in these Chapter 11 Cases, including assignment of any assumed Executory Contract
 and/or Unexpired Lease to any affiliate of the Debtors on or prior to the Effective Date. Confirmation of
 the Plan and Consummation of the Restructuring Transactions shall not constitute a change of control
 under any Unexpired Lease or Executory Contract assumed by the Debtors on or prior to the Effective
 Date. Any assignment by the Reorganized Debtors of an Executory Contract or Unexpired Lease after
 the Effective Date shall be governed by the terms of the Executory Contract or Unexpired Lease and
 applicable non-bankruptcy law.

          Modifications, amendments, supplements, and restatements to prepetition Executory Contracts
 and Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be
 deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the validity,
 priority, or amount of any Claims that may arise in connection therewith.

                 b.               Proofs of Claim Based on Executory
                                  Contracts or Unexpired Leases that Have Been Assumed

          Any and all Proofs of Claim based upon Executory Contracts or Unexpired Leases that have been
 assumed in the Chapter 11 Cases, including hereunder, except Proofs of Claim asserting Cures, pursuant
 to the order approving such assumption, including the Confirmation Order, shall be deemed disallowed as
 of the Effective Date without the need for any objection thereto or any further notice to or action, order,
 or approval of the Bankruptcy Court.




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                  c.               Assumption of Modified Collective Bargaining Agreements

          Unless previously assumed by the Debtors, on the Effective Date, the Debtors, pursuant to section
 365 of the Bankruptcy Code, shall assume (a) the Modified Collective Bargaining Agreements as
 provided in the Union Settlement Agreements and as approved by the Bankruptcy Court and (b) the Other
 Collective Bargaining Agreements. Notwithstanding any other provision of this Plan, the cure
 obligations, if any, related to the assumption of each of the Modified Collective Bargaining Agreements
 and the Other Collective Bargaining Agreements, shall be satisfied by the Reorganized Debtors by
 payment, in the ordinary course, of all obligations arising under the Modified Collective Bargaining
 Agreements and any of the Other Collective Bargaining Agreements, including grievance settlements and
 arbitration awards subject to the Union Settlement Agreements and related documents and side letters.
 All Proofs of Claim filed by the UFCW, the UFCW Local Unions, the SEIU and the SEIU Local Union
 for amounts due under any collective bargaining agreement shall be considered satisfied by the agreement
 and obligation to assume and cure in the ordinary course as provided herein.

 3.               Indemnification Obligations

         Notwithstanding anything herein to the contrary, the Reorganized Debtors shall assume and be
 deemed to have assumed the Indemnification Obligations as of and on the Effective Date other than any
 Indemnification Obligation that was previously rejected by the Debtors pursuant to an order of the
 Bankruptcy Court or is the subject of a motion to reject filed by the Debtors that was pending as of the
 Effective Date; provided, that the Reorganized Debtors shall assume and be deemed to have assumed
 Indemnification Obligations for a former director or officer that was not employed by, engaged by, or
 serving in such capacity for the Debtors at any time following November 1, 2010 only if the Debtor
 Release provided under Article VIII.D in the Plan is approved by the Bankruptcy Court with respect to
 such former director or officer; provided, further that Indemnification Obligations assumed or deemed
 assumed by the Reorganized Debtors pursuant to Article V.C of the Plan shall not be limited to
 obligations arising from or related to claims settled or released pursuant to the Debtor Release. Each
 Indemnification Obligation that is assumed or deemed assumed pursuant to this Article VI.K.3 shall
 remain in full force and effect, shall not be modified, reduced, discharged, impaired, or otherwise affected
 in any way (whether by the Plan, a Restructuring Transaction, or otherwise), and shall be Unimpaired and
 unaffected, irrespective of when such obligation arose.

 4.               Insurance Policies

          Each insurance policy shall be assumed by the applicable Debtor effective as of the Effective
 Date, pursuant to sections 365 and 1123 of the Bankruptcy Code, to the extent such insurance policy is
 executory, unless such insurance policy previously was rejected by the Debtors pursuant to a Bankruptcy
 Court order, is the subject of a motion to reject pending on the Effective Date, or is included in the
 schedule of “Rejected Executory Contracts and Unexpired Leases” contained in the Plan Supplement.
 Notwithstanding anything to the contrary in the Plan or the Plan Supplement (including any other
 provision that purports to be preemptory or supervening), nothing in the Plan or the Plan Supplement
 shall in any way operate to, or have the effect of, impairing the legal, equitable or contractual rights of the
 Debtors’ insurers, if any, in any respect or the rights of the Debtors or any other party against the Debtors’
 insurers or in respect of any insurance of the Debtors. The rights of the Debtors and the Debtors’ insurers
 vis-à-vis one another shall be determined under their respective insurance policies and any related
 agreements with the Debtors, if any, subject to the rights of the Debtors to assume any such policy or
 agreement in accordance with this provision.




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 5.              Objections to Assumption of Executory Contracts and Unexpired Leases Including Cure
                 of Defaults

          With respect to each of the Executory Contracts or Unexpired Leases listed on the schedule of
 “Assumed Executory Contracts and Unexpired Leases,” the Debtors (in consultation with Creditors’
 Committee and the DIP Facility Administrative Agent) shall designate a proposed Cure, however, the
 assumption of such Executory Contracts or Unexpired Leases shall not be conditioned upon the
 disposition of all issues with respect to Cure.46 Such Cure shall be satisfied by the Debtors or their
 assignee, if any, by payment of the Cure in Cash on the Effective Date or as soon as reasonably
 practicable thereafter, or on such other terms as may be ordered by the Bankruptcy Court or agreed upon
 by the parties to the applicable Executory Contract or Unexpired Lease without any further notice to or
 action, order, or approval of the Bankruptcy Court. Any provisions or terms of the Executory Contracts
 or Unexpired Leases to be assumed pursuant to the Plan that are, or may be, alleged to be in default, shall
 be satisfied solely by Cure, or by an agreed-upon waiver of Cure. Nothing herein or in the Confirmation
 Order shall impact any unresolved Cure disputes or pending Cure objections filed by parties to Executory
 Contracts and Unexpired Leases that have been previously assumed by the Debtors pursuant to section
 365 of the Bankruptcy Code.

         Ten days prior to the objection deadline for the Confirmation Hearing, and subsequently as
 needed pursuant to the amendment of the schedule of “Assumed Executory Contracts and Unexpired
 Leases,” the Debtors shall file with the Bankruptcy Court and serve upon counterparties to such
 Executory Contracts and Unexpired Leases a notice of the proposed assumption that will (1) list the
 applicable Cure, if any, (2) describe the procedures for filing objections to the proposed assumption or
 Cure, and (3) explain the process by which related disputes will be resolved by the Bankruptcy Court.

          Except with respect to Executory Contracts and Unexpired Leases in which the Debtors (in
 consultation with the Creditors’ Committee and the DIP Facility Administrative Agent) and the applicable
 counterparties have stipulated in writing to payment of Cure, all requests for payment of Cure that differ
 from the amounts proposed by the Debtors (i.e., Cure objections) must be filed with the Claims and
 Solicitation Agent on or before the Cure Objection Deadline. In addition, any non-Cure objection to the
 assumption of an Executory Contract or Unexpired Lease, to be deemed timely, must be filed with the
 Bankruptcy Court within fourteen days of receipt of the applicable notice of proposed assumption. To the
 extent counterparties file timely non-Cure objections to the assumption of any Executory Contracts or
 Unexpired Leases to be assumed pursuant to the Plan, and such disputes are not consensually resolved by
 the parties, such assumption shall be subject to entry of a Final Order approving such assumption,
 provided, that, such assumption will occur retroactively, at the discretion of the Debtors or Reorganized
 Debtors, to the Effective Date if approved by the Bankruptcy Court. Timely raised Cure and non-Cure
 objections to assumption may be litigated after the Effective Date.

         Any request for payment of Cure that is not timely filed shall be disallowed automatically and
 forever barred, estopped, and enjoined from assertion and shall not be enforceable against any
 Reorganized Debtor, without the need for any objection by the Reorganized Debtors or any further notice
 to or action, order, or approval of the Bankruptcy Court, and any Cure shall be deemed fully satisfied,
 released, and discharged upon payment by the Debtors of the amounts listed on the Debtors’ proposed
 Cure schedule, notwithstanding anything included in the Schedules or in any Proof of Claim to the
 contrary; provided, however, that nothing shall prevent the Reorganized Debtors from paying any Cure
 despite the failure of the relevant counterparty to file such request for payment of such Cure. The

 46      For the avoidance of doubt, the Debtors’ assumption of the Executory Contracts and Unexpired Leases,
         pursuant to the Confirmation Order, shall occur as of the Effective Date, subject to the Debtors satisfying
         their business judgment, any pending or unresolved objections to such assumptions based on Cure grounds.

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 Reorganized Debtors also may settle any Cure without any further notice to or action, order, or approval
 of the Bankruptcy Court.

          If the Debtors or Reorganized Debtors, as applicable, object to any Cure or any other matter
 related to assumption, the Bankruptcy Court shall determine the Allowed amount of such Cure and any
 related issues. If there is a dispute regarding such Cure, the ability of the Reorganized Debtors or any
 assignee to provide “adequate assurance of future performance” within the meaning of section 365 of the
 Bankruptcy Code, or any other matter pertaining to assumption, then payment of Cure shall occur as soon
 as reasonably practicable after entry of a Final Order resolving such dispute, approving such assumption
 (and, if applicable, assignment), or as may be agreed upon by the Debtors or Reorganized Debtors, as
 applicable, and the counterparty to the Executory Contract or Unexpired Lease. Any counterparty to an
 Executory Contract or Unexpired Lease that fails to timely object to the proposed assumption of any
 Executory Contract or Unexpired Lease and associated Cure will be deemed to have consented to such
 assumption and Cure. The Debtors or Reorganized Debtors, as applicable, reserve the right either to
 reject or nullify the assumption of any Executory Contract or Unexpired Lease within 45 days after a
 Final Order resolving an objection to assumption, or determining the Cure or any request for adequate
 assurance of future performance required to assume such Executory Contract or Unexpired Lease is
 entered.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise
 shall result in the full release and satisfaction of any Cures, Claims or defaults, whether monetary or
 nonmonetary, including defaults of provisions restricting the change in control or ownership interest
 composition or other bankruptcy-related defaults, arising under any assumed Executory Contract or
 Unexpired Lease at any time prior to the effective date of assumption.

 6.              Preexisting Obligations to the Debtors
                 Under Executory Contracts and Unexpired Leases

          Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
 not constitute a termination of pre-existing obligations owed to the Debtors under such contracts or leases.
 In particular, notwithstanding any non-bankruptcy law to the contrary, the Reorganized Debtors expressly
 reserve and do not waive any right to receive, or any continuing obligation of a counterparty to provide,
 warranties or continued maintenance obligations on goods previously purchased by the contracting
 Debtors or Reorganized Debtors, as applicable, from counterparties to rejected or repudiated Executory
 Contracts.

 7.              Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Claims
 arising from the rejection of the Executory Contracts and Unexpired Leases pursuant to the Plan or
 otherwise must be filed with the Claims Agent no later than 30 days after the later of the Effective Date or
 the effective date of rejection. In addition, any objection to the rejection of an Executory Contract or
 Unexpired Lease must be filed with the Bankruptcy Court no later than 30 days after the later of the
 Effective Date or the effective date of rejection. Any such objection will be scheduled to be heard by the
 Bankruptcy Court at the Debtors’ or Reorganized Debtors’, as applicable, first scheduled omnibus hearing
 for which such objection is timely filed.




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 8.              Contracts, Intercompany Contracts, and
                 Leases Entered Into After the Commencement Date

         Contracts, Intercompany Contracts, and leases entered into after the Commencement Date by any
 Debtor, and any Executory Contracts and Unexpired Leases assumed by any Debtor, may be performed
 by the applicable Reorganized Debtor in the ordinary course of business.

 9.              Reservation of Rights

         Neither the exclusion nor inclusion of any contract or lease in the Plan Supplement, nor anything
 contained in the Plan, shall constitute an admission by the Debtors that any such contract or lease is in
 fact an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability
 thereunder. If there is any objection filed to the rejection of an Executory Contract or Unexpired Lease,
 the Debtors or Reorganized Debtors, as applicable, shall have 45 days after entry of a Final Order
 resolving such objection to alter their treatment of such contract or lease.

 L.      Procedures for Resolving Disputed Claims and Interests

 1.              Allowance of Claims and Interests

         After the Effective Date, each Reorganized Debtor shall have and retain any and all rights and
 defenses such Debtor had with respect to any Claim or Interest immediately prior to the Effective Date,
 including the Causes of Action retained pursuant to Article VI.J.18. Except as expressly provided in the
 Plan or in any order entered in the Chapter 11 Cases prior to the Effective Date (including the
 Confirmation Order), no Claim shall become an Allowed Claim unless and until (i) the Debtors or
 Reorganized Debtors, as applicable, agree that such Claim is Allowed, provided, however, the Debtors
 shall not (I) Allow or settle, or (II) seek to Allow or settle, in either case, any Administrative or Priority
 Claim in excess of $250,000 arising outside the ordinary course of business without the Investors’
 consent, which consent shall not be unreasonably withheld or delayed; provided, that (w) each of the
 Investors shall be deemed a Negative Notice Party (as defined in the Settlement Procedures Order);47
 (x) each of the Investors shall have standing to object to a settlement of a Claim proposed pursuant to the
 Settlement Procedures Order; (y) each of the Investors shall have the same consultation and information
 rights provided to the Creditors’ Committee and counsel for the DIP Facility Administrative Agent
 pursuant to paragraph 2(g) of the Settlement Procedures Order with respect to proposed settlements of
 Third-Party Claims and Debtors’ Claims (each as defined in the Settlement Procedures Order) and (z) the
 Debtors shall not propose a settlement of an Administrative Claim or a Priority Claim outside the
 ordinary course of business in excess of $250,000 pursuant to Paragraph 2(d) the Settlement Procedures
 Order without the Investors’ prior written consent (which consent shall not to be unreasonably withheld
 or delayed), or (ii) such Claim is deemed Allowed or the Bankruptcy Court has entered a Final Order,
 including the Confirmation Order, in the Chapter 11 Cases allowing such Claim or Interest. All settled
 claims approved prior to the Effective Date pursuant to a Final Order of the Bankruptcy Court, pursuant
 to Bankruptcy Rule 9019 or otherwise shall be binding on all parties.

 2.              Claims and Interests Administration Responsibilities

         Except as otherwise specifically provided in the Plan or the Securities Purchase Agreements, after
 the Effective Date, the Reorganized Debtors shall have the sole authority (1) to file, withdraw, or litigate

 47      “Settlement Procedures Order” means the Order Authorizing and Approving Procedures for Settling
         Certain Claims and Causes of Action Brought by or Against the Debtors entered by the Bankruptcy Court
         on March 10, 2011 [Docket No. 1002].

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 to judgment, objections to Claims or Interests, (2) to settle or compromise any Disputed Claim without
 any further notice to or action, order, or approval by the Bankruptcy Court, and (3) to administer and
 adjust the Claims Register to reflect any such settlements or compromises without any further notice to or
 action, order, or approval by the Bankruptcy Court.

 3.              Estimation of Claims and Interests

           Before or after the Effective Date, the Debtors (in consultation with the Creditors’ Committee and
 the DIP Facility Administrative Agent) or Reorganized Debtors, as applicable, may (but are not required
 to) at any time request that the Bankruptcy Court estimate any Disputed Claim that is contingent or
 unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any
 party previously has objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any
 such objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest,
 including during the litigation of any objection to any Claim or Interest or during the appeal relating to
 such objection. In the event that the Bankruptcy Court estimates any contingent or unliquidated Claim or
 Interest, that estimated amount shall constitute a maximum limitation on such Claim or Interest for all
 purposes under the Plan (including for purposes of distributions), and the relevant Reorganized Debtor
 may elect to pursue any supplemental proceedings to object to any ultimate distribution on such Claim or
 Interest.

 4.              Expungement or Adjustment to Paid,
                 Satisfied, or Superseded Claims and Interests

          Any Claim or Interest that has been paid, satisfied, or superseded, or any Claim or Interest that
 has been amended or superseded, may be adjusted or expunged on the Claims Register by the
 Reorganized Debtors without a claims objection having to be filed and without any further notice to or
 action, order, or approval of the Bankruptcy Court.

 5.              No Interest

          Unless otherwise specifically provided for in the Plan (including with respect to the Allowed
 amount of any Claims hereunder), required under applicable bankruptcy law, or agreed to by the Debtors,
 the Confirmation Order, or a postpetition agreement in writing between the Debtors and a holder of a
 Claim, postpetition interest shall not accrue or be paid on Claims, and no holder of a Claim shall be
 entitled to interest accruing on or after the Commencement Date on any Claim or right. Additionally, and
 without limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim with respect to
 the period from the Effective Date to the date a final distribution is made on account of such Disputed
 Claim, if and when such Disputed Claim becomes an Allowed Claim.

 6.              DISALLOWANCE OF CLAIMS OR INTERESTS

      EXCEPT AS OTHERWISE AGREED, ANY AND ALL PROOFS OF CLAIM FILED
 AFTER THE APPLICABLE DEADLINE FOR FILING SUCH PROOFS OF CLAIM SHALL BE
 DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE WITHOUT ANY
 FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE BANKRUPTCY
 COURT, AND HOLDERS OF SUCH CLAIMS SHALL NOT RECEIVE ANY DISTRIBUTIONS
 ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH LATE PROOF OF CLAIM IS DEEMED
 TIMELY FILED BY A FINAL ORDER OF THE BANKRUPTCY COURT.

         All Claims of any Entity from which property is sought by the Debtors under section 542, 543,
 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a transferee


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 of a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the
 Bankruptcy Code shall be disallowed if (1) the Entity, on the one hand, and the Debtors or the
 Reorganized Debtors, on the other hand, agree or the Bankruptcy Court has determined by Final Order
 that such Entity or transferee is liable to turn over any property or monies under any of the
 aforementioned sections of the Bankruptcy Code and (2) such Entity or transferee has failed to turn over
 such property by the date set forth in such agreement or Final Order.

 7.              Amendments to Claims

         On or after the Effective Date, except as otherwise provided herein, a Claim may not be filed or
 amended without the authorization of the Bankruptcy Court or the Reorganized Debtors, and, to the
 extent such authorization is not received, any such new or amended Claim filed shall be deemed
 disallowed in full and expunged without any further notice to or action, order, or approval of the
 Bankruptcy Court.

 8.              No Distributions Pending Allowance

          If an objection to a Claim or portion thereof is filed prior to the Effective Date, no payment or
 distribution provided under the Plan shall be made on account of such Claim or portion thereof, as
 applicable, unless and until such Disputed Claim becomes an Allowed Claim

 9.              Distributions After Allowance

          To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions, if any,
 shall be made to the holder of such Allowed Claim, however, the timing of such distribution(s) shall be at
 the sole reasonable discretion of the Debtors or Reorganized Debtors, and otherwise in accordance with
 the provisions of the Plan. As soon as practicable after the date that the order or judgment of the
 Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the Distribution Agent shall
 provide to the holder of such Claim the distribution, if any, to which such holder is entitled under the Plan
 as of the Effective Date, without any interest to be paid on account of such Claim unless required under
 applicable bankruptcy law.

 10.             Disputed Claims Reserve

          On the Effective Date (or as soon thereafter as is reasonably practicable), the Reorganized
 Debtors shall deposit in the Disputed Claims Reserve an amount of cash, as determined by the Debtors (in
 consultation with the Creditors’ Committee and the DIP Facility Administrative Agent) or Reorganized
 Debtors, from the Unsecured Creditor Cash Pool and Trade Claims Cash Pool that would likely have been
 distributed to the holders of all applicable Disputed Claims (that, if Allowed, would be entitled to
 participate in such Claims pools) as if such Disputed Claims had been Allowed Claims on the Effective
 Date, with the amount of such Allowed Claims to be determined, solely for the purposes of establishing
 reserves and for maximum distribution purposes, to be (a) the lesser of (i) the asserted amount of each
 Disputed Claim filed with the Bankruptcy Court as set forth in the non-duplicative Proof of Claim or as
 provided by the parties to the Debtors as further information with respect to the Proof of Claim, or (if no
 Proof of Claim was filed) scheduled by the Debtors, and (ii) the amount, if any, estimated by the
 Bankruptcy Court pursuant to section 502(c) of the Bankruptcy Code or ordered by other order of the
 Bankruptcy Court, or (b) the amount otherwise agreed to by the Debtors, the Creditors’ Committee, the
 Investors and the holder of such Disputed Claim for reserve purposes.




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 11.             Distributions Following Resolution of All Claims

          When all Disputed Claims are resolved and either become Allowed or are disallowed by Final
 Order, to the extent cash remains in the Disputed Claims Reserve after all holders of Disputed Claims that
 have become Allowed and have been paid the full amount they are entitled to pursuant to the treatment set
 forth for the appropriate Class under the Plan, then that excess cash shall be distributed to the Unsecured
 Creditor Cash Pool and holders of Allowed Unsecured Claims (to the extent they have not been paid in
 full) shall receive their Pro Rata share of the Unsecured Creditor Cash Pool.

 M.      Provisions Governing Distributions

 1.              Distributions on Account of Claims Allowed as of the Effective Date

                  a.       Delivery of Distributions in General. Except as otherwise provided in the Plan or
 the Securities Purchase Agreements, a Final Order, or as otherwise agreed to by the relevant parties on the
 Distribution Date, the Distribution Agent shall make initial distributions under the Plan on account of
 Claims and Interests Allowed on or before the Effective Date, subject to the Reorganized Debtors’ right
 to object to Claims; provided, however, that (a) Allowed Administrative Claims with respect to liabilities
 incurred by the Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the
 Debtors prior to the Effective Date shall be paid or performed in the ordinary course of business in
 accordance with the terms and conditions of any controlling agreements, course of dealing, course of
 business, or industry practice, and (b) Allowed Priority Tax Claims and Allowed Secured Tax Claims
 shall be paid in full in Cash on the Distribution Date or in installment payments over a period not more
 than five years after the Commencement Date pursuant to section 1129(a)(9)(C) of the Bankruptcy Code.
 To the extent any Allowed Priority Tax Claim or Allowed Secured Tax Claim is not due and owing on the
 Effective Date, such Claim shall be paid in full in Cash in accordance with the terms of any agreement
 between the Debtors and the holder of such Claim, or as may be due and payable under applicable non-
 bankruptcy law or in the ordinary course of business.

                  b.       Delivery of Distributions on account of DIP Facility Claims. The DIP Facility
 Administrative Agent: (a) shall be deemed to be the holder of all DIP Facility Claims, as applicable, for
 purposes of distributions to be made hereunder, and the Distribution Agent shall make all distributions on
 account of Allowed DIP Facility Claims to or on behalf of the DIP Facility Administrative Agent;
 (b) shall hold or direct such distributions for the benefit of the holders of Allowed DIP Facility Claims, as
 applicable; and (c) shall arrange to deliver such distributions to or on behalf of such holders of Allowed
 DIP Facility Claims; provided, however, the DIP Facility Administrative Agent shall retain all rights as
 administrative agent under the DIP Facility Credit Agreement in connection with delivery of distributions
 to DIP Facility Lenders; and provided further, however, that the Debtors’ obligations to make
 distributions in accordance with Article VI.E.3 shall be deemed satisfied upon delivery of distributions to
 the DIP Facility Administrative Agent.

                  c.       Delivery of Distributions on account of the Second Lien Note Claims. The
 Second Lien Trustee: (a) shall be deemed to be the holder of the Second Lien Note Claims, as applicable,
 for purposes of distributions to be made hereunder, and the Distribution Agent shall make all distributions
 on account of such Allowed Second Lien Note Claims to the Second Lien Trustee or on behalf of the
 Second Lien Trustee, provided that the Second Lien Trustee has given its prior written consent to the
 Distribution Agent to make such distributions; (b) shall hold or direct such distributions for the benefit of
 the holders of the Allowed Second Lien Note Claims, as applicable; and (c) shall arrange to deliver such
 distributions to or on behalf of the holders of the Allowed Second Lien Note Claims; provided, however,
 the Second Lien Trustee shall retain all rights as trustee under the Second Lien Indenture in connection
 with (i) delivering distributions to the holders of Allowed Second Lien Note Claims in accordance with

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 the Plan and the Second Lien Indenture, (ii) permitting the Second Lien Trustee to exercise its charging
 lien under Section 7.07 of the Second Lien Indenture and (iii) allowing the Second Lien Trustee to appear
 in the Chapter 11 Cases after the Effective Date with respect to issues related to distributions. For the
 avoidance of doubt, the Second Lien Trustee shall only be required to act to make distributions in
 accordance with the terms of the Plan. The Debtors’ obligations to make distributions in accordance with
 Article III.C.1 of the Plan, including with respect to distributions due on the Effective Date pursuant to
 the Plan Support Agreement, shall be deemed satisfied upon delivery of distributions to the Second Lien
 Trustee or, if consent of the Second Lien Trustee is given as provided above, to the Distribution Agent on
 behalf of the Second Lien Trustee, as provided for herein.

                  d.       Delivery of Distributions on account of Indenture Claims. Wilmington Trust, as
 indenture trustee for the Notes Indentures: (a) shall be deemed to be the holder of all Indenture Claims, as
 applicable, for purposes of distributions to be made hereunder, and the Distribution Agent shall make all
 distributions on account of such Allowed Indenture Claims to or on behalf of the Wilmington Trust; (b)
 shall hold or direct such distributions for the benefit of the holders of the Allowed Indenture Claims, as
 applicable; (c) shall arrange to deliver such distributions to or on behalf of the holder of the Allowed
 Indenture Claims; provided, however, Wilmington Trust shall retain all rights as the indenture trustee for
 the Convertible Notes, 9.125% Senior Notes and Quarterly Interest Bonds under the Notes Indentures in
 connection with delivery of distributions; and provided further, however, that the Debtors’ obligations to
 make distributions in accordance with Article VI.G.5, Article VI.G.6, and Article VI.G.7 shall be deemed
 satisfied upon delivery of distributions to Wilmington Trust.

 2.              Distributions on Account of Claims Allowed After the Effective Date

                   a.      Payments and Distributions on Disputed Claims. Except as otherwise provided
 in the Plan, a Final Order, or as agreed to by the relevant parties (including the Debtors, the Reorganized
 Debtors and/or the Investors, as applicable), distributions under the Plan on account of Disputed Claims
 that become Allowed after the Effective Date shall be made on the Periodic Distribution Date; provided,
 however, that (a) Disputed Claims that are Administrative Claims with respect to liabilities incurred by
 the Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the Debtors on
 or before the Effective Date that become Allowed after the Effective Date shall be paid or performed in
 the ordinary course of business in accordance with the terms and conditions of any controlling
 agreements, course of dealing, course of business, or industry practice and (b) Disputed Claims that are
 Priority Tax Claims or Secured Tax Claims that become Allowed Priority Tax Claims or Allowed
 Secured Tax Claims after the Effective Date shall be paid in full in Cash on the Periodic Distribution Date
 that is at least 30 days after the Disputed Claim becomes an Allowed Claim or over a five-year period as
 provided in section 1129(a)(9)(C) of the Bankruptcy Code with annual interest provided by applicable
 non-bankruptcy law.

                   b.      Special Rules for Distributions to Holders of Disputed Claims. Notwithstanding
 any provision otherwise in the Plan and except as otherwise agreed by the relevant parties (including the
 Debtors, the Reorganized Debtors and/or the Investors, as applicable), (a) no partial payments and no
 partial distributions shall be made with respect to a Disputed Claim until all such disputes in connection
 with such Disputed Claim have been resolved by settlement or Final Order and (b) any Entity that holds
 both an Allowed Claim and a Disputed Claim shall not receive any distribution on the Allowed Claim
 unless and until all objections to the Disputed Claim have been resolved by settlement or Final Order or
 the Claims have been Allowed or expunged. All distributions made pursuant to the Plan on account of a
 Disputed Claim that is deemed an Allowed Claim by the Bankruptcy Court shall be made together with
 any dividends, payments, or other distributions made on account of, as well as any obligations arising
 from, the distributed property as if such Allowed Claim had been an Allowed Claim on the dates
 distributions were previously made to holders of Allowed Claims included in the applicable Class;

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 provided, however, that no interest shall be paid on account of such Allowed Claims unless required
 under applicable bankruptcy law or specifically provided for in the Plan (including with respect to the
 Allowed amount of any Claims hereunder).

 3.              Delivery of Distributions

                   a.      Record Date for Distributions. On the Distribution Record Date, the Claims
 Register shall be closed and the Distribution Agent shall be authorized and entitled to recognize only
 those record holders listed on the Claims Register as of the close of business on the Distribution Record
 Date. Notwithstanding the foregoing, if a Claim or Interest, other than one based on a publicly traded
 Certificate is transferred less than 20 days before the Distribution Record Date, the Distribution Agent
 shall make distributions to the transferee only to the extent practical and in any event only if the relevant
 transfer form contains an unconditional and explicit certification and waiver of any objection to the
 transfer by the transferor.

                  b.       Distribution Process. Except as otherwise provided herein, the Distribution
 Agent shall make all distributions to holders of Allowed Claims required under the Plan, except that
 distributions to holders of Allowed Claims governed by a separate agreement and administered by a
 Servicer shall be deposited with the appropriate Servicer, at which time such distributions shall be
 deemed complete, and the Servicer shall deliver such distributions in accordance with the Plan and the
 terms of the governing agreement. Except as otherwise provided in the Plan, and notwithstanding any
 authority to the contrary, distributions to holders of Allowed Claims shall be made to holders of record as
 of the Distribution Record Date by the Distribution Agent or a Servicer, as appropriate: (a) to the
 signatory set forth on any of the Proofs of Claim filed by such holder or other representative identified
 therein (or at the last known addresses of such holder if no Proof of Claim is filed or if the Debtors have
 been notified in writing of a change of address); (b) at the addresses set forth in any written notices of
 address changes delivered to the Distribution Agent after the date of any related Proof of Claim; (c) in
 accordance with Federal Rule of Civil Procedure 4, as modified and made applicable by Bankruptcy Rule
 7004 if no Proof of Claim has been filed and the Distribution Agent has not received a written notice of a
 change of address; (d) at the addresses reflected in the Schedules if no Proof of Claim has been filed and
 the Distribution Agent has not received a written notice of a change of address; or (e) on any counsel that
 has appeared in the Chapter 11 Cases on the holder’s behalf. The Debtors, the Reorganized Debtors, and
 the Distribution Agent, as applicable, shall not incur any liability whatsoever on account of any
 distributions under the Plan.

                   c.        Accrual of Dividends and Other Rights. For purposes of determining the accrual
 of dividends or other rights after the Effective Date, the NewCo Equity shall be deemed issued as of the
 Effective Date regardless of the date on which it is actually issued, dated, authenticated, or distributed;
 provided however, the Reorganized Debtors shall not pay any such dividends or distribute such other
 rights, if any, until after the issuance of NewCo Equity actually take place.

                  d.      Compliance Matters. In connection with the Plan, to the extent applicable, the
 Reorganized Debtors and the Distribution Agent shall comply with all tax withholding and reporting
 requirements imposed on them by any Governmental Unit, and all distributions pursuant to the Plan shall
 be subject to such withholding and reporting requirements. Notwithstanding any provision in the Plan to
 the contrary, the Reorganized Debtors and the Distribution Agent shall be authorized to take all actions
 necessary or appropriate to comply with such withholding and reporting requirements, including
 liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay
 applicable withholding taxes, withholding distributions pending receipt of information necessary to
 facilitate such distributions, or establishing any other mechanisms they believe are reasonable and
 appropriate. The Reorganized Debtors reserve the right to allocate all distributions made under the Plan

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 in compliance with all applicable wage garnishments, alimony, child support, and other spousal awards,
 liens, and encumbrances.

                 e.      Foreign Currency Exchange Rate. Except as otherwise provided in the Plan or a
 Bankruptcy Court order, as of the Effective Date, any Claim asserted in currency other than U.S. dollars
 shall be automatically deemed converted to the equivalent U.S. dollar value using the exchange rate as of
 Monday, December 13, 2010 as quoted at 4:00 p.m. (EDT), mid-range spot rate of exchange for the
 applicable currency as published in The Wall Street Journal, National Edition, on Monday, December 13,
 2010.

                 f.      Fractional, De Minimis, Undeliverable, and Unclaimed Distributions.

                          (i)     Fractional Distributions. Notwithstanding any other provision of the
                  Plan to the contrary, the Distribution Agent shall not be required to make distributions or
                  payments of fractions of dollars. Whenever any payment of Cash of a fraction of a
                  dollar pursuant to the Plan would otherwise be required, the actual payment shall reflect
                  a rounding of such fraction to the nearest whole dollar (up or down), with half dollars or
                  less being rounded down.

                          (ii)   De Minimis Distributions. Neither the Distribution Agent nor any
                  Servicer shall have any obligation to make a distribution on account of an Allowed
                  Claim if (i) the aggregate amount of all distributions authorized to be made on the
                  Periodic Distribution Date in question is or has an economic value less than $250,000,
                  or (ii) the amount to be distributed to the specific holder of an Allowed Claim on the
                  particular Periodic Distribution Date does not constitute a final distribution to such
                  holder. The Distribution Agent need not make any distribution on account of an
                  Allowed Claim to a specific holder if such distribution on such Allowed Claim is less
                  than $25.00.

                          (iii)   Undeliverable Distributions. If any distribution to a holder of an
                  Allowed Claim is returned to a Distribution Agent as undeliverable, no further
                  distributions shall be made to such holder unless and until such Distribution Agent is
                  notified in writing of such holder’s then-current address, at which time all currently due
                  missed distributions shall be made to such holder on the next Periodic Distribution Date.
                  Undeliverable distributions shall remain in the possession of the Reorganized Debtors
                  until such time as a distribution becomes deliverable, or such distribution reverts to the
                  Reorganized Debtors or is cancelled pursuant to Article VI.M.3.f(iv) above, and shall
                  not be supplemented with any interest, dividends, or other accruals of any kind.

                          (iv)    Reversion. Any distribution under the Plan that is an Unclaimed
                  Distribution for a period of six months after distribution shall be deemed unclaimed
                  property under section 347(b) of the Bankruptcy Code and such Unclaimed Distribution
                  shall revest in the Reorganized Debtors and, to the extent such Unclaimed Distribution
                  is NewCo Equity, shall be deemed cancelled. Upon such revesting, the Claim of any
                  holder or its successors with respect to such property shall be cancelled, discharged, and
                  forever barred notwithstanding any applicable federal or state escheat, abandoned, or
                  unclaimed property laws to the contrary. The provisions of the Plan regarding
                  undeliverable distributions and Unclaimed Distributions shall apply with equal force to
                  distributions that are issued by the Debtors, the Reorganized Debtors, or the Distribution
                  Agent made pursuant to any indenture or Certificate (but only with respect to the initial
                  distribution by the Servicer to holders that are entitled to be recognized under the

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                  relevant indenture or Certificate and not with respect to Entities to whom those
                  recognized holders distribute), notwithstanding any provision in such indenture or
                  Certificate to the contrary and notwithstanding any otherwise applicable federal or state
                  escheat, abandoned, or unclaimed property law.

                          (v)     Surrender of Cancelled Instruments or Securities. Except as otherwise
                  provided in the Plan, on the Effective Date, or as soon as reasonably practicable
                  thereafter, each holder of a Certificate shall be deemed to have surrendered such
                  Certificate to the Distribution Agent or a Servicer (to the extent the relevant Claim is
                  governed by an agreement and administered by a Servicer). Such Certificate shall be
                  cancelled solely with respect to the Debtors, and such cancellation shall not alter the
                  obligations or rights of any non-Debtor third parties vis-à-vis one another with respect to
                  such Certificate. Notwithstanding that a holder of a Certificate will be deemed to have
                  surrendered such Certificate, regardless of any actual surrender, the deemed surrender of
                  a Certificate shall have the same effect as if such holder had actually surrendered such
                  Certificate (including but not limited to the discharge of such holder’s Claim pursuant to
                  the Plan), and such holder shall be deemed to have relinquished all rights, Claims and
                  interests with respect to such Certificate. Notwithstanding the foregoing paragraph, this
                  Article VI.M.3.f(v) shall not apply to any Claims Reinstated pursuant to the terms of the
                  Plan.

                          (vi)    Lost, Stolen, Mutilated, or Destroyed Debt Securities. Any holder of
                  Allowed Claims evidenced by a Certificate that has been lost, stolen, mutilated, or
                  destroyed shall, in lieu of surrendering such Certificate, deliver to the Distribution Agent
                  or Servicer, if applicable, an affidavit of loss acceptable to the Distribution Agent or
                  Servicer setting forth the unavailability of the Certificate, and such additional indemnity
                  as may be required reasonably by the Distribution Agent or Servicer to hold the
                  Distribution Agent or Servicer harmless from any damages, liabilities, or costs incurred
                  in treating such holder as a holder of an Allowed Claim. Upon compliance with this
                  procedure by a holder of an Allowed Claim evidenced by such a lost, stolen, mutilated,
                  or destroyed Certificate, such holder shall, for all purposes pursuant to the Plan, be
                  deemed to have surrendered such Certificate.

 4.              Claims Paid or Payable by Third Parties

         Claims Paid by Third Parties. The Claims Agent shall reduce in full a Claim, and such Claim
 shall be disallowed without a Claims objection having to be filed and without any further notice to or
 action, order, or approval of the Bankruptcy Court, to the extent that the holder of such Claim receives
 payment in full on account of such Claim from a party that is not a Debtor or Reorganized Debtor. To the
 extent a holder of a Claim receives a distribution on account of such Claim and receives payment from a
 party that is not a Debtor or a Reorganized Debtor on account of such Claim, such holder shall, within
 two weeks of receipt thereof, repay or return the distribution to the applicable Reorganized Debtor, to the
 extent the holder’s total recovery on account of such Claim from the third party and under the Plan
 exceeds the amount of such Claim as of the date of any such distribution under the Plan.

         Claims Payable by Insurance Carriers. No distributions under the Plan shall be made on account
 of an Allowed Claim that is payable pursuant to one of the Debtors’ insurance policies until the holder of
 such Allowed Claim has exhausted all remedies with respect to such insurance policy. To the extent that
 one or more of the Debtors’ insurers agrees to satisfy in full a Claim (if and to the extent adjudicated by a
 court of competent jurisdiction), then immediately upon such insurers’ agreement, such Claim may be
 expunged to the extent of any agreed upon satisfaction on the Claims Register by the Claims Agent

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 without a Claims objection having to be filed and without any further notice to or action, order, or
 approval of the Bankruptcy Court.

         Applicability of Insurance Policies. Except as otherwise provided in the Plan, distributions to
 holders of Allowed Claims shall be in accordance with the provisions of any applicable insurance policy.
 Nothing contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that the
 Debtors or any Entity may hold against any other Entity, including insurers under any policies of
 insurance, nor shall anything contained herein constitute or be deemed a waiver by such insurers of any
 defenses, including coverage defenses, held by such insurers.

 5.              Setoffs

         Except as otherwise expressly provided for in the Plan or a Final Order of the Bankruptcy Code,
 each Reorganized Debtor pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy
 Code), applicable non-bankruptcy law, or as may be agreed to by the holder of a Claim, may set off
 against any Allowed Claim and the distributions to be made pursuant to the Plan on account of such
 Allowed Claim (before any distribution is made on account of such Allowed Claim), any Claims, rights,
 and Causes of Action of any nature that such Debtor or Reorganized Debtor, as applicable, may hold
 against the holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action against
 such holder have not been otherwise compromised or settled on or prior to the Effective Date (whether
 pursuant to the Plan or otherwise); provided, however, that neither the failure to effect such a setoff nor
 the allowance of any Claim pursuant to the Plan shall constitute a waiver or release by such Reorganized
 Debtor of any such Claims, rights, and Causes of Action that such Reorganized Debtor may possess
 against such holder. In no event shall any Holder of a Claim be entitled to set off any Claim against any
 Claim, right, or Cause of Action of a Debtor or a Reorganized Debtor, as applicable, unless such Holder
 has timely filed a Proof of Claim with the Bankruptcy Court preserving such setoff.

 6.              Allocation Between Principal and Accrued Interest

          Except as otherwise provided in the Plan, the aggregate consideration paid to holders with respect
 to their Allowed Claims shall be treated pursuant to the Plan as allocated first to the principal amount of
 such Allowed Claims (to the extent thereof) and, thereafter, to the interest, if any permitted pursuant to
 the Plan, accrued through the Effective Date.

 N.      Effect of Confirmation of the Plan

 1.              DISCHARGE OF CLAIMS AND TERMINATION OF INTERESTS

       EXCEPT AS OTHERWISE PROVIDED IN THE PLAN AND EFFECTIVE AS OF THE
 EFFECTIVE DATE: (1) THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT
 OF ALL CLAIMS AND INTERESTS SHALL BE IN EXCHANGE FOR AND IN COMPLETE
 SATISFACTION, DISCHARGE, AND RELEASE OF ALL CLAIMS AND INTERESTS OF ANY
 NATURE WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON SUCH CLAIMS
 FROM AND AFTER THE COMMENCEMENT DATE, AGAINST THE DEBTORS OR ANY OF
 THEIR ASSETS, PROPERTY, OR ESTATES; (2) THE PLAN SHALL BIND ALL HOLDERS OF
 CLAIMS AND INTERESTS, NOTWITHSTANDING WHETHER ANY SUCH HOLDERS
 FAILED TO VOTE TO ACCEPT OR REJECT THE PLAN, VOTED TO ACCEPT THE PLAN,
 OR VOTED TO REJECT THE PLAN; (3) ALL CLAIMS AND INTERESTS SHALL BE
 SATISFIED, DISCHARGED, AND RELEASED IN FULL, AND THE DEBTORS’ LIABILITY
 WITH RESPECT THERETO SHALL BE EXTINGUISHED COMPLETELY, INCLUDING ANY
 LIABILITY OF THE KIND SPECIFIED UNDER SECTION 502(G) OF THE BANKRUPTCY

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 CODE; AND (4) ALL ENTITIES SHALL BE PRECLUDED FROM ASSERTING AGAINST THE
 DEBTORS, THE DEBTORS’ ESTATES, THE REORGANIZED DEBTORS, THEIR
 SUCCESSORS AND ASSIGNS, AND THEIR ASSETS AND PROPERTIES ANY OTHER
 CLAIMS OR INTERESTS BASED UPON ANY DOCUMENTS, INSTRUMENTS, OR ANY ACT
 OR OMISSION, TRANSACTION, OR OTHER ACTIVITY OF ANY KIND OR NATURE THAT
 OCCURRED PRIOR TO THE EFFECTIVE DATE.

 2.              Subordinated Claims

          The allowance, classification, and treatment of all Allowed Claims and Interests and the
 respective distributions and treatments under the Plan take into account and conform to the relative
 priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
 equitable subordination rights relating thereto, whether arising under general principles of equitable
 subordination, section 510 of the Bankruptcy Code, or otherwise and any such rights shall be settled,
 compromised, and released pursuant to the Plan. Specifically, pursuant to section 510 of the Bankruptcy
 Code, the Reorganized Debtors reserve the right to re-classify any Allowed Claim in accordance with any
 contractual, legal, or equitable subordination relating thereto.

 3.              Compromise and Settlement of Claims and Controversies

         Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration
 for the distributions and other benefits provided pursuant to the Plan or any distribution to be made on
 account of an Allowed Claim, the provisions of the Plan shall constitute a good faith compromise of all
 Claims, Interests, and controversies relating to the contractual, legal, and subordination rights that a
 holder of a Claim or Interest may have with respect to any Allowed Claim. The entry of the Confirmation
 Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of all such
 Claims, Interests, and controversies, as well as a finding by the Bankruptcy Court that any such
 compromise or settlement, including the Substantive Consolidation Settlement, is in the best interests of
 the Debtors, their Estates, and holders of Claims and Interests and is fair, equitable, and reasonable. In
 accordance with the provisions of the Plan, pursuant to section 363 of the Bankruptcy Code and
 Bankruptcy Rule 9019(a), without any further notice to or action, order, or approval of the Bankruptcy
 Court, after the Effective Date, the Reorganized Debtors may compromise and settle Claims against them
 and Causes of Action against other Entities.

 4.              RELEASES BY THE DEBTORS

      NOTWITHSTANDING ANYTHING CONTAINED HEREIN TO THE CONTRARY,
 AND PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, ON THE
 EFFECTIVE DATE AND EFFECTIVE AS OF THE EFFECTIVE DATE, FOR GOOD AND
 VALUABLE CONSIDERATION, THE ADEQUACY OF WHICH IS HEREBY CONFIRMED,
 INCLUDING: (1) THE SETTLEMENT, RELEASE, AND COMPROMISE OF DEBT AND ALL
 OTHER GOOD AND VALUABLE CONSIDERATION PAID PURSUANT HERETO; AND (2)
 THE SERVICES OF THE DEBTORS’ PRESENT AND FORMER OFFICERS, DIRECTORS,
 MANAGERS, AND ADVISORS IN FACILITATING THE EXPEDIENT IMPLEMENTATION
 OF THE RESTRUCTURING TRANSACTIONS CONTEMPLATED HEREBY, EACH OF THE
 DEBTORS, THE REORGANIZED DEBTORS AND THE DEBTORS’ ESTATES (INCLUDING
 ALL PARTIES CLAIMING DERIVATIVELY OR THROUGH THE DEBTOR OR THE
 REORGANIZED DEBTORS OR THEIR ESTATES) OR THEIR AFFILIATES DISCHARGE
 AND RELEASE AND SHALL BE DEEMED TO HAVE PROVIDED A FULL DISCHARGE AND
 RELEASE TO EACH RELEASED PARTY AND THEIR RESPECTIVE PROPERTY (THE
 “DEBTOR RELEASE”) FROM ANY AND ALL CLAIMS, OBLIGATIONS, DEBTS, RIGHTS,

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 SUITS, DAMAGES, REMEDIES, RIGHTS OF SETOFF, CAUSES OF ACTION, AND
 LIABILITIES WHATSOEVER (INCLUDING ANY DERIVATIVE CLAIMS ASSERTED ON
 BEHALF OF THE DEBTORS) WHETHER KNOWN OR UNKNOWN, MATURED OR
 UNMATURED, FORESEEN OR UNFORESEEN, LIQUIDATED OR UNLIQUIDATED,
 CONTINGENT OR NON-CONTINGENT, EXISTING AS OF THE EFFECTIVE DATE IN LAW,
 EQUITY OR OTHERWISE, WHETHER FOR TORT, CONTRACT VIOLATIONS OF
 FEDERAL OR STATE SECURITIES LAWS OR OTHERWISE, ARISING FROM OR
 RELATED IN ANY WAY TO THE DEBTORS, THE SECURITIES PURCHASE
 AGREEMENTS, THE PLAN SUPPORT AGREEMENT, THE RESTRUCTURING
 TRANSACTIONS, THE CHAPTER 11 CASES, THE ISSUANCE OF ANY SECURITY OF THE
 DEBTORS, THE SUBJECT MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING
 RISE TO, ANY CLAIM OR INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS
 OR CONTRACTUAL ARRANGEMENTS BETWEEN ANY DEBTOR, ANY RELEASED
 PARTIES, THE RESTRUCTURING OF CLAIMS AND INTERESTS PRIOR TO OR IN THE
 CHAPTER 11 CASES, THE NEGOTIATION, FORMULATION OR PREPARATION OF THE
 PLAN, THE DISCLOSURE STATEMENT, THE PLAN SUPPLEMENT, THE PLAN SUPPORT
 AGREEMENT, THE SECURITIES PURCHASE AGREEMENTS, OR RELATED
 AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS, UPON ANY OTHER ACT OR
 OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING
 PLACE ON OR BEFORE THE EFFECTIVE DATE, INCLUDING THOSE THAT ANY OF THE
 DEBTORS WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN
 RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR THAT ANY HOLDER OF A
 CLAIM OR AN INTEREST OR OTHER ENTITY WOULD HAVE BEEN LEGALLY
 ENTITLED TO ASSERT ON BEHALF OF THE DEBTORS OR ANY OF THEIR ESTATES;
 PROVIDED, HOWEVER, THAT THE FOREGOING DEBTOR RELEASE SHALL NOT
 OPERATE TO WAIVE OR RELEASE ANY CLAIMS OR LIABILITIES OF ANY DEBTOR: (1)
 ARISING UNDER ANY CONTRACTUAL OBLIGATION OWED TO THE DEBTORS,
 INCLUDING UNDER THE SECURITIES PURCHASE AGREEMENTS OR THE PLAN
 SUPPORT AGREEMENT; (2) EXPRESSLY SET FORTH IN AND PRESERVED BY THE
 PLAN, THE PLAN SUPPLEMENT, OR RELATED DOCUMENTS; OR (3) CONSTITUTING
 INTERCOMPANY CLAIMS THAT ARE REINSTATED PURSUANT TO THE PLAN.
 NOTWITHSTANDING ANYTHING CONTAINED HEREIN TO THE CONTRARY, THE PLAN
 DOES NOT RELEASE ANY CAUSES OF ACTION THAT THE DEBTORS OR THE
 REORGANIZED DEBTORS HAVE OR MAY HAVE NOW OR IN THE FUTURE AGAINST
 ANY PARTY (INCLUDING, BUT NOT LIMITED TO, A RELEASED PARTY) ARISING OUT
 OF OR RELATING TO ANY ACT OR OMISSION OF A RELEASED PARTY THAT
 CONSTITUTES WILLFUL MISCONDUCT OR GROSS NEGLIGENCE, EACH AS
 DETERMINED BY A FINAL ORDER OF THE BANKRUPTCY COURT.

        ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE
 DEBTOR RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED
 PROVISIONS AND DEFINITIONS CONTAINED HEREIN, AND        FURTHER, SHALL
 CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT THE DEBTOR RELEASE IS:
 (1) IN EXCHANGE FOR THE GOOD AND VALUABLE CONSIDERATION PROVIDED BY
 THE RELEASING PARTIES; (2) A GOOD FAITH SETTLEMENT AND COMPROMISE OF
 THE CLAIMS RELEASED BY THE DEBTOR RELEASE; (3) IN THE BEST INTERESTS OF
 THE DEBTORS AND ALL HOLDERS OF CLAIMS AND INTERESTS; (4) FAIR, EQUITABLE
 AND REASONABLE; (5) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
 FOR HEARING; AND (6) A BAR TO ANY OF THE DEBTORS OR THE REORGANIZED


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 DEBTORS ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED PURSUANT TO
 THE DEBTOR RELEASE.

 5.              RELEASES BY HOLDERS OF CLAIMS

       NOTWITHSTANDING ANYTHING CONTAINED HEREIN TO THE CONTRARY, ON
 THE EFFECTIVE DATE AND AS OF THE EFFECTIVE DATE, THE RELEASING PARTIES48
 DISCHARGE AND RELEASE (AND EACH ENTITY SO DISCHARGED AND RELEASED
 SHALL BE DEEMED DISCHARGED AND RELEASED BY THE RELEASING PARTIES) (THE
 “THIRD PARTY RELEASE”) THE REORGANIZED DEBTORS, THEIR ESTATES, THEIR
 RESPECTIVE PROPERTY, AND THE RELEASED PARTIES AND THEIR RESPECTIVE
 SUCCESSORS AND ASSIGNS AND THEIR RESPECTIVE PROPERTY FROM ANY AND ALL
 CLAIMS, INTERESTS, OBLIGATIONS, DEBTS, RIGHTS, SUITS, DAMAGES, REMEDIES,
 CAUSES OF ACTION, AND LIABILITIES WHATSOEVER, INCLUDING ANY DERIVATIVE
 CLAIMS ASSERTED ON BEHALF OF THE RELEASING PARTY, WHETHER KNOWN OR
 UNKNOWN, MATURED OR UNMATURED, FORESEEN OR UNFORESEEN, EXISTING OR
 HEREINAFTER ARISING, IN LAW, EQUITY, OR OTHERWISE, WHETHER FOR TORT,
 CONTRACT, VIOLATION OF FEDERAL OR STATE SECURITIES LAW OR OTHERWISE,
 ARISING FROM OR RELATED IN ANY WAY TO THE DEBTORS, THE SECURITIES
 PURCHASE AGREEMENTS, THE PLAN SUPPORT AGREEMENT, THE RESTRUCTURING
 TRANSACTIONS, THE CHAPTER 11 CASES, THE ISSUANCE OF ANY SECURITY OF THE
 DEBTORS, THE SUBJECT MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING
 RISE TO, ANY CLAIM OR INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS
 OR CONTRACTUAL ARRANGEMENTS BETWEEN ANY DEBTOR, ANY RELEASED
 PARTIES, THE RESTRUCTURING OF CLAIMS AND INTERESTS PRIOR TO OR IN THE
 CHAPTER 11 CASES, THE NEGOTIATION, FORMULATION OR PREPARATION OF THE
 PLAN, THE DISCLOSURE STATEMENT, THE PLAN SUPPLEMENT, THE PLAN SUPPORT
 AGREEMENT, THE SECURITIES PURCHASE AGREEMENTS, OR RELATED
 AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS, UPON ANY OTHER ACT OR
 OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING
 PLACE ON OR BEFORE THE EFFECTIVE DATE, INCLUDING THOSE THAT ANY OF THE
 DEBTORS WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN ITS OWN RIGHT
 (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR THAT ANY HOLDER OF A CLAIM
 OR AN INTEREST OR OTHER ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO
 ASSERT ON BEHALF OF ITSELF, THE DEBTORS OR ANY OF THEIR ESTATES;
 PROVIDED, HOWEVER, THAT THE FOREGOING THIRD PARTY RELEASE SHALL NOT
 OPERATE TO RELEASE CLAIMS, OBLIGATIONS, DEBTS, RIGHTS, SUITS, DAMAGES,
 REMEDIES, CAUSES OF ACTION, AND LIABILITIES OF ANY RELEASING PARTY: (1)
 AGAINST A RELEASING PARTY OR A PARTY RELEASING UNDER THIS THIRD PARTY
 RELEASE ARISING FROM ANY CONTRACTUAL OBLIGATIONS OWED TO THE
 RELEASING PARTY OR LIABILITIES OF ANY RELEASING PARTY; (2) ARISING UNDER
 THE SECURITIES PURCHASE AGREEMENTS OR THE PLAN SUPPORT AGREEMENT; (3)
 EXPRESSLY SET FORTH IN AND PRESERVED BY THE PLAN, THE PLAN SUPPLEMENT,
 OR RELATED DOCUMENTS; OR (4) AGAINST A PROFESSIONAL WITH RESPECT TO
 SUCH PROFESSIONAL’S FINAL FEE APPLICATION OR ACCRUED PROFESSIONAL
 COMPENSATION CLAIMS IN THESE CHAPTER 11 CASES.          NOTWITHSTANDING
 ANYTHING TO THE CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH

 48      If you vote to accept the Plan, you are automatically deemed to consent to the Third Party Release in
         Article VIII.E of the Plan. If you vote to reject the Plan or do not submit a vote, you are not bound by the
         Third Party Release.

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 ABOVE DO NOT RELEASE ANY (1) POST-EFFECTIVE DATE OBLIGATIONS OF ANY
 PARTY UNDER THE PLAN OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT
 (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO
 IMPLEMENT THE PLAN, OR (2) CLAIMS ARISING UNDER THE SECURITIES PURCHASE
 AGREEMENTS. FOR THE AVOIDANCE OF DOUBT, NOTHING IN THIS PARAGRAPH
 SHALL IN ANY WAY AFFECT THE OPERATION OF ARTICLE VIII.A OF THE PLAN,
 PURSUANT TO SECTION 1141(D) OF THE BANKRUPTCY CODE.

      NOTWITHSTANDING ANYTHING IN THE PLAN, NO PERSON SHALL BE
 DISCHARGED, RELEASED, OR RELIEVED FROM ANY LIABILITY ARISING UNDER
 ERISA OR THE INTERNAL REVENUE CODE SOLELY WITH RESPECT TO THE A&P
 PENSION PLANS AS A RESULT OF THE DEBTORS’ REORGANIZATION PROCEEDINGS
 OR CONFIRMATION OF THE PLAN. NOR SHALL THE PENSION BENEFIT GUARANTY
 CORPORATION, THE A&P PENSION PLANS, OR ANY OTHER PERSON BE ENJOINED OR
 PRECLUDED FROM ENFORCING ANY LIABILITY ARISING UNDER ERISA OR THE
 INTERNAL REVENUE CODE SOLELY WITH RESPECT TO THE A&P PENSION PLANS AS
 A RESULT OF THE DEBTORS’ REORGANIZATION PROCEEDINGS, THE PLAN’S
 PROVISIONS OR THE PLAN’S CONFIRMATION.

      NOTWITHSTANDING ANYTHING CONTAINED HEREIN TO THE CONTRARY,
 THE PLAN DOES NOT RELEASE ANY CAUSES OF ACTION THAT THE DEBTORS OR THE
 REORGANIZED DEBTORS HAVE OR MAY HAVE NOW OR IN THE FUTURE AGAINST
 ANY PARTY (INCLUDING, BUT NOT LIMITED TO, A RELEASED PARTY) ARISING OUT
 OF OR RELATING TO ANY ACT OR OMISSION OF A RELEASED PARTY THAT
 CONSTITUTES WILLFUL MISCONDUCT OR GROSS NEGLIGENCE, EACH AS
 DETERMINED BY A FINAL ORDER OF THE BANKRUPTCY COURT.

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE
 THIRD PARTY RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED
 PROVISIONS AND DEFINITIONS CONTAINED HEREIN, AND         FURTHER, SHALL
 CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT THE THIRD PARTY
 RELEASE IS: (1) IN EXCHANGE FOR THE GOOD AND VALUABLE CONSIDERATION
 PROVIDED BY THE RELEASING PARTIES; (2) A GOOD FAITH SETTLEMENT AND
 COMPROMISE OF THE CLAIMS RELEASED BY THE THIRD PARTY RELEASE; (3) IN
 THE BEST INTERESTS OF THE DEBTORS AND ALL HOLDERS OF CLAIMS AND
 INTERESTS; (4) FAIR, EQUITABLE AND REASONABLE; (5) GIVEN AND MADE AFTER
 DUE NOTICE AND OPPORTUNITY FOR HEARING; AND (6) A BAR TO ANY RELEASING
 PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED PURSUANT TO
 THE THIRD PARTY RELEASE.

      THE THIRD PARTY RELEASE IN ARTICLE VIII.E OF THE PLAN IS CONSENSUAL.
 THOSE HOLDERS OF CLAIMS THAT AFFIRMATIVELY VOTE IN FAVOR OF THE PLAN
 ARE BOUND BY THE THIRD PARTY RELEASE. FOR THE AVOIDANCE OF DOUBT, IF A
 HOLDER OF A CLAIM AFFIRMATIVELY VOTES IN FAVOR OF THE PLAN, SUCH
 HOLDER, IN ALL CAPACITIES, WILL BE RELEASING, AMONG OTHERS, THE DEBTORS’
 CURRENT AND FORMER OFFICERS AND DIRECTORS, INCLUDING OFFICERS AND
 DIRECTORS WHO ARE NAMED AS DEFENDANTS IN THE SECURITIES CLASS ACTION
 LAWSUIT (SEE ARTICLE IV.I ABOVE).




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       THE DEBTORS AND APPLICABLE NON-DEBTORS DO NOT CONCEDE ANY
 LIABILITY AND DO NOT AGREE WITH THE ALLEGATIONS IN THE SECURITIES CLASS
 ACTION LAWSUIT. THE DEBTORS AND APPLICABLE NON-DEBTORS RESERVE ANY
 AND ALL RIGHTS TO CONTEST THE CLAIMS AND TO ENFORCE ANY STAY OF THE
 ACTIONS AS AGAINST THE DEBTORS.

 6.             WAIVER OF STATUTORY LIMITATIONS ON RELEASES

       EACH OF THE RELEASING PARTIES IN EACH OF THE RELEASES CONTAINED
 IN ARTICLE VIII.D AND ARTICLE VIII.E OF THE PLAN EXPRESSLY ACKNOWLEDGES
 THAT ALTHOUGH ORDINARILY A GENERAL RELEASE MAY NOT EXTEND TO CLAIMS
 WHICH THE RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS
 FAVOR, WHICH IF KNOWN BY IT MAY HAVE MATERIALLY AFFECTED ITS
 SETTLEMENT WITH THE PARTY RELEASED, THEY HAVE CAREFULLY CONSIDERED
 AND TAKEN INTO ACCOUNT IN DETERMINING TO ENTER INTO THE ABOVE
 RELEASES THE POSSIBLE EXISTENCE OF SUCH UNKNOWN LOSSES OR CLAIMS.
 WITHOUT LIMITING THE GENERALITY OF THE FOREGOING, EACH RELEASING
 PARTY EXPRESSLY WAIVES ANY AND ALL RIGHTS CONFERRED UPON IT BY ANY
 STATUTE OR RULE OF LAW WHICH PROVIDES THAT A RELEASE DOES NOT EXTEND
 TO CLAIMS WHICH THE CLAIMANT DOES NOT KNOW OR SUSPECT TO EXIST IN ITS
 FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY IT MAY
 HAVE MATERIALLY AFFECTED ITS SETTLEMENT WITH THE RELEASED PARTY,
 INCLUDING, WITHOUT LIMITATION, THE PROVISIONS OF CALIFORNIA CIVIL CODE
 SECTION 1542. THE RELEASES CONTAINED IN ARTICLE VIII.D AND ARTICLE VIII.E
 OF THE PLAN ARE EFFECTIVE REGARDLESS OF WHETHER THOSE RELEASED
 MATTERS ARE PRESENTLY KNOWN, UNKNOWN, SUSPECTED OR UNSUSPECTED,
 FORESEEN OR UNFORESEEN.

 7.             EXCULPATION

       THE EXCULPATED PARTIES SHALL NEITHER HAVE, NOR INCUR ANY
 LIABILITY TO ANY ENTITY FOR ANY ACT TAKEN OR OMITTED TO BE TAKEN IN
 CONNECTION WITH, OR RELATED TO FORMULATING, NEGOTIATING, PREPARING,
 DISSEMINATING, IMPLEMENTING, ADMINISTERING, CONFIRMING OR EFFECTING
 THE EFFECTIVE DATE OF THE PLAN, THE DISCLOSURE STATEMENT, THE
 SECURITIES PURCHASE AGREEMENTS, THE PLAN SUPPORT AGREEMENT, THE
 RESTRUCTURING TRANSACTIONS, THE ISSUANCE AND/OR DISTRIBUTION OF NEWCO
 EQUITY, THE NEW SECOND LIEN NOTES, THE REPLACEMENT SECOND LIEN NOTES
 IF APPLICABLE, THE NEW CONVERTIBLE THIRD LIEN NOTES, THE INVESTMENT
 WARRANTS OR ANY CONTRACT, INSTRUMENT, RELEASE OR OTHER AGREEMENT
 OR DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE PLAN OR
 ANY OTHER PRE-PETITION OR POST-PETITION ACT TAKEN OR OMITTED TO BE
 TAKEN IN CONNECTION WITH OR IN CONTEMPLATION OF THE PLAN OR THE
 RESTRUCTURING OF THE DEBTORS (COLLECTIVELY, “EXCULPATED CLAIMS”);
 PROVIDED, THAT THE FOREGOING PROVISIONS OF THIS EXCULPATION SHALL
 HAVE NO EFFECT ON (A) ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY
 UNDER THE PLAN OR ANY DOCUMENT, INSTRUMENT OR AGREEMENT (INCLUDING
 THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE
 PLAN OR (B) THE LIABILITY OF ANY ENTITY THAT RESULTS FROM ANY SUCH ACT
 OR OMISSION THAT IS DETERMINED IN A FINAL ORDER TO HAVE CONSTITUTED
 GROSS NEGLIGENCE OR WILLFUL MISCONDUCT; PROVIDED, FURTHER, THAT EACH

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 EXCULPATED PARTY SHALL BE ENTITLED TO RELY UPON THE ADVICE OF COUNSEL
 CONCERNING HIS, HER OR ITS DUTIES PURSUANT TO, OR IN CONNECTION WITH,
 THE PLAN; PROVIDED FURTHER, THAT THE FOREGOING “EXCULPATION” SHALL
 NOT APPLY TO ANY ACTS OR OMISSIONS EXPRESSLY SET FORTH IN AND
 PRESERVED BY THE PLAN, THE PLAN SUPPLEMENT OR RELATED DOCUMENTS,
 EXCEPT FOR ACTS OR OMISSIONS OF RELEASING PARTIES.

 8.             INJUNCTION

       EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR THE CONFIRMATION
 ORDER, ALL ENTITIES WHO HAVE HELD, HOLD OR MAY HOLD CLAIMS, INTERESTS,
 CAUSES OF ACTION OR LIABILITIES THAT: (1) ARE SUBJECT TO COMPROMISE AND
 SETTLEMENT PURSUANT TO THE TERMS OF THE PLAN; (2) HAVE BEEN RELEASED
 PURSUANT TO ARTICLE VIII.D HEREOF; (3) HAVE BEEN RELEASED PURSUANT TO
 ARTICLE VIII.E; (4) ARE SUBJECT TO EXCULPATION PURSUANT TO ARTICLE VIII.G
 HEREOF, INCLUDING EXCULPATED CLAIMS (BUT ONLY TO THE EXTENT OF THE
 EXCULPATION PROVIDED IN ARTICLE VIII.E); OR (5) ARE OTHERWISE STAYED OR
 TERMINATED PURSUANT TO THE TERMS OF THE PLAN, ARE PERMANENTLY
 ENJOINED AND PRECLUDED, FROM AND AFTER THE EFFECTIVE DATE, FROM: (A)
 COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
 PROCEEDING OF ANY KIND, INCLUDING ON ACCOUNT OF ANY CLAIMS, INTERESTS,
 CAUSES OF ACTIONS OR LIABILITIES THAT HAVE BEEN COMPROMISED OR SETTLED
 AGAINST THE DEBTORS, THE REORGANIZED DEBTORS, OR ANY ENTITY SO
 RELEASED OR EXCULPATED (OR THE PROPERTY OR ESTATE OF ANY ENTITY,
 DIRECTLY OR INDIRECTLY, SO RELEASED OR EXCULPATED) ON ACCOUNT OF OR IN
 CONNECTION WITH OR WITH RESPECT TO ANY RELEASED, SETTLED,
 COMPROMISED, OR EXCULPATED CLAIMS, INTERESTS, CAUSES OF ACTION OR
 LIABILITIES; (B) ENFORCING, ATTACHING, COLLECTING, OR RECOVERING BY ANY
 MANNER OR MEANS ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST THE
 DEBTORS, THE REORGANIZED DEBTOR, OR ANY ENTITY SO RELEASED OR
 EXCULPATED (OR THE PROPERTY OR ESTATES OF THE DEBTORS, THE
 REORGANIZED DEBTORS, OR ANY ENTITY SO RELEASED OR EXCULPATED) ON
 ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
 RELEASED, SETTLED, COMPROMISED, OR EXCULPATED CLAIMS, INTERESTS,
 CAUSES OF ACTION, OR LIABILITIES; (C) CREATING, PERFECTING OR ENFORCING
 ANY LIEN, CLAIM, OR ENCUMBRANCE OF ANY KIND AGAINST THE DEBTORS, THE
 REORGANIZED DEBTORS, OR ANY ENTITY SO RELEASED OR EXCULPATED (OR THE
 PROPERTY OR ESTATES OF THE DEBTORS, THE REORGANIZED DEBTORS, OR ANY
 ENTITY SO RELEASED OR EXCULPATED) ON ACCOUNT OF OR IN CONNECTION WITH
 OR WITH RESPECT TO ANY SUCH RELEASED, SETTLED, COMPROMISED, OR
 EXCULPATED CLAIMS, EQUITY INTERESTS, CAUSES OF ACTION, OR LIABILITIES; (D)
 ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR RECOUPMENT OF ANY KIND
 AGAINST ANY OBLIGATION DUE FROM THE DEBTORS, THE REORGANIZED DEBTORS,
 OR ANY ENTITY SO RELEASED OR EXCULPATED (OR THE PROPERTY OR ESTATES OF
 THE DEBTORS, THE REORGANIZED DEBTORS, OR ANY ENTITY SO RELEASED OR
 EXCULPATED) ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO
 ANY SUCH RELEASED, SETTLED, COMPROMISED, OR EXCULPATED CLAIMS,
 INTERESTS, CAUSES OF ACTION OR LIABILITIES UNLESS SUCH HOLDER HAS FILED A
 TIMELY PROOF OF CLAIM WITH THE BANKRUPTCY COURT PRESERVING SUCH
 RIGHT OF SETOFF PURSUANT TO SECTION 553 OF THE BANKRUPTCY CODE OR
 OTHERWISE; AND (E) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION

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 OR OTHER PROCEEDING OF ANY KIND AGAINST THE DEBTORS, THE REORGANIZED
 DEBTORS, THE INVESTORS OR ANY ENTITY SO RELEASED OR EXCULPATED (OR THE
 PROPERTY OR ESTATES OF THE DEBTORS, THE REORGANIZED DEBTORS, OR ANY
 ENTITY SO RELEASED OR EXCULPATED) ON ACCOUNT OF OR IN CONNECTION WITH
 OR WITH RESPECT TO ANY SUCH RELEASED, SETTLED, COMPROMISED, OR
 EXCULPATED CLAIMS, INTERESTS, CAUSES OF ACTION, OR LIABILITIES RELEASED,
 SETTLED OR COMPROMISED PURSUANT TO THE PLAN; PROVIDED THAT NOTHING
 CONTAINED HEREIN SHALL PRECLUDE AN ENTITY FROM OBTAINING BENEFITS
 DIRECTLY AND EXPRESSLY PROVIDED TO SUCH ENTITY PURSUANT TO THE TERMS
 OF THE PLAN; PROVIDED, FURTHER, THAT NOTHING CONTAINED HEREIN SHALL BE
 CONSTRUED TO PREVENT ANY ENTITY FROM DEFENDING AGAINST CLAIMS
 OBJECTIONS OR COLLECTION ACTIONS WHETHER BY ASSERTING A RIGHT OF
 SETOFF OR OTHERWISE TO THE EXTENT PERMITTED BY LAW.

 9.               Summary of Release

          As set forth more fully herein and in the Plan, the Plan provides for voluntary releases of certain
 claims and causes of action by the Debtors and third parties. The Debtors believe that these releases are
 justified because such releases are being provided to parties who have played an integral role in the
 Debtors’ restructuring efforts and are consensual. As set forth herein and in the Plan, only those holders
 of Claims that affirmatively vote in favor of the Plan are bound by the Third Party Release. Moreover,
 the release provisions of the Plan are necessary to protect the reorganized company from any potential
 litigation from prepetition creditors after the Effective Date. Any such litigation would hinder the efforts
 of the reorganized entity to effectively fulfill its responsibilities as contemplated in the Plan. As a result,
 the Debtors believe the releases in the Plan satisfy the standard applicable in the Second Circuit. See In re
 Metromedia Fiber Network, Inc., 416 F.3d 136, 142 (2d Cir. 2005) (“Nondebtor releases may be tolerated
 if the affected creditor consents.”); Adelphia, 368 B.R. at 140 stay granted, 361 B.R. 337 (S.D.N.Y.
 2007), appeal dismissed, 367 B.R. 84 (S.D.N.Y. 2007), appeal dismissed, 371 B.R. 660 (S.D.N.Y. 2007),
 order aff’d, 544 F.3d 420 (2d Cir. 2008) (“The Seventh Circuit held in Specialty Equipment that
 consensual releases are permissible, and the Metromedia court did not quarrel with that view.”) (citation
 omitted).

 10.              Protection Against Discriminatory Treatment

         Consistent with section 525 of the Bankruptcy Code and paragraph 2 of Article VI of the United
 States Constitution, no Governmental Unit shall discriminate against the Reorganized Debtors or deny,
 revoke, suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to,
 condition such a grant to, discriminate with respect to such a grant against, the Reorganized Debtors, or
 another Entity with whom such Reorganized Debtors have been associated, solely because one of the
 Debtors has been a debtor under chapter 11, has been insolvent before the commencement of the Chapter
 11 Cases (or during the Chapter 11 Cases but before the Debtor is granted or denied a discharge), or has
 not paid a debt that is dischargeable in the Chapter 11 Cases.

 11.              Indemnification

         Notwithstanding anything in the Plan to the contrary, all indemnification provisions currently in
 place (whether in the Securities Purchase Agreements, by-laws, certificates of incorporation, articles of
 limited partnership, board resolutions, contracts, or otherwise) for the directors, officers, employees,
 attorneys, other professionals, and agents of the Debtors that served in such capacity from and after the
 Commencement Date and such directors’ and officers’ respective affiliates, shall be Reinstated (or
 assumed, as the case may be), and shall survive effectiveness of the Plan.

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 12.             Recoupment

          In no event shall any holder of Claims or Interests be entitled to recoup any Claim or Interest
 against any Claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable,
 unless such holder actually has performed such recoupment and provided notice thereof in writing to the
 Debtors on or before the Confirmation Date, notwithstanding any indication in any Proof of Claim or
 Interest or otherwise that such holder asserts, has, or intends to preserve any right of recoupment.

 13.             Release of Liens

         Except as otherwise provided in the Plan or in any contract, instrument, release, or other
 agreement or document created pursuant to the Plan, on the Effective Date, all mortgages, deeds of trust,
 Liens, pledges, or other security interests against any property of the Estates shall be fully released, and
 discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust, Liens,
 pledges, or other security interests shall revert to the Reorganized Debtor and its successors and assigns.

 14.             Reimbursement or Contribution

         If a Claim for reimbursement or contribution of an Entity pursuant to section 502(e)(1)(B) of the
 Bankruptcy Code is (i) disallowed by the Bankruptcy Court or (ii) is contingent as of the Effective Date,
 then such Claim shall be forever disallowed notwithstanding section 502(j) of the Bankruptcy Code,
 unless prior to the Effective Date (a) such Claim has been adjudicated as noncontingent or (b) the relevant
 holder of a Claim has filed a noncontingent Proof of Claim on account of such Claim and a Final Order
 has been entered determining such Claim as no longer contingent.

 O.      Conditions Precedent to Consummation of the Plan

 1.              Conditions Precedent to the Effective Date

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied
 or waived pursuant to Article VI.O.2 hereof:

                 a.       the Bankruptcy Court shall have approved the Disclosure Statement, in a manner
                          acceptable to the Debtors and the Investors, as containing adequate information
                          with respect to the Plan within the meaning of section 1125 of the Bankruptcy
                          Code and such order shall be in full force and effect and shall have become a
                          Final Order;

                 b.       the Confirmation Order: (i) shall be entered by the Bankruptcy Court on or
                          before February 14, 2012 (as such date may be extended with the consent of the
                          Debtors and the Investors, which consent shall not be unreasonably withheld or
                          delayed); (ii) shall include the provisions in Exhibit D to the Securities Purchase
                          Agreements and otherwise be in form and substance acceptable to the Investors;
                          and (iii) shall be in full force and effect and, unless waived by the Investors, shall
                          have become a Final Order;

                 c.       the Plan and Plan Supplement, including any amendments, modifications, or
                          supplements thereto, shall be in form and substance reasonably acceptable to the
                          Investors and shall not have been modified without the consent of the Investors
                          (such consent not to have been unreasonably withheld in the case of a
                          modification that is not adverse to the Investors);


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                 d.       the Transaction Expenses (as defined and provided in the Securities Purchase
                          Agreements), to the extent not previously paid, shall be paid concurrently with
                          the Effective Date in Cash in accordance with the terms of the Securities
                          Purchase Agreements as approved by the Securities Purchase Agreements Order;

                 e.       the Commitment Fee shall be paid concurrently with the Effective Date to
                          Liberty Harbor and Mount Kellett, as provided in the Securities Purchase
                          Agreements;

                 f.       the Debtors shall have obtained an Exit Facility on terms as provided in the
                          Securities Purchase Agreements and the Plan, and on terms and conditions
                          reasonably acceptable to the Investors, and all conditions precedent to the
                          consummation of the Exit Facility shall have been waived or satisfied in
                          accordance with the terms thereof and the closing of the Exit Facility shall occur
                          concurrently with the Effective Date;

                 g.       with respect to all actions, documents, Certificates, and agreements necessary to
                          implement the Plan (a) all conditions precedent to such documents and
                          agreements shall have been satisfied or waived pursuant to the terms of such
                          documents or agreements, (b) such documents, Certificates and agreements shall
                          have been tendered for delivery, (c) to the extent required, such documents,
                          Certificates and agreements shall have been filed with and approved by any
                          applicable Governmental Units in accordance with applicable laws, and (d) such
                          actions, documents, Certificates and agreements shall have been effected or
                          executed;

                 h.       the Cash payable pursuant to Article III.C.1.b of the Plan shall be distributed on
                          the Effective Date as provided herein;

                 i.       all conditions to the effectiveness of the Securities Purchase Agreements shall
                          have been satisfied or waived in accordance with the terms thereof; and

                 j.       all other “Conditions to Investors’ Obligations at Closing” identified in section
                          5.1 of the Securities Purchase Agreements shall have been satisfied or waived by
                          the Investors in accordance with the terms thereof.

 2.              Waiver of Conditions Precedent

         Subject to the terms of the Securities Purchase Agreements, the Debtors (in consultation with the
 Creditors’ Committee and the DIP Facility Administrative Agent) and the Investors may jointly waive
 any of the conditions to the Effective Date set forth in Article VI.O.1, other than the condition set forth in
 Article IX.A.8 of the Plan (unless consented to by the Consenting Noteholders in accordance with the
 Plan Support Agreement) at any time without any notice to other parties in interest and without any
 further notice to or action, order, or approval of the Bankruptcy Court, and without any formal action
 other than proceeding to confirm or consummate the Plan.

 3.              Effect of Non-Occurrence of Conditions to Consummation

         If prior to Consummation, the Confirmation Order is vacated pursuant to a Final Order, then
 except as provided in any order of the Bankruptcy Court vacating the Confirmation Order, the Plan will
 be null and void in all respects, and nothing contained in the Plan or Disclosure Statement shall


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 (a) constitute a waiver or release of any Claims, Interests, or Causes of Action, (b) prejudice in any
 manner the rights of any Debtor or any other Entity, or (c) constitute an admission, acknowledgment,
 offer, or undertaking of any sort by any Debtor or any other Entity.

 P.      Retention of Jurisdiction

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date,
 the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related to, the
 Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
 jurisdiction to:

                 a.      allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
                         secured or unsecured status, or amount of any Claim or Interest, including the
                         resolution of any request for payment of any Administrative Claim and the
                         resolution of any and all objections to the secured or unsecured status, priority,
                         amount, or allowance of Claims or Interests;

                 b.      decide and resolve all matters related to the granting and denying, in whole or in
                         part, of any applications for allowance of compensation or reimbursement of
                         expenses to Professionals authorized pursuant to the Bankruptcy Code or the
                         Plan; provided, however, that from and after the Effective Date, the payment of
                         the fees and expenses of any professionals of the Reorganized Debtors shall be
                         made in the ordinary course of business and shall not be subject to Bankruptcy
                         Court review or approval;

                 c.      resolve any matters related to Executory Contracts or Unexpired Leases,
                         including: (1) the assumption, assumption and assignment, or rejection of any
                         Executory Contract or Unexpired Lease to which a Debtor is party or with
                         respect to which a Debtor may be liable and to hear, determine, and, if necessary,
                         liquidate, any Cure or Claims arising therefrom, including pursuant to section
                         365 of the Bankruptcy Code; (2) any potential contractual obligation under any
                         Executory Contract or Unexpired Lease that is assumed; (3) the Reorganized
                         Debtors’ amendment, modification, or supplement, after the Effective Date,
                         pursuant to Article VI.K, of the list of Executory Contracts and Unexpired Leases
                         to be assumed or rejected or otherwise; and (4) any dispute regarding whether a
                         contract or lease is or was executory or expired;

                 d.      ensure that distributions to holders of Allowed Claims are accomplished pursuant
                         to the provisions of the Plan and adjudicate any and all disputes arising from or
                         relating to distributions under the Plan;

                 e.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or
                         litigated matters, and any other matters, and grant or deny any applications
                         involving a Debtor that may be pending on the Effective Date;

                 f.      adjudicate, decide, or resolve any and all matters related to Causes of Action of
                         the Debtors or brought by or against the Reorganized Debtors;

                 g.      adjudicate, decide, or resolve any and all matters related to section 1141 of the
                         Bankruptcy Code;


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                h.       enter and implement such orders as may be necessary or appropriate to execute,
                         implement, or consummate the provisions of the Plan and all contracts,
                         instruments, releases, indentures, and other agreements or documents created in
                         connection with the Plan, the Plan Supplement or the Disclosure Statement;

                i.       enter and enforce any order for the sale of property pursuant to sections 363,
                         1123, or 1146(a) of the Bankruptcy Code;

                j.       grant any consensual request to extend the deadline for assuming or rejecting
                         Unexpired Leases pursuant to section 365(d)(4) of the Bankruptcy Code;

                k.       resolve any cases, controversies, suits, disputes, or Causes of Action that may
                         arise in connection with the Consummation, interpretation, or enforcement of the
                         Plan or any Entity’s obligations incurred in connection with the Plan;

                l.       enter and implement such orders as may be necessary or appropriate to execute,
                         implement, or consummate the provisions of all contracts, instruments, releases,
                         indentures, and other agreements or documents approved by Final Order in the
                         Chapter 11 Cases;

                m.       issue injunctions, enter and implement other orders, or take such other actions as
                         may be necessary or appropriate to restrain interference by any Entity with
                         Consummation or enforcement of the Plan;

                n.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect
                         to the releases, exculpation, injunctions, and other provisions contained in Article
                         VI.N above and enter such orders as may be necessary or appropriate to
                         implement such releases, exculpation, injunctions, and other provisions;

                o.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect
                         to the repayment or return of distributions and the recovery of additional amounts
                         owed by the holder of a Claim for amounts not timely repaid pursuant to Article
                         VII.D.1 of the Plan;

                p.       enter and implement such orders as are necessary or appropriate if the
                         Confirmation Order is for any reason modified, stayed, reversed, revoked, or
                         vacated;

                q.       determine any other matters that may arise in connection with or relate to the
                         Plan, the Disclosure Statement, the Confirmation Order, or any contract,
                         instrument, release, indenture, or other agreement or document created in
                         connection with the Plan or the Disclosure Statement;

                r.       enter an order or Final Decree concluding or closing the Chapter 11 Cases;

                s.       consider any modifications of the Plan, to cure any defect or omission, or to
                         reconcile any inconsistency in any Bankruptcy Court order, including the
                         Confirmation Order;




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                 t.       determine requests for the payment of Claims and Interests entitled to priority
                          pursuant to section 507 of the Bankruptcy Code;

                 u.       hear and determine disputes arising in connection with the interpretation,
                          implementation, or enforcement of the Plan, or the Confirmation Order,
                          including disputes arising under agreements, documents, or instruments executed
                          in connection with the Plan;

                 v.       hear and determine matters concerning state, local, and federal taxes in
                          accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

                 w.       hear and determine all disputes involving the existence, nature, or scope of the
                          Debtors’ discharge, including any dispute relating to any liability arising out of
                          the termination of employment or the termination of any employee or retiree
                          benefit program, regardless of whether such termination occurred prior to or after
                          the Effective Date;

                 x.       hear and determine matters related to the Securities Purchase Agreements and
                          related agreements;

                 y.       except as otherwise limited herein, recover all assets of the Debtors and property
                          of the Estates, wherever located;

                 z.       enforce all orders previously entered by the Bankruptcy Court; and

                 aa.      hear any other matter not inconsistent with the Bankruptcy Code.

 Q.      Miscellaneous Provisions

 1.              No Stay of Confirmation Order

         The Confirmation Order shall contain a waiver of any stay of enforcement otherwise applicable,
 including pursuant to Bankruptcy Rules 3020(e), 6004(h), 6006(d) and 7062.

 2.              Modification of Plan

         Subject to the limitations contained in the Plan and the terms and conditions of the Securities
 Purchase Agreements: (1) the Debtors (in consultation with the Creditors’ Committee and the DIP
 Facility Administrative Agent) reserve the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, to amend or modify the Plan prior to the entry of the Confirmation Order, including
 amendments or modifications to satisfy section 1129(b) of the Bankruptcy Code; and (2) after the entry of
 the Confirmation Order, the Debtors (in consultation with the Creditors’ Committee and the DIP Facility
 Administrative Agent) or the Reorganized Debtors, as the case may be, may, upon order of the
 Bankruptcy Court, amend or modify the Plan, in accordance with section 1127(b) of the Bankruptcy
 Code, or remedy any defect or omission or reconcile any inconsistency in the Plan in such manner as may
 be necessary to carry out the purpose and intent of the Plan.

 3.              Revocation or Withdrawal of Plan

        The Debtors (in consultation with the Creditors’ Committee and the DIP Facility Administrative
 Agent) reserve the right, subject to, and in accordance with, the terms and conditions of each of the

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 Securities Purchase Agreements and the Securities Purchase Agreements Order, to revoke or withdraw
 the Plan before the Confirmation Date and to file subsequent chapter 11 plans. If the Debtors revoke or
 withdraw the Plan, or if Confirmation, Consummation or the Effective Date does not occur, then (1) the
 Plan shall be null and void in all respects, (2) any settlement or compromise embodied in the Plan,
 assumption or rejection of Executory Contracts or Unexpired Leases effected by the Plan, and any
 document or agreement executed pursuant hereto will be null and void in all respects, and (3) nothing
 contained in the Plan shall (a) constitute a waiver or release of any Claims, Interests, or Causes of Action,
 (b) prejudice in any manner the rights of any Debtor or any other Entity, or (c) constitute an admission,
 acknowledgement, offer, or undertaking of any sort by any Debtor or any other Entity.

 4.              Confirmation of the Plan

         The Debtors request Confirmation of the Plan under section 1129(b) of the Bankruptcy Code with
 respect to any Impaired Class that does not accept the Plan pursuant to section 1126 of the Bankruptcy
 Code. The Debtors (in consultation with the Creditors’ Committee and the DIP Facility Administrative
 Agent) reserve the right to amend the Plan to the extent, if any, that Confirmation pursuant to section
 1129(b) of the Bankruptcy Code requires modification.

 5.              Additional Documents

         On or before the Effective Date and subject to the terms and conditions of the Securities Purchase
 Agreements, the Debtors (in consultation with the Creditors’ Committee and the DIP Facility
 Administrative Agent), with the consent of the Investors (such consent shall not be unreasonably withheld
 or delayed), may file with the Bankruptcy Court such agreements and other documents as may be
 necessary or appropriate to effectuate and further evidence the terms and conditions of the Plan and the
 Securities Purchase Agreements. The Debtors (in consultation with the Creditors’ Committee and the
 DIP Facility Administrative Agent), with the consent of the Investors (such consent shall not be
 unreasonably withheld or delayed), or the Reorganized Debtors, as applicable, and all holders of Claims
 receiving distributions pursuant to the Plan and all other parties in interest shall, from time to time,
 prepare, execute, and deliver any agreements or documents and take any other actions as may be
 necessary or advisable to effectuate the provisions and intent of the Plan and the Securities Purchase
 Agreements.

 6.              Payment of Statutory Fees

          All fees payable pursuant to 28 U.S.C. §1930(a), as determined by the Bankruptcy Court at a
 hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid for each quarter (including any
 fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

 7.              Dissolution of Creditors’ Committee

          On the Effective Date, the Creditors’ Committee shall dissolve automatically, and its members
 shall be released and discharged from all rights, duties, responsibilities, and liabilities arising from, or
 related to, the Chapter 11 Cases; provided, however, that the Creditors’ Committee shall be deemed to
 remain in existence solely with respect to the final fee applications filed in connection with Article II.B.
 of the Plan and the Creditors’ Committee shall have the right to be heard on all issues relating to such
 final fee applications.




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 8.               Reservation of Rights

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
 Bankruptcy Court shall enter the Confirmation Order. None of the filing of the Plan, any statement or
 provision contained in the Plan, or the taking of any action by any Debtor with respect to the Plan, the
 Disclosure Statement, or the Plan Supplement shall be or shall be deemed to be an admission or waiver of
 any rights of any Debtor with respect to the holders of Claims or Interests prior to the Effective Date.

 9.               Successors and Assigns

           The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
 binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
 affiliate, officer, director, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

 10.              Service of Documents

         After the Effective Date, any pleading, notice, or other document required by the Plan to be
 served on or delivered to the Reorganized Debtors shall be served on:

  Debtors                                                     Counsel to the Debtors

  The Great Atlantic & Pacific Tea Company, Inc.              Kirkland & Ellis LLP
  2 Paragon Drive                                             601 Lexington Avenue
  Montvale, NJ 07645                                          New York, NY 10022
  Attn.: Christopher W. McGarry, General                      Attn.: James H.M. Sprayregen, P.C.
         Counsel                                                     Paul M. Basta, Esq.
                                                                     Ray C. Schrock, Esq.

                                                              Kirkland & Ellis LLP
                                                              300 North LaSalle
                                                              Chicago, IL 60654
                                                              Attn.: James J. Mazza, Jr., Esq.

  Counsel to the Creditors’ Committee                         Counsel to the Convertible Noteholders

  Milbank, Tweed, Hadley & McCloy LLP                         Stroock & Stroock & Lavan LLP
  1 Chase Manhattan Plaza                                     180 Maiden Lane
  New York, NY 10005                                          New York, NY 10038
  Attn.: Dennis F. Dunne, Esq.                                Attn.: Kristopher M. Hansen, Esq.
         Matthew S. Barr, Esq.                                        Jayme T. Goldstein, Esq.
         Abhilash M. Raval, Esq.
         Michael E. Comerford, Esq.

  Counsel to the Second Lien Trustee                          Counsel to DIP Facility Lenders

  Brown Rudnick LLP                                           Davis Polk & Wardwell LLP
  7 Times Square                                              450 Lexington Avenue
  New York, NY 10036                                          New York, NY 10017
  Attn.: Edward S. Weisfelner, Esq.                           Attn.: Donald S. Bernstein, Esq.
         Daniel J. Saval, Esq.                                       Marshall S. Huebner


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  United States Trustee                                     Counsel to Yucaipa

  Office of the United States Trustee                       Latham & Watkins LLP
  U.S. Department of Justice                                355 S. Grand Ave
  33 Whitehall Street, 21st Floor                           Los Angeles, CA 90071
  Attn.: Susan Golden, Esq.                                 Attn.: Robert Klyman, Esq.
          Richard Morrissey, Esq.


 11.             TERM OF INJUNCTIONS OR STAYS

      UNLESS OTHERWISE PROVIDED IN THE PLAN OR IN THE CONFIRMATION
 ORDER, ALL INJUNCTIONS OR STAYS IN EFFECT IN THE CHAPTER 11 CASES
 PURSUANT TO SECTIONS 105 OR 362 OF THE BANKRUPTCY CODE OR ANY ORDER OF
 THE BANKRUPTCY COURT, AND EXISTING ON THE CONFIRMATION DATE
 (EXCLUDING ANY INJUNCTIONS OR STAYS CONTAINED IN THE PLAN OR THE
 CONFIRMATION ORDER) SHALL REMAIN IN FULL FORCE AND EFFECT UNTIL THE
 EFFECTIVE DATE. ALL INJUNCTIONS OR STAYS CONTAINED IN THE PLAN OR THE
 CONFIRMATION ORDER SHALL REMAIN IN FULL FORCE AND EFFECT IN
 ACCORDANCE WITH THEIR TERMS.

 12.             Entire Agreement

          Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
 negotiations, promises, covenants, agreements, understandings, and representations on such subjects
 (other than the Securities Purchase Agreements), all of which have become merged and integrated into the
 Plan.

         Notwithstanding anything to the contrary in the Plan (including any amendments, supplements, or
 modifications to the Plan) or the Confirmation Order (and any amendments, supplements, or
 modifications thereto) or an affirmative vote to accept the Plan submitted by any Investor, nothing
 contained in the Plan (including any amendments, supplements, or modifications thereto) shall diminish,
 reduce or negatively impact the rights of the Investors under the Securities Purchase Agreements.

 13.             Plan Supplement Exhibits

          All exhibits and documents included in the Plan Supplement are incorporated into and are a part
 of the Plan as if set forth in full in the Plan. After the exhibits and documents are filed, copies of such
 exhibits and documents shall be made available upon written request to the Debtors’ counsel at the
 address above or by downloading such exhibits and documents from http://www.kccllc.net/APTEA or the
 Bankruptcy Court’s website at www.nysb.uscourts.gov. Unless otherwise ordered by the Bankruptcy
 Court, to the extent any exhibit or document in the Plan Supplement is inconsistent with the terms of any
 part of the Plan that does not constitute the Plan Supplement, such part of the Plan that does not constitute
 the Plan Supplement shall control.

 14.             Severability

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be
 invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
 or provision to make it valid or enforceable to the maximum extent practicable, consistent with the
 original purpose of the term or provision held to be invalid, void, or unenforceable, and such term or

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 provision shall then be applicable as altered or interpreted (subject to the reasonable consent of the
 Investors). Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
 provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or
 invalidated by such holding, alteration, or interpretation (subject to the reasonable consent of the
 Investors). The Confirmation Order shall constitute a judicial determination and shall provide that each
 term and provision of the Plan, as it may have been altered or interpreted in accordance with the
 foregoing, is (1) valid and enforceable pursuant to its terms, (2) integral to the Plan and may not be
 deleted or modified without the Debtors’ consent (in consultation with the Creditors’ Committee and the
 DIP Facility Administrative Agent), and the consent of the Investors, and (3) nonseverable and mutually
 dependent.

                                         ARTICLE VII.
                                     SECURITIES LAW MATTERS

 A.      Securities Issued in Reliance on Section 1145 of the Bankruptcy Code

        The Replacement Second Lien Notes are being issued under Section 1145 of the Bankruptcy
 Code (“1145 Securities”).

         As described in detail below, such securities will be “freely tradeable.”

          Section 1145(a)(1) of the Bankruptcy Code exempts the offer and sale of securities under a plan
 of reorganization from registration under Section 5 of the Securities Act and state laws when such
 securities are to be exchanged for Claims or principally in exchange for Claims and partly for cash. In
 general, securities issued under section 1145 may be resold without registration unless the recipient is an
 “underwriter” with respect to those securities. Section 1145(b)(1) of the Bankruptcy Code defines an
 “underwriter” as any person who:

         o       purchases a claim against, an interest in, or a claim for an administrative expense against
                 the debtor, if that purchase is with a view to distributing any security received in
                 exchange for such a claim or interest;

         o       offers to sell securities offered under a plan of reorganization for the holders of those
                 securities;

         o       offers to buy those securities from the holders of the securities, if the offer to buy is (i)
                 with a view to distributing those securities; and (ii) under an agreement made in
                 connection with the plan of reorganization, the completion of the plan of reorganization,
                 or with the offer or sale of securities under the plan of reorganization; or

         o       is an issuer with respect to the securities, as the term “issuer” is defined in Section
                 2(a)(11) of the Securities Act.

         To the extent that persons who receive Replacement Second Lien Notes are deemed to be
 “underwriters,” resales by those persons would not be exempted from registration under the Securities
 Act or other applicable law by section 1145 of the Bankruptcy Code. Those persons would, however, be
 permitted to sell Replacement Second Lien Notes without registration if they are able to comply with the
 provisions of Rule 144 or Rule 144A under the Securities Act, as described further below.

        You should confer with your own legal advisors to help determine whether or not you are an
 “underwriter.”


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 B.      Securities Issued Pursuant to Exemptions Under the Securities Act of 1933, as Amended

         The following securities are being issued under Section 4(2) of Securities Act (collectively, the
 “4(2) Securities”):

         o        The NewCo Equity

         o        The New Second Lien Notes

         o        The New Convertible Third Lien Notes

         o        The Investment Warrants

          Section 4(2) of the Securities Act provides that the issuance of securities by an issuer in
 transactions not involving any public offering is exempt from registration under the Securities Act. The
 term “issuer,” as used in section 4(2) of the Securities Act, means, among other things, a person who
 issues or proposes to issue any security.

          Securities issued pursuant to the exemption provided by section 4(2) of the Securities Act are
 considered “restricted securities.” As a result, resales of such securities may not be exempt from the
 registration requirements of the Securities Act or other applicable law. Holders of such restricted
 securities may, however, be able, at a future time and under certain conditions described below, to sell
 securities without registration pursuant to the resale provisions of Rule 144 and Rule 144A under the
 Securities Act.

 C.      Resales of 1145 Securities and 4(2) Securities / Rule 144 and Rule 144A

          To the extent that persons who receive 1145 Securities are deemed to be “underwriters”
 (collectively, the “Restricted 1145 Holders”), resales of such securities by Restricted 1145 Holders would
 not be exempted by section 1145 of the Bankruptcy Code from registration under the Securities Act or
 other applicable law. Restricted 1145 Holders would, however, be permitted to sell 1145 Securities
 without registration if they are able to comply with the applicable provisions of Rule 144 or Rule 144A
 under the Securities Act, as described further below, or if such securities are registered with the Securities
 and Exchange Commission. Any person who is an “underwriter” but not an “issuer” with respect to an
 issue of securities (other than a holder of “restricted securities”) is, in addition, entitled to engage in
 exempt “ordinary trading transactions” within the meaning of section 1145(b)(1) of the Bankruptcy Code.

          To the extent that persons receive 4(2) Securities (collectively, the “Restricted 4(2) Holders” and
 together with the Restricted 1145 Holders, the “Restricted Holders”), such securities will be considered
 “restricted securities,” and Restricted 4(2) Holders are permitted to sell 4(2) Securities without
 registration if the applicable provisions of Rule 144 or Rule 144A under the Securities Act are complied
 with, as described further below, or if such securities are registered with the Securities and Exchange
 Commission.

 1.               Rule 144

          Under certain circumstances, Restricted Holders may be entitled to resell their securities pursuant
 to the limited safe harbor resale provisions of Rule 144. Generally, Rule 144 provides that if certain
 conditions are met (for example, the availability of current public information with respect to the issuer,
 and compliance with volume limitations, and notice and manner of sale requirements), specified persons
 who resell restricted securities, or who resell securities which are not restricted but who are “affiliates” of


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 the issuer of the securities sought to be resold, will not be deemed to be “underwriters” as defined in
 section 2(11) of the Securities Act. Rule 144 provides that:

         o        a non-affiliate who has not been an affiliate during the preceding three months may resell
                  restricted securities after a six-month holding period if at the time of the sale there is
                  current public information regarding the issuer and after a one year holding period if
                  there is not current public information regarding the issuer at the time of the sale; and

         o        an affiliate may sell restricted securities after a six month holding period if at the time of
                  the sale there is current public information regarding the issuer and after a one-year
                  holding period if there is not current public information regarding the issuer at the time of
                  the sale, provided that in each case the affiliate otherwise complies with the volume,
                  manner of sale and notice requirements of Rule 144.

         As noted in this Disclosure Statement, it is not contemplated that the Debtors or the Reorganized
 Debtors will be a public reporting company and, therefore, it is not expected that current public
 information will be available to permit resales pursuant to Rule 144 during the one-year period following
 the Effective Date.

 2.               Rule 144A

          Rule 144A provides a non-exclusive safe harbor exemption from the registration requirements of
 the Securities Act for resales to certain “qualified institutional buyers” of securities that are “restricted
 securities” within the meaning of the Securities Act, irrespective of whether the seller of such securities
 purchased its securities with a view towards reselling such securities, if certain other conditions are met
 (e.g., the availability of information required by paragraph 4(d) of Rule 144A and certain notice
 provisions). Under Rule 144A, a “qualified institutional buyer” is defined to include, among other persons
 “dealers” registered as such pursuant to section 15 of the Exchange Act, and entities that purchase
 securities for their own account or for the account of another qualified institutional buyer and that, in the
 aggregate, own and invest on a discretionary basis at least $100 million in the securities of unaffiliated
 issuers. Subject to certain qualifications, Rule 144A does not exempt the offer or sale of securities that, at
 the time of their issuance, were securities of the same class of securities then listed on a national securities
 exchange (registered as such pursuant to section 6 of the Exchange Act) or quoted in a United States
 automated inter-dealer quotation system).

       WHETHER OR NOT ANY PARTICULAR PERSON WOULD BE DEEMED TO BE AN
 “UNDERWRITER” OF SECURITIES TO BE ISSUED PURSUANT TO THE PLAN OR AN
 “AFFILIATE” OF REORGANIZED DEBTORS WOULD DEPEND UPON VARIOUS FACTS AND
 CIRCUMSTANCES APPLICABLE TO THAT PERSON. ACCORDINGLY, THE DEBTORS AND
 REORGANIZED DEBTORS EXPRESS NO VIEW AS TO WHETHER ANY SUCH PERSON
 WOULD BE SUCH AN “UNDERWRITER” OR AN “AFFILIATE.” IN VIEW OF THE COMPLEX,
 SUBJECTIVE NATURE OF THE QUESTION OF WHETHER A PARTICULAR PERSON MAY BE
 AN UNDERWRITER OR AN AFFILIATE OF REORGANIZED DEBTORS THE DEBTORS AND
 REORGANIZED DEBTORS MAKE NO REPRESENTATIONS CONCERNING THE RIGHT OF
 ANY PERSON TO TRADE IN SECURITIES OF REORGANIZED DEBTORS. ACCORDINGLY, IT
 IS RECOMMENDED THAT POTENTIAL RECIPIENTS OF ANY SECURITIES TO BE
 ISSUED PURSUANT TO THE PLAN CONSULT THEIR OWN COUNSEL CONCERNING
 WHETHER THEY MAY FREELY TRADE SUCH SECURITIES.




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                                  ARTICLE VIII.
                STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN

         The following is a brief summary of the Confirmation process. Holders of Claims and Interests
 are encouraged to review the relevant provisions of the Bankruptcy Code and to consult with their own
 advisors.

 A.      The Confirmation Hearing

        Section 1128(a) of the Bankruptcy Code provides that the Bankruptcy Court, after notice, may
 conduct the Confirmation Hearing to consider Confirmation of the Plan. Section 1128(b) of the
 Bankruptcy Code provides that any party in interest may object to Confirmation of the Plan.

 B.      Confirmation Standards

          Among the requirements for the Confirmation of the Plan are that the Plan is accepted by all
 Impaired Classes of Claims and Interests, or if rejected by an Impaired Class, that the Plan “does not
 discriminate unfairly” and is “fair and equitable” as to such Class, is feasible, and is in the “best interests”
 of holders of Claims and Interests that are Impaired under the Plan. The following requirements must be
 satisfied pursuant to section 1129(a) of the Bankruptcy Code before the Bankruptcy Court may confirm a
 plan of reorganization. The Debtors believe that the Plan fully complies with the statutory requirements
 for Confirmation of the Plan listed below.

         1.       The proponents of the Plan have complied with the applicable provisions of the
                  Bankruptcy Code.

         2.       The Plan has been proposed in good faith and not by any means forbidden by law.

         3.       Any payment made or to be made by the proponent, by the Debtors, or by a person
                  issuing securities or acquiring property under a Plan, for services or for costs and
                  expenses in or in connection with the Chapter 11 Cases, in connection with the Plan and
                  incident to the Chapter 11 Cases, has been approved by, or is subject to the approval of,
                  the Bankruptcy Court as reasonable.

         4.       The proponent of the Plan has disclosed the identity and affiliations of any individual
                  proposed to serve, after Confirmation of the Plan, as a director, officer, or voting trustee
                  of the Debtor, an Affiliate of the Debtor participating in a joint Plan with the Debtor or a
                  successor to the Debtor under the Plan, and the appointment to, or continuance in, such
                  office of such individual is consistent with the interests of Creditors and holders of
                  Interests and with public policies.

         5.       The proponent of the Plan has disclosed the identity of any Insider that will be employed
                  or retained by the Reorganized Debtors and the nature of any compensation for such
                  Insider.

         6.       With respect to each holder within an Impaired Class of Claims or Interests, each such
                  holder (a) has accepted the Plan, or (b) will receive or retain under the Plan on account of
                  such Claim or Interest property of a value, as of the Effective Date of the Plan, that is not
                  less than the amount that such holder would so receive or retain if the Debtor were
                  liquidated under chapter 7 of the Bankruptcy Code on such date.



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         7.     With respect to each Class of Claims or Interests, such Class (a) has accepted the Plan, or
                (b) is Unimpaired under the Plan (subject to the “cram-down” provisions discussed
                below).

         8.     Except to the extent that the holder of a particular Claim has agreed to a different
                treatment of such Claim, the Plan provides that:

                o    with respect to a Claim of a kind specified in sections 507(a)(2) or 507(a)(3) of the
                     Bankruptcy Code, on the Effective Date of the Plan, the holder of the Claim will
                     receive on account of such Claim Cash equal to the Allowed amount of such Claim,
                     unless otherwise agreed;

                o    with respect to a Class of Claim of the kind specified in sections 507(a)(1), 507(a)(4),
                     507(a)(5), 507(a)(6), or 507(a)(7) of the Bankruptcy Code, each holder of a Claim of
                     such Class will receive (a) if such Class has accepted the Plan, deferred Cash
                     payments of a value, on the Effective Date of the Plan, equal to the Allowed amount
                     of such Claim; or (b) if such Class has not accepted the Plan, Cash on the Effective
                     Date of the Plan equal to the Allowed amount of such Claim; and

                o    with respect to a priority tax claim of a kind specified in section 507(a)(8) of the
                     Bankruptcy Code, the holder of such Claim will receive on account of such Claim
                     deferred Cash payments, over a period not exceeding six years after the date of
                     assessment of such Claim, of a value, as of the Effective Date of the Plan, equal to the
                     Allowed amount of such Claim.

         9.     If a Class of Claims is Impaired under the Plan, at least one Class of Claims that is
                Impaired under the Plan has accepted the Plan, determined without including any
                acceptance of the Plan by any Insider.

         10.    Confirmation of the Plan is not likely to be followed by the liquidation, or the need for
                further financial reorganization, of the Debtor or any successor to the Debtor under the
                Plan, unless such liquidation or reorganization is proposed in the Plan.

         11.    All fees payable under 28 U.S.C. § 1930, as determined by the Bankruptcy Court at the
                hearing on Confirmation of the Plan, have been paid or the Plan provides for the payment
                of all such fees on the Effective Date of the Plan.

 C.      Liquidation Analysis

          As described in greater detail in the Liquidation Analysis attached hereto as Exhibit D, in a
 hypothetical case under chapter 7 of the Bankruptcy Code, Holders of Allowed Administrative Claims
 would not be paid in full and Holders of Allowed Unsecured Claims would not receive any recovery. By
 comparison, under the Plan, Holders of Allowed Administrative Claims are paid in full in Cash, Holders
 of Allowed General Unsecured Claims receive their Pro Rata share of the Unsecured Creditor Cash Pool,
 Holders of Allowed Trade Claims who enter into a trade agreement acceptable to the Debtors and the
 Investors (and in consultation with the Creditors’ Committee and the DIP Facility Administrative Agent)
 prior to the Effective Date may receive a portion of the Trade Claims Cash Pool, and Holders of Allowed
 Guaranteed Landlord Claims who vote in favor of the Plan and Holders of Allowed Pension Withdrawal
 Claims who vote in favor of the Plan, with the consent of the Investors (such consent shall not be
 unreasonably withheld or delayed in the case of a designation or distribution decision by the Debtors or
 Reorganized Debtors that is not adverse to the Investors), in consultation with the Creditors’ Committee


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 and the DIP Facility Administrative Agent, will receive an additional distribution pursuant to the
 Substantive Consolidation Settlement. Therefore, the Debtors believe that the Plan satisfies the “best
 interests test” under section 1129(a)(7) of the Bankruptcy Code.

         The Liquidation Analysis was prepared in a manner consistent with the settlement and
 compromise of issues related to substantive consolidation set forth in the Plan and as discussed herein.
 Even if a deconsolidated chapter 7 liquidation were possible, and the Debtors do not believe it would be
 possible, the Debtors believe that unsecured creditor recoveries in a liquidation under chapter 7 of the
 Bankruptcy Code would not exceed recoveries provided to prepetition unsecured creditors pursuant to the
 Plan in any reasonable scenario.

 D.      Investment Analysis

         The Plan and the Securities Purchase Agreements represent the culmination of several months of
 negotiations concerning capital investments in the Debtors. Throughout the process, the Debtors and their
 advisors have responded to all inbound investment inquiries.

          Pursuant to the Plan, the Investors are providing a total New Money Commitment of $490 million
 in the form of (i) $210 million face amount privately placed New Second Lien Notes, (ii) $210 million
 face amount privately placed New Convertible Third Lien Notes, and (iii) an $80 million New Equity
 Investment.

          The Debtors and Lazard believe the new capital infusion and post-reorganization capital structure
 proposed      pursuant      to    the     Plan    is    currently     the     best     measure       of    the
 Debtors’ value in light of, among other things, (a) the Debtors’ and their advisors’ belief that a substantial
 capital infusion is necessary for the Debtors to reorganize and the Securities Purchase Agreements
 underlying the Plan provide for that necessary capital, (b) the robust and comprehensive negotiations that
 culminated in the Securities Purchase Agreements through which the Investors will provide the capital
 necessary to consummate the Plan and for the Debtors to reorganize, (c) the Court’s approval of the
 Securities Purchase Agreements and the capital commitments contained therein, which are subject to in-
 bound higher or better offers and subject to the plan confirmation and disclosure statement requirements
 in the Bankruptcy Code, and (d) the Debtors received no viable inbound inquiries except from the
 Investors, which, given the high profile of the Debtors’ Chapter 11 Cases and the fact that the Debtors
 filed for bankruptcy protection in late 2010, make it unlikely that additional parties with serious interest in
 providing the Debtors with the needed level of capital will emerge. In particular, pursuant to the
 Securities Purchase Agreements, the Debtors can continue to negotiate with parties who want to invest
 and make an offer. Further, the Creditors’ Committee and other parties are free to test the market for
 higher or better investment offers.

         Lazard’s views as to the value of the Reorganized Debtors based on the capital to be provided
 pursuant to the Securities Purchase Agreements and the post-reorganization capital structure do not
 constitute a recommendation to any Holder of Claims against the Debtors as to how to vote on the Plan
 and do not constitute an opinion as to the fairness from a financial point of view of the consideration to be
 received under the Plan or of the terms and provisions of the Plan.

 E.      Financial Feasibility

         Section 1129(a)(11) of the Bankruptcy Code requires that a debtor demonstrate that confirmation
 of a plan is not likely to be followed by liquidation or the need for further financial reorganization. For
 purposes of determining whether the Plan meets this requirement, the Debtors have analyzed their ability
 to meet their obligations under the Plan. As part of this analysis, the Debtors have prepared certain

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 Financial Projections, which reflect the proposed effect of the Union Settlement Agreements. These
 Financial Projections and the assumptions upon which they are based, are attached hereto as Exhibit C.
 Based on these Financial Projections, the Debtors believe that given the deleveraging contemplated by the
 Plan, they will be able to make all payments required pursuant to the Plan and, therefore, that
 Confirmation of the Plan is not likely to be followed by liquidation or the need for further reorganization.

 F.      Acceptance by Impaired Classes

          The Bankruptcy Code also requires, as a condition to Confirmation, that each Class of Claims or
 Interests that is Impaired but still receives distributions under the Plan vote to accept the Plan, unless the
 Debtors can “cram-down” such Classes, as described below. A Class that is Unimpaired is presumed to
 have accepted the Plan and, therefore, solicitation of acceptances with respect to such Class is not
 required. A Class is Impaired unless the Plan leaves unaltered the legal, equitable, and contractual rights
 to which the Claim or Interest entitles the holder of such Claim or Interest to, or the Debtors cure any
 default and Reinstate the original terms of the obligation.

          Pursuant to sections 1126(c) and 1126(d) of the Bankruptcy Code and except as otherwise
 provided in section 1126(e) of the Bankruptcy Code: (1) an Impaired Class of Claims has accepted the
 Plan if the holders of at least two-thirds in dollar amount and more than half in number of the voting
 Allowed Claims have voted to accept the Plan and (2) an Impaired Class of Interests has accepted the
 Plan if the holders of at least two-thirds in amount of the Allowed Interests of such Class actually voting
 have voted to accept the plan.

 G.      Confirmation Without Acceptance by All Impaired Classes

          Section 1129(b) of the Bankruptcy Code allows the Bankruptcy Court to confirm the Plan, even if
 the Plan has not been accepted by all Impaired Classes entitled to vote on the Plan, so long as the Plan has
 been accepted by at least one Impaired Class, excluding any Insider Classes, entitled to vote.
 Section 1129(b) of the Bankruptcy Code permits the Debtors to confirm the Plan, notwithstanding the
 failure of any Impaired Class to accept the Plan, in a procedure commonly known as “cram-down,” so
 long as the Plan does not “discriminate unfairly” and is “fair and equitable” with respect to each impaired
 Class of Claims or Interests that voted to reject the plan.

 1.              No Unfair Discrimination

          The test to determine whether the Plan unfairly discriminates applies to Classes of Claims or
 Interests that are of equal priority and are receiving different treatment under the Plan. The test does not
 require that the treatment be the same or equivalent, but that such treatment be “fair.”

          The Debtors do not believe the Plan discriminates unfairly against any Impaired Class of Claims
 or Interests. The Debtors believe the Plan and the treatment of all Classes of Claims and Interests under
 the Plan satisfies the foregoing requirements for nonconsensual Confirmation.

 2.              Fair and Equitable Treatment

         The test to determine whether the Plan affords fair and equitable treatment applies to Classes of
 different priority and status (e.g., Secured Claims versus General Unsecured Claims) and includes the
 general requirement that no Class of Claims receive more than 100% of the amount of the Allowed
 Claims in such Class. As to a dissenting Class, the test sets different standards depending on the type of
 Claims or Interests in such Class. Specifically, in order to demonstrate that the Plan is fair and equitable,
 the Debtors must demonstrate that:


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         o       Each holder of a Secured Claim either (a) retains its Liens on the property, to the extent
                 of the Allowed amount of its Secured Claim and receives deferred Cash payments having
                 a value, as of the effective date of the chapter 11 plan, of at least the Allowed amount of
                 such Claim, (b) has the right to credit bid the amount of its Claim if its property is sold
                 and retains its Liens on the proceeds of the sale (or if sold, on the proceeds thereof), or (c)
                 receives the “indubitable equivalent” of its Allowed Secured Claim.

         o       Either (a) each holder of an Impaired General Unsecured Claim receives or retains under
                 the Plan property of a value equal to the amount of its Allowed Claim or (b) the holders
                 of Claims and Interests that are junior to the Claims of the rejecting Classes will not
                 receive any property under the Plan.

         o       Either (a) each holder of an Interest will receive or retain under the Plan property of a
                 value equal to the greatest of the fixed liquidation preference to which such holder is
                 entitled, the fixed redemption price to which such holder is entitled, or the value of the
                 Interest or (b) the holder of an Interest that is junior to the rejecting Class will not receive
                 or retain any property under the Plan.

          The Debtors believe the Plan satisfies the “fair and equitable” requirement notwithstanding that
 Classes L, M, N and O are not receiving a distribution because there is no Class of equal priority
 receiving more favorable treatment and no junior Classes to Classes L, M, N and O that will receive or
 retain any property on account of the Claims or Interests in such Class.

                                   ARTICLE IX.
                    PLAN-RELATED RISK FACTORS AND ALTERNATIVES
                   TO CONFIRMATION AND CONSUMMATION OF THE PLAN

       PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN, ALL HOLDERS OF CLAIMS
 THAT ARE ENTITLED TO VOTE ON THE PLAN SHOULD READ AND CONSIDER CAREFULLY
 THE FACTORS SET FORTH IN THIS ARTICLE IX AS WELL AS ALL OTHER INFORMATION
 SET FORTH OR OTHERWISE REFERENCED IN THIS DISCLOSURE STATEMENT.

 A.      General

          The following provides a summary of important considerations and risk factors associated with
 the Plan. However, it is not exhaustive. In considering whether to vote for or against the Plan, holders of
 Claims and Interests that are Impaired and entitled to vote should read and carefully consider the factors
 set forth below, as well as all other information set forth or otherwise referenced or incorporated by
 reference in this Disclosure Statement, including the various risks and other factors described in A&P’s
 Annual Report on Form 10-K for the fiscal year ended February 26, 2011 the entirety of which is publicly
 available at the Securities and Exchange Commission’s Electronic Data Gathering, Analysis, and
 Retrieval (EDGAR) system, located at http://www.sec.gov/edgar.shtml.

 B.      Certain Bankruptcy Law Considerations

 1.              Undue Delay in Confirmation May
                 Significantly Disrupt the Operations of the Debtors

         The continuation of the Chapter 11 Cases, particularly if the Plan is not approved or confirmed in
 the time frame currently contemplated, could adversely affect the Debtors’ operations and relationships
 with the Debtors’ customers, vendors, and employees. If Confirmation and Consummation do not occur


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 expeditiously, the Chapter 11 Cases could result in, among other things, increased Administrative Claims
 or Professional Claims, and similar expenses. Prolonged Chapter 11 Cases may also make it more
 difficult to retain and attract management and other key personnel, and would require senior management
 to spend a significant amount of time and effort dealing with the Debtors’ financial reorganization instead
 of focusing on the operation of the Debtors’ business.

 2.              Debtors May Not Be Able to Secure Confirmation or Consummation of the Plan

          Section 1129 of the Bankruptcy Code sets forth the requirements for Confirmation of a chapter 11
 plan, and requires, among other things, a finding by the Bankruptcy Court that: (a) Confirmation of such
 plan is not likely to be followed by a liquidation or a need for further financial reorganization unless such
 liquidation or reorganization is contemplated by the plan; and (b) the value of distributions to
 non-accepting holders of Claims and Interests within a particular Class under such plan will not be less
 than the value of distributions such holders would receive if the debtors were liquidated under chapter 7
 of the Bankruptcy Code.

          Furthermore, under section 1129(b)(2)(A) of the Bankruptcy Code, the Plan must provide a Class
 of Secured Claims that votes to reject the Plan with: (a) retention of Liens securing the Secured Claim to
 the extent of the Allowed amount of such Claims, whether the property subject to those Liens is retained
 by the Debtor or transferred to another Entity, and deferred Cash payments having a present value, as of
 the Effective Date of the plan of reorganization, at least equal to the value of such holder’s interest in the
 Estate’s interest in such property; or (b) the realization of the “indubitable equivalent” of its Allowed
 Secured Claim; or (c) the sale, subject to section 363(k) of the Bankruptcy Code, of any property that is
 subject to the Liens securing the Claims included in the rejecting Class, free and clear of such Liens, with
 such Liens to attach to the proceeds of the sale and the treatment of such Liens on proceeds in accordance
 with clause (a) or (b) of this paragraph.

          The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify the terms
 and conditions of the Plan as necessary for Confirmation. Any such modifications could result in a less
 favorable treatment of any rejecting Class, as well as of any Classes junior to such rejecting Class, than
 the treatment currently provided in the Plan. Any less favorable treatment could include a distribution of
 property to the Class affected by the modification of a lesser value than currently provided in the Plan or
 no distribution of property whatsoever under the Plan.

 3.              Parties in Interest May Object to Classification of Claims and Interests

         Section 1122 of the Bankruptcy Code provides that a plan of reorganization may place a Claim or
 an Interest in a particular Class only if such Claim or Interest is substantially similar to the other Claims
 or Interests in such Class. The Debtors believe that the classification of Claims and Interests under the
 Plan complies with the requirements set forth in the Bankruptcy Code because the Debtors created
 Classes of Claims and Interests, each encompassing Claims or Interests, as applicable, that are
 substantially similar to the other Claims and Interests in each such Class. Nevertheless, there can be no
 assurance that the Bankruptcy Court will reach the same conclusion.

 4.              Nonconsensual Confirmation

         In the event that any Impaired Class of Claims or Interests does not accept a chapter 11 plan of
 reorganization, a Bankruptcy Court may nevertheless confirm such a plan at the proponent’s request if at
 least one Impaired Class has accepted the plan (with such acceptance being determined without including
 the vote of any Insider in such Class), and, as to each Impaired Class that has not accepted the Plan, the
 Bankruptcy Court determines that the Plan “does not discriminate unfairly” and is “fair and equitable”

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 with respect to the rejecting Impaired Classes. In the event that any Impaired Class of Claims or Interests
 does not accept a chapter 11 plan of reorganization, the Debtors will request such nonconsensual
 Confirmation in accordance with section 1129(b) of the Bankruptcy Code. Nevertheless, there can be no
 assurance that the Bankruptcy Court will find the Plan meets the requirements of section 1129(b) of the
 Bankruptcy Code.

 5.              Debtors May Object to Claims Before or After the Effective Date

          Except as otherwise provided in the Plan, the Debtors and the Reorganized Debtors reserve the
 right to object to the amount or priority status of any Claim under the Plan. The estimates set forth in this
 Disclosure Statement cannot be relied on by any holder of a Claim. Any holder of a Claim that is or
 becomes subject to an objection thus may not receive its expected share of the estimated distributions
 described in this Disclosure Statement.

 6.              Risk of Nonoccurrence of the Effective Date

         Although the Debtors believe that the Effective Date may occur shortly after the Confirmation
 Date, there can be no assurance as to such timing, or as to whether the Effective Date will, in fact, occur.

 C.      Risk Factors That May Affect the Value
         of the Securities to Be Issued Under the Plan

 1.              Debtors Cannot Guarantee What Recovery
                 Will Be Available to Holders of Allowed Claims in Voting Classes

         No less than three unknown factors make certainty in Creditor recoveries impossible: (a) how
 much money will remain after paying all Allowed Claims that are senior to the Allowed Claims in Voting
 Classes or unclassified Allowed Claims; (b) the number or amount of Claims in Voting Classes that will
 ultimately be Allowed; and (c) the number or size of Claims senior to the Claims in the Voting Classes or
 unclassified Claims that will ultimately be Allowed.

 2.              Debtors Cannot Guarantee What Recovery
                 Will Be Available to Holders of Allowed Second Lien Note Claims

          Pursuant to Article III.C.1. of the Plan, Holders of Allowed Second Lien Note Claims, shall: (i) if
 Class A votes to accept the Plan or is presumed to have accepted the Plan, receive Cash distributed on the
 Effective Date in an amount equal to such Holder’s Pro Rata portion of the Second Lien Cash Pool; or
 (ii) if Class A votes to reject the Plan, at the holder’s election, receive (a) Cash distributed on the
 Effective Date in an amount equal to such holder’s Pro Rata portion of the Second Lien Cash Pool
 (without any reduction on account of the Allowed amount of any Second Lien Note Claims that are
 satisfied with Replacement Second Lien Notes), or (b) Replacement Second Lien Notes with a present
 value equal to the Allowed amount of such holder’s Second Lien Note Claim (which may include any
 makewhole claim, prepayment penalty, or Applicable Premium Allowed by the Bankruptcy Court, if any,
 in addition to Second Lien Note Claims Allowed pursuant to Article III.C.1.b of the Plan).

         To the extent Class A votes to reject the Plan, the Debtors cannot guarantee what recovery will be
 available to holders of Allowed Second Lien Note Claims who elect to receive Replacement Second Lien
 Notes.

 3.              As a Result of Approval and Implementation of the Plan,
                 Certain Changes in Ownership of A&P Could Occur, Which


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                 Could Adversely Affect the Debtors’ Ability to Utilize Significant
                 Net Operating Loss Carry-Forwards Upon Emergence From Chapter 11

          There are certain tax attributes, such as net operating loss carry-forwards, that may be limited or
 lost altogether in the event of an ownership change as defined under Section 382 of the Internal Revenue
 Code. If a change of ownership were to occur as a result of the implementation of the Plan, upon our
 emergence from chapter 11 there could be significant valuation allowances placed on deferred tax assets.

 4.              The Reorganized Debtors May Not Achieve Projected Financial
                 Results or Meet Post-Reorganization Debt Obligations and Finance
                 All Operating Expenses, Working Capital Needs, and Capital Expenditures

          The Reorganized Debtors may not be able to meet their projected financial results. To the extent
 the Reorganized Debtors do not meet their projected financial results or achieve projected revenues and
 cash flows, the Reorganized Debtors may lack sufficient liquidity to continue operating as planned after
 the Effective Date, may be unable to service their debt obligations as they come due or may not be able to
 meet their operational needs. Any one of these failures may preclude the Reorganized Debtors from,
 among other things: (a) enhancing their current customer offerings; (b) taking advantage of future
 opportunities; (c) growing their business; or (d) responding to competitive pressures. Further, a failure of
 the Reorganized Debtors to meet their projected financial results or achieve their projected revenues and
 cash flows could lead to cash flow and working capital constraints, which constraints may require the
 Reorganized Debtors to seek additional working capital. The Reorganized Debtors may not be able to
 obtain such working capital when it is required. Further, even if the Reorganized Debtors were able to
 obtain additional working capital, it may only be available on unreasonable terms. For example, the
 Reorganized Debtors may be required to take on additional debt, the interest costs of which could
 adversely affect the results of the operations and financial condition of the Reorganized Debtors. If any
 such required capital is obtained in the form of equity, the interests of the holders of the then-outstanding
 Newco Equity (and options or other rights to acquire Newco Equity) could be diluted. While the Debtors’
 Financial Projections represent management’s view based on current known facts and assumptions about
 the future operations of the Reorganized Debtors, there is no guarantee that the Financial Projections will
 be realized.

 5.              Estimated Valuation of the Reorganized Debtors
                 and the NewCo Equity and the Estimated
                 Recoveries to Holders of Allowed Claims Are Not Intended
                 to Represent the Private Sale Values of the NewCo Equity

          The Debtors’ estimated recoveries to holders of Allowed Claims are not intended to represent the
 private sale values of the Reorganized Debtors’ securities. The estimated recoveries are based on
 numerous assumptions (the realization of many of which is beyond the control of the Reorganized
 Debtors), including, without limitation: (a) the successful reorganization of the Debtors; (b) an assumed
 date for the occurrence of the Effective Date; (c) the Debtors’ ability to achieve the operating and
 financial results included in the Financial Projections; (d) the Debtors’ ability to maintain adequate
 liquidity to fund operations; and (e) the assumption that capital and equity markets remain consistent with
 current conditions.

 6.              The Reorganized Debtors May Be Controlled By a Small Number of Holders

         Consummation of the Plan may result in a small number of holders owning a significant
 percentage of the outstanding shares of Newco Equity. These holders may, among other things, exercise
 a controlling influence over the business and affairs of the Reorganized Debtors and have the power to

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 elect directors and approve significant mergers, acquisitions, divestures, and other material corporate
 transactions, including the sale of the Reorganized Debtors. The Debtors can make no assurances
 regarding the future actions of the holders of Newco Equity and the impact such actions may have on the
 value of the Newco Equity.

 7.              Certain Tax Implications of the Debtors’ Bankruptcy
                 and Reorganization May Increase the Tax Liability of the Reorganized Debtors

         Holders of Allowed Claims should carefully review Article X herein, “Certain Federal Income
 Tax Consequences,” to determine how the tax implications of the Plan and these Chapter 11 Cases may
 adversely affect the Reorganized Debtors.

 8.              Impact of Interest Rates

         Changes in interest rates and foreign exchange rates may affect the fair market value of the
 Debtors’ assets. Specifically, decreases in interest rates will positively impact the value of the Debtors’
 assets and the strengthening of the dollar will negatively impact the value of their net foreign assets.

 D.      Risk Factors That Could Negatively Impact the Debtors’ Business

 1.              The Debtors Are Subject to the Risks
                 and Uncertainties Associated with the Chapter 11 Cases

         For the duration of the Chapter 11 Cases, the Debtors’ operations and the Debtors’ ability to
 execute their business strategy will be subject to the risks and uncertainties associated with bankruptcy.
 These risks include:

         o       the Debtors’ ability to obtain approval of the Bankruptcy Court with respect to motions
                 filed in the Chapter 11 Cases from time to time;

         o       the Debtors’ ability to sell and/or assign, assume or reject commercial leases and executor
                 contracts;

         o       the Debtors’ ability to obtain and maintain normal trade terms with suppliers and service
                 providers and maintain contracts that are critical to their operations;

         o       the Debtors’ ability to favorably negotiate approximately 34 CBAs with local unions;

         o       the Debtors’ ability to attract, motivate, and retain key employees;

         o       the Debtors’ ability to attract and retain customers;

         o       the Debtors’ ability to fund and execute their business plan; and

         o       the Debtors’ ability to obtain Creditor and Bankruptcy Court approval for, and then to
                 consummate, a Plan to emerge from bankruptcy.

         The Debtors will also be subject to risks and uncertainties with respect to the actions and
 decisions of the Creditors and other third parties who have interests in the Chapter 11 Cases that may be
 inconsistent with the Debtors’ restructuring and business goals.



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         These risks and uncertainties could affect the Debtors’ business and operations in various ways.
 For example, negative events or publicity associated with the Chapter 11 Cases could adversely affect the
 Debtors’ sales and relationships with their customers, as well as with their suppliers and employees,
 which in turn could adversely affect the Debtors’ operations and financial condition. In addition,
 pursuant to the Bankruptcy Code, the Debtors need approval of the Bankruptcy Court for transactions
 outside the ordinary course of business, which may limit their ability to respond timely to certain events
 or take advantage of certain opportunities. Because of the risks and uncertainties associated with the
 Chapter 11 Cases, the Debtors cannot predict or quantify the ultimate impact that events occurring during
 the reorganization process will have on their business, financial condition, and results of operations.

          As a result of the Chapter 11 Cases, the realization of assets and the satisfaction of liabilities are
 subject to uncertainty. While operating as debtors in possession, and subject to approval of the
 Bankruptcy Court, or otherwise as permitted in the normal course of business or Bankruptcy Court order,
 the Debtors may sell or otherwise dispose of assets and liquidate or settle liabilities for amounts other
 than those reflected in the condensed consolidated financial statements included in the Form 10-K for the
 year ended that February 26, 2011. Further, the Plan could materially change the amounts and
 classifications of assets and liabilities reported in the historical consolidated financial statements. The
 historical consolidated financial statements do not include any adjustments to the reported amounts of
 assets or liabilities that might be necessary as a result of Confirmation of a Plan.

 2.               Various Operating Factors and General Economic
                  Conditions Affecting the Food Industry May Affect the Debtors’
                  Business and May Adversely Affect Ongoing Operating Results

         The retail food and food distribution industries and the operation of A&P’s business, specifically
 in the New York, New Jersey and Philadelphia regions, are sensitive to a number of economic conditions
 and other factors such as: (a) food price deflation or inflation; (b) softness in local and national
 economies; (c) the availability of favorable credit and trade terms; (d) changes in business plans,
 operations, results and prospects; and (e) other economic conditions that may affect consumer buying
 habits. Any one or more of these economic conditions can affect the Debtors’ retail sales, the demand for
 products A&P distributes to their retail customers, operating costs and other aspects of our business.
 Failure to achieve sufficient levels of cash flow at reporting units could also result in additional
 impairment charges on goodwill, intangible assets and/or long-lived assets.

          Changes in the general business and economic conditions in A&P’s markets, including the rate of
 inflation, population growth, the fluctuating prices of oil and gas, the nature and extent of continued
 consolidation in the food industry and the unemployment rate in the markets in which the Debtors’
 operate, may negatively affect earnings and sales growth. General economic changes may also affect the
 shopping habits and buying patterns of the Debtors’ customers, which could affect sales and earnings.

          The Debtors’ ability to achieve profitability may be affected by, among other things: (a) the
 Debtors’ success in executing their category management and purchasing programs, which are designed
 to improve gross margins and reduce product costs; (b) the effectiveness of efforts to improve value
 proposition for the Debtors’ customers through merchandising and marketing programs and to enhance
 customers’ experience in the Debtors’ stores; (c) the Debtors’ ability to achieve productivity
 improvements and reduce shrink in their stores; (d) the Debtors’ success in generating efficiencies in
 supporting activities; (e) the Debtors’ ability to eliminate or maintain a minimum level of supply and/or
 quality control problems with vendors; (f) the rebidding of the Debtors’ warehousing, logistics,
 procurement, and purchasing services; and (g) the results of negotiations with the Debtors’ union partners
 to alter existing CBAs.


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 3.              The Debtors Face a High Level of Competition, Including
                 the Threat of Further Consolidation in the Food Industry,
                 Which Could Adversely Affect the Debtors’ Sales and Future Profits

          The retail food business is extremely competitive and is characterized by high inventory turnover
 and narrow profit margins. The retail food business is subject to competitive practices that may affect the
 prices at which the Debtors are able to sell products at retail locations, sales volume, and their ability to
 attract and retain customers. In addition, the nature and extent of consolidation in the retail food industry
 could affect the Debtors’ competitive position in the markets they serve.

          The Debtors’ retail food business and the grocery retailing industry continue to experience
 aggressive competition from mass merchandisers, warehouse clubs, drug stores, convenience stores,
 discount merchandisers, dollar stores, restaurants, other retail chains, nontraditional competitors and
 emerging alternative formats in the markets where the Debtors have retail operations. Competition with
 these outlets is based on price, store location, advertising and promotion, product mix, quality and service.
 Some of these competitors may have greater financial resources, lower merchandise acquisition costs and
 lower operating expenses than the Debtors, and the Debtors may be unable to compete successfully in the
 future. Increasingly competitive markets have made it difficult generally for grocery store operators to
 achieve comparable store sales gains. Because sales growth has been difficult to attain, the Debtors’
 competitors have attempted to maintain market share through increased levels of promotional activities
 and discount pricing, creating a more difficult environment in which to consistently increase year-over-
 year sales. Price-based competition has also, from time to time, adversely affected the Debtors’ operating
 margins. Competitors’ greater financial strengths enable them to participate in aggressive pricing
 strategies such as selling inventory below costs to drive overall increased sales. The Debtors’ continued
 success is dependent upon their ability to effectively compete in the food industry and to reduce operating
 expenses, including managing health care and pension costs contained in the Debtors’ CBAs. The
 competitive practices and pricing in the food industry generally and particularly in A&P’s principal
 markets may cause the Debtors to reduce their prices in order to gain or maintain market share of sales,
 thus reducing margins.

         The Debtors’ in-store pharmacy business is also subject to intense competition. In particular, an
 adverse trend for drug retailing has been the significant growth in mail-order and Internet-based
 prescription processors, including importation from Canada and other countries. Due to the rapid rise in
 drug costs experienced in recent years, mail-order prescription distribution methods are perceived by
 employers and insurers as being less costly than traditional distribution methods and are being mandated
 by an increasing number of third party pharmacy benefit managers, many of which also own and manage
 mail-order distribution operations. As a result, some labor unions and employers are requiring, and others
 may encourage, that their members or employees obtain medications from mail-order pharmacies which
 offer drug prescriptions at prices that are lower than the Debtors are able to offer. In addition to these
 forms of mail-order distribution, there has also been increasing competition from a number of Internet-
 based prescription distributors, which specialize in offering certain high demand lifestyle drugs at deeply
 discounted prices, and importers from Canada and other foreign countries. These alternate distribution
 channels have acted to restrain the rate of sales growth for traditional chain drug retailers in the last few
 years. There can be no assurance that the Debtors’ efforts to offset the effects of alternate distribution
 channels and eligibility changes will be successful.




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 4.              The Debtors are Concentrated in the New York, New Jersey and
                 Philadelphia Metropolitan Areas and, As a Result, Their Business is Significantly
                 Influenced by the Economic Conditions and other Characteristics of these Areas

          The Debtors are vulnerable to economic downturns in the New York, New Jersey and
 Philadelphia metropolitan areas, in addition to those that may affect the country as a whole, as well as
 other factors that may impact that region, such as the regulatory environment, the cost of real estate,
 insurance, taxes and rent, reliance on the financial industry, increasing unemployment, weather and
 natural catastrophes, demographics, the availability of labor, and geopolitical factors.

         The Debtors cannot predict economic conditions in this region, and factors such as interest rates,
 energy costs and unemployment rates may adversely affect their sales which may lead to higher losses.
 Any unforeseen events or circumstances that affect the area could also materially adversely affect our
 revenues and profitability. Further, since the Debtors are concentrated in densely populated metropolitan
 areas, opportunities for future store expansion may be limited, which may adversely affect their business
 and results of operations.

 5.              The Debtors’ Vendors May Shorten Their Payment Terms, Which
                 Would Impair Their Ability to Effectively Manage Their Cash Flow

         The Debtors have negotiated payment terms with most of their vendors. However, there can be
 no assurance that the Debtors will be able to maintain such terms in the future.

 6.              The Debtors Rely on C&S for a Substantial Amount of Products

          Pursuant to the terms of the New C&S Agreement, the Debtors currently acquire most of our
 saleable inventory, including groceries and perishables, from one supplier, C&S. During fiscal 2010,
 products supplied from C&S accounted for approximately 74% of A&P’s supermarket inventory
 purchases. Recently, the Debtors have experienced some difficulty in the supply of isolated products to
 certain stores and supply interruptions by C&S could occur in the future. Any significant interruption in
 this supply chain, either as a result of disruptions at C&S or if the New C&S Agreement were terminated
 for any reason, could have a material adverse effect on the Debtors’ business and results of operations.
 The Debtors are therefore subject to the risks of C&S’s business, including potential labor disruptions at
 C&S facilities, increased regulatory obligations and distribution problems which may affect C&S’s ability
 to obtain products. Further, C&S may terminate the New C&S Agreement if the Debtors fail to emerge
 from chapter 11 bankruptcy as an operating enterprise by June 12, 2012. In the event of disruptions to the
 supply chain, the Debtors believe that other suppliers could provide similar products on reasonable terms,
 but they are limited in number and a change in suppliers could cause a delay in distribution and a possible
 loss of sales, which would affect operating results adversely.

 7.              The Debtors May be Adversely Affected by Unexpected Changes in the Insurance
                 Market or Changes in Factors Affecting Their Self-Insurance Reserve Estimates

          The Debtors use a combination of self-insurance and insurance coverage to provide for the
 potential liabilities for general liability, property losses, fleet liability, workers’ compensation, employee
 benefits and directors and officers. There is no assurance that the Debtors will be able to continue to
 maintain their insurance coverage or obtain comparable coverage at a reasonable cost. Self-insurance
 reserves are determined based on actual claims experience and actuarially estimated claims incurred but
 not reported. Actuarial projections are subject to a high degree of variability, due to fluctuations in future
 interest and inflation rates, future economic conditions, litigation trends, benefit level changes, changes in
 state regulations, and changes in other factors. An increase in the frequency of claims, cost of claims or

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 changes in actuarial assumptions could adversely affect the Debtors’ results of operations and financial
 condition.

 8.              We May be Adversely Affected by Rising Utility and Fuel Costs

          Rising fuel costs may adversely affect the Debtors’ operating costs since they incur the cost of
 fuel in connection with the transportation of goods from their warehouse and distribution facilities to their
 stores. In addition, operations at the Debtors’ stores are sensitive to rising utility fuel costs due to the
 amount of electricity and gas required to operate their stores. In the event of rising fuel costs, the Debtors
 may not be able to recover rising utility and fuel costs through increased prices charged to their
 customers. Oil prices directly affect the Debtors’ product transportation costs and fuel costs due to the
 amount of electricity and gas required to operate their stores as well as their utility and petroleum-based
 supply costs, including plastic bags.

 9.              The Debtors May be Affected by Loss of Consumer Confidence
                 in their Food Supply Chain or the Quality and Safety of their Products

          The Debtors could be adversely affected if consumers lose confidence in the safety and quality of
 the food supply chain. Adverse publicity about these concerns, whether or not ultimately based on fact,
 and whether or not involving products sold at our stores, could discourage consumers from buying the
 Debtors’ products. The real or perceived sale of contaminated food products by A&P could result in a
 loss of consumer confidence and product liability claims, which could have a material adverse effect on
 the Debtors’ sales and operations.

         To the extent the Debtors are unable to maintain appropriate sanitation and quality standards in
 our stores, food safety and quality issues could involve expense and damage to the Debtors’ various brand
 names. Additionally, concerns about the safety or effectiveness of certain drugs or negative publicity
 surrounding certain categories of drugs may have a negative impact on pharmacy sales.

 10.             Threats or Potential Threats to Security of Food and
                 Drug Safety May Adversely Affect the Debtors’ Business

         Acts or threats of war or terror or other criminal activity directed at the grocery or drug store
 industry, the transportation industry, or computer or communications systems, whether or not directly
 involving the Debtors’ stores, could increase security costs, adversely affect operations, or impact general
 consumer behavior and spending as well as customer orders and the Debtors’ supply chain. Other events
 that give rise to actual or potential food contamination, drug contamination, or food-borne illnesses could
 have an adverse effect on operating results.

 11.             Various Aspects of the Debtors’ Business are Subject to Federal,
                 State and Local Laws and Regulations. The Debtors’ Compliance with These
                 Regulations May Require Additional Expenditures and Could Adversely
                 Affect the Debtors’ Ability to Conduct Business as Planned. Changes
                 in These Laws and Regulations Could Increase the Debtors’ Compliance Costs

         The Debtors are subject to federal, state and local laws and regulations relating to zoning, land
 use, environmental protection, work place safety, public health, community right-to-know, beer and wine
 sales, pharmaceutical sales and gasoline station operations. A number of states and local jurisdictions
 regulate the licensing of supermarkets, including beer and wine license grants. In addition, under certain
 local regulations, we are prohibited from selling beer and wine in certain of our stores. Employers are
 also subject to laws governing their relationship with employees, including minimum wage requirements,


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 overtime, working conditions, disabled access and work permit requirements. Compliance with these
 laws could reduce the revenue and profitability of the Debtors’ supermarkets and could otherwise
 adversely affect their business, financial condition or results of operations. In addition, any changes in
 these laws or regulations could significantly increase the Debtors’ compliance costs and adversely affect
 results of operations, financial condition and liquidity.

          A number of federal state and local laws exist that impose burdens or restrictions on owners with
 respect to access by disabled persons. Our compliance with these laws may result in modifications to our
 properties, or prevent us from performing certain further renovations.

         The Debtors’ pharmacy business is subject to certain government laws and regulations, including
 those administered and enforced by Medicare, Medicaid, the Drug Enforcement Administration (“DEA”),
 Consumer Product Safety Commission, U.S. Federal Trade Commission and Food and Drug
 Administration. For example, the conversion of various prescription drugs to over-the-counter
 medications may reduce the Debtors’ pharmacy sales, and if the rate at which new prescription drugs
 become available slows or if new prescription drugs that are introduced into the market fail to achieve
 popularity, the Debtors’ pharmacy sales may be adversely affected. The withdrawal of certain drugs from
 the market may also adversely affect the Debtors’ pharmacy business. Changes in third party
 reimbursement levels for prescription drugs, including changes in Medicare Part D or state Medicaid
 programs, could also reduce margins and have a material adverse effect on the Debtors’ business. In
 order to dispense controlled substances, the Debtors are required to register their pharmacies with the
 DEA and to comply with security, recordkeeping, inventory control and labeling standards.

          In addition, the Debtors’ pharmacy business is subject to local regulations in the states where
 their pharmacies are located, applicable Medicare and Medicaid regulations and state and federal
 prohibitions against certain payments intended to induce referrals of patients or other health care business.
 Failure to properly adhere to these and other applicable regulations could result in the imposition of civil,
 administrative and criminal penalties including suspension of payments from government programs; loss
 of required government certifications; loss of authorizations to participate in, or exclusion from,
 government reimbursement programs such as Medicare and Medicaid; loss of licenses; significant fines
 or monetary penalties for anti-kickback law violations, submission of false claims or other failures to
 meet reimbursement program requirements and could adversely affect the continued operation of the
 Debtors’ business. The Debtors’ pharmacy business is also subject to the Health Insurance Portability
 and Accountability Act, including its obligations to protect the confidentiality of certain patient
 information and other obligations. Failure to properly adhere to these requirements could result in the
 imposition of civil as well as criminal penalties.

 12.             Certain Risks Are Inherent in Providing Pharmacy Services and the Debtors’ Insurance
                 May Not Be Adequate to Cover All Claims Associated With Pharmacy Services

          Pharmacies are exposed to risks inherent in the packaging and distribution of pharmaceuticals and
 other healthcare products. Although the Debtors maintain professional liability insurance and errors and
 omissions liability insurance, coverage limits under their insurance programs may not be adequate to
 protect against all future claims, or they may not be able to maintain this insurance on acceptable terms in
 the future. The Debtors’ results of operations, financial condition or cash flows may be adversely
 affected if in the future the insurance coverage proves to be inadequate or unavailable, or there is an
 increase in liability for which the Debtors self-insure, or suffer harm to their reputation as a result of an
 error or omission.




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 13.             Litigation, legal or Administrative Proceedings
                 and Other Claims Could Expose the Debtors to Significant Liability

          The Debtors, from time to time, are subject to various claims, administrative proceedings and
 litigation, which if determined adversely to them could negatively affect their financial results. The
 Debtors have estimated their exposure to claims, administrative proceedings and litigation and believe
 they have made adequate provisions for them, where appropriate. Unexpected outcomes in both the costs
 and effects of these matters could result in an adverse effect on the Debtors’ business and results of
 operation and earnings.

 14.             The Debtors are Affected By Increasing Labor,
                 Benefit and Other Operating Costs and a Competitive
                 Labor Market and are Subject to the Risks of Workforce Disruptions

         The Debtors’ financial performance is greatly influenced by increasing wage and benefit costs,
 including pension and health care costs, a competitive labor market and the risk of labor disruption of our
 highly unionized workforce.

         The Debtors have approximately 39,000 employees, of whom approximately 68% are employed
 on a part-time basis. Over the last few years, increased benefit costs have caused A&P’s labor costs to
 increase and may continue to do so. Any significant failure to attract and retain qualified employees, to
 control labor costs or to recover any increased labor costs through increased prices charged to customers
 could have a material adverse effect on the Debtors’ results of operations.

         As of February 26, 2011, approximately 92% of the Debtors’ employees were represented by
 unions and covered by CBAs or similar agreements that are subject to periodic renegotiations. Although
 the Debtors believe that they have successfully negotiated new CBAs, these negotiations may not prove
 successful, may result in a significant increase in the cost of labor or may result in the disruption of the
 Debtors’ operations.

 15.             The Debtors Participate in Various Multiemployer
                 Pension Plans for Substantially All Employees Represented by Unions

           The Debtors will be required to make contributions to multiemployer pension plans in amounts
 established under CBAs. Pension expenses for these plans, which are recognized as contributions, are
 currently funded. Benefits generally are based on a fixed amount for each year of service. The Debtors
 contributed $56.6 million, $62.3 million and $48.2 million to multiemployer pension plans in fiscal 2010,
 fiscal 2009 and fiscal 2008, respectively. The Debtors could, under certain circumstances, be liable for
 unfunded vested benefits or other expenses of jointly administered union/management plans, which
 liabilities could be significant and material for the Debtors. To date, the Debtors have not established any
 liabilities for future withdrawals because such withdrawals from these plans are not probable and the
 amount cannot be estimated. As a result, the Debtors expect that contributions to these plans may
 increase. Additionally, the benefit levels and related items will be issues in the negotiation of future
 CBAs. Under current law, an employer that withdraws or partially withdraws from a multiemployer
 pension plan may incur withdrawal liability to the plan, which represents the portion of the plan’s
 underfunding that is allocable to the withdrawing employer under complex actuarial and allocation rules.
 The amount of any increase or decrease in the Debtors’ required contributions to these multiemployer
 pension plans will depend upon the outcome of collective bargaining, actions taken by trustees who
 manage the plans affecting the costs of future service benefits, government regulations and the actual
 return on assets held in the plans, among other factors.



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 16.             The Debtors May be Held Liable for Environmental Damages

           The Debtors’ operations subject them to various laws and regulations relating to the protection of
 the environment, including those governing the management and disposal of hazardous materials and the
 cleanup of contaminated sites. Under some environmental laws, such as the Comprehensive
 Environmental Response, Compensation, and Liability Act of 1980, also known as CERCLA or the
 Superfund law, and similar state statutes, responsibility for the entire cost of cleanup of a contaminated
 site can be imposed upon any current or former site owners or operators, or upon any party who sent
 waste to the site, regardless of the lawfulness of the original activities that led to the contamination. From
 time to time the Debtors have been named as one of many potentially responsible parties at Superfund
 sites, although their share of liability has typically been de minimis. Although the Debtors believe that
 they are currently in substantial compliance with applicable environmental requirements, future
 developments such as more aggressive enforcement policies, new laws or discoveries of unknown
 conditions may require expenditures that may have a material adverse effect on their business and
 financial condition.

 17.             The Debtors’ Ability to Effectively Operate
                 Could be Hindered if They Fail to Attract and Retain Key Personnel

          The Debtors’ ability to operate their business and implement their strategies effectively depends,
 in part, on the efforts of their executive officers and other key employees. In addition, the Debtors’ future
 success will depend on, among other factors, the ability to attract and retain qualified personnel,
 particularly engineers and other employees with critical expertise and skills that support key customers
 and products. The loss of the services of any key employees or the failure to attract or retain other
 qualified personnel could have a material adverse effect on the Debtors’ business.

 E.      Risks Associated with Forward Looking Statements

 1.              Financial Information Is Based on the Debtors’ Books and
                 Records and, Unless Otherwise Stated, No Audit Was Performed

         The financial information contained in this Disclosure Statement has not been audited. In
 preparing this Disclosure Statement, the Debtors relied on financial data derived from their books and
 records that was available at the time of such preparation. Although the Debtors have used their
 reasonable business judgment to ensure the accuracy of the financial information provided in this
 Disclosure Statement, and while the Debtors believe that such financial information fairly reflects, in all
 material respects, the financial results of the Debtors, the Debtors are unable to warrant or represent that
 the financial information contained herein and attached hereto is without inaccuracies.

 2.              Financial Projections and Other Forward Looking
                 Statements Are Not Assured, Are Subject to Inherent
                 Uncertainty Due to Numerous Assumptions Upon Which
                 They Are Based and, as a Result, Actual Results May Vary

          This Disclosure Statement contains various projections concerning the financial results of the
 Reorganized Debtors’ operations, including the Financial Projections that are, by their nature, forward
 looking, and which projections are necessarily based on certain assumptions and estimates. Should any or
 all of these assumptions or estimates ultimately prove to be incorrect, the actual future financial results of
 the Reorganized Debtors may turn out to be different from the Financial Projections. The Financial
 Projections do not reflect emergence adjustments, including the impact of “fresh start” accounting.



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        Specifically, the projected financial results contained in this Disclosure Statement reflect
 numerous assumptions concerning the anticipated future performance of the Reorganized Debtors, some
 of which may not materialize.

         Due to the inherent uncertainties associated with projecting financial results generally, the
 projections contained in this Disclosure Statement will not be considered assurances or guarantees of the
 amount of funds or the amount of Claims that may be Allowed in the various Classes. While the Debtors
 believe that the Financial Projections contained in this Disclosure Statement are reasonable, there can be
 no assurance that they will be realized.

 F.      Disclosure Statement Disclaimer

 1.              This Disclosure Statement Was Not
                 Approved by the Securities and Exchange Commission

          This Disclosure Statement was not filed with the Commission under the Securities Act or
 applicable state securities laws. Neither the Commission nor any state regulatory authority has passed
 upon the accuracy or adequacy of this Disclosure Statement, or the exhibits or the statements contained
 herein, and any representation to the contrary is unlawful.

 2.              Reliance on Exemptions from Registration Under the Securities Act

          This Disclosure Statement has been prepared pursuant to section 1125 of the Bankruptcy Code
 and Rule 3016(b) of the Federal Rules of Bankruptcy Procedure and is not necessarily in accordance with
 federal or state securities laws or other similar laws. The offer of NewCo Equity to holders of certain
 Classes of Claims has not been registered under the Securities Act or similar state securities or “blue sky”
 laws. To the maximum extent permitted by section 1145 of the Bankruptcy Code, the Securities Act and
 other applicable non-bankruptcy law, the issuance of the New Debtors Common Stock (including the
 shares reserved for issuance under the Management Equity Incentive Program) will be exempt from
 registration under the Securities Act by virtue of Section 1145 of the Bankruptcy Code, section 4(2) of the
 Securities Act, or Regulation D promulgated thereunder, Rule 701 of the Securities Act or a “no sale”
 under the Securities Act as described herein.

 3.              This Disclosure Statement May Contain Forward Looking Statements

          This Disclosure Statement may contain “forward looking statements” within the meaning of the
 Private Securities Litigation Reform Act of 1995. Such statements consist of any statement other than a
 recitation of historical fact and can be identified by the use of forward looking terminology such as
 “may,” “expect,” “anticipate,” “estimate,” or “continue” or the negative thereof or other variations
 thereon or comparable terminology. The reader is cautioned that all forward looking statements are
 necessarily speculative and there are certain risks and uncertainties that could cause actual events or
 results to differ materially from those referred to in such forward looking statements. The Liquidation
 Analyses, distribution projections, and other information contained herein and attached hereto are
 estimates only, and the timing and amount of actual distributions to holders of Allowed Claims may be
 affected by many factors that cannot be predicted. Therefore, any analyses, estimates, or recovery
 projections may or may not turn out to be accurate.

 4.              No Legal or Tax Advice Is Provided to You by this Disclosure Statement

         This Disclosure Statement is not legal advice to you. The contents of this Disclosure Statement
 should not be construed as legal, business or tax advice. Each holder of a Claim or an Interest should


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 consult his or her own legal counsel and accountant with regard to any legal, tax and other matters
 concerning his or her Claim or Interest. This Disclosure Statement may not be relied upon for any
 purpose other than to determine how to vote on the Plan or object to Confirmation of the Plan.

 5.              No Admissions Made

         The information and statements contained in this Disclosure Statement will neither (a) constitute
 an admission of any fact or liability by any Entity (including, without limitation, the Debtors) nor (b) be
 deemed evidence of the tax or other legal effects of the Plan on the Debtors, the Reorganized Debtors,
 holders of Allowed Claims or Interests, or any other parties in interest.

 6.              Failure to Identify Litigation Claims or Projected Objections

         No reliance should be placed on the fact that a particular litigation Claim or projected objection to
 a particular Claim or Interest is, or is not, identified in this Disclosure Statement. The Debtors or the
 Reorganized Debtors may seek to investigate, file, and prosecute Claims and Interests and may object to
 Claims after the Confirmation or Effective Date of the Plan irrespective of whether this Disclosure
 Statement identifies such Claims or Objections to Claims.

 7.              No Waiver of Right to Object or Right to Recover Transfers and Assets

         The vote by a holder of an Allowed Claim for or against the Plan does not constitute a waiver or
 release of any Claims or rights of the Debtors (or any party in interest, as the case may be) to object to
 that holder’s Allowed Claim, or recover any preferential, fraudulent or other voidable transfer or assets,
 regardless of whether any Claims or Causes of Action of the Debtors or their respective Estates are
 specifically or generally identified herein.

 8.              Information Was Provided by the Debtors
                 and Was Relied Upon by the Debtors’ Advisors

         Counsel to and other advisors retained by the Debtors have relied upon information provided by
 the Debtors in connection with the preparation of this Disclosure Statement. Although counsel to and
 other advisors retained by the Debtors have performed certain limited due diligence in connection with
 the preparation of this Disclosure Statement, they have not independently verified the information
 contained herein.

 9.              Potential Exists for Inaccuracies, and the Debtors Have No Duty to Update

         The statements contained in this Disclosure Statement are made by the Debtors as of the date
 hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after that date
 does not imply that there has not been a change in the information set forth herein since that date. While
 the Debtors have used their reasonable business judgment to ensure the accuracy of all of the information
 provided in this Disclosure Statement and in the Plan, the Debtors nonetheless cannot, and do not,
 confirm the current accuracy of all statements appearing in this Disclosure Statement. Further, although
 the Debtors may subsequently update the information in this Disclosure Statement, the Debtors have no
 affirmative duty to do so unless ordered to do so by the Bankruptcy Court.

 10.             No Representations Outside this Disclosure Statement Are Authorized

         No representations concerning or relating to the Debtors, the Chapter 11 Cases, or the Plan are
 authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure


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 Statement. Any representations or inducements made to secure your acceptance or rejection of the Plan
 that are other than as contained in, or included with, this Disclosure Statement, should not be relied upon
 by you in arriving at your decision. You should promptly report unauthorized representations or
 inducements to the counsel for the Debtors, the counsel for the Creditors Committee and the United States
 Trustee.

 G.      Liquidation Under Chapter 7

         If no plan can be Confirmed, the Debtors’ Chapter 11 Cases may be converted to cases under
 chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be elected or appointed to liquidate
 the assets of the Debtors for distribution in accordance with the priorities established by the Bankruptcy
 Code. A discussion of the effects that a chapter 7 liquidation would have on the recoveries of holders of
 Claims and the Debtors’ Liquidation Analyses is described herein and attached hereto as Exhibit D.

                                     ARTICLE X.
                       CERTAIN FEDERAL INCOME TAX CONSEQUENCES

         The following is a summary of certain United States federal income tax consequences of the Plan
 to the Debtors and certain holders of Claims. This summary is based on the Internal Revenue Code,
 Treasury Regulations thereunder (“Treasury Regulations”) and administrative and judicial interpretations
 and practice, all as in effect on the date of this Disclosure Statement and all of which are subject to
 change, with possible retroactive effect. Due to the lack of definitive judicial and administrative authority
 in a number of areas, substantial uncertainty may exist with respect to some of the tax consequences
 described below. No opinion of counsel has been obtained and the Debtors do not intend to seek a ruling
 from the Internal Revenue Service as to any of the tax consequences of the Plan discussed below. There
 can be no assurance that the Internal Revenue Service will not challenge one or more of the tax
 consequences of the Plan described below.

          This summary does not apply to holders of Claims that are not United States Persons (as such
 term is defined in the Internal Revenue Code) or that are otherwise subject to special treatment under
 United States federal income tax law (including, without limitation, banks, governmental authorities or
 agencies, financial institutions, insurance companies, pass-through Entities, tax-exempt organizations,
 brokers and dealers in securities, mutual funds, small business investment companies, employees, persons
 who received their Claims or Interests pursuant to the exercise of an employee stock option or otherwise
 as compensation, persons holding Claims or Interests that are a hedge against, or that are hedged against,
 currency risk or that are part of a straddle, constructive sale, or conversion transaction and regulated
 investment companies). Moreover, this summary does not purport to cover all aspects of United States
 federal income taxation that may apply to the Debtors and holders of Allowed Claims based upon their
 particular circumstances. Additionally, this summary does not discuss any tax consequences that may
 arise under any laws other than United States federal income tax law, including under state, local or
 foreign tax law.

       ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN UNITED STATES
 FEDERAL INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND
 IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON THE
 INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER OF A CLAIM. ALL HOLDERS
 OF CLAIMS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS FOR THE FEDERAL,
 STATE, LOCAL AND OTHER TAX CONSEQUENCES APPLICABLE UNDER THE PLAN.

      INTERNAL REVENUE SERVICE CIRCULAR 230 DISCLOSURE: TO ENSURE
 COMPLIANCE WITH REQUIREMENTS IMPOSED BY THE INTERNAL REVENUE SERVICE,

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 ANY TAX ADVICE CONTAINED IN THIS DISCLOSURE STATEMENT (INCLUDING ANY
 ATTACHMENTS) IS NOT INTENDED OR WRITTEN TO BE USED, AND CANNOT BE USED, BY
 ANY TAXPAYER FOR THE PURPOSE OF AVOIDING TAX-RELATED PENALTIES UNDER THE
 INTERNAL REVENUE CODE. TAX ADVICE CONTAINED IN THIS DISCLOSURE STATEMENT
 (INCLUDING ANY ATTACHMENTS) IS WRITTEN TO SUPPORT THE PROMOTION AND
 MARKETING OF THE TRANSACTIONS OR MATTERS ADDRESSED BY THIS DISCLOSURE
 STATEMENT. EACH TAXPAYER SHOULD SEEK ADVICE BASED ON THE TAXPAYER’S
 PARTICULAR CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.

 A.      Certain United States Federal Income
         Tax Consequences to the Reorganized Debtors

 1.              Cancellation of Debt and Reduction of Tax Attributes

          In general, absent an exception, a debtor will realize and recognize cancellation of debt income
 (“CODI”) upon satisfaction of its outstanding indebtedness for total consideration less than the amount of
 such indebtedness. The amount of CODI, in general, is the excess of (a) the Adjusted Issue Price of the
 indebtedness satisfied, over (b) the sum of (i) the amount of cash paid, and (ii) the fair market value of
 any new consideration (including stock of the debtor) given in satisfaction of such indebtedness at the
 time of the exchange.

          A debtor will not, however, be required to include any amount of CODI in gross income if the
 debtor is under the jurisdiction of a court in a case under chapter 11 of the Bankruptcy Code and the
 discharge of debt occurs pursuant to that proceeding. Instead, as a consequence of such exclusion, a
 debtor must reduce its tax attributes by the amount of CODI that it excluded from gross income pursuant
 to the rule discussed in the preceding sentence. In general, tax attributes will be reduced in the following
 order: (a) NOLs and NOL carryforwards; (b) general business and minimum tax credit carryovers; (c)
 capital loss carryovers; (d) tax basis in assets; and (e) foreign tax credit carryovers. A debtor with CODI
 may elect first to reduce the basis of its depreciable assets pursuant to section 108(b)(5) of the Internal
 Revenue Code. The reduction in tax attributes occurs only after the tax for the year of the debt discharge
 has been determined. Any excess CODI over the amount of available tax attributes is not subject to
 United States federal income tax and has no other United States federal income tax impact.

          The Treasury Regulations address the method and order for applying tax attribute reduction to an
 affiliated group of corporations. Under these regulations, the tax attributes of each member of an
 affiliated group of corporations that is excluding CODI is first subject to reduction. To the extent the
 debtor member’s tax basis in stock of a lower tier member of the affiliated group is reduced, a “look
 through rule” requires that a corresponding reduction be made to the tax attributes of the lower tier
 member. If a debtor member’s excluded CODI exceeds its tax attributes, the excess CODI is applied to
 the reduction of certain remaining consolidated tax attributes of the affiliated group. Because the Plan
 provides for only partial Cash payment of certain Claims (those in Class A and Class E through Class L),
 the amount of CODI, and accordingly the amount of tax attributes required to be reduced, will depend on
 the Adjusted Issue Price of all such impaired Claims and the amount of Cash available for partial payment
 of such Claims. These values cannot be known with certainty until the Effective Date. However, as a
 result of Consummation, the Debtors expect that there could be material reductions in NOLs, NOL
 carryforwards, or other tax attributes.

 2.              Limitation of NOL Carry Forwards and Other Tax Attributes

        The Reorganized Debtors may have NOL carryovers and other tax attributes at emergence. The
 amount of such NOL carryovers and other tax attributes, such as tax basis, that will be available to the

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 Reorganized Debtors at emergence is based on a number of factors and is impossible to calculate at this
 time. Some of the factors that will impact the amount of available NOLs include: (a) the amount of tax
 losses incurred by the Debtors in 2011; (b) the extent to which gain is recognized on any of the Debtors’
 assets in connection with the preliminary asset transfer option under the Plan; and (c) the amount of
 CODI incurred by the Debtors in connection with Consummation. Some of the factors that will impact
 the amount of tax basis available to the Reorganized Debtors include: (a) the extent to which gain is
 recognized and tax basis increased on any of the Debtors’ assets in connection with the preliminary asset
 transfer option under the Plan and (b) the amount of CODI incurred by the Debtors in connection with
 Consummation. The Debtors anticipate that subsequent utilization of any losses and NOL carryovers
 remaining and possibly certain other tax attributes may be restricted as a result of and upon
 Consummation.

         Following Consummation, the Debtors anticipate that any remaining NOL carryover, capital loss
 carryover, tax credit carryovers and, possibly, certain other tax attributes (such as losses and deductions
 that have accrued economically but are unrecognized as of the date of the ownership change) of the
 Reorganized Debtors allocable to periods prior to the Effective Date (collectively, the “Pre Change
 Losses”) may be subject to limitation under sections 382 and 383 of the Internal Revenue Code as a result
 of an “ownership change” of the Reorganized Debtors by reason of the transactions pursuant to the Plan.

         Under sections 382 and 383 of the Internal Revenue Code, if a corporation undergoes an
 “ownership change,” the amount of its Pre Change Losses that may be utilized to offset future taxable
 income generally is subject to an annual limitation. As discussed in greater detail herein, the Debtors
 anticipate that the issuance of the NewCo Equity pursuant to the Plan will result in an “ownership
 change” of the Reorganized Debtors for these purposes, and that the Debtors’ use of their NOL carryovers
 and other Pre Change Losses will be subject to limitation unless an exception to the general rules of
 section 382 of the Internal Revenue Code applies.

 3.              General Section 382 Annual Limitation

         In general, the annual limitation that applies to a corporation that undergoes an “ownership
 change” is equal to the product of (a) the fair market value of the corporation’s equity immediately before
 the “ownership change” (with certain adjustments) multiplied by (b) the “long term tax exempt rate.”
 Any unused limitation may be carried forward, thereby increasing the annual limitation in the subsequent
 taxable year.

 4.              Special Bankruptcy Exceptions

          An exception to the foregoing annual limitation rules generally applies when so called “qualified
 creditors” of a debtor company in chapter 11 receive, in respect of their Claims, at least 50% of the vote
 and value of the stock of the reorganized debtor (or a controlling corporation if also in chapter 11)
 pursuant to a confirmed chapter 11 plan (the “382(l)(5) Exception”). Under the 382(l)(5) Exception, a
 debtor’s Pre Change Losses are not limited on an annual basis but, instead, are required to be reduced by
 the amount of any interest deductions claimed during the three taxable years preceding the effective date
 of the plan of reorganization, and during the part of the taxable year prior to and including the effective
 date of the plan of reorganization, in respect of all debt converted into stock in the reorganization. If the
 382(l)(5) Exception applies and the Reorganized Debtors undergo another “ownership change” within
 two years after Consummation, then the Reorganized Debtors’ Pre Change Losses effectively would be
 eliminated in their entirety.

         Where the 382(l)(5) Exception is not applicable (either because the debtor does not qualify for it
 or the debtor otherwise elects not to utilize the 382(l)(5) Exception), a second special rule will generally

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 apply (the “382(l)(6) Exception”). Under the 382(l)(6) Exception, the limitation will be calculated by
 reference to the lesser of the value of the Reorganized Debtor corporation’s new stock (with certain
 adjustments) immediately after the ownership change or the value of such debtor corporation’s assets
 (determined without regard to liabilities) immediately before the ownership change. The 382(l)(6)
 Exception differs from the ordinary rule that requires the fair market value of a debtor corporation that
 undergoes an “ownership change” to be determined before the events giving rise to the change. The
 382(l)(6) Exception also differs from the 382(l)(5) Exception in that under it, the debtor corporation is not
 required to reduce its NOLs by the amount of interest deductions claimed within the prior three year
 period, and the debtor may undergo a change of ownership within two years without triggering the
 elimination of its NOLs.

         While it is not certain, it is doubtful at this point that the Debtors will be eligible to utilize the
 382(l)(5) Exception. In that case, the Debtors expect that their use of any remaining NOLs after the
 Effective Date will be subject to limitation based on the rules discussed above, but taking into account the
 382(l)(6) Exception.

 B.      Certain United States Federal Income
         Tax Consequences to Holders of Claims

 1.              Consequences to Holders of Certain Claims

          Holders of Class A Second Lien Note Claims, Class B Secured Tax Claims, Class C Other
 Secured Claims and Class D Other Priority Claims will either receive Cash or collateral in full payment of
 their Claims or have their Claims Reinstated and rendered unimpaired. Pursuant to the Plan, Holders of
 Class E, Class F, Class G, Class H, Class I, Class J, Class K, and Class L Claims will receive a partial
 Cash payment in exchange for their Claims. Holders of Class M, Class N, Class O, and Class P Claims
 will receive no recovery and their Claims will be cancelled. Thus, each Claim will either be extinguished
 and deemed satisfied in exchange for a full or partial payment of Cash or property (including zero
 recovery in the case of Class M, N, O, and P) or will be Reinstated in full.

          A Holder who receives Cash or collateral in exchange for its Claim pursuant to the Plan generally
 will recognize income, gain, or loss for U.S. federal income tax purposes in an amount equal to the
 difference between (a) the amount of Cash (or the value of any collateral) received in exchange for its
 Claim and (b) the Holder’s adjusted tax basis in its Claim. The character of such gain or loss as capital
 gain or loss or as ordinary income or loss will be determined by a number of factors, including the tax
 status of the Holder, the nature of the Claim in such Holder’s hands, whether the Claim constitutes a
 capital asset in the hands of the Holder, whether the Claim was purchased at a discount and whether and
 to what extent the Holder has previously claimed a bad debt deduction with respect to its Claim. See the
 discussions of accrued interest and market discount below.

 2.              Accrued Interest

          To the extent that any amount received by a Holder of a Claim is attributable to accrued but
 unpaid interest on the debt instruments constituting the surrendered Claim, the receipt of such amount
 should be taxable to the Holder as ordinary interest income (to the extent not already taken into income by
 the Holder). Conversely, a Holder of a Claim may be able to recognize a deductible loss (or, possibly, a
 write off against a reserve for worthless debts) to the extent that any accrued interest was previously
 included in the Holder’s gross income but was not paid in full by the Debtors. Such loss may be ordinary,
 but the tax law is unclear on this point.




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          If the fair value of the consideration is not sufficient to fully satisfy all principal and interest on
 Allowed Claims, the extent to which such consideration will be attributable to accrued interest is unclear.
 Under the Plan, the aggregate consideration to be distributed to Holders of Allowed Claims in each Class
 will be allocated first to the principal amount of Allowed Claims, with any excess allocated to unpaid
 interest that accrued on such Claims, if any. Certain legislative history indicates that an allocation of
 consideration as between principal and interest provided in a chapter 11 plan of reorganization is binding
 for United States federal income tax purposes, while certain regulations treat payments as allocated first
 to any accrued but unpaid interest. The IRS could take the position that the consideration received by the
 Holder should be allocated in some way other than as provided in the Plan. Holders of Claims should
 consult their own tax advisors regarding the proper allocation of the consideration received by them under
 the Plan.

 3.               Market Discount

          Under the “market discount” provisions of the Internal Revenue Code, some or all of any gain
 realized by a Holder of a Claim who exchanges the Claim for an amount on the Effective Date may be
 treated as ordinary income (instead of capital gain), to the extent of the amount of “market discount” on
 the debt instruments constituting the exchanged Claim. In general, a debt instrument is considered to
 have been acquired with “market discount” if it is acquired other than on original issue and if its Holder’s
 adjusted tax basis in the debt instrument is less than (a) the sum of all remaining payments to be made on
 the debt instrument, excluding “qualified stated interest” or (b) in the case of a debt instrument issued
 with original issue discount, its adjusted issue price, by at least a de minimis amount (equal to 0.25% of
 the sum of all remaining payments to be made on the debt instrument, excluding qualified stated interest,
 multiplied by the number of remaining whole years to maturity).

         Any gain recognized by a Holder on the taxable disposition of a Claim that had been acquired
 with market discount should be treated as ordinary income to the extent of the market discount that
 accrued thereon while such Claim was considered to be held by the Holder (unless the Holder elected to
 include market discount in income as it accrued). To the extent that the Allowed Claims that were
 acquired with market discount are exchanged in a tax-free transaction for other property, any market
 discount that accrued on the Allowed Claims (i.e., up to the time of the exchange) but was not recognized
 by the Holder is carried over to the property received therefor and any gain recognized on the subsequent
 sale, exchange, redemption or other disposition of such property is treated as ordinary income to the
 extent of such accrued, but not recognized, market discount.

 4.               Limitations on Use of Capital Losses

          A Holder of a Claim who recognizes capital losses as a result of the distributions under the Plan
 will be subject to limits on the use of such capital losses. For a non-corporate Holder, capital losses may
 be used to offset any capital gains (without regard to holding periods), and also ordinary income to the
 extent of the lesser of (a) $3,000 ($1,500 for married individuals filing separate returns) or (b) the excess
 of the capital losses over the capital gains. A non-corporate Holder may carry over unused capital losses
 and apply them against future capital gains and a portion of their ordinary income for an unlimited
 number of years. For corporate Holders, capital losses may only be used to offset capital gains. A
 corporate Holder that has more capital losses than may be used in a tax year may carry back unused
 capital losses to the three years preceding the capital loss year, but may carry over unused capital losses
 for the five years following the capital loss year.




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 5.              Information Reporting and Back-up Withholding

         Payments in respect of Allowed Claims under the Plan may be subject to applicable information
 reporting and backup withholding (currently at a rate of 28%). Backup withholding of taxes will
 generally apply to Payments in respect of an Allowed Claim under the Plan if the Holder of such Allowed
 Claim fails to provide an accurate taxpayer identification number or otherwise fails to comply with the
 applicable requirements of the backup withholding rules.

         Backup withholding is not an additional tax. Amounts withheld under the backup withholding
 rules may be credited against a Holder’s U.S. federal income tax liability, and a Holder may obtain a
 refund of any excess amounts withheld under the backup withholding rules by filing an appropriate claim
 for refund with the IRS (generally, a federal income tax return).

         THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX.
         THE FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF FEDERAL
         INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR HOLDER IN
         LIGHT OF SUCH HOLDER’S CIRCUMSTANCES AND INCOME TAX SITUATION.
         ALL HOLDERS OF CLAIMS AND INTERESTS SHOULD CONSULT WITH THEIR
         TAX ADVISORS AS TO THE PARTICULAR TAX CONSEQUENCES TO THEM OF
         THE TRANSACTIONS CONTEMPLATED BY THE PLAN, INCLUDING THE
         APPLICABILITY AND EFFECT OF ANY STATE, LOCAL OR FOREIGN TAX LAWS,
         AND OF ANY CHANGE IN APPLICABLE TAX LAWS.

                                           ARTICLE XI.
                                         RECOMMENDATION

         The Debtors recommend the Plan because it provides for greater distributions to the holders of
 Claims and Interests than would otherwise result in a liquidation under chapter 7 of the Bankruptcy Code.
 In addition, any alternative other than Confirmation could result in extensive delays and increased
 administrative expenses resulting in smaller distributions to the holders of Claims. Accordingly, the
 Debtors recommend that holders of Claims and Interests entitled to vote on the Plan support
 Confirmation and vote to accept the Plan.

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                                   Respectfully submitted,
                                           THE GREAT ATLANTIC & PACIFIC TEA
                                           COMPANY, INC.
                                           (For itself and all other Debtors)


 Montvale, New Jersey                      By: /s/ Frederic F. Brace
 Dated: December 19, 2011                  Name: Frederic F. Brace
                                           Title: Chief Financial Officer, Chief Administrative Officer,
                                                   and Chief Restructuring Officer




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                                         Exhibit A

                        Debtors’ Joint Plan of Reorganization Pursuant
                     to Chapter 11 of the United States Bankruptcy Code




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Counsel to the Debtors and Debtors in Possession
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                    )
In re:                                                              )   Chapter 11
                                                                    )
THE GREAT ATLANTIC & PACIFIC TEA COMPANY,                           )   Case No. 10-24549 (RDD)
INC., et al.1                                                       )
                                                                    )
                                       Debtors.                     )   Jointly Administered
                                                                    )

                            DEBTORS’ JOINT PLAN OF REORGANIZATION
                  PURSUANT TO CHAPTER 11 OF THE UNITED STATES BANKRUPTCY CODE

Dated: December 19, 2011




1    The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number, are: The
     Great Atlantic & Pacific Tea Company, Inc. (0974); 2008 Broadway, Inc. (0986); AAL Realty Corporation (3152); Adbrett
     Corporation (5661); Amsterdam Trucking Corporation (1165); APW Supermarket Corporation (7132); APW Supermarkets, Inc.
     (9509); Bergen Street Pathmark, Inc. (1604); Best Cellars DC Inc. (2895); Best Cellars Inc. (9550); Best Cellars Licensing Corp.
     (2896); Best Cellars Massachusetts, Inc. (8624); Best Cellars VA Inc. (1720); Bev, Ltd. (9046); Borman’s Inc. (9761); Bridge
     Stuart, Inc. (8652); Clay-Park Realty Co., Inc. (0902); Compass Foods, Inc. (0653); East Brunswick Stuart, LLC (9149); Farmer
     Jack’s of Ohio, Inc. (5542); Food Basics, Inc.(1210); Gramatan Foodtown Corp. (5549); Grape Finds At DuPont, Inc. (9455); Grape
     Finds Licensing Corp. (7091); Grapefinds, Inc. (4053); Greenlawn Land Development Corp. (7062); Hopelawn Property I, Inc.
     (6590); Kohl’s Food Stores, Inc. (2508); Kwik Save Inc. (8636); Lancaster Pike Stuart, LLC (9158); LBRO Realty, Inc. (1125); Lo-
     Lo Discount Stores, Inc. (8662); Mac Dade Boulevard Stuart, LLC (9155); McLean Avenue Plaza Corp. (5227); Milik Service
     Company, LLC (0668); Montvale Holdings, Inc. (6664); North Jersey Properties, Inc. VI (6586); Onpoint, Inc. (6589); Pathmark
     Stores, Inc. (9612); Plainbridge, LLC (5965); SEG Stores, Inc. (4940); Shopwell, Inc. (3304); Shopwell, Inc. (1281); Spring Lane
     Produce Corp. (5080); Super Fresh/Sav-A-Center, Inc. (0228); Super Fresh Food Markets, Inc. (2491); Super Market Service Corp.
     (5014); Super Plus Food Warehouse, Inc. (9532); Supermarkets Oil Company, Inc. (4367); The Food Emporium, Inc. (3242); The
     Old Wine Emporium of Westport, Inc. (0724); The South Dakota Great Atlantic & Pacific Tea Company, Inc (4647); Tradewell
     Foods of Conn., Inc. (5748); Upper Darby Stuart, LLC (9153); and Waldbaum, Inc. (8599). The location of the Debtors’ corporate
     headquarters is Two Paragon Drive, Montvale, New Jersey 07645.



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                                              INTRODUCTION2

         The Great Atlantic & Pacific Tea Company, Inc. and the other Debtors in the above-
 captioned Chapter 11 Cases jointly propose the following Plan. Pursuant to section 1123 of the
 Bankruptcy Code and Bankruptcy Rule 9019, the Plan incorporates a proposed compromise and
 settlement of potential litigation regarding certain issues, including, without limitation, the
 substantive consolidation of the Debtors’ estates and the resolution of outstanding Claims
 against, and Interests in, the Debtors. Each Debtor is a proponent of the Plan within the meaning
 of section 1129 of the Bankruptcy Code. The classifications of Claims and Interests set forth in
 Article III hereof shall be deemed to apply to all Debtors, unless otherwise specified. Reference
 is made to the Disclosure Statement (as defined herein), distributed contemporaneously herewith,
 and all exhibits to the Disclosure Statement. In the event of any inconsistency between the
 Disclosure Statement and the Plan, the relevant provision of the Plan, as it relates to such
 inconsistency, will govern, provided, that in the event of any inconsistency between this Plan and
 the Securities Purchase Agreements, the relevant provision of the Securities Purchase
 Agreements, as it relates to such inconsistency, will govern.

         Nothing in the Disclosure Statement, this Plan, the Plan Supplement or the exhibits
 attached thereto shall be modified, amended or supplemented without the express consent of the
 Investors. Notwithstanding anything in the Plan to the contrary, any decision, option, consent
 right or election (including with respect to Claims and distributions on Claims) shall be subject
 to the consent of the Investors, including but not limited to any decision to Reinstate a Claim or
 Interest.

                                                   ARTICLE I.

                     DEFINED TERMS AND RULES OF INTERPRETATION

 A.       Defined Terms

        1.      5.125% Convertible Notes: The 5.125% convertible senior notes, with an
 aggregate face amount of $165,000,000, due in 2011 and issued pursuant to the 2007 Indenture.

       2.      5.125% Convertible Note Claims: Any and all Claims arising under the 5.125%
 Convertible Notes or the 2007 Indenture with respect to the 5.125% Convertible Notes.

        3.     6.75% Convertible Notes: The 6.75% convertible senior notes, with an aggregate
 face amount of $255,000,000, due in 2012 and issued pursuant to the 2007 Indenture.

       4.      6.75% Convertible Note Claims: Any and all Claims arising under the 6.75%
 Convertible Notes or the 2007 Indenture with respect to the 6.75% Convertible Notes.

        5.     9.125% Senior Notes: The 9.125% senior notes, with an aggregate face amount
 of $12,840,000, due in 2011 and issued pursuant to the 1991 Indenture.


 2    Capitalized terms used in this Introduction are defined in ARTICLE I herein.



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        6.      9.125% Senior Note Claims: Any and all Claims arising under the 9.125% Senior
 Notes or the 1991 Indenture with respect to the 9.125% Senior Notes.

        7.     1991 Indenture: That certain indenture dated as of January 1, 1991, as amended,
 supplemented, or modified from time to time, by and between A&P, as issuer, and Wilmington
 Trust.

       8.     2007 Indenture: That certain indenture dated as of December 18, 2007, as
 amended, supplemented, or modified from time to time, by and between A&P, as issuer, and
 Wilmington Trust.

        9.      A&P: The Great Atlantic & Pacific Tea Company, Inc., a Maryland corporation.

         10.    A&P Pension Claims: Any and all Claims against the Debtors asserted by or on
 behalf of the PBGC or any other Person in respect of the A&P Pension Plans.

        11.     A&P Pension Plans: (a) The Great Atlantic & Pacific Tea Company, Inc. Pension
 Plan; (b) the Pathmark Stores, Inc. Pension Plan; (c) the New York-New Jersey Amalgamated
 Pension Plan for A&P Employees; and (d) the Delaware County Dairies, Inc. Hourly
 Employees’ Pension Plan.

         12.    Administrative Claim: A Claim for costs and expenses of administration pursuant
 to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the
 actual and necessary costs and expenses incurred after the Commencement Date of preserving
 the Estates and operating the businesses of the Debtors; (b) Allowed Professional Claims; (c) the
 reasonable fees and expenses of the Notes Trustee and Second Lien Trustee incurred in
 connection with the Chapter 11 Cases; (d) all fees and charges assessed against the Estates
 pursuant to section 1930 of chapter 123 of title 28 of the United States Code; (e) the Transaction
 Expenses of the Investors (as set forth in the Securities Purchase Agreements); (f) the Break-Up
 Fee, to the extent triggered and due pursuant to the Securities Purchase Agreements and as
 approved by the Securities Purchase Agreements Order; and (g) all claims approved as
 administrative claims pursuant to an order of the Bankruptcy Court.

         13.    Administrative Claims Bar Date: The deadline for filing requests for payment of
 Administrative Claims, which shall be 30 days after the Effective Date, unless otherwise ordered
 by the Bankruptcy Court, except with respect to (i) Professional Claims, which shall be subject
 to the provisions of Article II.B herein; or (ii) Transaction Expenses and the Break-Up Fee,
 which shall be allowed as provided by the Securities Purchase Agreements and approved by the
 Securities Purchase Agreements Order.

         14.    Affiliate: As defined in section 101(2) of the Bankruptcy Code and as it pertains
 to the Debtors or Reorganized Debtors, as applicable.

        15.    Allowed: Except as otherwise provided herein and subject to Article VI.A: (a) a
 Claim or Interest that is (i) listed in the Schedules as of the Effective Date as not disputed, not
 contingent, and not unliquidated, or (ii) evidenced by a valid Proof of Claim, filed by the
 applicable Bar Date and not subject to the Debtors or Reorganized Debtors right to file an



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 objection to such Proof of Claim, or (b) a Claim that is Allowed pursuant to the Plan or any
 stipulation approved by, or Final Order of, the Bankruptcy Court.

        16.     Avoidance Actions: Any and all avoidance, recovery or subordination actions or
 remedies that may be brought on behalf of the Debtors or their Estates under the Bankruptcy
 Code or applicable non-bankruptcy law, including actions or remedies under sections 544, 547,
 548, 550, 551, 552, or 553 of the Bankruptcy Code.

       17.   Bankruptcy Code: Title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
 may be amended from time to time.

        18.     Bankruptcy Court: The United States Bankruptcy Court for the Southern District
 of New York having jurisdiction over the Chapter 11 Cases and, to the extent of the withdrawal
 of any reference under section 157 of title 28 of the United States Code and/or order of a district
 court pursuant to section 157(a) of title 28 of the United States Code, the United States District
 Court for the Southern District of New York.

        19.    Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure as applicable to
 the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy Court.

         20.     Bar Date: (a) June 17, 2011; or (b) such other period of limitation as may be
 specifically fixed by an order of the Bankruptcy Court for filing Claims.

        21.    Break-Up Fee: As defined in the Securities Purchase Agreements and as
 approved by the Securities Purchase Agreements Order.

        22.    Business Day: Any day, other than a Saturday, Sunday, or a legal holiday, as
 defined in Bankruptcy Rule 9006(a).

        23.     Cash: Legal tender of the United States of America or the equivalent thereof.

         24.    Causes of Action: Any and all Claims, actions, causes of action, choses in action,
 suits, debts, damages, dues, sums of money, accounts, reckonings, bonds, bills, specialties,
 covenants, contracts, controversies, agreements, promises, variances, trespasses, damages,
 judgments, remedies, rights of set-off, third-party claims, subrogation claims, contribution
 claims, reimbursement claims, indemnity claims, counterclaims, and crossclaims (including
 those of the Debtors, the debtors in possession, and/or the Estates), whether known or unknown,
 liquidated or unliquidated, fixed or contingent, matured or unmatured, disputed or undisputed,
 that are or may be pending on the Effective Date or instituted after the Effective Date against any
 Entity, based in law or equity, including under the Bankruptcy Code, whether direct, indirect,
 derivative, or otherwise and whether asserted or unasserted as of the date of entry of the
 Confirmation Order.

        25.     Certificate: Any instrument evidencing a Claim or an Interest.

        26.    Chapter 11 Cases: The jointly administered chapter 11 cases commenced by the
 Debtors, with case numbers 10-24548 through 10-24601, and styled In re The Great Atlantic &



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 Pacific Tea Company, Inc., et al., Case No. 10-24549 (RDD), which are currently pending
 before the Bankruptcy Court.

        27.    Claim: As defined in section 101(5) of the Bankruptcy Code.

         28.     Claims Agent: Kurtzman Carson Consultants LLC, located at 2335 Alaska
 Avenue, El Segundo, California 90245, (877) 660-6625, retained as the Debtors’ claims agent by
 order dated December 28, 2010, entitled Order Authorizing the Employment and Retention of
 Kurtzman Carson Consultants LLC as Notice and Claims Agent for Debtors [Docket No. 207];
 the Debtors anticipate requesting authority to retain Kurtzman Carson Consultants LLC as their
 solicitation agent at or prior to the Disclosure Statement Hearing.

        29.    Claims Register: The official register of Claims maintained by the Claims Agent.

        30.    Class: A category of holders of Claims or Interests pursuant to section 1122(a) of
 the Bankruptcy Code.

        31.    Commencement Date: December 12, 2010.

        32.    Confirmation: The entry of the Confirmation Order on the docket of the Chapter
 11 Cases.

        33.    Confirmation Date: The date upon which the Bankruptcy Court enters the
 Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy
 Rules 5003 and 9021.

         34.   Confirmation Hearing: The hearing before the Bankruptcy Court pursuant to
 section 1128 of the Bankruptcy Code on the motion for entry of the Confirmation Order.

        35.    Confirmation Order: The order of the Bankruptcy Court confirming the Plan
 pursuant to section 1129 of the Bankruptcy Code, which order shall include the provisions
 described on Exhibit D to the Securities Purchase Agreements and otherwise be in form and
 substance acceptable to the Investors.

        36.     Consenting Noteholders: So long as the Plan Support Agreement has not been
 terminated, those certain holders of the Second Lien Note Claims that have executed the Plan
 Support Agreement or have agreed to be bound thereby by executing a Joinder Agreement (as
 defined therein).

        37.    Consummation: The occurrence of the Effective Date.

        38.    Convertible Notes: The 5.125% Convertible Notes and 6.75% Convertible Notes.

       39.     Convertible Notes Claims: The 5.125% Convertible Note Claims and the 6.75%
 Convertible Note Claims.

        40.     Creditors’ Committee: The official committee of unsecured creditors appointed
 pursuant to section 1102 of the Bankruptcy Code by the United States Trustee for the Southern


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 District of New York on December 21, 2010, as amended on June 3, 2011 and as it may be
 reconstituted from time to time.

        41.     Cure: A Claim against the Debtors for the payment of Cash, or the distribution of
 other property (all as the Debtors and the counterparty to the Executory Contract or Unexpired
 Lease may agree or the Bankruptcy Court may order), as necessary to (a) cure a default by the
 Debtors pursuant to section 365 of the Bankruptcy Code and in accordance with the terms of an
 Executory Contract or Unexpired Lease of the Debtors and (b) permit the Debtors to assume
 such Executory Contract or Unexpired Lease under sections 365 and 1123 of the Bankruptcy
 Code.

        42.    Cure Objection Deadline: The deadline for filing objections to a proposed Cure,
 which shall be the earlier of: (a) 30 days after the Effective Date or (b) 30 days after the
 assumption of the applicable Executory Contract or Unexpired Lease upon approval of the
 Confirmation Order, unless otherwise ordered by the Bankruptcy Court or agreed to by the
 Debtors and the counterparty to the applicable Executory Contract or Unexpired Lease.

        43.    Debtor Release: As defined in Article VIII.D.

        44.    Debtors: Each of the following Entities, collectively: The Great Atlantic &
 Pacific Tea Company, Inc.; 2008 Broadway, Inc.; AAL Realty Corporation; Adbrett
 Corporation; Amsterdam Trucking Corporation; APW Supermarket Corporation; APW
 Supermarkets, Inc.; Bergen Street Pathmark, Inc.; Best Cellars DC Inc.; Best Cellars Inc.; Best
 Cellars Licensing Corp; Best Cellars Massachusetts, Inc.; Best Cellars VA Inc.; Bev, Ltd.;
 Borman’s Inc.; Bridge Stuart, Inc.; Clay-Park Realty Co., Inc.; Compass Foods, Inc.; East
 Brunswick Stuart, LLC; Farmer Jack’s of Ohio, Inc.; Food Basics, Inc.; Gramatan Foodtown
 Corp.; Grape Finds At DuPont, Inc.; Grape Finds Licensing Corp.; Grapefinds, Inc.; Greenlawn
 Land Development Corp.; Hopelawn Property I, Inc.; Kohl’s Food Stores, Inc.; Kwik Save Inc.;
 Lancaster Pike Stuart, LLC; LBRO Realty, Inc.; Lo-Lo Discount Stores, Inc.; Mac Dade
 Boulevard Stuart, LLC; McLean Avenue Plaza Corp.; Milik Service Company, LLC; Montvale
 Holdings, Inc.; North Jersey Properties, Inc. VI; Onpoint, Inc.; Pathmark Stores, Inc.;
 Plainbridge, LLC; SEG Stores, Inc.; Shopwell, Inc.; Shopwell, Inc.; Spring Lane Produce Corp.;
 Super Fresh/Sav-A-Center, Inc.; Super Fresh Food Markets, Inc.; Super Market Service Corp.;
 Super Plus Food Warehouse, Inc.; Supermarkets Oil Company, Inc.; The Food Emporium, Inc.;
 The Old Wine Emporium of Westport, Inc.; The South Dakota Great Atlantic & Pacific Tea
 Company, Inc.; Tradewell Foods of Conn., Inc.; Upper Darby Stuart, LLC; and Waldbaum, Inc.

       45.    DIP Facility: The debtor in possession financing facility approved by the Final
 DIP Order and established pursuant to the DIP Facility Credit Agreement.

        46.      DIP Facility Administrative Agent: JPMorgan Chase Bank, N.A., or its
 successor, in its capacity as administrative agent and collateral agent under the DIP Facility.

        47.    DIP Facility Claims: Any Claim derived from, or based upon, the DIP Facility.

        48.    DIP Facility Credit Agreement: That certain Third Amended and Restated
 Superpriority Debtor-in-Possession Credit Agreement, dated January 13, 2011, as amended,



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 supplemented, or modified from time to time, between A&P and each subsidiary of A&P party
 thereto, as borrowers, the lenders party thereto, and the DIP Facility Administrative Agent.

        49.     DIP Facility Lenders: The lenders under the DIP Facility.

        50.      Disclosure Statement: The disclosure statement for the Plan, as amended,
 supplemented or modified from time to time (in consultation with the Creditors’ Committee and
 the DIP Facility Administrative Agent), in form and substance reasonably acceptable to the
 Investors, including all exhibits and schedules thereto, and as approved by the Bankruptcy Court
 pursuant to section 1125 of the Bankruptcy Code.

        51.    Disclosure Statement Hearing: The hearing before the Bankruptcy Court on the
 motion for approval of the Disclosure Statement and related solicitation procedures and exhibits.

        52.     Disputed Claim: Any Claim or Interest that is not yet Allowed.

        53.     Disputed Claims Reserve: An appropriate cash reserve, to be determined by the
 Debtors (in consultation with the Creditors’ Committee and the DIP Facility Administrative
 Agent and with the reasonable consent of the Investors) or Reorganized Debtors, unless
 otherwise ordered by the Bankruptcy Court, of the Unsecured Creditor Cash Pool and Trade
 Claims Cash Pool, for distributions on account of Disputed Claims that are subsequently
 Allowed after the Effective Date.

        54.    Distribution Agent: The Reorganized Debtors or the Entity or Entities selected by
 the Reorganized Debtors, as applicable, to make or to facilitate distributions pursuant to the Plan.

        55.    Distribution Date:      Any of the Initial Distribution Date or the Periodic
 Distribution Dates.

        56.     Distribution Record Date: The date for determining which holders of Allowed
 Claims are eligible to receive distributions hereunder, which shall be (a) ten Business Days after
 entry of the Confirmation Order or (b) such other date as designated in a Bankruptcy Court
 order.

        57.     Effective Date: The date that is the first Business Day after the Confirmation
 Date on which: (a) no stay of the Confirmation Order is in effect; and (b) all conditions
 precedent to the Effective Date set forth in the Plan or in the Securities Purchase Agreements
 have been satisfied or waived.

        58.     Entity: As defined in section 101(15) of the Bankruptcy Code.

        59.     Equity Security: As defined in section 101(16) of the Bankruptcy Code.

         60.   Estate: The bankruptcy estate of any Debtor created pursuant to sections 301 and
 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Cases.

        61.     Exculpated Claim: As defined in Article VIII.G.



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         62.     Exculpated Party: Each of the following in its capacity as such: (a) the Debtors
 and their Affiliates; (b) the Reorganized Debtors and their Affiliates; (c) the DIP Facility Lenders
 and the DIP Facility Administrative Agent; (d) the Investors; (e) the Second Lien Trustee; (f) the
 Notes Trustee; (g) the Prepetition Credit Facility Lenders and Prepetition Credit Facility
 Administrative Agent; (h) UFCW; (i) UFCW Local Unions; (j) Liberty Harbor; (k) Mount
 Kellett; (l) Yucaipa; (m) the Consenting Noteholders; (n) to the extent the Second Lien Trustee
 does not take any action, including initiating any legal proceedings, materially inconsistent with
 the substance of the Plan Support Agreement or that materially interferes with the consummation
 of the matters contemplated by the Plan Support Agreement, the Second Lien Trustee; (o) with
 respect to each of the foregoing Entities in clauses (a) through (n), such Entities’ successors and
 assigns; (p) the Creditors’ Committee and the members thereof, and (q) with respect to each of
 the foregoing Entities in clauses (a) through (p), such Entities’ parents, subsidiaries, affiliates,
 officers, directors, principals, partners, members, managers, employees, agents, professionals,
 financial and other advisors, attorneys, accountants, investment bankers, consultants,
 representatives, and other professionals (whether current or former).

         63.    Executory Contract: A contract or lease to which one or more of the Debtors is a
 party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy
 Code.

        64.      Exit Facility: A financing facility to be entered into by the Reorganized Debtors
 on the Effective Date on terms and conditions reasonably acceptable to the Debtors (in
 consultation with the Creditors’ Committee and the DIP Facility Administrative Agent) and the
 Investors, which shall be secured by a first priority lien on substantially all of the Reorganized
 Debtors’ assets (other than any leasehold interests that may prohibit encumbrance) as provided in
 the Securities Purchase Agreements.

        65.     Final Decree: The decree contemplated under Bankruptcy Rule 3022.

        66.     Final DIP Order: The Final Order (I) Authorizing Debtors (A) to Obtain
 Postpetition Financing Pursuant to 11 U.S.C. §§ 105, 361, 362, 364(c)(1), 364(c)(2), 364(c)(3),
 364(d)(1) and 364(e) and (B) to Utilize Cash Collateral Pursuant to 11 U.S.C. § 363 and (II)
 Granting Adequate Protection to Pre-Petition Secured Parties Pursuant to 11 U.S.C. §§ 361,
 362, 363 and 364, entered by the Bankruptcy Court on January 11, 2011 [Docket No. 479].

         67.     Final Order: An order or judgment of the Bankruptcy Court (or any other court of
 competent jurisdiction) entered by the Clerk of the Bankruptcy Court (or such other court) on the
 docket in the Chapter 11 Cases (or the docket of such other court), which has not been modified,
 amended, reversed, vacated or stayed and as to which (a) the time to appeal, petition for
 certiorari, or move for a new trial, stay, reargument or rehearing has expired and as to which no
 appeal, petition for certiorari or motion for new trial, stay, reargument or rehearing shall then be
 pending or (b) if an appeal, writ of certiorari, new trial, stay, reargument or rehearing thereof has
 been sought, such order or judgment of the Bankruptcy Court (or other court of competent
 jurisdiction) shall have been affirmed by the highest court to which such order was appealed, or
 certiorari shall have been denied, or a new trial, stay, reargument or rehearing shall have been
 denied or resulted in no modification of such order, and the time to take any further appeal,
 petition for certiorari or move for a new trial, stay, reargument or rehearing shall have expired, as


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 a result of which such order shall have become final in accordance with Rule 8002 of the Federal
 Rules of Bankruptcy Procedure; provided, that the possibility that a motion under Rule 60 of the
 Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be
 filed relating to such order, shall not cause an order not to be a Final Order.

        68.    General Unsecured Claim: Any Claim, other than Administrative Claims,
 Professional Claims, DIP Facility Claims, Priority Tax Claims, Prepetition Credit Facility
 Claims, Second Lien Note Claims, Secured Tax Claims, Other Secured Claims, Other Priority
 Claims, Convertible Notes Claims, 9.125% Senior Note Claims, Quarterly Interest Bond Claims,
 Trade Claims, Guaranteed Landlord Claims, Union Claims, Intercompany Claims and
 Subordinated Claims.

        69.    Governmental Unit: As defined in section 101(27) of the Bankruptcy Code.

         70.      Guaranteed Landlord Claims: Any and all Claims arising from or related to the
 rejection of nonresidential real property leases pursuant to section 365 of the Bankruptcy Code
 against any of the following operating-entity Debtors as a primary obligor: (a) APW
 Supermarkets, Inc.; (b) Best Cellars, Inc.; (c) Bev Ltd.; (d) Food Basics, Inc.; (e) Pathmark
 Stores, Inc.; (f) Shopwell, Inc.; (g) Super Fresh Food Markets, Inc.; (h) The Old Wine Emporium
 of Westport, Inc.; (i) Tradewell Foods Of Conn., Inc.; and (j) Waldbaum, Inc., and A&P as a
 guarantor (or secondary obligor) provided, further, that, pursuant to the Substantive
 Consolidation Settlement described in Article III.A herein, such primary obligor and guarantor
 (or secondary obligor) Claims related to the same lease rejection shall be combined into a single
 Guaranteed Landlord Claim for the purposes of voting and distributions under the Plan.

          71.   Impaired: With respect to any Class of Claims or Interests, a Claim or Interest
 that is not Unimpaired.

         72.     Indemnification Obligation: A Debtor’s obligation under an Executory Contract,
 a corporate or other document, a postpetition agreement, through the Plan, or otherwise,
 including as set forth in the Securities Purchase Agreements, to indemnify any Person, including
 directors, officers, attorneys, other professionals and agents, or employees of the Debtors who
 served in such capacity at any time, with respect to or based upon any act or omission taken or
 omitted in any of such capacities, or for or on behalf of any Debtor, pursuant to and to the
 maximum extent provided by the Debtors’ respective articles of incorporation, certificates of
 formation, bylaws, similar corporate documents, and applicable law, as in effect as of the
 Effective Date.

         73.   Indenture Claims: Any and all Claims arising pursuant to the Convertible Notes
 Claims, 9.125% Senior Note Claims and Quarterly Interest Bond Claims, in accordance with the
 respective Notes Indentures.

         74.     Initial Distribution Date: The date occurring, as soon as reasonably practicable,
 after the Effective Date when distributions under the Plan shall commence.

         75.     Intercompany Claim: A Claim by a Debtor against another Debtor or a Claim by
 an Affiliate of the Debtors against a Debtor.



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       76.     Intercompany Contract: A contract between two or more Debtors or a contract
 between one or more Affiliates and one or more Debtors.

         77.     Intercompany Interest: An Interest held by a Debtor in another Debtor or an
 Affiliate other than A&P.

         78.    Interest: Any Equity Security of a Debtor existing immediately prior to the
 Effective Date.

        79.    Interim Compensation Order: The Order Establishing Procedures for Interim
 Compensation and Reimbursement of Expenses of Professionals, entered by the Bankruptcy
 Court on January 12, 2011 [Docket No. 505].

         80.    Investment Warrants: Those certain warrants to be acquired by Yucaipa American
 Alliance Fund II, LP, Yucaipa American Alliance (Parallel) Fund II, LP and their permitted
 transferees in connection with its purchase of NewCo Equity and New Convertible Third Lien
 Notes, pursuant to the terms of the Securities Purchase Agreements.

        81.     Investors: Each of (a) Liberty Harbor, (ii) Yucaipa American Alliance Fund II,
 LP and Yucaipa American Alliance (Parallel) Fund II, LP, and (iii) Mount Kellett, and in each
 case any affiliates of each of the foregoing that are signatories to the Securities Purchase
 Agreements, and their respective permitted transferees.

        82.    IRS: Internal Revenue Service.

      83.    Liberty Harbor: The Liberty Harbor business unit of Goldman Sachs Asset
 Management, L.P. and its affiliated funds.

        84.    Lien: As defined in section 101(37) of the Bankruptcy Code.

        85.    Management Equity Incentive Program: A post-Effective Date compensation
 program in accordance with the terms and conditions set forth in the “Management Equity
 Incentive Program,” to be attached as an Exhibit to the Plan Supplement.

        86.     Management Services Agreement: A management services agreement to be
 entered into by Reorganized A&P or one of its Affiliates (as agreed among Yucaipa, Liberty
 Harbor, Mount Kellett and the Debtors or Reorganized Debtors, as applicable) and The Yucaipa
 Companies, LLC on the Effective Date in the form to be attached as an Exhibit to the Plan
 Supplement which shall be on terms and conditions acceptable to Yucaipa, Liberty Harbor and
 Mount Kellett.

       87.     Modified Collective Bargaining Agreements: Those collective bargaining
 agreements as modified pursuant to the Union Settlement Agreements.

        88.    Mount Kellett: Mount Kellett Capital Management LP and its affiliated funds.




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        89.     Multiemployer Pension Plan: Any multiemployer plan as defined in section 3(37)
 of the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C.
 §1002(3)(37), in which the Debtors are or were a contributing employer.

        90.     New Board: The initial board of directors of Reorganized A&P, which shall as of
 the Effective Date consist of members selected in accordance with the Securities Purchase
 Agreements and, to the extent known, shall be identified in the Plan Supplement in accordance
 with section 1129(a)(5) of the Bankruptcy Code.

         91.     New Convertible Third Lien Notes: Notes issued by Reorganized A&P and
 guaranteed by every other Reorganized Debtor, of which an aggregate principal amount of
 $210.0 million shall be purchased by the Investors on the Effective Date on the terms and
 conditions set forth in the Securities Purchase Agreements, which notes shall include the terms
 set forth in Exhibit C to the Securities Purchase Agreements (and such other terms that are
 satisfactory to the Investors).

        92.     NewCo Equity: The authorized shares of common stock of Reorganized A&P,
 par value $0.01 per share.

         93.     New Equity Investment: The NewCo Equity issued by Reorganized A&P to the
 Investors on the Effective Date for an aggregate purchase price of $80.0 million, which shall be
 purchased by the Investors pursuant to the terms of the Securities Purchase Agreements and shall
 include the terms set forth in the Securities Purchase Agreements (and such other terms that are
 satisfactory to the Investors).

         94.     New Money Commitment: The obligation of the Investors severally and not
 jointly, to purchase, or cause one or more of their affiliates to purchase, on the Effective Date,
 certain of the New Second Lien Notes, certain of the New Convertible Third Lien Notes, and the
 New Equity Investment on the terms and conditions set forth in the Securities Purchase
 Agreements and Securities Purchase Agreements Order.

         95.    New Second Lien Notes: Notes issued by Reorganized A&P and guaranteed by
 every other Reorganized Debtor of which an aggregate principal amount of up to $210.0 million
 (inclusive of a 5% original issue discount) shall be purchased by the Investors on the Effective
 Date on the terms and conditions set forth in the Securities Purchase Agreements, which notes
 shall include the terms set forth in Exhibit B to the Securities Purchase Agreements (and such
 other terms that are satisfactory to the Investors).

        96.     Notes Indentures: Collectively, the 1991 Indenture and the 2007 Indenture.

         97.     Notes Trustee: Wilmington Trust, or its successor, in its capacity as successor
 trustee under the Notes Indentures.

        98.    Other Collective Bargaining Agreements: The following collective bargaining
 agreements: (a) Collective Bargaining Agreement, dated October 16, 2005, between Food
 Basics, Inc. and Union Local 464 UFCW, as amended by the Memorandum of Agreement
 between the parties dated October 15, 2010; (b) Collective Bargaining Agreement, dated April
 30, 2006, between Food Basics, Inc. and Union Local 338 RWDSU/UFCW; and (c) Collective


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 Bargaining Agreement, dated September 24, 2006, between Food Basics, Inc. and Union Local
 1776 UFCW;.

        99.    Other Priority Claim: Any Claim other than an Administrative Claim or a Priority
 Tax Claim entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

        100. Other Secured Claim: Any Secured Claim, including PACA Claims, other than
 (a) DIP Facility Claim, (b) Prepetition Credit Facility Claim, (c) Second Lien Note Claim, or
 (d) Secured Tax Claim.

        101. PACA Claims: Any and all Claims against the Debtors entitled to priority or
 secured status pursuant to the Perishable Agricultural Commodities Act, provided that, to have
 an Allowed PACA Claim, holders of such Claims shall have properly preserved their rights
 pursuant to the Perishable Agricultural Commodities Act.

        102. PBGC: The Pension Benefit Guaranty Corporation, a wholly-owned United
 States government corporation, created by ERISA, to administer the mandatory pension plan
 termination insurance program established under Title IV of ERISA.

         103. Pension Withdrawal Claims: Any and all Claims against the Debtors arising from
 the Debtors’ complete or partial withdrawal from any Multiemployer Pension Plans related to
 actions or events occurring prior to the Effective Date, including: (a) Amalgamated Meat
 Cutters and Retail Food Store Employees Union Local 342 Pension Fund; (b) Central States,
 Southeast and Southwest Areas Pension Fund; (c) Retail, Wholesale and Department Store
 International Union and Industry Benefit and Pension Funds; (d) UFCW Local 1262 and
 Employees Pension Fund; (e) UFCW and Participating Food Industry Employers Tri-State
 Pension Fund; and (f) Food Employers Labor Relations Association and United Food and
 Commercial Workers Pension Fund.

         104. Periodic Distribution Date: Unless otherwise ordered by the Bankruptcy Court,
 the first business day that is 90 days after the Initial Distribution Date, and for the first year
 thereafter, the first business day that is 90 days after the immediately preceding Periodic
 Distribution Date.

        105.    Person: As defined in section 101(41) of the Bankruptcy Code.

         106. Plan: This chapter 11 plan of reorganization, as it may be altered, amended,
 modified, or supplemented from time to time (in consultation with the Creditors’ Committee and
 the DIP Facility Administrative Agent), in accordance with the terms set forth herein and in the
 Securities Purchase Agreements, including the Plan Supplement and all exhibits, supplements,
 appendices, and schedules, and which shall be in form and substance reasonably acceptable to
 the Investors.

         107. Plan Supplement: The supplement or supplements to the Plan containing certain
 documents relevant to the implementation of the Plan, to be filed with the Bankruptcy Court no
 later than five days prior to the objection deadline to the Confirmation Hearing or as otherwise
 provided herein, or as such filing deadlines may be extended by the Debtors, provided, that, the
 Debtors shall file a notice with the Bankruptcy Court of any such extension(s), and such


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 supplement(s) shall be in form and substance reasonably acceptable to the Investors (as to the
 form and substance each of which the Debtors shall have consulted with the Creditors’
 Committee and the DIP Facility Administrative Agent), and which shall include, but not be
 limited to: (i) a listing of the members of the New Board, to the extent known; (ii) the term sheet
 and/or the indenture and form of New Second Lien Notes (and related ancillary documents),
 provided, that, the form of indenture and form of the New Second Lien Notes (but not the related
 ancillary documents) shall be filed prior to the objection deadline for the Confirmation Hearing
 and such forms may be amended (1) prior to the Effective Date (x) with the mutual consent of
 the Debtors and the Investors or (y) as Investors deem reasonably necessary in connection with
 or to facilitate the Exit Financing and (2) after the Effective Date in accordance with the terms of
 such documents; (iii) the term sheet and/or the indenture and form of New Convertible Third
 Lien Notes (and related ancillary documents), provided, that, the form of indenture and form of
 the New Convertible Third Lien Notes (but not the related ancillary documents) shall be filed
 prior to the objection deadline for the Confirmation Hearing and such forms may be amended (1)
 prior to the Effective Date (x) with the mutual consent of the Debtors and the Investors or (y) as
 Investors deem reasonably necessary in connection with or to facilitate the Exit Financing and
 (2) after the Effective Date in accordance with the terms of such documents; (iv) if Replacement
 Second Lien Notes are to be issued pursuant to the Plan, the term sheet and/or the indenture and
 form of Replacement Second Lien Notes (and related ancillary documents), as applicable,
 provided, that, the form of indenture and form of the Replacement Second Lien Notes (but not
 the related ancillary documents) shall be filed no later than ten days before the objection deadline
 for the Confirmation Hearing and such forms may be amended (1) prior to the Effective Date (x)
 with the mutual consent of the Debtors and the Investors or (y) as Investors deem reasonably
 necessary in connection with or to facilitate the Exit Financing and (2) after the Effective Date in
 accordance with the terms of such documents; (v) a form warrant agreement for the Investment
 Warrants, provided, that, the form of the Investment Warrants (but not the related ancillary
 documents) shall be filed prior to the objection deadline for the Confirmation Hearing and such
 forms may be amended (1) prior to the Effective Date (x) with the mutual consent of the Debtors
 and the Investors or (y) as Investors deem reasonably necessary in connection with or to
 facilitate the Exit Financing and (2) after the Effective Date in accordance with the terms of such
 documents; (vi) the Reorganized A&P Charter; (vii) the Reorganized A&P Bylaws; (viii) a term
 sheet for the Exit Facility; (ix) a term sheet for the Management Equity Incentive Program;
 (x) drafts or term sheets of any new employment agreements; (xi) a list of Executory Contracts
 and Unexpired Leases to be assumed or rejected (with related notices), and as may be amended
 by the Debtors prior to the Effective Date; (xii) a list of retained Causes of Action; (xiii) the
 Management Services Agreement.

        108. Plan Support Agreement: That certain Plan Support Agreement dated as of
 December 12, 2011 and filed as Exhibit B to the Debtors’ Motion for Entry of an Order
 Authorizing the Debtors to Enter into a Plan Support Agreement with Certain Holders of the
 Debtors’ Second Lien Notes [Docket No. 3028].

        109. Plan Support Agreement Order: The Order Authorizing the Debtors to Enter into
 a Plan Support Agreement with Certain Holders of the Debtors’ Second Lien Notes [Docket No.
 ___] entered by the Bankruptcy Court on [_____].




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         110. Prepetition Credit Agreement: That certain Amended and Restated Credit
 Agreement dated as of December 27, 2007 as amended, supplemented, or amended and restated
 from time to time by and between the Debtors, the Prepetition Credit Facility Agent, and the
 Prepetition Credit Facility Lenders.

        111. Prepetition Credit Facility Agent: Bank of America, N.A., in its capacity as
 administrative agent under the Prepetition Credit Agreement.

         112. Prepetition Credit Facility Claims:       Any and all claims arising under the
 Prepetition Credit Agreement.

         113. Prepetition Credit Facility Lenders: Those lenders and issuing banks party to the
 Prepetition Credit Agreement from time to time, each in their capacities as such.

        114.   Priority Claim: Collectively, Priority Tax Claims and Other Priority Claims.

         115. Priority Tax Claim: Any Claim of a Governmental Unit of the kind specified in
 section 507(a)(8) of the Bankruptcy Code.

         116. Professional: An Entity: (a) employed in the Chapter 11 Cases pursuant to a Final
 Order in accordance with sections 327 and 1103 of the Bankruptcy Code and to be compensated
 for services rendered prior to or on the Effective Date, pursuant to sections 327, 328, 329, 330,
 and 331 of the Bankruptcy Code; or (b) for which compensation and reimbursement has been
 Allowed by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

        117. Professional Claims: A Claim by a Professional seeking an award by the
 Bankruptcy Court of compensation for services rendered or reimbursement of expenses incurred
 through and including the Effective Date under sections 328, 330, 331, 503(b)(2), 503(b)(3),
 503(b)(4) or 503(b)(5) of the Bankruptcy Code.

         118. Professional Compensation: All accrued fees and expenses (including success
 fees) for services rendered by all Professionals through and including the Effective Date to the
 extent any such fees and expenses have not been paid and regardless of whether a fee application
 has been filed for such fees and expenses. To the extent there is a Final Order denying some or
 all of a Professional’s fees or expenses, such denied amounts shall no longer be considered
 Professional Compensation.

         119. Professional Fee Escrow Account: An interest-bearing account to be funded upon
 the Effective Date in an amount equal to professional fees that are estimated to be accrued but
 unpaid by the Debtors or Reorganized Debtors as of the Effective Date; the terms and conditions
 (not including the Professional Fee Reserve Amount) of the Professional Fee Escrow Account
 shall be otherwise acceptable to the Debtors (in consultation with the Creditors’ Committee and
 the DIP Facility Administrative Agent), Reorganized Debtors and the Investors.

        120. Professional Fee Reserve Amount: Professional Compensation through the
 Confirmation Date as estimated, subject to the Debtors’ reasonable discretion, in accordance
 with Article II.B.3 herein.



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        121.    Proof of Claim: A proof of Claim filed against any of the Debtors in the Chapter
 11 Cases.

         122. Pro Rata: The proportion that an Allowed Claim in a particular Class bears to the
 aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in that
 particular Class bear to the aggregate amount of Allowed Claims in that Class and other Classes
 entitled to share in the same recovery as such Allowed Claim under the Plan, provided, that, with
 regard to Unsecured Claims and their recoveries from the Unsecured Creditor Cash Pool, Pro
 Rata shall take into account any incremental recoveries for parties that receive the benefit of the
 Substantive Consolidation Settlement.

         123. Quarterly Interest Bond Claims: Any and all Claims arising under the Quarterly
 Interest Bonds or the 1991 Indenture with respect to the Quarterly Interest Bonds.

        124. Quarterly Interest Bonds: The 9.375% quarterly interest bonds, with an aggregate
 face amount of $200,000,000, due in 2039 and issued pursuant to the 1991 Indenture.

        125. Reinstate or Reinstated: Has the meaning pursuant to all applicable sections of
 the Bankruptcy Code.

         126. Released Party: Each of the following in its capacity as such, and only in its
 capacity as such: (a) the Debtors’ and the Reorganized Debtors’ current and former affiliates,
 subsidiaries, officers, directors, principals, partners, members, managers, employees, agents,
 financial and other advisors, attorneys, accountants, investment bankers, consultants,
 representatives, and other Professionals; (b) the DIP Facility Lenders and the DIP Facility
 Administrative Agent; (c) the Investors; (d) the Creditors’ Committee and the members thereof;
 (e) Tengelmann; (f) Yucaipa; (g) Liberty Harbor; (h) Mount Kellett; (i) UFCW; (j) UFCW Local
 Unions; (k) the Consenting Noteholders; (l) to the extent the Second Lien Trustee does not take
 any action, including initiating any legal proceedings, materially inconsistent with the substance
 of the Plan Support Agreement or that materially interferes with the consummation of the matters
 contemplated by the Plan Support Agreement, the Second Lien Trustee; and (m) with respect to
 each of the foregoing Entities in clauses (b) through (l), their respective current and former
 parents, affiliates, subsidiaries, officers, directors, principals, employees, members, managers,
 agents, partners, professionals, financial and other advisors, attorneys, accountants, investment
 bankers, consultants, representatives, and other professionals, in their capacities as such.

         127. Releasing Party: Each of the following in its capacity as such: (a) the Debtors
 and the Reorganized Debtors (and all parties claiming derivatively or through the Debtors);
 (b) the DIP Facility Lenders and the DIP Facility Administrative Agent; (c) the Investors; (d) the
 Creditors’ Committee and the members thereof; and (e) each holder of a Claim voting to accept
 the Plan.

         128. Reorganized A&P: The Great Atlantic & Pacific Tea Company, Inc., or any
 successor thereto by merger, consolidation, or otherwise, including any holding company created
 as part of the Restructuring Transactions that holds, directly or indirectly, substantially all of the
 assets of the Reorganized Debtors, on or after the Effective Date.




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        129. Reorganized A&P Bylaws: The bylaws of Reorganized A&P, substantially in the
 form contained in the Plan Supplement.

        130. Reorganized A&P Charter: The amended and restated certificate of incorporation
 of Reorganized A&P, substantially in the form contained in the Plan Supplement.

        131. Reorganized Debtors: The Debtors, in each case, or any successor thereto by
 merger, consolidation, or otherwise, on or after the Effective Date.

         132. Replacement Second Lien Notes: Notes that may be issued by the Debtors or
 Reorganized Debtors on terms, to be disclosed no later than ten days before the objection
 deadline for the Confirmation Hearing, to be attached as an Exhibit to the Plan Supplement and
 as otherwise acceptable to the Investors.

        133. Restructuring Transactions: Those certain transactions described in Article IV.T,
 including the sale and issuance of the NewCo Equity, the New Second Lien Notes and the New
 Convertible Third Lien Notes pursuant to the Securities Purchase Agreements.

         134. Schedules: The schedules of assets and liabilities, schedules of Executory
 Contracts and Unexpired Leases, and statements of financial affairs filed by the Debtors pursuant
 to section 521 of the Bankruptcy Code and the Bankruptcy Rules.

        135. Second Lien Cash Pool: Cash in an amount equal to the Second Lien Note
 Claims Allowed pursuant to Article III.C.1.b hereof.

        136. Second Lien Indenture: That certain indenture dated as of August 4, 2009, as
 amended, supplemented, or modified from time to time, by and between by and between the
 Debtors and the Second Lien Trustee.

        137. Second Lien Note Claims: Any and all claims arising under the Second Lien
 Notes or the Second Lien Indenture.

        138. Second Lien Notes: The 11.375% senior second lien notes due 2015 issued
 pursuant to the Second Lien Indenture.

        139.   Second Lien Professional Fee Cap: As defined in Article II.A.

        140. Second Lien Trustee: Wells Fargo Bank, National Association, in its capacity as
 successor trustee and collateral agent under the Second Lien Indenture.

         141. Secured Claim: A Claim: (a) secured by a Lien on collateral to the extent of the
 value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code
 or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

         142. Secured Tax Claim: Any Secured Claim that, absent its secured status, would be
 entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy Code
 (determined irrespective of time limitations), including any related Secured Claim for penalties.



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         143. Securities Act: The Securities Act of 1933, as amended, and the rules and
 regulations of the Securities and Exchange Commission promulgated thereunder.

        144. Securities Purchase Agreements: Those certain amended and restated agreements
 dated as of November 3, 2011, as may be amended by the Debtors (in consultation with the
 Creditors’ Committee and the DIP Facility Administrative Agent) and the Investors in
 accordance with their terms, between the Debtors and the Investors documenting the New
 Money Commitment and attached (a) to the Securities Purchase Agreements Order and (b) as an
 Exhibit to the Plan Supplement.

        145. Securities Purchase Agreements Order: The Order Authorizing The Debtors To
 (A) Enter Into Certain Securities Purchase Agreements For A $490 Million New Capital
 Investment And (B) Pay Certain Fees In Connection Therewith, Each To Support Debtors’ Plan
 Of Reorganization [Docket No. 2962] entered by the Bankruptcy Court on December 6, 2011.

         146. Security: As defined in section 2(a)(1) of the Securities Act, which as provided
 herein, shall include (i) the NewCo Equity, the New Second Lien Notes, the New Convertible
 Third Lien Notes and the Investment Warrants issued on the terms and conditions set forth
 therein and as provided in the Securities Purchase Agreements (and as approved by the Securities
 Purchase Agreements Order) and (ii) the Replacement Second Lien Notes, if issued pursuant to
 the Plan.

        147.    SEIU: The Service Employees International Union.

        148.    SEIU Local Union: SEIU local union 1199.

        149. Servicer: An indenture trustee, agent, servicer, or other authorized representative
 of holders of Claims or Interests recognized by the Debtors.

         150. Settlement Procedures Order: The Order Authorizing and Approving Procedures
 for Settling Certain Claims and Causes of Action Brought by or Against the Debtors entered by
 the Bankruptcy Court on March 10, 2011 [Docket No. 1002].

        151. Solicitation Procedures Order: The Order Approving: (A) The Adequacy Of The
 Debtors’ Disclosure Statement; (B) The Solicitation And Notice Procedures With Respect To
 Confirmation Of The Debtors’ Proposed Chapter 11 Plan; (C) The Form Of Various Ballots And
 Notices In Connection Therewith; And (D) The Scheduling Of Certain Dates With Respect
 Thereto entered by the Bankruptcy Court on [_________]. [Docket No. ________].

        152. Subordinated Claim: (a) any Claim against the Debtors arising from rescission of
 a purchase or sale of a security of the Debtors or an Affiliate of the Debtors, for damages arising
 from the purchase or sale of such a security, or for reimbursement or contribution allowed under
 section 502 of the Bankruptcy Code on account of such a Claim; or (b) any Claim that is
 subordinated, pursuant to Section 510 of the Bankruptcy Code or otherwise, by a Final Order.

        153. Substantive Consolidation Settlement: The compromise and settlement of
 substantive consolidation issues, as described in Article III.A herein.



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        154. Tengelmann:          Tengelmann Warenhandelsgesellschaft KG, a partnership
 organized under the laws of the Federal Republic of Germany, and its affiliates.

        155.    Third Party Release: As defined in Article VIII.E.

         156. Trade Claims: All Claims held by Trade Creditors against the Debtors; provided
 that, Trade Claims shall not include Administrative Claims.

         157. Trade Claims Cash Pool: A Cash pool up to $10 million, separate and apart from
 the Unsecured Creditor Cash Pool, to the extent approved by the Bankruptcy Court, from which
 discretionary Cash distributions may be made to holders of Allowed Trade Claims who enter into
 trade agreements acceptable to the Debtors and the Investors (and in consultation with the
 Creditors’ Committee and the DIP Facility Administrative Agent) prior to the Effective Date (to
 take effect upon and following the Effective Date), all as described in Exhibit A attached hereto.

         158. Trade Creditors: All trade creditors who will have ongoing go-forward business
 relationships with the Reorganized Debtors as of and after the Effective Date.

        159. Transaction Expenses: As defined in the Securities Purchase Agreements and as
 approved by the Securities Purchase Agreements Order.

        160.    UFCW: The United Food and Commercial Workers.

        161. UFCW Local Unions: The following local unions affiliated with the UFCW: 27;
 100R; 152; 338; 342; 371; 464A; 1034; 1245; 1262; 1360; 1500; and 1776.

         162. Unclaimed Distribution: Any distribution under the Plan on account of an
 Allowed Claim to a holder that has not: (a) accepted a particular distribution or, in the case of
 distributions made by check, negotiated such check; (b) given notice to the Reorganized Debtors
 of an intent to accept a particular distribution; (c) responded to the Debtors’ or Reorganized
 Debtors’ requests for information necessary to facilitate a particular distribution; or (d) taken any
 other action necessary to facilitate such distribution.

       163. Unexpired Lease: A lease of nonresidential real property to which one or more of
 the Debtors is a party that is subject to assumption or rejection under section 365 of the
 Bankruptcy Code.

         164. Unimpaired: With respect to a Class of Claims or Interests, a Class of Claims or
 Interests that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         165. Union Claims: Any and all Claims against the Debtors held by parties subject to
 the Union Settlement Agreements and the Modified Collective Bargaining Agreements and
 related term sheets.

       166. Union Settlement Agreements: The Union Protections in Term Sheets attached as
 Exhibit B hereto.




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      167.      United States Trustee: The United States Trustee for the Southern District of
 New York.

        168. Unsecured Claims: Collectively, Convertible Notes Claims, 9.125% Senior Note
 Claims, Quarterly Interest Bond Claims, Trade Claims, Guaranteed Landlord Claims, Pension
 Withdrawal Claims and General Unsecured Claims.

        169. Unsecured Creditor Cash Pool: A total of $40 million of Cash to be distributed to
 holders of Allowed Unsecured Claims and pursuant to the Substantive Consolidation Settlement.

        170. Voting Deadline: That date which shall be the final date by which a holder of a
 Claim may vote to accept or reject the Plan, which date is set forth in the Solicitation Procedures
 Order.

         171. Voting Record Date: That date for determining which holders of Claims and
 Interests are entitled to vote to accept or reject the Plan, which date is set forth in the Solicitation
 Procedures Order.

         172. Wilmington Trust: Wilmington Trust Company, N.A., in its capacity as indenture
 trustee under the 1991 Indenture and the 2007 Indenture, as applicable.

       173. Yucaipa: The Yucaipa Companies, LLC and their affiliated funds, including
 Yucaipa American Alliance Fund II, LP and Yucaipa American Alliance (Parallel) Fund II, LP.

 B.     Rules of Interpretation

          1.     For purposes of the Plan: (a) in the appropriate context, each term, whether stated
 in the singular or the plural, shall include both the singular and the plural, and pronouns stated in
 the masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter
 gender; (b) unless otherwise specified, any reference herein to a contract, lease, instrument,
 release, indenture, or other agreement or document being in a particular form or on particular
 terms and conditions means that such document shall be substantially in such form or
 substantially on such terms and conditions; (c) unless otherwise specified, any reference herein
 to an existing document, schedule, or exhibit, shall mean such document, schedule, or exhibit, as
 it may have been or may be amended, modified, or supplemented; (d) unless otherwise specified,
 all references herein to “Articles” are references to Articles hereof or hereto; (e) the words
 “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to any particular
 portion of the Plan; (f) captions and headings to Articles are inserted for convenience of
 reference only and are not intended to be a part of or to affect the interpretation of the Plan;
 (g) unless otherwise specified herein, the rules of construction set forth in section 102 of the
 Bankruptcy Code shall apply; (h) unless otherwise specified herein, any reference to the term
 “including” herein shall mean “including without limitation” and shall not be construed to limit
 any general statement that it follows to the specific or similar items or matters immediately
 following it; and (i) any term used in capitalized form herein that is not otherwise defined but
 that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to
 such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable.




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         2.     The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period
 of time prescribed or allowed herein.

         3.     Except to the extent the Bankruptcy Code or Bankruptcy Rules apply, and subject
 to the provisions of any contract, lease, instrument, release, indenture, or other agreement or
 document entered into expressly in connection herewith, the rights and obligations arising
 hereunder shall be governed by, and construed and enforced in accordance with, the laws of the
 State of New York, without giving effect to the principles of conflict of laws thereof.

                            ARTICLE II.
  ADMINISTRATIVE CLAIMS, PROFESSIONAL CLAIMS, DIP FACILITY CLAIMS,
   PRIORITY TAX CLAIMS AND UNITED STATES TRUSTEE STATUTORY FEES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
 Professional Claims, DIP Facility Claims, and Priority Tax Claims have not been classified and
 thus are excluded from the Classes of Claims set forth in Article III herein.

 A.     Administrative Claims

         Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the
 Debtors (in consultation with the Creditors’ Committee and the DIP Facility Administrative
 Agent) or Reorganized Debtors, as applicable, each holder of an Allowed Administrative Claim
 (other than of a Professional Claim), including any Allowed Administrative Claim of the Notes
 Trustee or Second Lien Trustee, will receive in full and final satisfaction of its Administrative
 Claim an amount of Cash equal to the amount of such Allowed Administrative Claim either: (1)
 on the Effective Date, or as soon as practicable thereafter, (2) if the Administrative Claim is not
 Allowed as of the Effective Date, no later than 30 days after the date on which an order Allowing
 such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
 thereafter, (3) if the Allowed Administrative Claim is based on liabilities incurred by the Debtors
 in the ordinary course of their business after the Commencement Date, pursuant to the terms and
 conditions of the particular transaction giving rise to such Allowed Administrative Claims,
 without any further action by the holders of such Allowed Administrative Claims, (4) for any
 amounts owed pursuant to the Securities Purchase Agreements, in accordance with the Securities
 Purchase Agreements or as allowed pursuant to the Securities Purchase Agreements Order or
 (5) for any professional fee and expense amounts owed pursuant to the Union Settlement
 Agreements, in accordance with the Union Settlement Agreements, not to exceed $2.75 million
 pursuant to the terms thereof. For the avoidance of doubt, all reasonable fees and expenses that
 are submitted to the Debtors and the Creditors’ Committee of the Notes Trustee (and its counsel,
 agents, and advisors) that are provided for under the Notes Indentures, as applicable, shall be
 paid in full in Cash on the Effective Date, or as soon as practicable thereafter, without a
 reduction to the recoveries of applicable holders of Allowed Claims only if Classes E, F and G
 (defined below) each vote in favor of the Plan.

        Additionally, the reasonable and documented fees and expenses of (a) the Second Lien
 Trustee and Seward & Kissell LLP in its capacity as counsel to the Second Lien Trustee, and (b)
 Brown Rudnick LLP and Miller Buckfire & Co. LLC in their capacities as advisors to the
 Second Lien Trustee and/or the Ad Hoc Consortium (as defined in the Plan Support Agreement,


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 and as applicable) submitted to the Debtors (subject to redaction to preserve attorney-client
 privilege) shall be Administrative Claims Allowed against the Debtors’ estates payable on the
 Effective Date in an aggregate amount not to exceed $1,800,000.00 plus any fees and expenses
 payable by the Debtors pursuant to Paragraph 15(e)(ii) of the Final DIP Order that remain unpaid
 as of the Effective Date (the “Second Lien Professional Fee Cap”); provided that the foregoing
 shall not in any way limit, waive, or modify (x) the rights of the Second Lien Trustee and its
 attorneys, professionals, and advisors to seek payment and/or reimbursement of fees, costs, and
 expenses pursuant to the Second Lien Indenture, including any such fees, costs, and expenses
 exceeding the Second Lien Professional Fee Cap or (y) any party’s ability to contest any such
 additional fees or expenses sought under clause (x) hereof; provided further that the foregoing
 shall not limit nor be deemed to limit fees and expenses payable by the Debtors pursuant to
 Paragraph 15(e)(ii) of the Final DIP Order). For the avoidance of doubt, the fees and expenses
 payable pursuant to this paragraph: (i) shall not be subject to a request for payment of
 Administrative Claims (other than with respect to fees and expenses requested pursuant to clause
 (x) of this paragraph) and (ii) shall not reduce the recoveries of the holders of Allowed Second
 Lien Note Claims (other than through the Second Lien Trustee's exercise of its charging lien
 under Section 7.07 of the Second Lien Indenture in accordance with Article VII.A.3 hereof).

         Except as otherwise provided in this Article II.A, unless previously filed, requests for
 payment of Administrative Claims (other than requests for the payment of Transaction Expenses,
 which shall be governed pursuant to the terms of the Securities Purchase Agreements and the
 Securities Purchase Agreements Order) must be filed and served on the Reorganized Debtors no
 later than the Administrative Claims Bar Date pursuant to the procedures specified in the
 Confirmation Order and the notice of entry of the Confirmation Order. Holders of
 Administrative Claims that are required to file and serve a request for payment of such
 Administrative Claims that do not file and serve such a request by the Administrative Claims Bar
 Date shall be forever barred, stopped and enjoined from asserting such Administrative Claims
 against the Debtors, the Reorganized Debtors or their property and Estates and such
 Administrative Claims shall be deemed discharged as of the Effective Date. For the avoidance
 of doubt, the payment of the Break-Up Fee and any Transaction Expenses shall be governed by
 the Securities Purchase Agreements and the Securities Purchase Agreements Order.

         The UFCW Local Unions, on behalf of the employees represented by the UFCW Local
 Unions, shall accrue and shall be entitled to an Allowed Administrative Claim in the amount of
 the actual cash savings provided to the Debtors under the Modified Collective Bargaining
 Agreements from the effective date of the Union Settlement Agreements through Confirmation,
 as provided in the Union Settlement Agreements. Any such Administrative Claim will be
 capped at a maximum of $18 million based on cash savings provided in the fourth calendar
 quarter of 2011 and $7 million based on cash savings provided in the first calendar quarter of
 2012, it being understood that if the cash savings during the fourth calendar quarter of 2011 are
 less than $18 million, any excess will be added to the $7 million cap for the first calendar quarter
 of 2012. If the actual cash savings provided to the Company under the Modified Collective
 Bargaining Agreements between the effective date of the Union Settlement Agreements and
 Confirmation exceeds the amounts of the caps described above, any excess savings shall be
 treated as an Allowed Administrative Claim that is subordinated in priority and (to the extent
 relevant) payment timing to any other Allowed Administrative Claims in the Chapter 11 Cases.
 In any event, any such Allowed Administrative Claim shall be waived, extinguished, and forever


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 discharged upon Confirmation of a Plan which contemplates the continued operation of a chain
 of grocery stores, by either the Company or a buyer through a plan-related sale that is otherwise
 consistent with the Union Settlement Agreements.

 B.     Professional Claims

         1.      Final Fee Applications. All final requests for payment of Professional Claims
 shall be filed and served no later than 60 days after the Confirmation Date. After notice and a
 hearing in accordance with the procedures established by the Bankruptcy Code and prior
 Bankruptcy Court orders, the Allowed amounts of such Professional Claims shall be determined
 by the Bankruptcy Court.

         2.      Professional Fee Escrow Account. In accordance with Article II.B.3 hereof, on
 the Confirmation Date, the Debtors shall establish and fund the Professional Fee Escrow
 Account with Cash equal to the aggregate Professional Fee Reserve Amount for all
 Professionals. The Professional Fee Escrow Account shall be maintained in trust for the
 Professionals. Except as provided in the last sentence of this paragraph, such funds shall not be
 considered property of the estates of the Debtors or Reorganized Debtors, as applicable. The
 amount of Professional Claims owing to the Professionals shall be paid in Cash to such
 Professionals by the Reorganized Debtors from the Professional Fee Escrow Account within 10
 days after such Claims are Allowed by a Final Order. When all Allowed Professional Claims
 have been paid in full, amounts remaining in the Professional Fee Escrow Account, if any, shall
 revert to the Reorganized Debtors.

         3.     Professional Fee Reserve Amount. To receive payment for unbilled fees and
 expenses incurred through the Effective Date, the Professionals shall provide good faith
 estimates of their Professional Compensation prior to and as of the Effective Date and shall
 deliver such estimate to the Debtors no later than 10 days prior to the Confirmation Hearing,
 provided, however, that such estimate shall not be considered an admission with respect to the
 fees and expenses of such Professional. If a Professional does not provide an estimate, the
 Reorganized Debtors may estimate the unbilled fees and expenses of such Professional. The
 total amount so estimated as of the Effective Date shall comprise the Professional Fee Reserve
 Amount.

         4.      Post-Effective Date Fees and Expenses. Except as otherwise specifically
 provided in the Plan, from and after the Effective Date, the Debtors or the Reorganized Debtors,
 as applicable, shall, without any further notice to or action, order, or approval of the Bankruptcy
 Court, pay in Cash the reasonable legal, professional, or other fees and expenses related to
 implementation and Consummation incurred by the Debtors or Reorganized Debtors, as
 applicable. Upon the Effective Date, any requirement that Professionals comply with sections
 327 through 331 and 1103 of the Bankruptcy Code or the Interim Compensation Order in
 seeking retention or compensation for services rendered after such date shall terminate, and the
 Reorganized Debtors may employ and pay any Professional in the ordinary course of business
 without any further notice to or action, order, or approval of the Bankruptcy Court.




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 C.      DIP Facility Claims

        Except to the extent that a holder of an Allowed DIP Facility Claim agrees to a less
 favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each and every Allowed DIP Facility Claim, each such Allowed Claim shall be
 paid in full in Cash on the Effective Date, or as soon as practicable thereafter, provided such
 payments shall be distributed to the DIP Facility Administrative Agent on behalf of holders of
 such Allowed Claims.

 D.      Priority Tax Claims

         With the reasonable consent of the Investors, each holder of an Allowed Priority Tax
 Claim due and payable on or before the Effective Date shall receive one of the following
 treatments on account of such Claim (1) Cash, payable by the Debtors on the Effective Date, in
 an amount equal to the amount of such Allowed Priority Tax Claim, (2) Cash in an amount
 agreed to by the Debtor or Reorganized Debtor (on the Effective Date), as applicable, and such
 holder, provided, however, that such parties may further agree for the payment of such Allowed
 Priority Tax Claim to occur at a later date, or (3) at the option of the Debtors (on the Effective
 Date) or the Reorganized Debtors (after the Effective Date), Cash in the aggregate amount of
 such Allowed Priority Tax Claim payable in installment payments over a period not more than
 five years after the Commencement Date pursuant to section 1129(a)(9)(C) of the Bankruptcy
 Code. To the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date,
 such Claim shall be paid in full in Cash in accordance with the terms of any agreement between
 the Debtors (on the Effective Date) or the Reorganized Debtors (after the Effective Date) and the
 holder of such Claim, or as may be due and payable under applicable non-bankruptcy law or in
 the ordinary course of business.

                                          ARTICLE III.

      CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

 A.      Substantive Consolidation Settlement

         1.     Issues Subject to Compromise: The Plan proposes, and its terms embody, a
 compromise and settlement of intercreditor issues relating to whether the liabilities and
 properties of the Debtors should be substantively consolidated for purposes of voting and
 distributions under the Plan. These issues include: (a) whether the elements necessary to obtain
 an order of substantive consolidation are satisfied in the Chapter 11 Case; (b) the value of the
 Debtors’ Estates on an individual and a consolidated basis, and the proper method of determining
 such value; (c) whether the Estate of each Debtor should be treated separately for purposes of
 making payments to holders of Claims; (d) whether it is possible to attribute particular Claims
 asserted in the Chapter 11 Case to a specific Debtor; (e) the value to be accorded to guarantees
 issued by one Debtor in favor of another Debtor; (f) the strength of the relative rights and
 positions of the different Classes of unsecured Claims with respect to disputes over substantive
 consolidation; (g) other issues having to do with the rights of certain Estates, Claims, or Classes
 of Claims vis-à-vis other Estates, Claims, or Classes of Claims; and (h) the amount and priority
 of Intercompany Claims and the potential voidability of certain intercompany transfers.


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         2.     Effect of Substantive Consolidation Settlement: Pursuant to the Substantive
 Consolidation Settlement embodied in the Plan, holders of Allowed Unsecured Claims will
 receive their Pro Rata share of the Unsecured Creditor Cash Pool. The Debtors believe that the
 substantive consolidation of the Debtors may adversely impact holders of Allowed (Class I)
 Guaranteed Landlord Claims and Allowed (Class J) Pension Withdrawal Claims because such
 holders may be entitled to a recovery from multiple operating Debtors on account of their
 Allowed (Class I) Guaranteed Landlord Claims and Allowed (Class J) Pension Withdrawal
 Claims. Therefore, in order to provide an equitable distribution to holders of Allowed Pension
 Withdrawal Claims and holders of Allowed Guaranteed Landlord Claims who vote to approve
 the Plan, in consultation with the Creditors’ Committee and the DIP Facility Administrative
 Agent, the Plan and Substantive Consolidation Settlement provide for an enhanced recovery to
 these holders as provided in Article III.C.9.b and Article III.C.10.b. The terms of the Substantive
 Consolidation Settlement shall not be changed without the consent of the Investors (such consent
 shall not be unreasonably withheld or delayed in the case of a change that is not adverse to the
 Investors), and any change shall be made in consultation with the Creditors’ Committee and the
 DIP Facility Administrative Agent.

         As a result of the Substantive Consolidation Settlement, except as otherwise provided
 herein (including any exhibits or supplements hereto), and only for purposes of voting and
 distributions under the Plan: (a) the separate Chapter 11 Cases of the Debtors will be
 consolidated into the case of A&P as a single consolidated case; (b) all property of the Estate of
 each Debtor will be deemed to be property of the consolidated Estates; (c) all Claims against
 each Estate will be deemed to be Claims against the consolidated Estates, any Proof of Claim
 filed against one or more of the Debtors will be deemed to be a single Proof of Claim filed
 against the consolidated Estates, and all duplicate Proofs of Claim filed on account of a Claim
 representing a single liability (other than Claims filed against multiple Debtors on the basis of
 joint and several liability) will be deemed expunged; (d) no distributions under the Plan will be
 made on account of Intercompany Claims or Intercompany Interests; (e) Allowed Claims based
 on joint and several liability shall be deemed satisfied by a single distribution as if the Claim
 were held solely against one Debtor Entity; (f) except as provided in the Plan with respect to the
 treatment of Guaranteed Landlord Claims and Pension Withdrawal Claims, all Claims based
 upon pre-petition unsecured guarantees by one Debtor in favor of any other of the Debtors or
 other basis of co-Debtor liability will be eliminated (other than guarantees existing under
 assumed Executory Contracts or Unexpired Leases), and no distributions under the Plan will be
 made on account of Claims based upon such guarantees or other basis of co-Debtor liability; and
 (g) for purposes of determining the availability of the right of setoff under section 553 of the
 Bankruptcy Code, the Debtors will be treated as one consolidated entity so that, subject to the
 other provisions of section 553 of the Bankruptcy Code, pre-petition debts due to any of the
 Debtors may be set off against the pre-petition debts of any other of the Debtors.

         The Plan will not result in the merger or otherwise affect the separate legal existence of
 each Debtor, other than with respect to voting and distribution rights under the Plan. The
 compromise plan structure will not (a) impair the validity or enforceability of guarantees that
 exist under or with respect to assumed Executory Contracts or Unexpired Leases; (b) affect
 valid, enforceable, and unavoidable Liens that would not otherwise be terminated under the Plan,
 except for Liens that secure a Claim that is eliminated by virtue of the plan structure and Liens
 against collateral that are extinguished by virtue of such plan structure; (c) have the effect of


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 creating a Claim in a Class different from the Class in which a Claim would have been placed in
 the absence of such structure; or (d) affect the obligation of each of the Reorganized Debtors,
 pursuant to section 1930 of Title 28 of the United States Code, to pay quarterly fees to the Office
 of the United States Trustee until such time as each particular Debtor’s case is closed.

        3.       Approval of Substantive Consolidation Settlement: The Plan is deemed to be a
 motion under sections 105, 363 and 1123 of the Bankruptcy Code and Rule 9019 of the
 Bankruptcy Rules for approval of the compromise and settlement of the issues described above.
 The confirmation of the Plan shall constitute approval of this motion by the Bankruptcy Court,
 and the Confirmation Order shall contain findings supporting and conclusions approving the
 compromise and settlement as fair and equitable and within the bounds of reasonableness. The
 Debtors reserve their rights, with the consent of the Investors (such consent shall not be
 unreasonably withheld or delayed in the case of a decision by the Debtors or Reorganized
 Debtors that is not adverse to the Investors), to substantively consolidate the estates, in full,
 outside of the terms of Substantive Consolidation Settlement.

 B.       Classification of Claims and Interests

         The Plan constitutes a separate plan of reorganization for each Debtor; provided,
 however, that the classifications, recoveries and voting rights set forth below reflect the
 Substantive Consolidation Settlement described above. Except for the Claims addressed in
 Article II above, all Claims and Interests are classified in the Classes set forth below pursuant to
 section 1122 of the Bankruptcy Code. As set forth above, in accordance with section 1123(a)(1)
 of the Bankruptcy Code, the Debtors have not classified Administrative Claims, Professional
 Claims, DIP Facility Claims or Priority Tax Claims. A Claim or Interest is classified in a
 particular Class only to the extent that the Claim or Interest qualifies within the description of
 that Class and is classified in other Classes to the extent that any portion of the Claim or Interest
 qualifies within the description of such other Classes. A Claim or Interest is also classified in a
 particular Class for the purpose of voting and receiving distributions pursuant to the Plan only to
 the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not
 been paid, released, or otherwise satisfied prior to the Effective Date.

         1.     Class Identification: Below is a chart assigning each Class a letter for purposes of
 identifying each separate Class.

  Class             Claim or Interest                     Status                 Voting Rights
      A      Second Lien Note Claims               Impaired/Unimpaired     Entitled to
                                                                           Vote/Conclusively
                                                                           Presumed to Accept
      B      Secured Tax Claims                    Unimpaired              Conclusively Presumed
                                                                           to Accept
      C      Other Secured Claims                  Unimpaired              Conclusively Presumed
                                                                           to Accept
      D      Other Priority Claims                 Unimpaired              Conclusively Presumed
                                                                           to Accept
      E      Convertible Notes Claims              Impaired                Entitled to Vote


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  Class                 Claim or Interest                  Status                 Voting Rights
      F        9.125% Senior Note Claims           Impaired                  Entitled to Vote
      G        Quarterly Interest Bond Claims      Impaired                  Entitled to Vote
      H        Trade Claims                        Impaired                  Entitled to Vote
      I        Guaranteed Landlord Claims          Impaired                  Entitled to Vote
      J        Pension Withdrawal Claims           Impaired                  Entitled to Vote
      K        Union Claims                        Impaired                  Entitled to Vote
      L        General Unsecured Claims            Impaired                  Entitled to Vote
      M        Intercompany Claims                 Impaired/Unimpaired       Deemed to Reject/
                                                                             Conclusively Presumed
                                                                             to Accept
      N        Interests in A&P                    Impaired                  Deemed to Reject
      O        Intercompany Interests              Impaired/Unimpaired       Deemed to Reject/
                                                                             Conclusively Presumed
                                                                             to Accept
      P        Subordinated Claims                 Impaired                  Deemed to Reject

 C.       Treatment of Classes of Claims and Interests

          1.       Class A — Second Lien Note Claims

                   a.      Classification: Class A consists of all Second Lien Note Claims.

                   b.      Allowance: Second Lien Note Claims shall be Allowed in the aggregate
                           amount of $309,660,000.00; provided the Allowed aggregate Second Lien
                           Note Claims shall (x) increase by $108,785.00 for each day that the
                           Effective Date occurs after March 1, 2012 and (y) decrease by $108,785.00
                           for each day that the Effective Date occurs before March 1, 2012. For the
                           avoidance of doubt, Second Lien Note Claims Allowed pursuant to this
                           Article III.C.1.b excludes and shall not include any Applicable Premium (as
                           defined in the Second Lien Indenture), makewhole premium, prepayment
                           penalty, or similar Claim arising under or related to the Second Lien
                           Indenture or the Second Lien Notes.

                   c.      Treatment: Except to the extent that a holder of an Allowed Class A Claim
                           agrees to a less favorable treatment, in full and final satisfaction,
                           settlement, release, and discharge of and in exchange for each and every
                           Allowed Class A Claim, each such holder of an Allowed Class A Claim
                           shall receive:

                            (i)   If Class A votes to accept the Plan or is presumed to have
                                  accepted the Plan: Cash distributed on the Effective Date in an
                                  amount equal to such Holder’s Pro Rata portion of the Second Lien
                                  Cash Pool.


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                           (ii)    If Class A votes to reject the Plan: At the holder’s election, (A)
                                   Cash distributed on the Effective Date in an amount equal to such
                                   holder’s Pro Rata portion of the Second Lien Cash Pool (without
                                   any reduction on account of the Allowed amount of any Second
                                   Lien Note Claims that are satisfied with Replacement Second Lien
                                   Notes), or (B) Replacement Second Lien Notes with a present value
                                   equal to the Allowed amount of such holder’s Second Lien Note
                                   Claim (which may include any makewhole claim, prepayment
                                   penalty, or Applicable Premium Allowed by the Bankruptcy Court,
                                   if any, in addition to Second Lien Note Claims Allowed pursuant to
                                   Article III.C.1.b hereof).3

                  d.      Voting: Class A is Impaired and holders of Allowed Class A Claims may
                          vote to accept or reject the Plan; provided that the Debtors reserve the right
                          to assert the treatment provided to holders of Second Lien Note Claims
                          under this Article III.C.1 renders holders of Second Lien Note Claims
                          Unimpaired.

         2.       Class B — Secured Tax Claims

                  a.      Classification: Class B consists of all Secured Tax Claims.

                  b.      Treatment: Except to the extent that a holder of an Allowed Class B Claim
                          agrees to a less favorable treatment, in full and final satisfaction,
                          settlement, release, and discharge of and in exchange for each and every
                          Allowed Class B Claim, each such holder of an Allowed Class B Claim
                          shall receive, at the option of the Debtors or the Reorganized Debtors (with
                          the reasonable consent of the Investors), as applicable:

                           (i)     Cash on the Initial Distribution Date, or as soon as practicable
                                   thereafter, in an amount equal to such Allowed Class B Claim; or

                           (ii)    commencing on the Initial Distribution Date, or as soon as
                                   practicable thereafter, and continuing over a period not exceeding
                                   five years from the Commencement Date, equal semi-annual Cash
                                   payments in an aggregate amount equal to such Allowed Class B
                                   Claim, together with interest at the applicable non-default contract
                                   rate under non-bankruptcy law, subject to the option of the Debtors
                                   or the Reorganized Debtors to prepay the entire amount of such
                                   Allowed Claim during such time period.

                  c.      Voting: Class B is Unimpaired, and the holders of Allowed Class B Claims
                          are conclusively presumed to have accepted the Plan pursuant to section

 3   Any holder of Second Lien Note Claims failing to timely submit a duly completed ballot and election form
     making an election with respect to Article III.C.1.c(ii) shall be deemed to have elected to receive the treatment
     provided by Article III.C.1.c(ii)(A) hereof.



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                    1126(f) of the Bankruptcy Code. Therefore, holders of Allowed Class B
                    Claims are not entitled to vote to accept or reject the Plan.

       3.      Class C — Other Secured Claims

               a.   Classification: Class C consists of all Other Secured Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class C Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class C Claim, each such holder of an Allowed Class C Claim
                    shall, at the option of the Debtors or the Reorganized Debtors, as
                    applicable, and the Investors:

                     (i)     have its Allowed Class C Claim Reinstated and rendered
                             Unimpaired in accordance with section 1124(2) of the Bankruptcy
                             Code, notwithstanding any contractual provision or applicable non-
                             bankruptcy law that entitles the holder of an Allowed Class C
                             Claim to demand or receive payment of such Allowed Class C
                             Claim prior to the stated maturity of such Allowed Class C Claim
                             from and after the occurrence of a default; or

                     (ii)    receive Cash in an amount equal to such Allowed Class C Claim,
                             including any interest on such Allowed Class C Claim required to
                             be paid pursuant to section 506(b) of the Bankruptcy Code, on the
                             later of the Initial Distribution Date and the date such Allowed
                             Class C Claim becomes an Allowed Class C Claim, or as soon as
                             practicable thereafter; or

                     (iii)   receive the collateral securing its Allowed Class C Claim.

               c.   Voting: Class C is Unimpaired, and holders of Allowed Class C Claims are
                    conclusively presumed to have accepted the Plan pursuant to section
                    1126(f) of the Bankruptcy Code. Therefore, holders of Allowed Class C
                    Claims are not entitled to vote to accept or reject the Plan.

       4.      Class D — Other Priority Claims

               a.   Classification: Class D consists of all Other Priority Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class D Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class D Claim, each such holder of an Allowed Class D Claim
                    shall have its Allowed Class D Claim paid in full in Cash on the later of (i)
                    the Initial Distribution Date, or as soon as practicable thereafter and (ii) the
                    date such Class D Claim becomes Allowed, or as soon as practicable
                    thereafter.


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               c.   Voting: Class D is Unimpaired, and holders of Allowed Class D Claims are
                    conclusively presumed to have accepted the Plan pursuant to section
                    1126(f) of the Bankruptcy Code. Therefore, holders of Allowed Class D
                    Claims are not entitled to vote to accept or reject the Plan.

       5.      Class E — Convertible Notes Claims

               a.   Classification: Class E consists of all Convertible Note Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class E Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class E Claim, each holder of an Allowed Class E Claim shall
                    receive on the Initial Distribution Date, or as soon as practicable thereafter,
                    Cash equal to its Pro Rata portion of the Unsecured Creditor Cash Pool.

               c.   Voting: Class E is Impaired and holders of Allowed Class E Claims are
                    entitled to vote to accept or reject the Plan.

       6.      Class F — 9.125% Senior Note Claims

               a.   Classification: Class F consists of all 9.125% Senior Note Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class F Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class F Claim, each holder of an Allowed Class F Claim shall
                    receive on the Initial Distribution Date, or as soon as practicable thereafter,
                    Cash equal to its Pro Rata portion of the Unsecured Creditor Cash Pool.

               c.   Voting: Class F is Impaired and holders of Allowed Class F Claims are
                    entitled to vote to accept or reject the Plan.

       7.      Class G — Quarterly Interest Bond Claims

               a.   Classification: Class G consists of all Quarterly Interest Bond Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class G Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class G Claim, each holder of an Allowed Class G Claim shall
                    receive on the Initial Distribution Date, or as soon as practicable thereafter,
                    Cash equal to its Pro Rata portion of the Unsecured Creditor Cash Pool.

               c.   Voting: Class G is Impaired and holders of Allowed Class G Claims are
                    entitled to vote to accept or reject the Plan.




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       8.      Class H — Trade Claims

               a.   Classification: Class H consists of all Trade Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class H Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class H Claim, each holder of an Allowed Class H Claim shall
                    receive on the Initial Distribution Date, or as soon as practicable thereafter:
                    (a) Cash equal to its Pro Rata portion of the Unsecured Creditor Cash Pool;
                    and (b) if such holder enters into a trade agreement acceptable to the
                    Debtors (and in consultation with the Creditors’ Committee and the DIP
                    Facility Administrative Agent) and the Investors before the Effective Date,
                    that provides for a distribution from the Trade Claims Cash Pool, a
                    distribution from the Trade Claims Cash Pool.

               c.   Voting: Class H is Impaired and holders of Allowed Class H Claims are
                    entitled to vote to accept or reject the Plan.

       9.      Class I — Guaranteed Landlord Claims

               a.   Classification: Class I consists of all Guaranteed Landlord Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class I Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class I Claim, each holder of an Allowed Class I Claim shall
                    receive on the Initial Distribution Date, or as soon as practicable thereafter:
                    (a) Cash equal to its Pro Rata portion of the Unsecured Creditor Cash Pool
                    or (b) if such holder votes in favor of the Plan, a Cash distribution from the
                    Unsecured Creditor Cash Pool such that the applicable holder’s aggregate
                    recovery for its Allowed Class I Claim is equal to the product of (x) what
                    such holder would receive under clause (a) above for such Allowed Class I
                    Claim (as adjusted for Pro Rata calculations) and (y) 1.46.

               c.   Voting: Class I is Impaired and holders of Allowed Class I Claims are
                    entitled to vote to accept or reject the Plan.

       10.     Class J — Pension Withdrawal Claims

               a.   Classification: Class J consists of all Pension Withdrawal Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class J Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class J Claim, each holder of an Allowed Class J Claim shall
                    receive on the Initial Distribution Date, or as soon as practicable thereafter:
                    (a) Cash equal to its Pro Rata portion of the Unsecured Creditor Cash Pool


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                    or (b) if such holder votes in favor of the Plan, a Cash distribution from the
                    Unsecured Creditor Cash Pool such that the applicable holder’s aggregate
                    recovery for its Allowed Class J Claim is equal to the product of (x) what
                    such holder would receive under clause (a) above for its Allowed Class J
                    Claim (as adjusted for Pro Rata calculations) and (y) 2.35.

               c.   Voting: Class J is Impaired and holders of Allowed Class J Claims are
                    entitled to vote to accept or reject the Plan.

       11.     Class K — Union Claims

               a.   Classification: Class K consists of all Union Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class K Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class K Claim, each holder of an Allowed Class K Claim shall
                    receive the consideration set forth in the Union Settlement Agreements.

               c.   Voting: Class K is Impaired and holders of Allowed Class K Claims are
                    entitled to vote to accept or reject the Plan.

       12.     Class L — General Unsecured Claims

               a.   Classification: Class L consists of all General Unsecured Claims.

               b.   Treatment: Except to the extent that a holder of an Allowed Class L Claim
                    agrees to a less favorable treatment, in full and final satisfaction,
                    settlement, release, and discharge of and in exchange for each and every
                    Allowed Class L Claim, each holder of an Allowed Class L Claim shall
                    receive on the Initial Distribution Date, or as soon as practicable thereafter,
                    Cash equal to its Pro Rata portion of the Unsecured Creditor Cash Pool.

               c.   Voting: Class L is Impaired and holders of Allowed Class L Claims are
                    entitled to vote to accept or reject the Plan.

       13.     Class M — Intercompany Claims

               a.   Classification: Class M consists of all Intercompany Claims.

               b.   Treatment: Subject to the provisions of Article IV.T (“Restructuring
                    Transactions”), holders of Allowed Class M Intercompany Claims shall not
                    receive any distributions on account of such Allowed Class M
                    Intercompany Claims; provided, however, the Debtors and Reorganized
                    Debtors reserve the right to Reinstate any or all Allowed Class M
                    Intercompany Claims on or after the Effective Date in accordance with
                    section 1124 of the Bankruptcy Code and such Reinstated Intercompany
                    Claims, including Intercompany Claims against non-Debtor affiliates, shall


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                    vest in the applicable Reorganized Debtor or its successor on the Effective
                    Date free and clear of all Claims, Liens, charges, other encumbrances and
                    interests.

               c.   Voting: Class M is Impaired, and holders of Allowed Class M
                    Intercompany Claims are deemed to have rejected the Plan pursuant to
                    section 1126(f) of the Bankruptcy Code, unless Allowed Class M
                    Intercompany Claims are Reinstated, in which case the holders of Allowed
                    Class M Intercompany Claims are Unimpaired and are conclusively
                    presumed to accept the Plan.

       14.     Class N — Interests in A&P

               a.   Classification: Class N consists of all Interests in A&P.

               b.   Treatment: Holders of Allowed Class N Interests shall not receive any
                    distributions on account of such Allowed Class N Interests. On the
                    Effective Date, all Class N Interests shall be canceled and extinguished.

               c.   Voting: Class N is Impaired, and holders of Allowed Class N Interests are
                    deemed to have rejected the Plan pursuant to section 1126(f) of the
                    Bankruptcy Code. Therefore, holders of Allowed Class N Interests are not
                    entitled to vote to accept or reject the Plan.

       15.     Class O — Intercompany Interests

               a.   Classification: Class O consists of all Intercompany Interests.

               b.   Treatment: Subject to the provisions of Article IV.T (“Restructuring
                    Transactions”), holders of Allowed Class O Intercompany Interests shall
                    not receive any distributions on account of such Allowed Class O
                    Intercompany Interests; provided, however, the Debtors and the
                    Reorganized Debtors reserve the right to Reinstate any or all Allowed
                    Class O Intercompany Interests on or after the Effective Date in accordance
                    with section 1124 of the Bankruptcy Code and such Reinstated
                    Intercompany Interests, including Intercompany Interests in non-Debtor
                    affiliates, shall vest in the applicable Reorganized Debtor or its successor
                    on the Effective Date free and clear of all Claims, Liens, charges, other
                    encumbrances and interests.

               c.   Voting:     Class O is Impaired, and holders of Allowed Class O
                    Intercompany Interests are deemed to have rejected the Plan pursuant to
                    section 1126(f) of the Bankruptcy Code, unless Class O Intercompany
                    Interests are Reinstated, in which case the holders of Allowed Class O
                    Intercompany Interests are Unimpaired and are conclusively presumed to
                    accept the Plan.




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        16.     Class P — Subordinated Claims

                a.     Classification: Class P consists of all Subordinated Claims.

                b.     Treatment: Holders of Allowed Class P Claims shall not receive any
                       distributions on account of such Allowed Class P Claims. On the Effective
                       Date, all Class P Claims shall be discharged.

                c.     Voting: Class P is Impaired and holders of Allowed Class P Claims are
                       deemed to have rejected the Plan pursuant to section 1126(g) of the
                       Bankruptcy Code. Therefore, holders of Allowed Class P Claims are not
                       entitled to vote to accept or reject the Plan.

 D.     Special Provision Governing Vote Tabulation

         Except as otherwise provided in the Disclosure Statement and the motion to approve the
 Disclosure Statement and its related exhibits: (i) if no holders of Claims eligible to vote in a
 particular Class vote to accept or reject the Plan, the Plan shall be deemed accepted by the
 holders of such Claims in such Class; and (ii) any Class of Claims that does not have a holder of
 an Allowed Claim or Interest or a Claim temporarily allowed by the Bankruptcy Court as of the
 date of the Confirmation Hearing shall be deemed eliminated from the Plan for purposes of
 voting to accept or reject the Plan and for purposes of determining acceptance or rejection of the
 Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

 E.     Special Provision Governing Unimpaired Claims

        Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’
 or the Reorganized Debtors’ rights in respect of any Unimpaired Claim, including all rights in
 respect of legal and equitable defenses to or setoffs or recoupments against the holder of any
 such Unimpaired Claim.

                                           ARTICLE IV.

                     PROVISIONS FOR IMPLEMENTATION OF THE PLAN

 A.     Use of Proceeds from New Money Commitment and Exit Facility

         Unless otherwise provided in the Plan or the Securities Purchase Agreements, the
 Debtors and Reorganized Debtors, as applicable, shall use the proceeds received from the New
 Money Commitment, together with proceeds from the Exit Facility and other funds held by the
 Debtors on the Effective Date, (i) to make cash distributions required by the Plan, (ii) to pay
 Transaction Expenses not previously paid, (iii) to pay other expenses of the Chapter 11 Cases, to
 the extent so ordered by the Bankruptcy Court, and (iv) for general corporate purposes.

 B.     General Settlement of Claims and Interests

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
 consideration for the classification, distributions, releases, and other benefits provided under the


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 Plan, on the Effective Date, the provisions of the Plan shall constitute a good-faith compromise
 and settlement of all Claims and Interests and controversies resolved pursuant to the Plan.

 C.     NewCo Equity

         The issuance of the NewCo Equity by Reorganized A&P to the Investors on the Effective
 Date in consideration for the New Equity Investment is authorized without the need for any
 further corporate action or without any further action by the Debtors or Reorganized A&P, as
 applicable. Pursuant to the Plan, the issuance and distribution by Reorganized A&P on or after
 the Effective Date of shares of NewCo Equity to the Investors in consideration for the New
 Equity Investment (to the extent practicable, directly, or else through a Distribution Agent) to
 satisfy the Debtors’ obligations under the Securities Purchase Agreements, subject to dilution by
 the Management Equity Incentive Program and/or other agreement or as otherwise provided by
 the Securities Purchase Agreements, is hereby authorized. All of the shares of NewCo Equity
 issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and non-
 assessable. On the Effective Date, each of Reorganized A&P and the other Reorganized Debtors
 shall be a private company. As such, the Reorganized Debtors will not list the NewCo Equity on
 a national securities exchange as of the Effective Date.

 D.     Registration Exemptions

          The offering, issuance, and distribution of any Securities pursuant to the Plan and any and
 all settlement agreements incorporated therein are expected to be exempt from applicable federal
 and state securities laws (including blue sky laws), registration and other requirements, including
 but not limited to, the registration and prospectus delivery requirements of section 5 of the
 Securities Act, pursuant to section 4(2) of the Securities Act, or another available exemption
 from registration under the Securities Act, as applicable. In addition, under section 1145 of the
 Bankruptcy Code, if applicable, any Securities issued pursuant to the Plan or any and all
 settlement agreements incorporated therein will be transferable under the Securities Act by the
 recipients thereof, subject to (1) the restrictions, if any, on the transferability of such Securities
 and instruments, including restrictions contained in the Reorganized A&P Charter and the
 Securities Purchase Agreements and (2) any other applicable regulatory and legal requirements.

 E.     Vesting of Assets in the Reorganized Debtors

         Except as specifically or expressly provided in the Plan or any agreement, instrument, or
 other document incorporated in the Plan, on the Effective Date, all property of the Debtors’
 Estates, all of the Debtors’ Causes of Action, and any property acquired by any of the Debtors
 pursuant to the Plan shall vest in each respective Reorganized Debtor, free and clear of all Liens,
 Claims, charges, or other encumbrances (except for Liens, if any, that may be specifically
 granted to secure the Exit Facility, the New Second Lien Notes and the New Convertible Third
 Lien Notes, and if applicable, the Replacement Second Lien Notes and the Other Secured
 Claims). On and after the Effective Date, except as otherwise provided in the Plan, each
 Reorganized Debtor may operate its business and may use, acquire, or dispose of property and
 compromise or settle any Claims, Interests, or Causes of Action without supervision or approval
 by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
 Rules.


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 F.     Cancellation of Notes, Instruments, Certificates and Other Documents

         On the Effective Date, except as otherwise specifically provided for in the Plan or the
 Securities Purchase Agreements (and except for such Certificates, notes, or other instruments or
 documents evidencing indebtedness or obligations of the Debtors that are specifically Reinstated
 pursuant to the Plan): (1) the obligations of the Debtors under the DIP Facility, the 1991
 Indenture, the 2007 Indenture, the Second Lien Indenture, the Convertible Notes, the 9.125%
 Senior Notes, the Quarterly Interest Bonds and the Second Lien Notes and any other Certificate,
 share, note, bond, indenture, purchase right, or other instrument or document directly or
 indirectly evidencing or creating any indebtedness or obligation of or ownership interest, equity
 or profits interest in the Debtors or any warrants, options or other securities exercisable or
 exchangeable for, or convertible into, debt, equity, ownership or profits interests in the Debtors
 giving rise to any Claim or Interest, and any options, or other securities exercisable or
 exchangeable for, or convertible into Interests or equity of the Debtors, shall be cancelled as to
 the Debtors; (2) the obligations of the Debtors under the DIP Facility, the 1991 Indenture, the
 2007 Indenture, the Second Lien Indenture, the Convertible Notes, the 9.125% Senior Notes, the
 Quarterly Interest Bonds and the Second Lien Notes shall be fully released, settled, and
 compromised as to the Debtors and the non-Debtor Affiliates, and the Reorganized Debtors shall
 not have any continuing obligations thereunder except as otherwise provided in the Plan; and (3)
 the obligations of the Debtors, the Reorganized Debtors and the non-Debtor Affiliates, pursuant,
 relating, or pertaining to any agreements, indentures, certificates of designation, bylaws, or
 certificate or articles of incorporation or similar documents governing any shares, Certificates,
 notes, bonds, indentures, purchase rights, options, warrants, or other instruments or documents
 evidencing or creating any indebtedness or obligation of the Debtors shall be fully released,
 settled, and compromised; provided, however, that notwithstanding Consummation or the
 occurrence of the Effective Date, any indenture or agreement that governs the rights of the holder
 of a Claim or Interest shall continue in effect solely for purposes of (1) allowing holders to
 receive distributions under the Plan, (2) allowing and preserving the rights of the DIP Facility
 Administrative Agent, Second Lien Trustee, and Wilmington Trust, as provided in Article VII
 herein.

 G.     Reinstatement of Intercompany Claims and Interests

         In the event that the Debtors elect to Reinstate Intercompany Claims or Intercompany
 Interests pursuant to Article III.C.13 or Article III.C.15, respectively, each Reorganized Debtor
 shall, without the need for any further corporate act or other action under any applicable law,
 regulation, order or rule, issue authorized new Equity Securities to the Reorganized Debtor that
 was that Debtor’s or non-Debtor Affiliate’s corporate parent prior to the Effective Date so that
 each Reorganized Debtor will retain its 100% ownership of its pre-Commencement Date
 subsidiaries. The foregoing may be modified by the Debtors and the Investors at any time.

 H.     Issuance of New Securities; Execution of Plan Documents

         Except as otherwise provided in the Plan or the Securities Purchase Agreements, the
 Reorganized Debtors shall issue on the Effective Date all Securities, notes, instruments,
 Certificates, and other documents required to be issued pursuant to the Plan and the Securities
 Purchase Agreements (as approved by the Securities Purchase Agreements Order).


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 I.     Post-Confirmation Property Sales

         To the extent the Debtors (in consultation with the Creditors’ Committee and the DIP
 Facility Administrative Agent) or Reorganized Debtors, as applicable, purchase or sell any
 property after the Confirmation Date and prior to the Effective Date, the Debtors or Reorganized
 Debtors, as applicable, may elect to purchase or sell such property pursuant to sections 363,
 1123(a)(5)(D), 1141(c), and 1146(a) of the Bankruptcy Code.

 J.     Corporate Action

         Each of the matters provided for by the Plan involving the corporate structure of the
 Debtors or corporate or related actions to be taken by or required of the Debtors or the
 Reorganized Debtors, whether taken prior to or as of the Effective Date, shall be deemed
 authorized, approved and ratified without the need for any further corporate action or without
 any further action by the Debtors or the Reorganized Debtors, holders of Claims or Interests,
 directors, managers or officers of the Debtors, the Reorganized Debtors, or the Investors, or any
 other Entity or Person, as applicable. Such actions include (1) the adoption and filing of the
 Reorganized A&P Charter and the adoption of the Reorganized A&P Bylaws, (2) the
 appointment of the New Board, (3) the adoption and implementation of the Management Equity
 Incentive Program, (4) the adoption of severance agreements (as applicable) without action by
 the New Board as, and to the extent, provided in section 1.11 of the Securities Purchase
 Agreements, (5) entering into the Management Services Agreement, (6) the authorization,
 issuance and distribution pursuant to the Plan and the Securities Purchase Agreements of the
 New Second Lien Notes, the New Convertible Third Lien Notes, the NewCo Equity, the
 Investment Warrants and any other Securities to be authorized, issued and distributed pursuant to
 the Plan and Securities Purchase Agreements, and (7) the consummation and implementation of
 the Exit Financing.

 K.     Certificate of Incorporation and Bylaws

         The certificates of incorporation and bylaws (or other formation documents relating to
 limited liability companies, limited partnerships, or other forms of Entity) of the Debtors (other
 than A&P) shall be amended in a form as may be required to be consistent with the provisions of
 the Plan, the Securities Purchase Agreements and the Bankruptcy Code, and shall be in form and
 substance acceptable to the Investors. The certificate of incorporation and bylaws of A&P shall
 be as contained in the Plan Supplement and as acceptable to the Investors. The Reorganized
 A&P Charter will, among other things, (1) authorize the issuance of the shares of NewCo Equity;
 and (2) pursuant to and only to the extent required by section 1123(a)(6) of the Bankruptcy
 Code, include a provision prohibiting the issuance of non-voting Equity Securities.

        After the Effective Date, each Reorganized Debtor may amend and restate its certificate
 of incorporation and other constituent documents as permitted by the laws of its respective state,
 province, or country of formation and its respective charter and bylaws.

 L.     Effectuating Documents, Further Transactions

        On and after the Effective Date, the Reorganized Debtors, and the officers and members
 of the boards of directors thereof, are authorized to and may issue, execute, deliver, file, or


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 record such contracts, Securities, instruments, releases, and other agreements or documents and
 take such actions as may be necessary or appropriate to effectuate, implement, and further
 evidence the terms and conditions of the Plan and the Securities Purchase Agreements and the
 Securities issued pursuant thereto in the name of and on behalf of the Reorganized Debtors,
 without the need for any approvals, authorizations, or consents except for those expressly
 required pursuant to the Plan or the Securities Purchase Agreements.

 M.     Section 1146(a) Exemption

         Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
 the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee,
 intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording
 tax, or other similar tax or governmental assessment, and upon entry of the Confirmation Order,
 the appropriate state or local governmental officials or agents shall forgo the collection of any
 such tax or governmental assessment and accept for filing and recordation any of the foregoing
 instruments or other documents without the payment of any such tax, recordation fee, or
 governmental assessment. Such exemption specifically applies, without limitation, to (1) the
 Restructuring Transactions; (2) the creation of any mortgage, deed of trust, Lien or other security
 interest; (3) the making or assignment of any lease or sublease; (4) the issuance and/or
 distribution of NewCo Equity, any Replacement Second Lien Notes, the New Second Lien
 Notes, the New Convertible Third Lien Notes, the Investment Warrants and any other securities
 of the Debtors or the Reorganized Debtors; or (5) the making or delivery of any deed or other
 instrument of transfer under, in furtherance of or in connection with the Plan or the Securities
 Purchase Agreements, including: (a) any merger agreements; (b) agreements of consolidation,
 restructuring, disposition, liquidation, or dissolution; (c) deeds; (d) bills of sale; or (e) assignment
 executed in connection with any Restructuring Transaction occurring pursuant to the Plan or the
 Securities Purchase Agreements.

 N.     Directors and Officers of Reorganized A&P

         On the Effective Date, the term of the current members of the board of directors of A&P
 shall expire, and the New Board shall be appointed pursuant to the Securities Purchase
 Agreements. On and after the Effective Date, each director or officer of Reorganized A&P shall
 serve pursuant to the terms of the Reorganized A&P Charter, the Reorganized A&P Bylaws, or
 other constituent documents, the Management Services Agreement, as applicable, and applicable
 state corporation law. Pursuant to the terms of the Securities Purchase Agreements and the
 Union Settlement Agreements, the New Board shall be reconstituted to consist of seven directors
 (or such larger number of directors as may be determined by the Investors in their discretion), of
 whom at least five directors shall be persons designated by the Investors, one person shall be a
 person designated by the UFCW (who (x) shall be an independent director and a grocery
 industry expert, and (y) shall not serve on behalf of, or take directions from, the UFCW), and one
 person shall be the Chief Executive Officer of the Reorganized Debtors. The Reorganized A&P
 Bylaws and the Reorganized A&P Charter shall provide that the New Board will be divided into
 three classes serving staggered three-year terms. Pursuant to the Securities Purchase
 Agreements, on or before the Confirmation Hearing, the Investors may provide for employment
 offers for the Executive Management Team (as defined in the Securities Purchase Agreements).



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 O.     Officers and Directors of Reorganized Debtors Other Than Reorganized A&P

         Unless otherwise provided in the Debtors’ disclosure pursuant to section 1129(a)(5) of
 the Bankruptcy Code, the officers of each of the Reorganized Debtors, other than Reorganized
 A&P, shall continue to serve in their current capacities after the Effective Date. The
 classification and composition of the boards of directors of the Reorganized Debtors other than
 Reorganized A&P shall be consistent with their respective new certificates of incorporation and
 bylaws, if any. Each such director or officer shall serve from and after the Effective Date
 pursuant to the terms of the applicable certificate of incorporation, bylaws, other constituent
 documents, and applicable state corporation law.

 P.     Compensation, Pensions and Benefits Programs

         1.     Management Equity Incentive Program. The Management Equity Incentive
 Program for Reorganized A&P shall become effective on the Effective Date without need for
 further corporate action as contemplated by the Securities Purchase Agreements.

         2.      Employee and Retiree Benefits. Except with respect to any equity based awards,
 rejected employment agreements and any other rejected benefit or compensation plans, and
 subject to the terms and conditions of the Securities Purchase Agreements and the Union
 Settlement Agreements, on and after the Effective Date, the Reorganized Debtors may (1) honor,
 in the ordinary course of business, any contracts, agreements, policies, programs, and plans for
 compensation, including bonus compensation, health care benefits, disability benefits, travel
 benefits, savings, severance benefits, retirement benefits, welfare benefits, workers’
 compensation insurance, and accidental death and dismemberment insurance for the directors,
 officers, and employees of any of the Debtors who served in such capacity at any time; and
 (2) honor, in the ordinary course of business, Claims of employees employed as of the Effective
 Date for accrued vacation time arising prior to the Commencement Date; provided, however, that
 the Debtors’ or Reorganized Debtors’ performance pursuant to any employment agreement that
 is not a rejected employment agreement will not entitle any Person to any benefit or alleged
 entitlement under any policy, program or plan that has expired or been terminated before the
 Effective Date, or restore, Reinstate, or revive any such benefit or alleged entitlement under any
 such policy, program, or plan; provided, further that any such assumed plans and obligation shall
 be subject to modification in accordance with their terms. Nothing in the Plan shall limit,
 diminish, or otherwise alter the Reorganized Debtors’ defenses, claims, Causes of Action, or
 other rights with respect to any such contracts, agreements, policies, programs, and plans, nor
 shall Confirmation of the Plan and/or Consummation of the Restructuring Transactions
 constitute a change of control under any such contracts, agreements, policies, programs, and
 plans.

         3.      Pensions. As of the Effective Date, the Reorganized Debtors shall continue the
 A&P Pension Plans in accordance with, and subject to, their terms, ERISA, and the Internal
 Revenue Code, and shall preserve all of their rights thereunder. The A&P Pension Claims and
 all Proofs of Claims filed on account thereof shall be deemed withdrawn as of the Effective Date
 without any further action of the Debtors, the Reorganized Debtors or the PBGC, and without
 any further action, order, or approval of the Bankruptcy Court.



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         4.      Workers’ Compensation Programs. As of the Effective Date, except as set forth
 in the Securities Purchase Agreements and Plan Supplement, the Debtors and the Reorganized
 Debtors shall continue to honor their obligations under: (i) all applicable workers’ compensation
 laws in states in which the Reorganized Debtors operate; and (ii) the Debtors’ (a) written
 contracts, agreements, and agreements of indemnity, in each case relating to workers’
 compensation, (b) self-insurer workers’ compensation bonds, policies, programs, and plans for
 workers’ compensation and (c) workers’ compensation insurance. All Proofs of Claims on
 account of workers’ compensation shall be deemed withdrawn automatically and without any
 further notice to or action, order, or approval of the Bankruptcy Court; provided, however, that
 nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’
 defenses, Causes of Action, or other rights under applicable non-bankruptcy law with respect to
 any such contracts, agreements, policies, programs and plans; provided, further, that nothing
 herein shall be deemed to impose any obligations on the Debtors in addition to what is provided
 for under applicable state law.

 Q.     Intercompany Account Settlement

         The Debtors and the Reorganized Debtors, and their respective Affiliates, will be entitled
 to transfer funds between and among themselves as they determine to be necessary or
 appropriate to enable the Reorganized Debtors to satisfy their obligations under the Plan. Except
 as set forth herein, any changes in intercompany account balances resulting from such transfers
 will be accounted for and settled in accordance with the Debtors’ historical intercompany
 account settlement practices and will not violate the terms of the Plan.

 R.     Preservation of Rights of Action

         Subject to the releases set forth in Article VIII.D and Article VIII.E below and waiver in
 Article IV.S, unless any of the Debtors’ Causes of Action against an Entity are expressly waived,
 relinquished, exculpated, released, compromised, or settled in the Plan or a Final Order, in
 accordance with section 1123(b) of the Bankruptcy Code, the Reorganized Debtors shall retain
 and may enforce all rights to commence and pursue, as appropriate, any and all of the Debtors’
 Causes of Action, whether arising before or after the Commencement Date, including any
 actions specifically enumerated in the Plan Supplement, and the Reorganized Debtors’ rights to
 commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the
 occurrence of the Effective Date. The Reorganized Debtors may pursue such Causes of Action,
 as appropriate, in accordance with the best interests of the Reorganized Debtors. No Entity may
 rely on the absence of a specific reference in the Plan, the Plan Supplement, or the
 Disclosure Statement to any of the Causes of Action against it as any indication that the
 Debtors or the Reorganized Debtors will not pursue any and all of their available Causes of
 Action against it. The Debtors and the Reorganized Debtors expressly reserve all rights to
 prosecute any and all of their Causes of Action against any Entity, except as otherwise
 expressly provided in the Plan or a Final Order. Unless any of the Debtors’ Causes of Action
 against an Entity are expressly waived, relinquished, exculpated, released, compromised, or
 settled in the Plan or a Bankruptcy Court order, the Reorganized Debtors expressly reserve all
 such Causes of Action, for later adjudication, and, therefore no preclusion doctrine, including the
 doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel



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 (judicial, equitable or otherwise), or laches, shall apply to such Causes of Action upon, after, or
 as a consequence of the Confirmation or Consummation.

         Further, subject to the releases set forth in Article VIII.D and Article VIII.E below, the
 Reorganized Debtors reserve and shall retain the foregoing Debtors’ Causes of Action
 notwithstanding the rejection or repudiation of any Executory Contract during the Chapter 11
 Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code,
 any Causes of Action that a Debtor may hold against any Entity shall vest in the Reorganized
 Debtors, as the case may be. The applicable Reorganized Debtor, through its authorized agents
 or representatives, shall retain and may exclusively enforce any and all such Causes of Action.
 The Reorganized Debtors shall have the exclusive right, authority, and discretion to determine
 and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw or litigate
 to judgment any such Causes of Action and to decline to do any of the foregoing without the
 consent or approval of any third party or further notice to or action, order or approval of the
 Bankruptcy Court.

 S.     Avoidance Actions

        The Debtors and Reorganized Debtors waive all Avoidance Actions, provided, however,
 that any Avoidance Action against an Entity that has filed a Claim against the Debtors is
 expressly preserved solely for the purposes of resolving Disputed Claims pursuant to Article VI.

 T.     Restructuring Transactions

          On or prior to the Effective Date, the Debtors (in consultation with the Creditors’
 Committee and the DIP Facility Administrative Agent) or the Reorganized Debtors may enter
 into such transactions, execute and deliver such agreements, instruments and other documents,
 and take any actions as may be necessary or appropriate to effect a corporate restructuring of
 their respective businesses or a corporate restructuring of the overall corporate structure of the
 Reorganized Debtors, as and to the extent provided therein, with the consent of the Investors.
 The Restructuring Transactions may include one or more inter-company mergers, consolidations,
 amalgamations, arrangements, continuances, restructurings, conversions, dissolutions, transfers,
 asset sales, liquidations, or other corporate transactions as may be determined by the Debtors (in
 consultation with the Creditors’ Committee and the DIP Facility Administrative Agent) or the
 Reorganized Debtors, as applicable, and the Investors, to be necessary or appropriate to
 implement the transactions provided for in the Securities Purchase Agreements. None of the
 Restructuring Transactions contemplated herein or in the Securities Purchase Agreements shall
 constitute a change of control under any agreement, contract or document of the Debtors or
 Reorganized Debtors, as applicable. Subject to the Securities Purchase Agreements, the actions
 to effect the Restructuring Transactions may include: (1) the execution and delivery of
 appropriate agreements or other documents of merger, amalgamation, consolidation,
 restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale,
 purchase, or liquidation containing terms that are consistent with the terms of the Plan and the
 Securities Purchase Agreements and that satisfy the requirements of applicable law and any other
 terms to which the relevant entities may agree; (2) the execution and delivery of appropriate
 instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
 liability, debt, or obligation on terms consistent with the terms of the Plan and the Securities


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 Purchase Agreements and having other terms for which the applicable parties agree; (3) the filing
 of appropriate certificates or articles of incorporation, reincorporation, merger, consolidation,
 conversion, amalgamation, arrangement, continuance, or dissolution pursuant to applicable state
 or provincial law; (4) pledging, granting of liens or security interests over, assuming or
 guarantying obligations or taking such similar actions as may be necessary to preserve the rights
 and collateral interests of the secured creditors of the Debtors and their subsidiaries at all times
 prior to the effectiveness and consummation of the Plan; (5) the creation of a new holding
 company, as provided in the Securities Purchase Agreements, or other changes to the
 organizational structure of the Debtors or the Reorganized Debtors, as applicable, as determined
 by the Debtors or the Reorganized Debtors, as applicable, and the Investors; and (6) all other
 actions that the applicable entities determine to be necessary or appropriate, including making
 filings or recordings that may be required by applicable law in connection with the Restructuring
 Transactions or that are otherwise provided for in the Securities Purchase Agreements.

 U.     Corporate Existence

         Except as otherwise provided in the Plan, each Debtor shall continue to exist after the
 Effective Date as a separate corporate Entity, limited liability company, partnership, or other
 form, as the case may be, with all the powers of a corporation, limited liability company,
 partnership, or other form, as the case may be, pursuant to the applicable law in the jurisdiction
 in which each applicable Debtor is incorporated or formed and pursuant to the respective
 certificate of incorporation and bylaws (or other formation documents) in effect prior to the
 Effective Date, except to the extent such certificate of incorporation and bylaws (or other
 formation documents) are amended pursuant to the Plan or otherwise, and to the extent such
 documents are amended, such documents are deemed to be amended pursuant to the Plan and
 without any further notice to or action, order, or approval of the Bankruptcy Court or any other
 court of competent jurisdiction (other than any requisite filings required under applicable state,
 provincial, or federal law), provided, however, that the Investors may elect to have a new
 holding company formed pursuant to the Securities Purchase Agreements.

 V.     Tax Reporting Matters

         All parties (including the Reorganized Debtors and holders of Claims and Interests) shall
 report for all federal income tax purposes in a manner consistent with the Plan.

 W.     Management Services Agreement

         On the Effective Date, and pursuant to the terms of the Securities Purchase Agreements,
 Reorganized A&P or one of its Affiliates (as agreed among Yucaipa, Liberty Harbor, Mount
 Kellett and the Debtors or Reorganized Debtors, as applicable) shall enter into the Management
 Services Agreement with The Yucaipa Companies, LLC.

 X.     Adequate Assurance Deposits

        Notwithstanding anything to the contrary in the Plan or in an order previously entered by
 the Bankruptcy Court, unless the Debtors (in consultation with the Creditors’ Committee and the
 DIP Facility Administrative Agent) or Reorganized Debtors, with the reasonable consent of the
 Investors, otherwise agree, all adequate assurance deposits provided by the Debtors to utility


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 providers pursuant to the Order Determining Adequate Assurance of Payment for Future Utility
 Services [Docket No. 503] shall be returned to the Reorganized Debtors within 10 business days
 of the Effective Date.

                                           ARTICLE V.

       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.     Rejection of Executory Contracts and Unexpired Leases

          Except as otherwise provided herein and pursuant to the terms and conditions of the
 Securities Purchase Agreements, each Executory Contract and Unexpired Lease not previously
 assumed shall be deemed automatically rejected pursuant to sections 365 and 1123 of the
 Bankruptcy Code as of the Effective Date, unless any such Executory Contract or Unexpired
 Lease: (1) is listed on the schedule of “Assumed Executory Contracts and Unexpired Leases” in
 the Plan Supplement; (2) has been previously assumed by the Debtors by Final Order or has been
 assumed by the Debtors by order of the Bankruptcy Court as of the Effective Date (including
 retroactively), which order becomes a Final Order after the Effective Date; (3) is the subject of a
 motion to assume or reject pending as of the Effective Date; (4) is an Intercompany Contract,
 unless such Intercompany Contract previously was rejected by the Debtors pursuant to a Final
 Order, is the subject of a motion to reject pending on the Effective Date, or is listed on the
 schedule of “Rejected Executory Contracts and Unexpired Leases” in the Plan Supplement; or
 (5) is otherwise assumed pursuant to the terms herein.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving such
 rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.
 Counterparties to Executory Contracts or Unexpired Leases that are deemed rejected as of the
 Effective Date shall have the right to assert any Claim on account of the rejection of such
 Executory Contracts or Unexpired Leases, including under section 502(g) of the Bankruptcy
 Code, subject to compliance with the requirements herein. All Executory Contracts and
 Unexpired Leases rejected by the Debtors on or prior to the Confirmation Date will not be
 continuing obligations of the Debtors or Reorganized Debtors.

        Further, the Plan Supplement will contain a schedule of “Rejected Executory Contracts
 and Unexpired Leases,” as may be amended from time to time with the consent, as provided in
 the Securities Purchase Agreements, of the Investors; provided, however, that any Executory
 Contract and Unexpired Lease not previously assumed, assumed and assigned, or rejected by an
 order of the Bankruptcy Court, and not listed in the schedule of “Rejected Executory Contracts
 and Unexpired Leases” will be rejected on the Effective Date, notwithstanding its exclusion from
 such schedule.

 B.     Assumption of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided herein and pursuant to the terms and
 conditions of the Securities Purchase Agreements, in addition to those Executory Contracts and
 Unexpired Leases previously assumed by the Debtors pursuant to a Final Order (and not
 otherwise subsequently rejected prior to the Effective Date), the Debtors (in consultation with the



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 Creditors’ Committee and the DIP Facility Administrative Agent) shall assume all of the
 Executory Contracts and Unexpired Leases listed on the schedule of “Assumed Executory
 Contracts and Unexpired Leases,” as may be amended from time to time, in the Plan Supplement
 and otherwise identified for assumption pursuant to Article V.A above. With respect to each
 such Executory Contract and Unexpired Lease listed on the schedule of “Assumed Executory
 Contracts and Unexpired Leases,” the Debtors shall have designated a proposed Cure. The
 Confirmation Order shall constitute an order of the Bankruptcy Court approving any such
 assumptions pursuant to sections 365(a) and 1123 of the Bankruptcy Code; however, parties
 shall not be precluded from filing objections to the Debtors’ proposed Cure by the Cure
 Objection Deadline.

         1.      Modifications, Amendments, Supplements, Restatements, or Other Agreements.
 Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is
 assumed by the Debtors or the Reorganized Debtors shall include all modifications, amendments,
 supplements, restatements, or other agreements that in any manner affect such Executory
 Contract or Unexpired Lease, and all rights related thereto, if any, including all easements,
 licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
 interests, unless any of the foregoing agreements has been previously rejected or repudiated or is
 rejected or repudiated hereunder; provided, however, that any anti-assignment provision in any
 assumed Executory Contract and/or Unexpired Lease shall be deemed invalid for the purposes of
 assumption and/or assignment pursuant to section 365 of the Bankruptcy Code in these Chapter
 11 Cases, including assignment of any assumed Executory Contract and/or Unexpired Lease to
 any affiliate of the Debtors on or prior to the Effective Date. Confirmation of the Plan and
 Consummation of the Restructuring Transactions shall not constitute a change of control under
 any Unexpired Lease or Executory Contract assumed by the Debtors on or prior to the Effective
 Date. Any assignment by the Reorganized Debtors of an Executory Contract or Unexpired
 Lease after the Effective Date shall be governed by the terms of the Executory Contract or
 Unexpired Lease and applicable non-bankruptcy law.

        Modifications, amendments, supplements, and restatements to prepetition Executory
 Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
 Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
 Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

        2.     Proofs of Claim Based on Executory Contracts or Unexpired Leases that Have
 Been Assumed. Any and all Proofs of Claim based upon Executory Contracts or Unexpired
 Leases that have been assumed in the Chapter 11 Cases, including hereunder, except Proofs of
 Claim asserting Cures, pursuant to the order approving such assumption, including the
 Confirmation Order, shall be deemed disallowed as of the Effective Date without the need for
 any objection thereto or any further notice to or action, order, or approval of the Bankruptcy
 Court.

         3.    Assumption of Modified Collective Bargaining Agreements. Unless previously
 assumed by the Debtors, on the Effective Date, the Debtors, pursuant to section 365 of the
 Bankruptcy Code, shall assume (a) the Modified Collective Bargaining Agreements as provided
 in the Union Settlement Agreements and as approved by the Bankruptcy Court and (b) the Other
 Collective Bargaining Agreements. Notwithstanding any other provision of this Plan, the cure


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 obligations, if any, related to the assumption of each of the Modified Collective Bargaining
 Agreements and the Other Collective Bargaining Agreements, shall be satisfied by the
 Reorganized Debtors by payment, in the ordinary course, of all obligations arising under the
 Modified Collective Bargaining Agreements and any of the Other Collective Bargaining
 Agreements, including grievance settlements and arbitration awards subject to the Union
 Settlement Agreements and related documents and side letters. All Proofs of Claim filed by the
 UFCW, the UFCW Local Unions, the SEIU and the SEIU Local Union for amounts due under
 any collective bargaining agreement shall be considered satisfied by the agreement and
 obligation to assume and cure in the ordinary course as provided herein.

 C.     Indemnification Obligations

         Notwithstanding anything herein to the contrary, the Reorganized Debtors shall assume
 and be deemed to have assumed the Indemnification Obligations as of and on the Effective Date
 other than any Indemnification Obligation that was previously rejected by the Debtors pursuant
 to an order of the Bankruptcy Court or is the subject of a motion to reject filed by the Debtors
 that was pending as of the Effective Date; provided that the Reorganized Debtors shall assume
 and be deemed to have assumed Indemnification Obligations for a former director or officer that
 was not employed by, engaged by, or serving in such capacity for the Debtors at any time
 following November 1, 2010 only if the Debtor Release provided under Article VIII.D hereof is
 approved by the Bankruptcy Court with respect to such former director or officer; provided
 further that Indemnification Obligations assumed or deemed assumed by the Reorganized
 Debtors pursuant to this Article V.C shall not be limited to obligations arising from or related to
 claims settled or released pursuant to the Debtor Release. Each Indemnification Obligation that
 is assumed or deemed assumed pursuant to this Article V.C shall remain in full force and effect,
 shall not be modified, reduced, discharged, impaired, or otherwise affected in any way (whether
 by the Plan, a Restructuring Transaction, or otherwise), and shall be Unimpaired and unaffected,
 irrespective of when such obligation arose.

 D.     Insurance Policies

         Each insurance policy shall be assumed by the applicable Debtor effective as of the
 Effective Date, pursuant to sections 365 and 1123 of the Bankruptcy Code, to the extent such
 insurance policy is executory, unless such insurance policy previously was rejected by the
 Debtors pursuant to a Bankruptcy Court order, is the subject of a motion to reject pending on the
 Effective Date, or is included in the schedule of “Rejected Executory Contracts and Unexpired
 Leases” contained in the Plan Supplement. Notwithstanding anything to the contrary in the Plan
 or the Plan Supplement (including any other provision that purports to be preemptory or
 supervening), nothing in the Plan or the Plan Supplement shall in any way operate to, or have the
 effect of, impairing the legal, equitable or contractual rights of the Debtors’ insurers, if any, in
 any respect or the rights of the Debtors or any other party against the Debtors’ insurers or in
 respect of any insurance of the Debtors. The rights of the Debtors and the Debtors’ insurers vis-
 à-vis one another shall be determined under their respective insurance policies and any related
 agreements with the Debtors, if any, subject to the rights of the Debtors to assume any such
 policy or agreement in accordance with this provision.




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 E.       Objections to Assumption of Executory Contracts and Unexpired Leases Including Cure
          of Defaults

         With respect to each of the Executory Contracts or Unexpired Leases listed on the
 schedule of “Assumed Executory Contracts and Unexpired Leases,” the Debtors (in consultation
 with the Creditors’ Committee and the DIP Facility Administrative Agent) shall designate a
 proposed Cure, however, the assumption of such Executory Contracts or Unexpired Leases shall
 not be conditioned upon the disposition of all issues with respect to Cure.4 Such Cure shall be
 satisfied by the Debtors or their assignee, if any, by payment of the Cure in Cash on the Effective
 Date or as soon as reasonably practicable thereafter, or on such other terms as may be ordered by
 the Bankruptcy Court or agreed upon by the parties to the applicable Executory Contract or
 Unexpired Lease without any further notice to or action, order, or approval of the Bankruptcy
 Court. Any provisions or terms of the Executory Contracts or Unexpired Leases to be assumed
 pursuant to the Plan that are, or may be, alleged to be in default, shall be satisfied solely by Cure,
 or by an agreed-upon waiver of Cure. Nothing herein or in the Confirmation Order shall impact
 any unresolved Cure disputes or pending Cure objections filed by parties to Executory Contracts
 and Unexpired Leases that have been previously assumed by the Debtors pursuant to section 365
 of the Bankruptcy Code.

         Ten days prior to the objection deadline for the Confirmation Hearing, and subsequently
 as needed pursuant to the amendment of the schedule of “Assumed Executory Contracts and
 Unexpired Leases,” the Debtors shall file with the Bankruptcy Court and serve upon
 counterparties to such Executory Contracts and Unexpired Leases a notice of the proposed
 assumption that will (1) list the applicable Cure, if any, (2) describe the procedures for filing
 objections to the proposed assumption or Cure, and (3) explain the process by which related
 disputes will be resolved by the Bankruptcy Court.

         Except with respect to Executory Contracts and Unexpired Leases in which the Debtors
 (in consultation with the Creditors’ Committee and the DIP Facility Administrative Agent) and
 the applicable counterparties have stipulated in writing to payment of Cure, all requests for
 payment of Cure that differ from the amounts proposed by the Debtors (i.e., Cure objections)
 must be filed with the Claims and Solicitation Agent on or before the Cure Objection Deadline.
 In addition, any non-Cure objection to the assumption of an Executory Contract or Unexpired
 Lease, to be deemed timely, must be filed with the Bankruptcy Court within fourteen days of
 receipt of the applicable notice of proposed assumption. To the extent counterparties file timely
 non-Cure objections to the assumption of any Executory Contracts or Unexpired Leases to be
 assumed pursuant to the Plan, and such disputes are not consensually resolved by the parties,
 such assumption shall be subject to entry of a Final Order approving such assumption, provided,
 that, such assumption will occur retroactively, at the discretion of the Debtors or Reorganized
 Debtors, to the Effective Date if approved by the Bankruptcy Court. Timely raised Cure and
 non-Cure objections to assumption may be litigated after the Effective Date.



 4    For the avoidance of doubt, the Debtors’ assumption of the Executory Contracts and Unexpired Leases,
      pursuant to the Confirmation Order, shall occur as of the Effective Date despite any pending or unresolved
      objections to such assumptions based on Cure grounds.



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         Any request for payment of Cure that is not timely filed shall be disallowed automatically
 and forever barred, estopped, and enjoined from assertion and shall not be enforceable against
 any Reorganized Debtor, without the need for any objection by the Reorganized Debtors or any
 further notice to or action, order, or approval of the Bankruptcy Court, and any Cure shall be
 deemed fully satisfied, released, and discharged upon payment by the Debtors of the amounts
 listed on the Debtors’ proposed Cure schedule, notwithstanding anything included in the
 Schedules or in any Proof of Claim to the contrary; provided, however, that nothing shall prevent
 the Reorganized Debtors from paying any Cure despite the failure of the relevant counterparty to
 file such request for payment of such Cure. The Reorganized Debtors also may settle any Cure
 without any further notice to or action, order, or approval of the Bankruptcy Court.

         If the Debtors or Reorganized Debtors, as applicable, object to any Cure or any other
 matter related to assumption, the Bankruptcy Court shall determine the Allowed amount of such
 Cure and any related issues. If there is a dispute regarding such Cure, the ability of the
 Reorganized Debtors or any assignee to provide “adequate assurance of future performance”
 within the meaning of section 365 of the Bankruptcy Code, or any other matter pertaining to
 assumption, then payment of Cure shall occur as soon as reasonably practicable after entry of a
 Final Order resolving such dispute, approving such assumption (and, if applicable, assignment),
 or as may be agreed upon by the Debtors or Reorganized Debtors, as applicable, and the
 counterparty to the Executory Contract or Unexpired Lease. Any counterparty to an Executory
 Contract or Unexpired Lease that fails to timely object to the proposed assumption of any
 Executory Contract or Unexpired Lease and associated Cure will be deemed to have consented to
 such assumption and Cure. The Debtors or Reorganized Debtors, as applicable, reserve the right
 either to reject or nullify the assumption of any Executory Contract or Unexpired Lease within
 45 days after a Final Order resolving an objection to assumption, or determining the Cure or any
 request for adequate assurance of future performance required to assume such Executory
 Contract or Unexpired Lease, is entered.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise shall result in the full release and satisfaction of any Cures, Claims or defaults,
 whether monetary or nonmonetary, including defaults of provisions restricting the change in
 control or ownership interest composition or other bankruptcy-related defaults, arising under any
 assumed Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption.

 F.     Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise shall not constitute a termination of pre-existing obligations owed to the Debtors under
 such contracts or leases. In particular, notwithstanding any non-bankruptcy law to the contrary,
 the Reorganized Debtors expressly reserve and do not waive any right to receive, or any
 continuing obligation of a counterparty to provide, warranties or continued maintenance
 obligations on goods previously purchased by the contracting Debtors or Reorganized Debtors,
 as applicable, from counterparties to rejected or repudiated Executory Contracts.




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 G.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting
 Claims arising from the rejection of the Executory Contracts and Unexpired Leases pursuant to
 the Plan or otherwise must be filed with the Claims and Solicitation Agent no later than 30 days
 after the later of the Effective Date or the effective date of rejection. In addition, any objection
 to the rejection of an Executory Contract or Unexpired Lease must be filed with the Bankruptcy
 Court no later than 30 days after the later of the Effective Date or the effective date of rejection.
 Any such objection will be scheduled to be heard by the Bankruptcy Court at the Debtors’ or
 Reorganized Debtors’, as applicable, first scheduled omnibus hearing for which such objection is
 timely filed.

 H.     Contracts, Intercompany Contracts, and Leases Entered Into After the Commencement
        Date

        Contracts, Intercompany Contracts, and leases entered into after the Commencement
 Date by any Debtor, and any Executory Contracts and Unexpired Leases assumed by any Debtor,
 may be performed by the applicable Reorganized Debtor in the ordinary course of business.

 I.     Reservation of Rights

        Neither the exclusion nor inclusion of any contract or lease in the Plan Supplement, nor
 anything contained in the Plan, shall constitute an admission by the Debtors that any such
 contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
 Debtor has any liability thereunder. If there is any objection filed to the rejection of an
 Executory Contract or Unexpired Lease, the Debtors or Reorganized Debtors, as applicable, shall
 have 45 days after entry of a Final Order resolving such objection to alter their treatment of such
 contract or lease.

                                           ARTICLE VI.

        PROCEDURES FOR RESOLVING DISPUTED CLAIMS AND INTERESTS

 A.     Allowance of Claims and Interests

          After the Effective Date, each Reorganized Debtor shall have and retain any and all rights
 and defenses such Debtor had with respect to any Claim or Interest immediately prior to the
 Effective Date, including the Causes of Action retained pursuant to Article IV.R above. Except
 as expressly provided in the Plan or in any order entered in the Chapter 11 Cases prior to the
 Effective Date (including the Confirmation Order), no Claim shall become an Allowed Claim
 unless and until (i) the Debtors or Reorganized Debtors, as applicable, agree that such Claim is
 Allowed, provided, however, the Debtors shall not (I) Allow or settle, or (II) seek to Allow or
 settle, in either case any Administrative Claim or Priority Claim in excess of $250,000 arising
 outside the ordinary course of business without the Investors’ consent, which consent shall not
 be unreasonably withheld or delayed; provided, that (w) each of the Investors shall be deemed a
 Negative Notice Party (as defined in the Settlement Procedures Order); (x) each of the Investors
 shall have standing to object to a settlement of a Claim proposed pursuant to the Settlement
 Procedures Order; (y) each of the Investors shall have the same consultation and information


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 rights provided to the Creditors’ Committee and counsel for the DIP Facility Administrative
 Agent pursuant to paragraph 2(g) of the Settlement Procedures Order with respect to proposed
 settlements of Third-Party Claims and Debtors’ Claims (each as defined in the Settlement
 Procedures Order) and (z) the Debtors shall not propose a settlement of an Administrative Claim
 or a Priority Claim outside the ordinary course of business in excess of $250,000 pursuant to
 Paragraph 2(d) of the Settlement Procedures Order without the Investors' prior written consent
 (which consent shall not be unreasonably withheld or delayed), or (ii) such Claim is deemed
 Allowed or the Bankruptcy Court has entered a Final Order, including the Confirmation Order,
 in the Chapter 11 Cases allowing such Claim or Interest. All settled claims approved prior to the
 Effective Date pursuant to a Final Order of the Bankruptcy Court, pursuant to Bankruptcy Rule
 9019 or otherwise shall be binding on all parties.

 B.     Claims and Interests Administration Responsibilities

         Except as otherwise specifically provided in the Plan or the Securities Purchase
 Agreements, after the Effective Date, the Reorganized Debtors shall have the sole authority
 (1) to file, withdraw, or litigate to judgment, objections to Claims or Interests, (2) to settle or
 compromise any Disputed Claim without any further notice to or action, order, or approval by
 the Bankruptcy Court, and (3) to administer and adjust the Claims Register to reflect any such
 settlements or compromises without any further notice to or action, order, or approval by the
 Bankruptcy Court.

 C.     Estimation of Claims and Interests

          Before or after the Effective Date, the Debtors (in consultation with the Creditors’
 Committee and the DIP Facility Administrative Agent) or Reorganized Debtors, as applicable,
 may (but are not required to) at any time request that the Bankruptcy Court estimate any
 Disputed Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy
 Code for any reason, regardless of whether any party previously has objected to such Claim or
 Interest or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy
 Court shall retain jurisdiction to estimate any such Claim or Interest, including during the
 litigation of any objection to any Claim or Interest or during the appeal relating to such
 objection. In the event that the Bankruptcy Court estimates any contingent or unliquidated
 Claim or Interest, that estimated amount shall constitute a maximum limitation on such Claim or
 Interest for all purposes under the Plan (including for purposes of distributions), and the relevant
 Reorganized Debtor may elect to pursue any supplemental proceedings to object to any ultimate
 distribution on such Claim or Interest.

 D.     Expungement or Adjustment to Paid, Satisfied, or Superseded Claims and Interests

         Any Claim or Interest that has been paid, satisfied, or superseded, or any Claim or
 Interest that has been amended or superseded, may be adjusted or expunged on the Claims
 Register by the Reorganized Debtors without a claims objection having to be filed and without
 any further notice to or action, order, or approval of the Bankruptcy Court.




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 E.     No Interest

         Unless otherwise specifically provided for in the Plan (including with respect to the
 Allowed amount of any Claims hereunder), required under applicable bankruptcy law, or agreed
 to by the Debtors, the Confirmation Order, or a postpetition agreement in writing between the
 Debtors and a holder of a Claim, postpetition interest shall not accrue or be paid on Claims, and
 no holder of a Claim shall be entitled to interest accruing on or after the Commencement Date on
 any Claim or right. Additionally, and without limiting the foregoing, interest shall not accrue or
 be paid on any Disputed Claim with respect to the period from the Effective Date to the date a
 final distribution is made on account of such Disputed Claim, if and when such Disputed Claim
 becomes an Allowed Claim.

 F.     DISALLOWANCE OF CLAIMS OR INTERESTS

      EXCEPT AS OTHERWISE AGREED, ANY AND ALL PROOFS OF CLAIM
 FILED AFTER THE APPLICABLE DEADLINE FOR FILING SUCH PROOFS OF
 CLAIM SHALL BE DEEMED DISALLOWED AND EXPUNGED AS OF THE
 EFFECTIVE DATE WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER,
 OR APPROVAL OF THE BANKRUPTCY COURT, AND HOLDERS OF SUCH
 CLAIMS SHALL NOT RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH
 CLAIMS, UNLESS SUCH LATE PROOF OF CLAIM IS DEEMED TIMELY FILED BY
 A FINAL ORDER OF THE BANKRUPTCY COURT.

         All Claims of any Entity from which property is sought by the Debtors under section 542,
 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is
 a transferee of a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549,
 or 724(a) of the Bankruptcy Code shall be disallowed if (1) the Entity, on the one hand, and the
 Debtors or the Reorganized Debtors, on the other hand, agree or the Bankruptcy Court has
 determined by Final Order that such Entity or transferee is liable to turn over any property or
 monies under any of the aforementioned sections of the Bankruptcy Code and (2) such Entity or
 transferee has failed to turn over such property by the date set forth in such agreement or Final
 Order.

 G.     Amendments to Claims

         On or after the Effective Date, except as otherwise provided herein, a Claim may not be
 filed or amended without the authorization of the Bankruptcy Court or the Reorganized Debtors,
 and, to the extent such authorization is not received, any such new or amended Claim filed shall
 be deemed disallowed in full and expunged without any further notice to or action, order, or
 approval of the Bankruptcy Court.

 H.     No Distributions Pending Allowance

        If an objection to a Claim or portion thereof is filed prior to the Effective Date, no
 payment or distribution provided under the Plan shall be made on account of such Claim or
 portion thereof, as applicable, unless and until such Disputed Claim becomes an Allowed Claim.




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 I.     Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions,
 if any, shall be made to the holder of such Allowed Claim; however, the timing of such
 distributions(s) shall be at the sole reasonable discretion of the Debtors or Reorganized Debtors,
 and otherwise in accordance with the provisions of the Plan. As soon as practicable after the
 date that the order or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a
 Final Order, the Distribution Agent shall provide to the holder of such Claim the distribution, if
 any, to which such holder is entitled under the Plan as of the Effective Date, without any interest
 to be paid on account of such Claim unless required under applicable bankruptcy law.

 J.     Disputed Claims Reserve

         On the Effective Date (or as soon thereafter as is reasonably practicable), the
 Reorganized Debtors shall deposit in the Disputed Claims Reserve an amount of cash, as
 determined by the Debtors (in consultation with the Creditors’ Committee and the DIP Facility
 Administrative Agent) or Reorganized Debtors, from the Unsecured Creditor Cash Pool and
 Trade Claims Cash Pool that would likely have been distributed to the holders of all applicable
 Disputed Claims (that, if Allowed, would be entitled to participate in such Claims pools) as if
 such Disputed Claims had been Allowed Claims on the Effective Date, with the amount of such
 Allowed Claims to be determined, solely for the purposes of establishing reserves and for
 maximum distribution purposes, to be (a) the lesser of (i) the asserted amount of each Disputed
 Claim filed with the Bankruptcy Court as set forth in the non-duplicative Proof of Claim or as
 provided by the parties to the Debtors as further information with respect to the Proof of Claim,
 or (if no Proof of Claim was filed) scheduled by the Debtors, and (ii) the amount, if any,
 estimated by the Bankruptcy Court pursuant to section 502(c) of the Bankruptcy Code or ordered
 by other order of the Bankruptcy Court, or (b) the amount otherwise agreed to by the Debtors,
 the Creditors’ Committee, the Investors and the holder of such Disputed Claim for reserve
 purposes.

 K.     Distributions Following Resolution of All Claims

        When all Disputed Claims are resolved and either become Allowed or are disallowed by
 Final Order, to the extent cash remains in the Disputed Claims Reserve after all holders of
 Disputed Claims that have become Allowed and have been paid the full amount they are entitled
 to pursuant to the treatment set forth for the appropriate Class under the Plan, then that excess
 cash shall be distributed to the Unsecured Creditor Cash Pool and holders of Allowed Unsecured
 Claims (to the extent they have not been paid in full) shall receive their Pro Rata share of the
 Unsecured Creditor Cash Pool.

                                          ARTICLE VII.

                       PROVISIONS GOVERNING DISTRIBUTIONS

 A.     Distributions on Account of Claims Allowed as of the Effective Date

        1.      Delivery of Distributions in General. Except as otherwise provided in the Plan or
 the Securities Purchase Agreements, a Final Order, or as otherwise agreed to by the relevant


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 parties on the Distribution Date, the Distribution Agent shall make initial distributions under the
 Plan on account of Claims and Interests Allowed on or before the Effective Date, subject to the
 Reorganized Debtors’ right to object to Claims; provided, however, that (a) Allowed
 Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of
 business during the Chapter 11 Cases or assumed by the Debtors prior to the Effective Date shall
 be paid or performed in the ordinary course of business in accordance with the terms and
 conditions of any controlling agreements, course of dealing, course of business, or industry
 practice, and (b) Allowed Priority Tax Claims and Allowed Secured Tax Claims shall be paid in
 full in Cash on the Distribution Date or in installment payments over a period not more than five
 years after the Commencement Date pursuant to section 1129(a)(9)(C) of the Bankruptcy Code.
 To the extent any Allowed Priority Tax Claim or Allowed Secured Tax Claim is not due and
 owing on the Effective Date, such Claim shall be paid in full in Cash in accordance with the
 terms of any agreement between the Debtors and the holder of such Claim, or as may be due and
 payable under applicable non-bankruptcy law or in the ordinary course of business.

         2.      Delivery of Distributions on account of DIP Facility Claims. The DIP Facility
 Administrative Agent: (a) shall be deemed to be the holder of all DIP Facility Claims, as
 applicable, for purposes of distributions to be made hereunder, and the Distribution Agent shall
 make all distributions on account of Allowed DIP Facility Claims to or on behalf of the DIP
 Facility Administrative Agent; (b) shall hold or direct such distributions for the benefit of the
 holders of Allowed DIP Facility Claims, as applicable; and (c) shall arrange to deliver such
 distributions to or on behalf of such holders of Allowed DIP Facility Claims; provided, however,
 the DIP Facility Administrative Agent shall retain all rights as administrative agent under the
 DIP Facility Credit Agreement in connection with delivery of distributions to DIP Facility
 Lenders; and provided further, however, that the Debtors’ obligations to make distributions in
 accordance with Article II.C shall be deemed satisfied upon delivery of distributions to the DIP
 Facility Administrative Agent.

         3.      Delivery of Distributions on account of the Second Lien Note Claims. The
 Second Lien Trustee: (a) shall be deemed to be the holder of the Second Lien Note Claims, as
 applicable, for purposes of distributions to be made hereunder, and the Distribution Agent shall
 make all distributions on account of such Allowed Second Lien Note Claims to the Second
 Lien Trustee or on behalf of the Second Lien Trustee, provided that the Second Lien Trustee
 has given its prior written consent to the Distribution Agent to make such distributions; (b)
 shall hold or direct such distributions for the benefit of the holders of the Allowed Second
 Lien Note Claims, as applicable; and (c) shall arrange to deliver such distributions to or on
 behalf of the holders of the Allowed Second Lien Note Claims; provided, however, the Second
 Lien Trustee shall retain all rights as trustee under the Second Lien Indenture in connection with
 (i) delivering distributions to the holders of Allowed Second Lien Note Claims in accordance
 with the Plan and the Second Lien Indenture, (ii) permitting the Second Lien Trustee to exercise
 its charging lien under Section 7.07 of the Second Lien Indenture and (iii) allowing the Second
 Lien Trustee to appear in the Chapter 11 Cases after the Effective Date with respect to issues
 related to distributions. For the avoidance of doubt, the Second Lien Trustee shall only be
 required to act to make distributions in accordance with the terms of the Plan. The Debtors’
 obligations to make distributions in accordance with Article III.C.1 above, including with respect
 to distributions due on the Effective Date pursuant to the Plan Support Agreement, shall be
 deemed satisfied upon delivery of distributions to the Second Lien Trustee or, if consent of the


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 Second Lien Trustee is given as provided above, to the Distribution Agent on behalf of the
 Second Lien Trustee, as provided for herein.

         4.       Delivery of Distributions on account of Indenture Claims. Wilmington Trust as
 indenture trustee for the Notes Indentures: (a) shall be deemed to be the holder of all Indenture
 Claims, as applicable, for purposes of distributions to be made hereunder, and the Distribution
 Agent shall make all distributions on account of Allowed Indenture Claims to or on behalf of
 Wilmington Trust; (b) shall hold or direct such distributions for the benefit of the holders of the
 Allowed Indenture Claims, as applicable; (c) shall arrange to deliver such distributions to or on
 behalf of the holders of the Allowed Indenture Claims; provided, however, Wilmington Trust
 shall retain all rights as the indenture trustee for the Convertible Notes, 9.125% Senior Notes and
 Quarterly Interest Bonds under the Notes Indentures in connection with delivery of distributions;
 and provided further, however, that the Debtors’ obligations to make distributions in accordance
 with Article III.C.5, Article III.C.6 and Article III.C.7 shall be deemed satisfied upon delivery of
 distributions to Wilmington Trust.

 B.     Distributions on Account of Claims Allowed After the Effective Date

         1.      Payments and Distributions on Disputed Claims. Except as otherwise provided in
 the Plan, a Final Order, or as agreed to by the relevant parties (including the Debtors, the
 Reorganized Debtors and/or the Investors, as applicable), distributions under the Plan on account
 of Disputed Claims that become Allowed after the Effective Date shall be made on the Periodic
 Distribution Date; provided, however, that (a) Disputed Claims that are Administrative Claims
 with respect to liabilities incurred by the Debtors in the ordinary course of business during the
 Chapter 11 Cases or assumed by the Debtors on or before the Effective Date that become
 Allowed after the Effective Date shall be paid or performed in the ordinary course of business in
 accordance with the terms and conditions of any controlling agreements, course of dealing,
 course of business, or industry practice and (b) Disputed Claims that are Priority Tax Claims or
 Secured Tax Claims that become Allowed Priority Tax Claims or Allowed Secured Tax Claims
 after the Effective Date shall be paid in full in Cash on the Periodic Distribution Date that is at
 least 30 days after the Disputed Claim becomes an Allowed Claim or over a five-year period as
 provided in section 1129(a)(9)(C) of the Bankruptcy Code with annual interest provided by
 applicable non-bankruptcy law.

         2.     Special Rules for Distributions to Holders of Disputed Claims. Notwithstanding
 any provision otherwise in the Plan and except as otherwise agreed by the relevant parties
 (including the Debtors, the Reorganized Debtors and/or the Investors, as applicable), (a) no
 partial payments and no partial distributions shall be made with respect to a Disputed Claim until
 all such disputes in connection with such Disputed Claim have been resolved by settlement or
 Final Order and (b) any Entity that holds both an Allowed Claim and a Disputed Claim shall not
 receive any distribution on the Allowed Claim unless and until all objections to the Disputed
 Claim have been resolved by settlement or Final Order or the Claims have been Allowed or
 expunged. All distributions made pursuant to the Plan on account of a Disputed Claim that is
 deemed an Allowed Claim by the Bankruptcy Court shall be made together with any dividends,
 payments, or other distributions made on account of, as well as any obligations arising from, the
 distributed property as if such Allowed Claim had been an Allowed Claim on the dates
 distributions were previously made to holders of Allowed Claims included in the applicable


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 Class; provided, however, that no interest shall be paid on account of such Allowed Claims
 unless required under applicable bankruptcy law or specifically provided for in the Plan
 (including with respect to the Allowed amount of any Claims hereunder).

 C.     Delivery of Distributions

         1.       Record Date for Distributions. On the Distribution Record Date, the Claims
 Register shall be closed and the Distribution Agent shall be authorized and entitled to recognize
 only those record holders listed on the Claims Register as of the close of business on the
 Distribution Record Date. Notwithstanding the foregoing, if a Claim or Interest, other than one
 based on a publicly traded Certificate is transferred less than 20 days before the Distribution
 Record Date, the Distribution Agent shall make distributions to the transferee only to the extent
 practical and in any event only if the relevant transfer form contains an unconditional and
 explicit certification and waiver of any objection to the transfer by the transferor.

          2.     Distribution Process. Except as otherwise provided herein, the Distribution Agent
 shall make all distributions to holders of Allowed Claims required under the Plan, except that
 distributions to holders of Allowed Claims governed by a separate agreement and administered
 by a Servicer shall be deposited with the appropriate Servicer, at which time such distributions
 shall be deemed complete, and the Servicer shall deliver such distributions in accordance with
 the Plan and the terms of the governing agreement. Except as otherwise provided in the Plan,
 and notwithstanding any authority to the contrary, distributions to holders of Allowed Claims
 shall be made to holders of record as of the Distribution Record Date by the Distribution Agent
 or a Servicer, as appropriate: (a) to the signatory set forth on any of the Proofs of Claim filed by
 such holder or other representative identified therein (or at the last known addresses of such
 holder if no Proof of Claim is filed or if the Debtors have been notified in writing of a change of
 address); (b) at the addresses set forth in any written notices of address changes delivered to the
 Distribution Agent after the date of any related Proof of Claim; (c) in accordance with Federal
 Rule of Civil Procedure 4, as modified and made applicable by Bankruptcy Rule 7004 if no
 Proof of Claim has been filed and the Distribution Agent has not received a written notice of a
 change of address; (d) at the addresses reflected in the Schedules if no Proof of Claim has been
 filed and the Distribution Agent has not received a written notice of a change of address; or
 (e) on any counsel that has appeared in the Chapter 11 Cases on the holder’s behalf. The
 Debtors, the Reorganized Debtors, and the Distribution Agent, as applicable, shall not incur any
 liability whatsoever on account of any distributions under the Plan.

         3.      Accrual of Dividends and Other Rights. For purposes of determining the accrual
 of dividends or other rights after the Effective Date, the NewCo Equity shall be deemed issued as
 of the Effective Date regardless of the date on which it is actually issued, dated, authenticated, or
 distributed; provided however, the Reorganized Debtors shall not pay any such dividends or
 distribute such other rights, if any, until after the issuance of NewCo Equity actually take place.

         4.    Compliance Matters. In connection with the Plan, to the extent applicable, the
 Reorganized Debtors and the Distribution Agent shall comply with all tax withholding and
 reporting requirements imposed on them by any Governmental Unit, and all distributions
 pursuant to the Plan shall be subject to such withholding and reporting requirements.
 Notwithstanding any provision in the Plan to the contrary, the Reorganized Debtors and the


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 Distribution Agent shall be authorized to take all actions necessary or appropriate to comply with
 such withholding and reporting requirements, including liquidating a portion of the distribution
 to be made under the Plan to generate sufficient funds to pay applicable withholding taxes,
 withholding distributions pending receipt of information necessary to facilitate such
 distributions, or establishing any other mechanisms they believe are reasonable and appropriate.
 The Reorganized Debtors reserve the right to allocate all distributions made under the Plan in
 compliance with all applicable wage garnishments, alimony, child support, and other spousal
 awards, liens, and encumbrances.

         5.     Foreign Currency Exchange Rate. Except as otherwise provided in the Plan or a
 Bankruptcy Court order, as of the Effective Date, any Claim asserted in currency other than U.S.
 dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
 exchange rate as of Monday, December 13, 2010 as quoted at 4:00 p.m. (EDT), mid-range spot
 rate of exchange for the applicable currency as published in The Wall Street Journal, National
 Edition, on Monday, December 13, 2010.

        6.      Fractional, De Minimis, Undeliverable, and Unclaimed Distributions.

                a.     Fractional Distributions. Notwithstanding any other provision of the Plan
        to the contrary, the Distribution Agent shall not be required to make distributions or
        payments of fractions of dollars. Whenever any payment of Cash of a fraction of a dollar
        pursuant to the Plan would otherwise be required, the actual payment shall reflect a
        rounding of such fraction to the nearest whole dollar (up or down), with half dollars or
        less being rounded down.

                 b.     De Minimis Distributions. Neither the Distribution Agent nor any
        Servicer shall have any obligation to make a distribution on account of an Allowed Claim
        if (i) the aggregate amount of all distributions authorized to be made on the Periodic
        Distribution Date in question is or has an economic value less than $250,000, or (ii) the
        amount to be distributed to the specific holder of an Allowed Claim on the particular
        Periodic Distribution Date does not constitute a final distribution to such holder. The
        Distribution Agent need not make any distribution on account of an Allowed Claim to a
        specific holder if such distribution on such Allowed Claim is less than $25.00.

                c.      Undeliverable Distributions. If any distribution to a holder of an Allowed
        Claim is returned to a Distribution Agent as undeliverable, no further distributions shall
        be made to such holder unless and until such Distribution Agent is notified in writing of
        such holder’s then-current address, at which time all currently due missed distributions
        shall be made to such holder on the next Periodic Distribution Date. Undeliverable
        distributions shall remain in the possession of the Reorganized Debtors until such time as
        a distribution becomes deliverable, or such distribution reverts to the Reorganized
        Debtors or is cancelled pursuant to Article VII.C.6.d below, and shall not be
        supplemented with any interest, dividends, or other accruals of any kind.

               d.      Reversion. Any distribution under the Plan that is an Unclaimed
        Distribution for a period of six months after distribution shall be deemed unclaimed
        property under section 347(b) of the Bankruptcy Code and such Unclaimed Distribution


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        shall revest in the Reorganized Debtors and, to the extent such Unclaimed Distribution is
        NewCo Equity, shall be deemed cancelled. Upon such revesting, the Claim of any holder
        or its successors with respect to such property shall be cancelled, discharged, and forever
        barred notwithstanding any applicable federal or state escheat, abandoned, or unclaimed
        property laws to the contrary. The provisions of the Plan regarding undeliverable
        distributions and Unclaimed Distributions shall apply with equal force to distributions
        that are issued by the Debtors, the Reorganized Debtors, or the Distribution Agent made
        pursuant to any indenture or Certificate (but only with respect to the initial distribution by
        the Servicer to holders that are entitled to be recognized under the relevant indenture or
        Certificate and not with respect to Entities to whom those recognized holders distribute),
        notwithstanding any provision in such indenture or Certificate to the contrary and
        notwithstanding any otherwise applicable federal or state escheat, abandoned, or
        unclaimed property law.

         7.      Surrender of Cancelled Instruments or Securities. Except as otherwise provided
 in the Plan, on the Effective Date, or as soon as reasonably practicable thereafter, each holder of
 a Certificate shall be deemed to have surrendered such Certificate to the Distribution Agent or a
 Servicer (to the extent the relevant Claim is governed by an agreement and administered by a
 Servicer). Such Certificate shall be cancelled solely with respect to the Debtors, and such
 cancellation shall not alter the obligations or rights of any non-Debtor third parties vis-à-vis one
 another with respect to such Certificate. Notwithstanding that a holder of a Certificate will be
 deemed to have surrendered such Certificate, regardless of any actual surrender, the deemed
 surrender of a Certificate shall have the same effect as if such holder had actually surrendered
 such Certificate (including but not limited to the discharge of such holder’s Claim pursuant to the
 Plan), and such holder shall be deemed to have relinquished all rights, Claims and interests with
 respect to such Certificate. Notwithstanding the foregoing paragraph, this Article VII.C.7 shall
 not apply to any Claims Reinstated pursuant to the terms of the Plan.

         8.      Lost, Stolen, Mutilated, or Destroyed Debt Securities. Any holder of Allowed
 Claims evidenced by a Certificate that has been lost, stolen, mutilated, or destroyed shall, in lieu
 of surrendering such Certificate, deliver to the Distribution Agent or Servicer, if applicable, an
 affidavit of loss acceptable to the Distribution Agent or Servicer setting forth the unavailability
 of the Certificate, and such additional indemnity as may be required reasonably by the
 Distribution Agent or Servicer to hold the Distribution Agent or Servicer harmless from any
 damages, liabilities, or costs incurred in treating such holder as a holder of an Allowed Claim.
 Upon compliance with this procedure by a holder of an Allowed Claim evidenced by such a lost,
 stolen, mutilated, or destroyed Certificate, such holder shall, for all purposes pursuant to the
 Plan, be deemed to have surrendered such Certificate.

 D.     Claims Paid or Payable by Third Parties

         1.      Claims Paid by Third Parties. The Claims and Solicitation Agent shall reduce in
 full a Claim, and such Claim shall be disallowed without a Claims objection having to be filed
 and without any further notice to or action, order, or approval of the Bankruptcy Court, to the
 extent that the holder of such Claim receives payment in full on account of such Claim from a
 party that is not a Debtor or Reorganized Debtor. To the extent a holder of a Claim receives a
 distribution on account of such Claim and receives payment from a party that is not a Debtor or a


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 Reorganized Debtor on account of such Claim, such holder shall, within two weeks of receipt
 thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the
 holder’s total recovery on account of such Claim from the third party and under the Plan exceeds
 the amount of such Claim as of the date of any such distribution under the Plan.

         2.      Claims Payable by Insurance Carriers. No distributions under the Plan shall be
 made on account of an Allowed Claim that is payable pursuant to one of the Debtors’ insurance
 policies until the holder of such Allowed Claim has exhausted all remedies with respect to such
 insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full
 a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately
 upon such insurers’ agreement, such Claim may be expunged to the extent of any agreed upon
 satisfaction on the Claims Register by the Claims and Solicitation Agent without a Claims
 objection having to be filed and without any further notice to or action, order, or approval of the
 Bankruptcy Court.

         3.      Applicability of Insurance Policies. Except as otherwise provided in the Plan,
 distributions to holders of Allowed Claims shall be in accordance with the provisions of any
 applicable insurance policy. Nothing contained in the Plan shall constitute or be deemed a
 waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity,
 including insurers under any policies of insurance, nor shall anything contained herein constitute
 or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by
 such insurers.

 E.     Setoffs

         Except as otherwise expressly provided for in the Plan or a Final Order of the Bankruptcy
 Code, each Reorganized Debtor pursuant to the Bankruptcy Code (including section 553 of the
 Bankruptcy Code), applicable non-bankruptcy law, or as may be agreed to by the holder of a
 Claim, may set off against any Allowed Claim and the distributions to be made pursuant to the
 Plan on account of such Allowed Claim (before any distribution is made on account of such
 Allowed Claim), any Claims, rights, and Causes of Action of any nature that such Debtor or
 Reorganized Debtor, as applicable, may hold against the holder of such Allowed Claim, to the
 extent such Claims, rights, or Causes of Action against such holder have not been otherwise
 compromised or settled on or prior to the Effective Date (whether pursuant to the Plan or
 otherwise); provided, however, that neither the failure to effect such a setoff nor the allowance of
 any Claim pursuant to the Plan shall constitute a waiver or release by such Reorganized Debtor
 of any such Claims, rights, and Causes of Action that such Reorganized Debtor may possess
 against such holder. In no event shall any Holder of a Claim be entitled to set off any Claim
 against any Claim, right, or Cause of Action of a Debtor or a Reorganized Debtor, as applicable,
 unless such Holder has timely filed a Proof of Claim with the Bankruptcy Court preserving such
 setoff.

 F.     Allocation Between Principal and Accrued Interest

        Except as otherwise provided in the Plan, the aggregate consideration paid to holders
 with respect to their Allowed Claims shall be treated pursuant to the Plan as allocated first to the




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 principal amount of such Allowed Claims (to the extent thereof) and, thereafter, to the interest, if
 any permitted pursuant to the Plan, accrued through the Effective Date.

                                          ARTICLE VIII.

                        EFFECT OF CONFIRMATION OF THE PLAN

 A.     DISCHARGE OF CLAIMS AND TERMINATION OF INTERESTS

      EXCEPT AS OTHERWISE PROVIDED IN THE PLAN AND EFFECTIVE AS OF
 THE EFFECTIVE DATE: (1) THE RIGHTS AFFORDED IN THE PLAN AND THE
 TREATMENT OF ALL CLAIMS AND INTERESTS SHALL BE IN EXCHANGE FOR
 AND IN COMPLETE SATISFACTION, DISCHARGE, AND RELEASE OF ALL
 CLAIMS AND INTERESTS OF ANY NATURE WHATSOEVER, INCLUDING ANY
 INTEREST ACCRUED ON SUCH CLAIMS FROM AND AFTER THE
 COMMENCEMENT DATE, AGAINST THE DEBTORS OR ANY OF THEIR ASSETS,
 PROPERTY, OR ESTATES; (2) THE PLAN SHALL BIND ALL HOLDERS OF
 CLAIMS AND INTERESTS, NOTWITHSTANDING WHETHER ANY SUCH
 HOLDERS FAILED TO VOTE TO ACCEPT OR REJECT THE PLAN, VOTED TO
 ACCEPT THE PLAN OR VOTED TO REJECT THE PLAN; (3) ALL CLAIMS AND
 INTERESTS SHALL BE SATISFIED, DISCHARGED, AND RELEASED IN FULL, AND
 THE DEBTORS’ LIABILITY WITH RESPECT THERETO SHALL BE
 EXTINGUISHED COMPLETELY, INCLUDING ANY LIABILITY OF THE KIND
 SPECIFIED UNDER SECTION 502(G) OF THE BANKRUPTCY CODE; AND (4) ALL
 ENTITIES SHALL BE PRECLUDED FROM ASSERTING AGAINST THE DEBTORS,
 THE DEBTORS’ ESTATES, THE REORGANIZED DEBTORS, THEIR SUCCESSORS
 AND ASSIGNS, AND THEIR ASSETS AND PROPERTIES ANY OTHER CLAIMS OR
 INTERESTS BASED UPON ANY DOCUMENTS, INSTRUMENTS, OR ANY ACT OR
 OMISSION, TRANSACTION, OR OTHER ACTIVITY OF ANY KIND OR NATURE
 THAT OCCURRED PRIOR TO THE EFFECTIVE DATE.

 B.     Subordinated Claims

         The allowance, classification, and treatment of all Allowed Claims and Interests and the
 respective distributions and treatments under the Plan take into account and conform to the
 relative priority and rights of the Claims and Interests in each Class in connection with any
 contractual, legal, and equitable subordination rights relating thereto, whether arising under
 general principles of equitable subordination, section 510 of the Bankruptcy Code, or otherwise,
 and any such rights shall be settled, compromised, and released pursuant to the Plan.
 Specifically, pursuant to section 510 of the Bankruptcy Code, the Reorganized Debtors reserve
 the right to re-classify any Allowed Claim in accordance with any contractual, legal, or equitable
 subordination relating thereto.

 C.     Compromise and Settlement of Claims and Controversies

        Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in
 consideration for the distributions and other benefits provided pursuant to the Plan or any



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 distribution to be made on account of an Allowed Claim, the provisions of the Plan shall
 constitute a good faith compromise of all Claims, Interests, and controversies relating to the
 contractual, legal, and subordination rights that a holder of a Claim or Interest may have with
 respect to any Allowed Claim. The entry of the Confirmation Order shall constitute the
 Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and
 controversies, as well as a finding by the Bankruptcy Court that any such compromise or
 settlement, including the Substantive Consolidation Settlement, is in the best interests of the
 Debtors, their Estates, and holders of Claims and Interests and is fair, equitable, and reasonable.
 In accordance with the provisions of the Plan, pursuant to section 363 of the Bankruptcy Code
 and Bankruptcy Rule 9019(a), without any further notice to or action, order, or approval of the
 Bankruptcy Court, after the Effective Date, the Reorganized Debtors may compromise and settle
 Claims against them and Causes of Action against other Entities.

 D.     RELEASES BY THE DEBTORS

      NOTWITHSTANDING ANYTHING CONTAINED HEREIN TO THE
 CONTRARY, AND PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE,
 ON THE EFFECTIVE DATE AND EFFECTIVE AS OF THE EFFECTIVE DATE, FOR
 GOOD AND VALUABLE CONSIDERATION, THE ADEQUACY OF WHICH IS
 HEREBY CONFIRMED, INCLUDING: (1) THE SETTLEMENT, RELEASE, AND
 COMPROMISE OF DEBT AND ALL OTHER GOOD AND VALUABLE
 CONSIDERATION PAID PURSUANT HERETO; AND (2) THE SERVICES OF THE
 DEBTORS’ PRESENT AND FORMER OFFICERS, DIRECTORS, MANAGERS, AND
 ADVISORS IN FACILITATING THE EXPEDIENT IMPLEMENTATION OF THE
 RESTRUCTURING TRANSACTIONS CONTEMPLATED HEREBY, EACH OF THE
 DEBTORS, THE REORGANIZED DEBTORS AND THE DEBTORS’ ESTATES
 (INCLUDING ALL PARTIES CLAIMING DERIVATIVELY OR THROUGH THE
 DEBTOR OR THE REORGANIZED DEBTORS OR THEIR ESTATES) OR THEIR
 AFFILIATES DISCHARGE AND RELEASE AND SHALL BE DEEMED TO HAVE
 PROVIDED A FULL DISCHARGE AND RELEASE TO EACH RELEASED PARTY
 AND THEIR RESPECTIVE PROPERTY (THE “DEBTOR RELEASE”) FROM ANY
 AND ALL CLAIMS, OBLIGATIONS, DEBTS, RIGHTS, SUITS, DAMAGES,
 REMEDIES, RIGHTS OF SETOFF, CAUSES OF ACTION, AND LIABILITIES
 WHATSOEVER (INCLUDING ANY DERIVATIVE CLAIMS ASSERTED ON BEHALF
 OF THE DEBTORS) WHETHER KNOWN OR UNKNOWN, MATURED OR
 UNMATURED, FORESEEN OR UNFORESEEN, LIQUIDATED OR UNLIQUIDATED,
 CONTINGENT OR NON-CONTINGENT, EXISTING AS OF THE EFFECTIVE DATE
 IN LAW, EQUITY OR OTHERWISE, WHETHER FOR TORT, CONTRACT
 VIOLATIONS OF FEDERAL OR STATE SECURITIES LAWS OR OTHERWISE,
 ARISING FROM OR RELATED IN ANY WAY TO THE DEBTORS, THE SECURITIES
 PURCHASE AGREEMENTS, THE PLAN SUPPORT AGREEMENT, THE
 RESTRUCTURING TRANSACTIONS, THE CHAPTER 11 CASES, THE ISSUANCE
 OF ANY SECURITY OF THE DEBTORS, THE SUBJECT MATTER OF, OR THE
 TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
 IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
 ARRANGEMENTS BETWEEN ANY DEBTOR, ANY RELEASED PARTIES, THE
 RESTRUCTURING OF CLAIMS AND INTERESTS PRIOR TO OR IN THE CHAPTER


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 11 CASES, THE NEGOTIATION, FORMULATION OR PREPARATION OF THE
 PLAN, THE DISCLOSURE STATEMENT, THE PLAN SUPPLEMENT, THE PLAN
 SUPPORT AGREEMENT, THE SECURITIES PURCHASE AGREEMENTS, OR
 RELATED AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS, UPON ANY
 OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
 OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE,
 INCLUDING THOSE THAT ANY OF THE DEBTORS WOULD HAVE BEEN
 LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER
 INDIVIDUALLY OR COLLECTIVELY) OR THAT ANY HOLDER OF A CLAIM OR
 AN INTEREST OR OTHER ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO
 ASSERT ON BEHALF OF THE DEBTORS OR ANY OF THEIR ESTATES;
 PROVIDED, HOWEVER, THAT THE FOREGOING DEBTOR RELEASE SHALL NOT
 OPERATE TO WAIVE OR RELEASE ANY CLAIMS OR LIABILITIES OF ANY
 DEBTOR: (1) ARISING UNDER ANY CONTRACTUAL OBLIGATION OWED TO
 THE DEBTORS, INCLUDING UNDER THE SECURITIES PURCHASE
 AGREEMENTS OR THE PLAN SUPPORT AGREEMENT; (2) EXPRESSLY SET
 FORTH IN AND PRESERVED BY THE PLAN, THE PLAN SUPPLEMENT, OR
 RELATED DOCUMENTS; OR (3) CONSTITUTING INTERCOMPANY CLAIMS
 THAT ARE REINSTATED PURSUANT TO THE PLAN. NOTWITHSTANDING
 ANYTHING CONTAINED HEREIN TO THE CONTRARY, THE PLAN DOES NOT
 RELEASE ANY CAUSES OF ACTION THAT THE DEBTORS OR THE
 REORGANIZED DEBTORS HAVE OR MAY HAVE NOW OR IN THE FUTURE
 AGAINST ANY PARTY (INCLUDING, BUT NOT LIMITED TO, A RELEASED
 PARTY) ARISING OUT OF OR RELATING TO ANY ACT OR OMISSION OF A
 RELEASED PARTY THAT CONSTITUTES WILLFUL MISCONDUCT OR GROSS
 NEGLIGENCE, EACH AS DETERMINED BY A FINAL ORDER OF THE
 BANKRUPTCY COURT.

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019,
 OF THE DEBTOR RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE
 RELATED PROVISIONS AND DEFINITIONS CONTAINED HEREIN, AND
 FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT
 THE DEBTOR RELEASE IS: (1) IN EXCHANGE FOR THE GOOD AND VALUABLE
 CONSIDERATION PROVIDED BY THE RELEASING PARTIES; (2) A GOOD FAITH
 SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY THE
 DEBTOR RELEASE; (3) IN THE BEST INTERESTS OF THE DEBTORS AND ALL
 HOLDERS OF CLAIMS AND INTERESTS; (4) FAIR, EQUITABLE AND
 REASONABLE; (5) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
 FOR HEARING; AND (6) A BAR TO ANY OF THE DEBTORS OR THE
 REORGANIZED DEBTORS ASSERTING ANY CLAIM OR CAUSE OF ACTION
 RELEASED PURSUANT TO THE DEBTOR RELEASE.

 E.    RELEASES BY HOLDERS OF CLAIMS

     NOTWITHSTANDING ANYTHING CONTAINED HEREIN TO THE
 CONTRARY, ON THE EFFECTIVE DATE AND AS OF THE EFFECTIVE DATE, THE


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 RELEASING PARTIES DISCHARGE AND RELEASE (AND EACH ENTITY SO
 DISCHARGED AND RELEASED SHALL BE DEEMED DISCHARGED AND
 RELEASED BY THE RELEASING PARTIES) (THE “THIRD PARTY RELEASE”) THE
 REORGANIZED DEBTORS, THEIR ESTATES, THEIR RESPECTIVE PROPERTY,
 AND THE RELEASED PARTIES AND THEIR RESPECTIVE SUCCESSORS AND
 ASSIGNS AND THEIR RESPECTIVE PROPERTY FROM ANY AND ALL CLAIMS,
 INTERESTS, OBLIGATIONS, DEBTS, RIGHTS, SUITS, DAMAGES, REMEDIES,
 CAUSES OF ACTION, AND LIABILITIES WHATSOEVER, INCLUDING ANY
 DERIVATIVE CLAIMS ASSERTED ON BEHALF OF THE RELEASING PARTY,
 WHETHER KNOWN OR UNKNOWN, MATURED OR UNMATURED, FORESEEN OR
 UNFORESEEN, EXISTING OR HEREINAFTER ARISING, IN LAW, EQUITY, OR
 OTHERWISE, WHETHER FOR TORT, CONTRACT, VIOLATION OF FEDERAL OR
 STATE SECURITIES LAW OR OTHERWISE, ARISING FROM OR RELATED IN
 ANY WAY TO THE DEBTORS, THE SECURITIES PURCHASE AGREEMENTS, THE
 PLAN SUPPORT AGREEMENT, THE RESTRUCTURING TRANSACTIONS, THE
 CHAPTER 11 CASES, THE ISSUANCE OF ANY SECURITY OF THE DEBTORS, THE
 SUBJECT MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO,
 ANY CLAIM OR INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR
 CONTRACTUAL ARRANGEMENTS BETWEEN ANY DEBTOR, ANY RELEASED
 PARTIES, THE RESTRUCTURING OF CLAIMS AND INTERESTS PRIOR TO OR IN
 THE CHAPTER 11 CASES, THE NEGOTIATION, FORMULATION OR
 PREPARATION OF THE PLAN, THE DISCLOSURE STATEMENT, THE PLAN
 SUPPLEMENT, THE PLAN SUPPORT AGREEMENT, THE SECURITIES PURCHASE
 AGREEMENTS, OR RELATED AGREEMENTS, INSTRUMENTS, OR OTHER
 DOCUMENTS, UPON ANY OTHER ACT OR OMISSION, TRANSACTION,
 AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR
 BEFORE THE EFFECTIVE DATE, INCLUDING THOSE THAT ANY OF THE
 DEBTORS WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN ITS OWN
 RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR THAT ANY
 HOLDER OF A CLAIM OR AN INTEREST OR OTHER ENTITY WOULD HAVE
 BEEN LEGALLY ENTITLED TO ASSERT ON BEHALF OF ITSELF, THE DEBTORS
 OR ANY OF THEIR ESTATES; PROVIDED, HOWEVER, THAT THE FOREGOING
 THIRD PARTY RELEASE SHALL NOT OPERATE TO RELEASE CLAIMS,
 OBLIGATIONS, DEBTS, RIGHTS, SUITS, DAMAGES, REMEDIES, CAUSES OF
 ACTION, AND LIABILITIES OF ANY RELEASING PARTY: (1) AGAINST A
 RELEASING PARTY OR A PARTY RELEASING UNDER THIS THIRD PARTY
 RELEASE ARISING FROM ANY CONTRACTUAL OBLIGATIONS OWED TO THE
 RELEASING PARTY OR LIABILITIES OF ANY RELEASING PARTY; (2) ARISING
 UNDER THE SECURITIES PURCHASE AGREEMENTS OR THE PLAN SUPPORT
 AGREEMENT; (3) EXPRESSLY SET FORTH IN AND PRESERVED BY THE PLAN,
 THE PLAN SUPPLEMENT, OR RELATED DOCUMENTS; OR (4) AGAINST A
 PROFESSIONAL WITH RESPECT TO SUCH PROFESSIONAL’S FINAL FEE
 APPLICATION OR ACCRUED PROFESSIONAL COMPENSATION CLAIMS IN
 THESE CHAPTER 11 CASES.      NOTWITHSTANDING ANYTHING TO THE
 CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT
 RELEASE ANY (1) POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY



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 UNDER THE PLAN OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT
 (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO
 IMPLEMENT THE PLAN, OR (2) CLAIMS ARISING UNDER THE SECURITIES
 PURCHASE AGREEMENTS. FOR THE AVOIDANCE OF DOUBT, NOTHING IN
 THIS PARAGRAPH SHALL IN ANY WAY AFFECT THE OPERATION OF ARTICLE
 VIII.A OF THE PLAN, PURSUANT TO SECTION 1141(D) OF THE BANKRUPTCY
 CODE.

      NOTWITHSTANDING ANYTHING IN THE PLAN, NO PERSON SHALL BE
 DISCHARGED, RELEASED, OR RELIEVED FROM ANY LIABILITY ARISING
 UNDER ERISA OR THE INTERNAL REVENUE CODE SOLELY WITH RESPECT TO
 THE A&P PENSION PLANS AS A RESULT OF THE DEBTORS’ REORGANIZATION
 PROCEEDINGS OR CONFIRMATION OF THE PLAN. NOR SHALL THE PENSION
 BENEFIT GUARANTY CORPORATION, THE A&P PENSION PLANS, OR ANY
 OTHER PERSON BE ENJOINED OR PRECLUDED FROM ENFORCING ANY
 LIABILITY ARISING UNDER ERISA OR THE INTERNAL REVENUE CODE
 SOLELY WITH RESPECT TO THE A&P PENSION PLANS AS A RESULT OF THE
 DEBTORS’ REORGANIZATION PROCEEDINGS, THE PLAN’S PROVISIONS OR
 THE PLAN’S CONFIRMATION.

      NOTWITHSTANDING ANYTHING CONTAINED HEREIN TO THE
 CONTRARY, THE PLAN DOES NOT RELEASE ANY CAUSES OF ACTION THAT
 THE DEBTORS OR THE REORGANIZED DEBTORS HAVE OR MAY HAVE NOW
 OR IN THE FUTURE AGAINST ANY PARTY (INCLUDING, BUT NOT LIMITED TO,
 A RELEASED PARTY) ARISING OUT OF OR RELATING TO ANY ACT OR
 OMISSION OF A RELEASED PARTY THAT CONSTITUTES WILLFUL
 MISCONDUCT OR GROSS NEGLIGENCE, EACH AS DETERMINED BY A FINAL
 ORDER OF THE BANKRUPTCY COURT.

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019,
 OF THE THIRD PARTY RELEASE, WHICH INCLUDES BY REFERENCE EACH OF
 THE RELATED PROVISIONS AND DEFINITIONS CONTAINED HEREIN, AND
 FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT
 THE THIRD PARTY RELEASE IS: (1) IN EXCHANGE FOR THE GOOD AND
 VALUABLE CONSIDERATION PROVIDED BY THE RELEASING PARTIES; (2) A
 GOOD FAITH SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY
 THE THIRD PARTY RELEASE; (3) IN THE BEST INTERESTS OF THE DEBTORS
 AND ALL HOLDERS OF CLAIMS AND INTERESTS; (4) FAIR, EQUITABLE AND
 REASONABLE; (5) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
 FOR HEARING; AND (6) A BAR TO ANY RELEASING PARTIES ASSERTING ANY
 CLAIM OR CAUSE OF ACTION RELEASED PURSUANT TO THE THIRD PARTY
 RELEASE.




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 F.    WAIVER OF STATUTORY LIMITATIONS ON RELEASES

       EACH OF THE RELEASING PARTIES IN EACH OF THE RELEASES
 CONTAINED IN ARTICLE VIII.D AND ARTICLE VIII.E ABOVE EXPRESSLY
 ACKNOWLEDGES THAT ALTHOUGH ORDINARILY A GENERAL RELEASE MAY
 NOT EXTEND TO CLAIMS WHICH THE RELEASING PARTY DOES NOT KNOW
 OR SUSPECT TO EXIST IN HIS FAVOR, WHICH IF KNOWN BY IT MAY HAVE
 MATERIALLY AFFECTED ITS SETTLEMENT WITH THE PARTY RELEASED,
 THEY HAVE CAREFULLY CONSIDERED AND TAKEN INTO ACCOUNT IN
 DETERMINING TO ENTER INTO THE ABOVE RELEASES THE POSSIBLE
 EXISTENCE OF SUCH UNKNOWN LOSSES OR CLAIMS. WITHOUT LIMITING
 THE GENERALITY OF THE FOREGOING, EACH RELEASING PARTY EXPRESSLY
 WAIVES ANY AND ALL RIGHTS CONFERRED UPON IT BY ANY STATUTE OR
 RULE OF LAW WHICH PROVIDES THAT A RELEASE DOES NOT EXTEND TO
 CLAIMS WHICH THE CLAIMANT DOES NOT KNOW OR SUSPECT TO EXIST IN
 ITS FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY
 IT MAY HAVE MATERIALLY AFFECTED ITS SETTLEMENT WITH THE
 RELEASED PARTY, INCLUDING, WITHOUT LIMITATION, THE PROVISIONS OF
 CALIFORNIA CIVIL CODE SECTION 1542. THE RELEASES CONTAINED IN
 ARTICLE VIII.D AND ARTICLE VIII.E ARE EFFECTIVE REGARDLESS OF
 WHETHER THOSE RELEASED MATTERS ARE PRESENTLY KNOWN, UNKNOWN,
 SUSPECTED OR UNSUSPECTED, FORESEEN OR UNFORESEEN.

 G.    EXCULPATION

      THE EXCULPATED PARTIES SHALL NEITHER HAVE, NOR INCUR ANY
 LIABILITY TO ANY ENTITY FOR ANY ACT TAKEN OR OMITTED TO BE TAKEN
 IN CONNECTION WITH, OR RELATED TO FORMULATING, NEGOTIATING,
 PREPARING,     DISSEMINATING,    IMPLEMENTING,     ADMINISTERING,
 CONFIRMING OR EFFECTING THE EFFECTIVE DATE OF THE PLAN, THE
 DISCLOSURE STATEMENT, THE SECURITIES PURCHASE AGREEMENTS, THE
 PLAN SUPPORT AGREEMENT, THE RESTRUCTURING TRANSACTIONS, THE
 ISSUANCE AND/OR DISTRIBUTION OF NEWCO EQUITY, THE NEW SECOND
 LIEN NOTES, THE REPLACEMENT SECOND LIEN NOTES, IF APPLICABLE, THE
 NEW CONVERTIBLE THIRD LIEN NOTES, THE INVESTMENT WARRANTS OR
 ANY CONTRACT, INSTRUMENT, RELEASE OR OTHER AGREEMENT OR
 DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE PLAN
 OR ANY OTHER PRE-PETITION OR POST-PETITION ACT TAKEN OR OMITTED
 TO BE TAKEN IN CONNECTION WITH OR IN CONTEMPLATION OF THE PLAN
 OR THE RESTRUCTURING OF THE DEBTORS (COLLECTIVELY, “EXCULPATED
 CLAIMS”); PROVIDED, THAT THE FOREGOING PROVISIONS OF THIS
 EXCULPATION SHALL HAVE NO EFFECT ON (A) ANY POST-EFFECTIVE DATE
 OBLIGATIONS OF ANY PARTY UNDER THE PLAN OR ANY DOCUMENT,
 INSTRUMENT OR AGREEMENT (INCLUDING THOSE SET FORTH IN THE PLAN
 SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN OR (B) THE LIABILITY
 OF ANY ENTITY THAT RESULTS FROM ANY SUCH ACT OR OMISSION THAT IS
 DETERMINED IN A FINAL ORDER TO HAVE CONSTITUTED GROSS


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 NEGLIGENCE OR WILLFUL MISCONDUCT; PROVIDED, FURTHER, THAT EACH
 EXCULPATED PARTY SHALL BE ENTITLED TO RELY UPON THE ADVICE OF
 COUNSEL CONCERNING HIS, HER OR ITS DUTIES PURSUANT TO, OR IN
 CONNECTION WITH, THE PLAN; PROVIDED FURTHER, THAT THE FOREGOING
 “EXCULPATION” SHALL NOT APPLY TO ANY ACTS OR OMISSIONS EXPRESSLY
 SET FORTH IN AND PRESERVED BY THE PLAN, THE PLAN SUPPLEMENT OR
 RELATED DOCUMENTS, EXCEPT FOR ACTS OR OMISSIONS OF RELEASING
 PARTIES.

 H.    INJUNCTION

       EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR THE
 CONFIRMATION ORDER, ALL ENTITIES WHO HAVE HELD, HOLD OR MAY
 HOLD CLAIMS, INTERESTS, CAUSES OF ACTION OR LIABILITIES THAT: (1)
 ARE SUBJECT TO COMPROMISE AND SETTLEMENT PURSUANT TO THE
 TERMS OF THE PLAN; (2) HAVE BEEN RELEASED PURSUANT TO ARTICLE
 VIII.D HEREOF; (3) HAVE BEEN RELEASED PURSUANT TO ARTICLE VIII.E; (4)
 ARE SUBJECT TO EXCULPATION PURSUANT TO ARTICLE VIII.G HEREOF,
 INCLUDING EXCULPATED CLAIMS (BUT ONLY TO THE EXTENT OF THE
 EXCULPATION PROVIDED IN ARTICLE VIII.E); OR (5) ARE OTHERWISE
 STAYED OR TERMINATED PURSUANT TO THE TERMS OF THE PLAN, ARE
 PERMANENTLY ENJOINED AND PRECLUDED, FROM AND AFTER THE
 EFFECTIVE DATE, FROM: (A) COMMENCING OR CONTINUING IN ANY
 MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND, INCLUDING ON
 ACCOUNT OF ANY CLAIMS, INTERESTS, CAUSES OF ACTIONS OR
 LIABILITIES THAT HAVE BEEN COMPROMISED OR SETTLED AGAINST THE
 DEBTORS, THE REORGANIZED DEBTORS, OR ANY ENTITY SO RELEASED OR
 EXCULPATED (OR THE PROPERTY OR ESTATE OF ANY ENTITY, DIRECTLY
 OR INDIRECTLY, SO RELEASED OR EXCULPATED) ON ACCOUNT OF OR IN
 CONNECTION WITH OR WITH RESPECT TO ANY RELEASED, SETTLED,
 COMPROMISED, OR EXCULPATED CLAIMS, INTERESTS, CAUSES OF ACTION OR
 LIABILITIES; (B) ENFORCING, ATTACHING, COLLECTING, OR RECOVERING
 BY ANY MANNER OR MEANS ANY JUDGMENT, AWARD, DECREE, OR ORDER
 AGAINST THE DEBTORS, THE REORGANIZED DEBTOR, OR ANY ENTITY SO
 RELEASED OR EXCULPATED (OR THE PROPERTY OR ESTATES OF THE
 DEBTORS, THE REORGANIZED DEBTORS, OR ANY ENTITY SO RELEASED OR
 EXCULPATED) ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
 RESPECT TO ANY SUCH RELEASED, SETTLED, COMPROMISED, OR
 EXCULPATED CLAIMS, INTERESTS, CAUSES OF ACTION, OR
 LIABILITIES; (C) CREATING, PERFECTING OR ENFORCING ANY LIEN, CLAIM,
 OR ENCUMBRANCE OF ANY KIND AGAINST THE DEBTORS, THE
 REORGANIZED DEBTORS, OR ANY ENTITY SO RELEASED OR EXCULPATED
 (OR THE PROPERTY OR ESTATES OF THE DEBTORS, THE REORGANIZED
 DEBTORS, OR ANY ENTITY SO RELEASED OR EXCULPATED) ON ACCOUNT OF
 OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH RELEASED,
 SETTLED, COMPROMISED, OR EXCULPATED CLAIMS, EQUITY INTERESTS,
 CAUSES OF ACTION, OR LIABILITIES; (D) ASSERTING ANY RIGHT OF


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 SETOFF, SUBROGATION, OR RECOUPMENT OF ANY KIND AGAINST ANY
 OBLIGATION DUE FROM THE DEBTORS, THE REORGANIZED DEBTORS, OR
 ANY ENTITY SO RELEASED OR EXCULPATED (OR THE PROPERTY OR
 ESTATES OF THE DEBTORS, THE REORGANIZED DEBTORS, OR ANY ENTITY
 SO RELEASED OR EXCULPATED) ON ACCOUNT OF OR IN CONNECTION WITH
 OR WITH RESPECT TO ANY SUCH RELEASED, SETTLED, COMPROMISED, OR
 EXCULPATED CLAIMS, INTERESTS, CAUSES OF ACTION OR LIABILITIES
 UNLESS SUCH HOLDER HAS FILED A TIMELY PROOF OF CLAIM WITH THE
 BANKRUPTCY COURT PRESERVING SUCH RIGHT OF SETOFF PURSUANT TO
 SECTION 553 OF THE BANKRUPTCY CODE OR OTHERWISE; AND (E)
 COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
 PROCEEDING OF ANY KIND AGAINST THE DEBTORS, THE REORGANIZED
 DEBTORS, THE INVESTORS OR ANY ENTITY SO RELEASED OR EXCULPATED
 (OR THE PROPERTY OR ESTATES OF THE DEBTORS, THE REORGANIZED
 DEBTORS, OR ANY ENTITY SO RELEASED OR EXCULPATED) ON
 ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
 RELEASED, SETTLED, COMPROMISED, OR EXCULPATED CLAIMS, INTERESTS,
 CAUSES OF ACTION, OR LIABILITIES RELEASED, SETTLED OR
 COMPROMISED PURSUANT TO THE PLAN; PROVIDED THAT NOTHING
 CONTAINED HEREIN SHALL PRECLUDE AN ENTITY FROM OBTAINING
 BENEFITS DIRECTLY AND EXPRESSLY PROVIDED TO SUCH ENTITY PURSUANT
 TO THE TERMS OF THE PLAN; PROVIDED, FURTHER, THAT NOTHING
 CONTAINED HEREIN SHALL BE CONSTRUED TO PREVENT ANY ENTITY
 FROM DEFENDING AGAINST CLAIMS OBJECTIONS OR COLLECTION
 ACTIONS WHETHER BY ASSERTING A RIGHT OF SETOFF OR OTHERWISE TO
 THE EXTENT PERMITTED BY LAW.

 I.     Protection Against Discriminatory Treatment

         Consistent with section 525 of the Bankruptcy Code and paragraph 2 of Article VI of the
 United States Constitution, no Governmental Unit shall discriminate against the Reorganized
 Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
 other similar grant to, condition such a grant to, discriminate with respect to such a grant against,
 the Reorganized Debtors, or another Entity with whom such Reorganized Debtors have been
 associated, solely because one of the Debtors has been a debtor under chapter 11, has been
 insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11 Cases but
 before the Debtor is granted or denied a discharge), or has not paid a debt that is dischargeable in
 the Chapter 11 Cases.

 J.     Indemnification

         Notwithstanding anything in the Plan to the contrary, all indemnification provisions
 currently in place (whether in the Securities Purchase Agreements, by-laws, certificates of
 incorporation, articles of limited partnership, board resolutions, contracts, or otherwise) for the
 directors, officers, employees, attorneys, other professionals, and agents of the Debtors that
 served in such capacity from and after the Commencement Date and such directors’ and officers’



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 respective affiliates, shall be reinstated (or assumed, as the case may be), and shall survive
 effectiveness of the Plan.

 K.     Recoupment

         In no event shall any holder of Claims or Interests be entitled to recoup any Claim or
 Interest against any Claim, right, or Cause of Action of the Debtors or the Reorganized Debtors,
 as applicable, unless such holder actually has performed such recoupment and provided notice
 thereof in writing to the Debtors on or before the Confirmation Date, notwithstanding any
 indication in any Proof of Claim or Interest or otherwise that such holder asserts, has, or intends
 to preserve any right of recoupment.

 L.     Release of Liens

         Except as otherwise provided in the Plan or in any contract, instrument, release, or other
 agreement or document created pursuant to the Plan, on the Effective Date, all mortgages, deeds
 of trust, Liens, pledges, or other security interests against any property of the Estates shall be
 fully released, and discharged, and all of the right, title, and interest of any holder of such
 mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the
 Reorganized Debtor and its successors and assigns.

 M.     Reimbursement or Contribution

         If a Claim for reimbursement or contribution of an Entity pursuant to section
 502(e)(1)(B) of the Bankruptcy Code is (i) disallowed by the Bankruptcy Court or (ii) contingent
 as of the Effective Date, then such Claim shall be forever disallowed notwithstanding section
 502(j) of the Bankruptcy Code, unless prior to the Effective Date (1) such Claim has been
 adjudicated as noncontingent or (2) the relevant holder of a Claim has filed a noncontingent
 Proof of Claim on account of such Claim and a Final Order has been entered determining such
 Claim as no longer contingent.

                                          ARTICLE IX.

           CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

 A.     Conditions Precedent to the Effective Date

         It shall be a condition to the Effective Date that the following conditions shall have been
 satisfied or waived pursuant to Article IX.B hereof:

         1.      the Bankruptcy Court shall have approved the Disclosure Statement, in a manner
 acceptable to the Debtors and the Investors, as containing adequate information with respect to
 the Plan within the meaning of section 1125 of the Bankruptcy Code and such order shall be in
 full force and effect and shall have become a Final Order;

        2.     the Confirmation Order: (i) shall be entered by the Bankruptcy Court on or before
 February 14, 2012 (as such date may be extended with the consent of the Debtors and the
 Investors, which consent shall not be unreasonably withheld or delayed); (ii) shall include the


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 provisions in Exhibit D to the Securities Purchase Agreements and otherwise be in form and
 substance acceptable to the Investors; and (iii) shall be in full force and effect and, unless waived
 by the Investors, shall have become a Final Order;

         3.     the Plan and Plan Supplement, including any amendments, modifications, or
 supplements thereto, shall be in form and substance reasonably acceptable to the Investors and
 shall not have been modified without the consent of the Investors (such consent not to have been
 unreasonably withheld in the case of a modification that is not adverse to the Investors);

         4.     the Transaction Expenses (as defined and provided in the Securities Purchase
 Agreements), to the extent not previously paid, shall be paid concurrently with the Effective Date
 in Cash in accordance with the terms of the Securities Purchase Agreements as approved by the
 Securities Purchase Agreements Order;

        5.    the Commitment Fee shall be paid concurrently with the Effective Date to Liberty
 Harbor and Mount Kellett, as provided in the Securities Purchase Agreements;

         6.     the Debtors shall have obtained an Exit Facility on terms as provided in the
 Securities Purchase Agreements and the Plan, and on terms and conditions reasonably acceptable
 to the Investors, and all conditions precedent to the consummation of the Exit Facility shall have
 been waived or satisfied in accordance with the terms thereof and the closing of the Exit Facility
 shall occur concurrently with the Effective Date;

        7.      with respect to all actions, documents, Certificates, and agreements necessary to
 implement the Plan (a) all conditions precedent to such documents and agreements shall have
 been satisfied or waived pursuant to the terms of such documents or agreements, (b) such
 documents, Certificates and agreements shall have been tendered for delivery, (c) to the extent
 required, such documents, Certificates and agreements shall have been filed with and approved
 by any applicable Governmental Units in accordance with applicable laws, and (d) such actions,
 documents, Certificates and agreements shall have been effected or executed;

        8.     the Cash payable pursuant to Article III.C.1.c shall be distributed on the Effective
 Date as provided herein;

        9.      all conditions to the effectiveness of the Securities Purchase Agreements shall
 have been satisfied or waived in accordance with the terms thereof; and

         10.    all other “Conditions to Investors’ Obligations at Closing” identified in section
 5.1 of the Securities Purchase Agreements shall have been satisfied or waived by the Investors in
 accordance with the terms thereof.

 B.     Waiver of Conditions Precedent

         Subject to the terms of the Securities Purchase Agreements, the Debtors (in consultation
 with the Creditors’ Committee and the DIP Facility Administrative Agent) and the Investors may
 jointly waive any of the conditions to the Effective Date set forth in Article IX.A, other than the
 condition set forth in Article IX.A.8 (unless consented to by the Consenting Noteholders in
 accordance with the Plan Support Agreement) at any time without any notice to other parties in


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 interest and without any further notice to or action, order, or approval of the Bankruptcy Court,
 and without any formal action other than proceeding to confirm or consummate the Plan.

 C.     Effect of Non-Occurrence of Conditions to Consummation

         If prior to Consummation, the Confirmation Order is vacated pursuant to a Final Order,
 then except as provided in any order of the Bankruptcy Court vacating the Confirmation Order,
 the Plan will be null and void in all respects, and nothing contained in the Plan or Disclosure
 Statement shall (1) constitute a waiver or release of any Claims, Interests, or Causes of Action,
 (2) prejudice in any manner the rights of any Debtor or any other Entity, or (3) constitute an
 admission, acknowledgment, offer, or undertaking of any sort by any Debtor or any other Entity.

                                           ARTICLE X.

                               RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
 Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or
 related to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the
 Bankruptcy Code, including jurisdiction to:

         1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
 secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
 request for payment of any Administrative Claim and the resolution of any and all objections to
 the secured or unsecured status, priority, amount, or allowance of Claims or Interests;

         2.     decide and resolve all matters related to the granting and denying, in whole or in
 part, of any applications for allowance of compensation or reimbursement of expenses to
 Professionals authorized pursuant to the Bankruptcy Code or the Plan; provided, however, that
 from and after the Effective Date, the payment of the fees and expenses of any professionals of
 the Reorganized Debtors shall be made in the ordinary course of business and shall not be
 subject to Bankruptcy Court review or approval;

         3.     resolve any matters related to Executory Contracts or Unexpired Leases,
 including: (a) the assumption, assumption and assignment, or rejection of any Executory
 Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may
 be liable, and to hear, determine, and, if necessary, liquidate, any Cure or Claims arising
 therefrom, including pursuant to section 365 of the Bankruptcy Code; (b) any potential
 contractual obligation under any Executory Contract or Unexpired Lease that is assumed; (c) the
 Reorganized Debtors’ amendment, modification, or supplement, after the Effective Date,
 pursuant to Article V, of the list of Executory Contracts and Unexpired Leases to be assumed or
 rejected or otherwise; and (d) any dispute regarding whether a contract or lease is or was
 executory or expired;

         4.     ensure that distributions to holders of Allowed Claims are accomplished pursuant
 to the provisions of the Plan and adjudicate any and all disputes arising from or relating to
 distributions under the Plan;



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         5.     adjudicate, decide, or resolve any motions, adversary proceedings, contested or
 litigated matters, and any other matters, and grant or deny any applications involving a Debtor
 that may be pending on the Effective Date;

        6.      adjudicate, decide, or resolve any and all matters related to Causes of Action of
 the Debtors or brought by or against the Reorganized Debtors;

       7.     adjudicate, decide, or resolve any and all matters related to section 1141 of the
 Bankruptcy Code;

        8.     enter and implement such orders as may be necessary or appropriate to execute,
 implement, or consummate the provisions of the Plan and all contracts, instruments, releases,
 indentures, and other agreements or documents created in connection with the Plan, the Plan
 Supplement or the Disclosure Statement;

        9.     enter and enforce any order for the sale of property pursuant to sections 363,
 1123, or 1146(a) of the Bankruptcy Code;

       10.    grant any consensual request to extend the deadline for assuming or rejecting
 Unexpired Leases pursuant to section 365(d)(4) of the Bankruptcy Code;

         11.    resolve any cases, controversies, suits, disputes, or Causes of Action that may
 arise in connection with the Consummation, interpretation, or enforcement of the Plan or any
 Entity’s obligations incurred in connection with the Plan;

        12.    enter and implement such orders as may be necessary or appropriate to execute,
 implement, or consummate the provisions of all contracts, instruments, releases, indentures, and
 other agreements or documents approved by Final Order in the Chapter 11 Cases;

        13.    issue injunctions, enter and implement other orders, or take such other actions as
 may be necessary or appropriate to restrain interference by any Entity with Consummation or
 enforcement of the Plan;

         14.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
 to the releases, exculpation, injunctions, and other provisions contained in Article VIII above and
 enter such orders as may be necessary or appropriate to implement such releases, exculpation,
 injunctions, and other provisions;

         15.    resolve any cases, controversies, suits, disputes, or Causes of Action with respect
 to the repayment or return of distributions and the recovery of additional amounts owed by the
 holder of a Claim for amounts not timely repaid pursuant to Article VII.D.1 above;

       16.    enter and implement such orders as are necessary or appropriate if the
 Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated;

         17.   determine any other matters that may arise in connection with or relate to the
 Plan, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release,



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 indenture, or other agreement or document created in connection with the Plan or the Disclosure
 Statement;

        18.     enter an order or Final Decree concluding or closing the Chapter 11 Cases;

        19.     consider any modifications of the Plan, to cure any defect or omission, or to
 reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        20.     determine requests for the payment of Claims and Interests entitled to priority
 pursuant to section 507 of the Bankruptcy Code;

        21.   hear and determine disputes arising in connection with the interpretation,
 implementation, or enforcement of the Plan or the Confirmation Order, including disputes arising
 under agreements, documents, or instruments executed in connection with the Plan;

        22.    hear and determine matters concerning state, local, and federal taxes in
 accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

        23.    hear and determine all disputes involving the existence, nature, or scope of the
 Debtors’ discharge, including any dispute relating to any liability arising out of the termination
 of employment or the termination of any employee or retiree benefit program, regardless of
 whether such termination occurred prior to or after the Effective Date;

         24.   hear and determine matters related to the Securities Purchase Agreements and
 related agreements;

         25.     except as otherwise limited herein, recover all assets of the Debtors and property
 of the Estates, wherever located;

        26.     enforce all orders previously entered by the Bankruptcy Court; and

        27.     hear any other matter not inconsistent with the Bankruptcy Code.

                                          ARTICLE XI.

                               MISCELLANEOUS PROVISIONS

 A.     No Stay of Confirmation Order

        The Confirmation Order shall contain a waiver of any stay of enforcement otherwise
 applicable, including pursuant to Bankruptcy Rules 3020(e), 6004(h), 6006(d) and 7062.

 B.     Modification of Plan

         Subject to the limitations contained in the Plan and the terms and conditions of the
 Securities Purchase Agreements: (1) the Debtors (in consultation with the Creditors’ Committee
 and the DIP Facility Administrative Agent) reserve the right, in accordance with the Bankruptcy
 Code and the Bankruptcy Rules, to amend or modify the Plan prior to the entry of the



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 Confirmation Order, including amendments or modifications to satisfy section 1129(b) of the
 Bankruptcy Code; and (2) after the entry of the Confirmation Order, the Debtors (in consultation
 with the Creditors’ Committee and the DIP Facility Administrative Agent) or the Reorganized
 Debtors, as the case may be, may, upon order of the Bankruptcy Court, amend or modify the
 Plan, in accordance with section 1127(b) of the Bankruptcy Code, or remedy any defect or
 omission or reconcile any inconsistency in the Plan in such manner as may be necessary to carry
 out the purpose and intent of the Plan.

 C.     Revocation or Withdrawal of Plan

         The Debtors (in consultation with the Creditors’ Committee and the DIP Facility
 Administrative Agent) reserve the right, subject to, and in accordance with, the terms and
 conditions of each of the Securities Purchase Agreements and the Securities Purchase
 Agreements Order, to revoke or withdraw the Plan before the Confirmation Date and to file
 subsequent chapter 11 plans. If the Debtors revoke or withdraw the Plan, or if Confirmation,
 Consummation or the Effective Date does not occur, then (1) the Plan shall be null and void in
 all respects, (2) any settlement or compromise embodied in the Plan, assumption or rejection of
 Executory Contracts or Unexpired Leases effected by the Plan, and any document or agreement
 executed pursuant hereto will be null and void in all respects, and (3) nothing contained in the
 Plan shall (a) constitute a waiver or release of any Claims, Interests, or Causes of Action, (b)
 prejudice in any manner the rights of any Debtor or any other Entity, or (c) constitute an
 admission, acknowledgement, offer, or undertaking of any sort by any Debtor or any other
 Entity.

 D.     Confirmation of the Plan

        The Debtors request Confirmation of the Plan under section 1129(b) of the Bankruptcy
 Code with respect to any Impaired Class that does not accept the Plan pursuant to section 1126
 of the Bankruptcy Code. The Debtors (in consultation with the Creditors’ Committee and the
 DIP Facility Administrative Agent) reserve the right to amend the Plan to the extent, if any, that
 Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification.

 E.     Additional Documents

         On or before the Effective Date and subject to the terms and conditions of the Securities
 Purchase Agreements, the Debtors (in consultation with the Creditors’ Committee and the DIP
 Facility Administrative Agent) with the consent of the Investors (such consent shall not be
 unreasonably withheld or delayed) may file with the Bankruptcy Court such agreements and
 other documents as may be necessary or appropriate to effectuate and further evidence the terms
 and conditions of the Plan and the Securities Purchase Agreements. The Debtors (in consultation
 with the Creditors’ Committee and the DIP Facility Administrative Agent), with the consent of
 the Investors (such consent shall not be unreasonably withheld or delayed), or the Reorganized
 Debtors, as applicable, and all holders of Claims receiving distributions pursuant to the Plan and
 all other parties in interest shall, from time to time, prepare, execute, and deliver any agreements
 or documents and take any other actions as may be necessary or advisable to effectuate the
 provisions and intent of the Plan and the Securities Purchase Agreements.




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 F.     Payment of Statutory Fees

         All fees payable pursuant to 28 U.S.C. §1930(a), as determined by the Bankruptcy Court
 at a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid for each quarter
 (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed,
 whichever occurs first.

 G.     Dissolution of Creditors’ Committee

         On the Effective Date, the Creditors’ Committee shall dissolve automatically, and its
 members shall be released and discharged from all rights, duties, responsibilities, and liabilities
 arising from, or related to, the Chapter 11 Cases; provided, however, that the Creditors’
 Committee shall be deemed to remain in existence solely with respect to the final fee
 applications filed in connection with Article II.B and the Creditors’ Committee shall have the
 right to be heard on all issues relating to such final fee applications.

 H.     Reservation of Rights

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
 Bankruptcy Court shall enter the Confirmation Order. None of the filing of the Plan, any
 statement or provision contained in the Plan, or the taking of any action by any Debtor with
 respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
 to be an admission or waiver of any rights of any Debtor with respect to the holders of Claims or
 Interests prior to the Effective Date.

 I.     Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
 be binding on, and shall inure to the benefit of any heir, executor, administrator, successor or
 assign, affiliate, officer, director, agent, representative, attorney, beneficiaries, or guardian, if
 any, of each Entity.

 J.     Service of Documents

         1.     After the Effective Date, any pleading, notice, or other document required by the
 Plan to be served on or delivered to the Reorganized Debtors shall be served on:




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 Debtors                                          Counsel to the Debtors

 The Great Atlantic & Pacific Tea Company, Inc.   Kirkland & Ellis LLP
 2 Paragon Drive                                  601 Lexington Avenue
 Montvale, NJ 07645                               New York, NY 10022
 Attn.: Christopher W. McGarry, General           Attn.: James H.M. Sprayregen, P.C.
        Counsel                                          Paul M. Basta, Esq.
                                                         Ray C. Schrock, Esq.

                                                  Kirkland & Ellis LLP
                                                  300 North LaSalle
                                                  Chicago, IL 60654
                                                  Attn.: James J. Mazza, Jr., Esq.

 Counsel to the Creditors’ Committee              Counsel to the Convertible Noteholders

 Milbank, Tweed, Hadley & McCloy LLP              Stroock & Stroock & Lavan LLP
 1 Chase Manhattan Plaza                          180 Maiden Lane
 New York, NY 10005                               New York, NY 10038
 Attn.: Dennis F. Dunne, Esq.                     Attn.: Kristopher M. Hansen, Esq.
        Matthew S. Barr, Esq.                            Jayme T. Goldstein, Esq.
        Abhilash M. Raval, Esq
        Michael E. Comerford, Esq.

 Counsel to the Second Lien Trustee               Counsel to DIP Facility Lenders

 Brown Rudnick LLP                                Davis Polk & Wardwell LLP
 7 Times Square                                   450 Lexington Avenue
 New York, NY 10036                               New York, NY 10017
 Attn: Edward S. Weisfelner, Esq.                 Attn.: Donald S. Bernstein, Esq.
       Daniel J. Saval, Esq.                             Marshall S. Huebner

 United States Trustee                            Counsel to Yucaipa

 Office of the United States Trustee              Latham & Watkins LLP
 U.S. Department of Justice                       355 S. Grand Ave
 33 Whitehall Street, 21st Floor                  Los Angeles, CA 90071
 Attn.: Susan Golden, Esq.                        Attn: Robert Klyman, Esq.
        Richard Morrissey, Esq.



 K.    TERM OF INJUNCTIONS OR STAYS

     UNLESS OTHERWISE PROVIDED IN THE PLAN OR IN THE
 CONFIRMATION ORDER, ALL INJUNCTIONS OR STAYS IN EFFECT IN THE
 CHAPTER 11 CASES PURSUANT TO SECTIONS 105 OR 362 OF THE BANKRUPTCY


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 CODE OR ANY ORDER OF THE BANKRUPTCY COURT, AND EXISTING ON THE
 CONFIRMATION DATE (EXCLUDING ANY INJUNCTIONS OR STAYS
 CONTAINED IN THE PLAN OR THE CONFIRMATION ORDER) SHALL REMAIN IN
 FULL FORCE AND EFFECT UNTIL THE EFFECTIVE DATE. ALL INJUNCTIONS
 OR STAYS CONTAINED IN THE PLAN OR THE CONFIRMATION ORDER SHALL
 REMAIN IN FULL FORCE AND EFFECT IN ACCORDANCE WITH THEIR TERMS.

 L.     Entire Agreement

         Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
 negotiations, promises, covenants, agreements, understandings, and representations on such
 subjects (other than the Securities Purchase Agreements), all of which have become merged and
 integrated into the Plan.

        Notwithstanding anything to the contrary in the Plan (including any amendments,
 supplements, or modifications to the Plan) or the Confirmation Order (and any amendments,
 supplements, or modifications thereto) or an affirmative vote to accept the Plan submitted by any
 Investor, nothing contained in the Plan (including any amendments, supplements, or
 modifications thereto) shall diminish, reduce or negatively impact the rights of the Investors
 under the Securities Purchase Agreements.

 M.     Plan Supplement Exhibits

         All exhibits and documents included in the Plan Supplement are incorporated into and are
 a part of the Plan as if set forth in full in the Plan. After the exhibits and documents are filed,
 copies of such exhibits and documents shall be made available upon written request to the
 Debtors’ counsel at the address above or by downloading such exhibits and documents from
 http://www.kccllc.net/APTEA or the Bankruptcy Court’s website at www.nysb.uscourts.gov.
 Unless otherwise ordered by the Bankruptcy Court, to the extent any exhibit or document in the
 Plan Supplement is inconsistent with the terms of any part of the Plan that does not constitute the
 Plan Supplement, such part of the Plan that does not constitute the Plan Supplement shall
 control.

 N.     Severability

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy
 Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter
 and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void,
 or unenforceable, and such term or provision shall then be applicable as altered or interpreted
 (subject to the reasonable consent of the Investors). Notwithstanding any such holding,
 alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in
 full force and effect and will in no way be affected, impaired, or invalidated by such holding,
 alteration, or interpretation (subject to the reasonable consent of the Investors). The
 Confirmation Order shall constitute a judicial determination and shall provide that each term and
 provision of the Plan, as it may have been altered or interpreted in accordance with the
 foregoing, is (1) valid and enforceable pursuant to its terms, (2) integral to the Plan and may not



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 be deleted or modified without the Debtors’ consent (in consultation with the Creditors’
 Committee and the DIP Facility Administrative Agent) and the consent of the Investors, and (3)
 nonseverable and mutually dependent.



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 Montvale, New Jersey
 Dated: December 19, 2011



                            THE GREAT ATLANTIC & PACIFIC TEA COMPANY, INC.
                            (For itself and all other Debtors)
                 By:        /s/ Frederic F. Brace
                 Name:      Frederic F. Brace
                 Title:     Chief Financial Officer, Chief Administrative Officer, and Chief
                            Restructuring Officer
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                                     Exhibit A

                              Trade Claims Cash Pool
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                                     TRADE CLAIMS CASH POOL1

 A.       Introduction.

         Pursuant to Article III.C.8.b of the Plan, except to the extent that a holder of an Allowed
 Class H Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
 release, and discharge of and in exchange for each and every Allowed Class H Claim, each
 holder of an Allowed Class H Claim shall receive on the Effective Date, or as soon as practicable
 thereafter:

          1.       Cash equal to its Pro Rata portion of the Unsecured Creditor Cash Pool; and

        2.     if such holder enters into a trade agreement acceptable to the Debtors and the
 Investors (and in consultation with the Creditors’ Committee) before the Effective Date, such
 Holder may receive a distribution from the Trade Claims Cash Pool.

        This Trade Claims Cash Pool Summary sets forth the terms and conditions under which a
 holder of an Allowed Class H Claim may receive a distribution from the Trade Claims Cash Pool
 pursuant to the Plan.

 B.       Defined Terms.

        1.       Incremental Trade Recovery: A cash distribution from the Trade Claims Cash
 Pool occurring on the Effective Date on account of a Trade Claim, subject to the terms and
 conditions set forth herein; provided that the amount of any Incremental Trade Recovery shall be
 determined by the Debtors and the Investors. An Incremental Trade Recovery shall be in
 addition to any distribution otherwise available to a Trade Creditor from the Unsecured Creditor
 Cash Pool.

        2.     Trade Claims Cash Pool:                  Cash in an aggregate amount not to exceed
 $10,000,000.00.

         3.     Trade Claims Cash Pool Summary: This summary, which is Exhibit B to the
 Plan, as the same may be altered, amended, modified, or supplemented from time to time by the
 Debtors with the consent of the Investors (and in consultation with the Creditors’ Committee).

 C.       Procedure.

        On or before January 15, 2012, or such later date that may be agreed to by the Debtors
 and the Investors (in consultation with the Creditors’ Committee), the Debtors shall provide a
 form of trade agreement (each, a “Trade Agreement”) to certain Trade Creditors under which the

 1    Capitalized terms used but not defined herein shall have the meanings set forth in the Debtors’ Joint Plan of
      Reorganization Pursuant to Chapter 11 of the United States Bankruptcy Code dated as of December 19, 2011,
      (as the same may be altered, amended, modified, or supplemented from time to time, in accordance with the
      terms set forth herein and in the Securities Purchase Agreements, the “Plan”), to which this Trade Claims Cash
      Pool Summary is attached as Exhibit A. In the event of any inconsistency between this Trade Claims Cash
      Pool Summary and the Plan, this Trade Claims Cash Pool Summary shall control in all respects.



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 Debtors and the Investors may elect to provide an Incremental Trade Recovery pursuant to the
 Plan.

         As a condition to receive an Incremental Trade Recovery, the applicable Trade Creditor
 must hold an Allowed Class H Trade Claim and must execute a Trade Agreement on or before
 the objection deadline for the Confirmation Hearing, as such date may be extended by the
 Debtors and the Investors in their discretion. Unless otherwise agreed-to by the Debtors and the
 Investors (in consultation with the Creditors’ Committee), each Trade Agreement shall provide
 the Reorganized Debtors with trade terms (including trade credit, pricing, and credit limits) at
 least as favorable to the Debtors as those in place prior to the Commencement Date. The
 executed form of Trade Agreement must be acceptable to the Debtors and the Investors (in
 consultation with the Creditors’ Committee) for the applicable Trade Creditor to receive an
 Incremental Trade Recovery.

 D.      Disclosure.

         On a weekly basis following entry of the order approving the Disclosure Statement by the
 Bankruptcy Court, the Debtors shall disclose all Incremental Trade Recoveries to be provided
 pursuant to executed Trade Agreements, if any, to: (1) the Creditors’ Committee’s professionals
 (on a “professional eyes only” basis); (2) the DIP Facility Administrative Agent and its counsel;
 (3) the office of the United States Trustee; (4) the Investors; and (5) such other parties as may be
 agreed-to by the Debtors and the Investors or otherwise ordered by the Bankruptcy Court.

 E.      Reservation of Rights/No Obligation.

        Notwithstanding anything herein or in the Plan to the contrary, (1) the Debtors shall be
 under no obligation to offer or agree to provide any Incremental Trade Recovery to any Trade
 Creditor and (2) the amount of any Incremental Trade Recovery offered or ultimately provided to
 a Trade Creditor, if any, shall be determined by the Debtors and the Investors in their discretion
 (in consultation with the Creditors’ Committee).




                                  *       *       *       *      *




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                                     Exhibit B

                          Union Protections in Term Sheets
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                                A&P/UFCW/LOCAL UNIONS

                         UNION PROTECTIONS IN TERM SHEETS

          The parties, United Food and Commercial Workers International Union (“UFCW”), its
 affiliated local unions 27, 100R, 152, 338, 342, 371, 464A, 1034, 1245, 1262, 1360, 1500, and
 1776 (each individually a “Local Union” and collectively the “Local Unions”), along with The
 Great Atlantic and Pacific Tea Company, Inc. and its affiliated debtors and debtors-in-possession
 (collectively, the “Company” and collectively with UFCW and the Local Unions the “Parties”),
 agree that these provisions will accompany and be incorporated into the term sheets for all
 modifications of collective bargaining agreements between the Company and the Local Unions,
 contingent on agreements between the Company and the Local Unions that are acceptable to the
 Company and each Local Union.

        1.     Conditions to Effectiveness of Modified Collective Bargaining Agreements

                (a)     Effective Date. The Effective Date of the revised agreements (the
        “Effective Date”) shall be two business days following the later of: (i) ratification of all
        modified collective bargaining agreements (“modified CBAs”) by the Local Unions, as
        appropriate; and (ii) approval of the Bankruptcy Court of the modified CBAs between the
        Company and each Local Union. If the Bankruptcy Court’s order approving the modified
        CBAs is appealed, the modifications shall remain in place until and unless the order
        approving the modified CBAs is reversed, in which case the parties shall revert to the
        positions that they were in prior to the Effective Date. In the event that the Bankruptcy
        Court’s order approving the modified CBAs is reversed on appeal, the Local Unions on
        behalf of the employees represented by the Local Unions will be entitled to a stipulated,
        approved, and allowed administrative claim for all savings provided during the period
        between the Effective Date and any reversal, subject to the cap described in Paragraph
        2(b) below. If the actual cash savings provided to the Company under the amended
        CBAs between the Effective Date and reversal exceeds the amounts of the caps described
        in Paragraph 2(b) below, any excess savings shall be treated as a stipulated, approved,
        and allowed administrative claim that is subordinated in priority and (to the extent
        relevant) payment timing to any other administrative expense claims allowed in the
        Company’s Chapter 11 cases.

               (b)    Term. Each of the modified CBAs shall be in effect for a period of 5
        years beginning on the Effective Date (the “Term”).

                 (c)     Bankruptcy Court Approval. The Company will immediately and without
        condition seek Bankruptcy Court approval of the amended CBAs. The Company will
        give UFCW counsel advance notice of and an opportunity to comment on all pleadings
        filed in connection with such approval and will consider in good faith all such comments.
        The Company will support approval of the modified CBAs without condition and will
        use its best efforts to obtain the support of the Official Committee of Unsecured Creditors
        and other key constituencies in the Company’s Chapter 11 cases of the amended CBAs.
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               (d)     Conditions on Any Further Requests for Concessions During Chapter
       11 Cases. The Parties all agree that the modifications to each of the CBAs (the “CBA
       Modifications”) were agreed to by UFCW and each of its affiliated Local Unions in
       furtherance of the Company’s efforts to successfully reorganize under Chapter 11 of the
       United States Bankruptcy Code. The modified CBAs will be binding on any Chapter 11
       trustee appointed in these cases, or any other entity operating with the equivalent
       authority to a chapter 11 trustee. The Parties further agree that:

                       (i)     The CBA Modifications: (1) are based on the most complete and
               reliable information available to the Company; (2) permit the Company to avoid
               irreparable harm and provide for necessary modifications to the CBAs that are
               necessary, fair, and equitable in order to permit the successful reorganization of
               the Company; (3) the balance of equities favors the Company entering into the
               CBA Modifications and subject to Section 1(d)(iii) below, adhering to the CBA
               Modifications.

                        (ii)     The Company agrees that neither the Company nor any Company
               affiliate will file or support any motion pursuant to 11 U.S.C. Sections 1113 or
               1113(e), seeking rejection or modification of, or relief or interim relief from, the
               CBAs and CBA Modifications, during the course of its Chapter 11 cases, and the
               Company and its affiliates specifically waive the right to file or support such a
               Motion, except that the Company reserves the right to file or support such a
               motion if it can demonstrate that there has been a material and substantial change
               in the Company’s business situation such that the Company cannot continue as a
               going concern without each of the additional concessions requested by the
               Company.

                       (iii) Should the Company file or support a motion invoking the
               exception provided in Section 1(d)(ii) above, all requirements and provisions of
               11 U.S.C. § 1113 shall remain applicable to the motion and, in addition, if the
               Company attempts to invoke Section 1(d)(ii) above within the first 60 days
               following Bankruptcy Court approval of the CBA modifications, the Company
               agrees that it will have to demonstrate that the additional concessions requested
               are essential to the continuation of the Company’s business, or in order to avoid
               irreparable damage to the Company’s estates. The UFCW and the Local Unions
               reserve the right to object to any such motion and nothing in this Agreement shall
               be a construed as an agreement by the UFCW or any Local Union to such motion
               or modifications or relief.

               (e)     This agreement and the modified CBAs are contingent on the Company’s
       securing savings from Local 1199 (SEIU) which, in the Company’s good faith discretion,
       are approximately equivalent, taking into account the relative size of the groups
       represented by Local 1199 on the one hand, and the Local Unions on the other hand, as
       they relate to the Company.




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       2.      Further Union Protections During (And In Some Cases After) The
               Company’s Chapter 11 Cases

               (a)     Information Sharing. The Company agrees that, beginning on the
       effective date of the modified CBAs and extending throughout the term of the modified
       collective bargaining agreements, subject to appropriate confidentiality agreements, it
       will make reasonable and appropriate information on the projected and actual
       performance of its business available to UFCW international officers and their legal and
       financial advisors, and to the officers and legal and financial advisors of its affiliated
       Local Unions, at reasonable intervals. The information shared between the Company and
       the UFCW/individual Local Unions, subject to appropriate confidentiality restrictions,
       shall include the following:

                       (i)     Sharing of Business Information. The Company will share with
               officers for UFCW international: (1) a copy of its business plan/cash flow
               forecasts and, if modifications are made to the business plan, any such
               modifications to the business plan/cash flow forecasts, within a reasonable time
               after any revised plans are complete; (2) a copy of any overall and/or store-by-
               store capital expenditure plan for the Company within a reasonable time after
               such capital expenditure plan is complete (including but not limited to the
               McKinsey study, within a reasonable time period of its completion); (3) a copy of
               any bankruptcy-related exit financing proposals received from third parties,
               subject to the consent of the party or parties providing the proposal(s); and (4)
               information on the EBITDA performance of the Company, as a whole, and on a
               store-by-store basis, on a quarterly basis, within forty-five (45) days of the
               conclusion of each quarter.

                       (ii)    Sharing Of Information With Respect To Future Mergers,
               Acquisitions, Store Openings, Store Closures. Subject to entry into a
               confidentiality agreement acceptable to the Company, the Company will provide
               the earliest practicable and reasonable advance notice to officers of UFCW and
               the presidents of the Local Unions of any upcoming mergers, acquisitions, store
               openings, or store closures. This information shall be provided on a confidential
               basis and UFCW and the Local Union presidents shall not share the information
               with anyone other than their own financial and legal advisors.

               (b)     Savings During Chapter 11 Cases Due To Modifications. The Local
       Unions on behalf of the employees represented by the Local Unions shall accrue and
       shall be entitled to a stipulated, approved, and allowed administrative claim in the amount
       of the actual cash savings provided to the Company under the amended CBAs from the
       effective date of the CBA Modifications through the confirmation of a plan of
       reorganization. The Local Unions and UFCW agree that any administrative expense
       claim provided under this paragraph will be capped at a maximum of $18 million based
       on cash savings provided in the fourth quarter of calendar 2011 and $7 million based on
       cash savings provided in the first quarter of calendar 2012, it being understood that if the
       cash savings during the fourth quarter of calendar 2011 are less than $18 million, any
       excess will be added to the $7 million cap for the first quarter of 2012. If the actual cash

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       savings provided to the Company under the amended CBAs between the Effective Date
       and confirmation exceeds the amounts of the caps described above, any excess savings
       shall be treated as a stipulated, approved, and allowed administrative claim that is
       subordinated in priority and (to the extent relevant) payment timing to any other
       administrative expense claims allowed in the Company’s Chapter 11 cases. In any event,
       any administrative claim shall be waived, extinguished, and forever discharged upon
       confirmation of any plan of reorganization in the Company’s Chapter 11 cases which
       contemplates the continued operation of a chain of grocery stores, by either the Company
       or a buyer through a plan-related sale that is otherwise consistent with this agreement.

             (c)     Events of Default. The UFCW shall have the option to declare the CBA
       Modifications in default and terminated within 10 days of:

                      (i)      The entry of an unstayed order authorizing the sale of
               substantially all of the Debtors’ assets pursuant to 11 U.S.C. § 363—provided
               however, it shall not be an event of default if the successful buyer of the company
               purchases the company through a credit bid and assumes the modified CBAs;

                      (ii)    The DIP loan being accelerated;

                      (iii)   Appointment of a Chapter 11 trustee for the Company’s estates; or

                      (iv)    Conversion of the Company’s cases to Chapter 7.

              (d)    Negotiation of the Company’s Proposed Plan of Reorganization and
       Disclosure Statement.

                       (i)    Consistency With Local Union Agreements. The Company will
               not propose a plan of reorganization that is in any material way inconsistent with
               the terms of the modified CBAs, inclusive of the provisions described herein.
               The Company’s proposed plan of reorganization will incorporate, in full, the
               agreements between UFCW, its Local Unions, and the Company reflected in
               these term sheets and the modified CBAs.

                       (ii)    Information Sharing. The Company agrees to provide legal
               counsel to UFCW and the Local Unions with an advance draft of, and an
               opportunity to comment upon, any plan of reorganization that the Company may
               propose, and the disclosure statement that would be sent along with any such plan
               of reorganization. The Company will provide its drafts of the proposed plan of
               reorganization and disclosure statement to counsel for the UFCW as promptly as
               possible prior to its filing.

                       (iii) Most Favored Constituent Status in Plan Discussions. The
               Company agrees to consider in good faith any comments to any proposed plan of
               reorganization and/or disclosure statement made by UFCW and the Local Unions,
               including its proposed capital structure, board structure, by-laws and financing,
               and to consider the UFCW’s views on these topics as thoroughly as they will
               consider the views of any other constituency in these Chapter 11 cases, including

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                  but not limited to a proposed plan sponsor or equity investor, the Official
                  Committee of Unsecured Creditors, holders of the Company’s Second Lien debt,
                  holders of the Company’s convertible bonds, or any other constituency.

         3.       Plan Terms

         The Company, the UFCW, and the Local Unions agree that in addition to the obligations
 in Paragraph 2(d)(1) above, any plan of reorganization proposed in the Company’s Chapter 11
 cases (inclusive of the disclosure statement and other plan-related documents), or otherwise
 supported by the Company, will contain at least the following terms:

               (a)    Assumption of Modified Agreements. The modified CBAs will be
         assumed pursuant to 11 U.S.C. § 365 under a plan of reorganization.1

                 (b)     Capital Infusion. Any plan of reorganization proposed by the Company
         will include an appropriate capital infusion sufficient, when combined with the cash flow
         in the business plan that is reflected in and related to the final disclosure statement
         approved by the Bankruptcy Court (the “Business Plan”), to enable the Company to make
         the capital investments in its stores that are envisioned by the Business Plan.

                 (c)    Minimum Liquidity. Any plan of reorganization proposed by the
         Company will provide that upon emergence from chapter 11, the Company shall have at
         least $200 million in total combined cash, cash equivalents, and borrowing availability
         under any credit facility, it being understood that any undrawn revolver capacity is
         considered to be available and part of the $200 million in liquidity.

                   (d)    Release and Exculpation. Any plan of reorganization will include
         customary release and exculpation clauses that will be at least as comprehensive for
         UFCW, the Local Unions, and each of their current or former members, officers,
         committee members, employees, advisors, attorneys, accountants, actuaries, investment
         bankers, consultants, agents and other representatives (the “UFCW Exculpated Parties”),
         as it is for the Company and its officers, directors, and advisors. The Company will
         propose in its plan of reorganization that the UFCW Exculpated Parties be released and
         exculpated from any and all claims related to the Company’s bankruptcy cases; the
         formulation, preparation, negotiation, dissemination, implementation, administration,
         confirmation or consummation of the modified CBAs, the disclosure statement
         concerning the plan of reorganization or the plan itself, or any other agreement of
         document created, modified, amended, terminated or entered into in connection with
         either the plan of reorganization or any agreement between the Company, the UFCW, or
         the Local Unions. Upon request of the UFCW or a Local Union, the Company will
         appear and intervene, or, if intervention is not authorized, file an amicus brief (if
         permitted to do so), asserting and defending the application of these exculpation
         provisions in any relevant proceeding relating to the application of these exculpation
         provisions to the UFCW or a Local Union.

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     For the sake of clarity, this does not include the assumption of any withdrawal liabilities associated with any
     defined benefit multi-employer pension plan.


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                 (e)     Professional Fee and Expense Recovery. If the Effective Date takes
        place and the CBA Modifications are still in place as of confirmation of a plan of
        reorganization, the Company will pay the reasonable fees and expenses charged to
        UFCW by Cohen, Weiss & Simon LLP (“CWS”) and Glanzer & Co (“Glanzer”), as
        specified below in connection with the review, design, negotiation, approval, and
        ratification of each amended CBA, as well as any other aspects of the Company’s
        Chapter 11 cases in which the UFCW and the Company’s positions were not adverse.
        The amount and payment dates are as follows:

                Effective date of POR

                CWS                     up to $750,000

                Glanzer                 $2,000,000

 These fees and expenses shall constitute a stipulated, approved, and allowed administrative
 expense paid on the effective date of the plan. These fees and expenses are not subject to the
 limitations of Paragraph 2(b) above.

                (f)    Board Seat. The Company shall propose as part of its Plan that the Board
        of Directors of the reorganized company shall, for the Term, include one member
        designated by the UFCW. The mechanism for the UFCW’s designation of a director
        shall be agreed to by the UFCW and the Company.

                (g)     UFCW/Local Union Support. So long as the Company’s proposed plan
        of reorganization is materially consistent with the terms of the modified CBAs (inclusive
        of the provisions herein), the UFCW and each Local Union agree that they will support
        any request by the Company to extend the exclusivity period provided in the Bankruptcy
        Code made by the Company, as well as the Company’s proposed plan of reorganization,
        by arguing in support of such motions, including by filing a written pleading articulating
        their support for such motions; provided, however, that: (1) this paragraph shall not
        obligate the UFCW or any Local Union to support any liquidating plan; and (2) this
        paragraph does not affect the UFCW's fiduciary obligations as a member of the Official
        Committee of Unsecured Creditors (“OCUC”) when acting in its capacity as a member of
        the OCUC.

        4.      Pre-Confirmation Sale Processes (If Any). In the event that prior to the
 confirmation of a plan of reorganization or pursuant to a plan of reorganization (and, in the case
 of Subsection (a) below, during any bankruptcy or other judicially-supervised sale process
 during the Term), the Company initiates a marketing process to sell stores to a third party, the
 Company agrees that it will do so in compliance with the provisions below:

                 (a)    Procedural Protections—All Sales. If the Company elects or is required
        to sell any stores to third parties between the Effective Date and the confirmation of a
        plan of reorganization (or pursuant to a plan of reorganization), the Company agrees that:

                      (i)     while the bidding procedures and processes used by the Company
                may be different for future sales, they will be no less favorable to the UFCW and

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               Local Unions as the bidding procedures approved by the Bankruptcy Court in
               connection with the sale of the Southern Stores, taking into consideration any
               differences between the assets being sold;

                       (ii)   the Company will consult with the UFCW and affected Local
               Unions regarding the bidding procedures before proposing them, and will consult
               with the UFCW and affected Local Unions regarding the following materials
               before they are provided to potential third-party purchasers: confidentiality
               agreements, information packages, process letters, preliminary bidding
               instructions, management presentations, due diligence room links, rules and
               procedures, data information requests, and final bidding procedures;

                       (iii) at the request of the UFCW and affected Local Unions, the
               Company will facilitate an introduction of any specific prospective bidder
               identified by the UFCW and/or affected Local Unions; and

                       (iv)    while the Company believes that it must accept the highest and
               best bid in any sales context, it understands that the UFCW and the Local Unions
               believes that any buyer must accept and assume the modified CBAs as part of any
               purchase, and the Company agrees to take the positions of the UFCW and the
               Local Unions, and potential buyers’ willingness to assume the modified CBAs as
               part of any purchase, into account in determining what bid represents the highest
               and best offer. For the avoidance of doubt, the Parties agree that the Company
               can take non-economic factors into account in determining which bid is the higher
               and better bid.

               (b)     Additional Procedural Protections—Sales Of 75+ Grocery Stores. If the
       Company files a motion for authority to sell more than 75 stores at any one time, or sells
       stores during the Term (other than liquor stores) in lots of less than 75 which collectively
       amount to 75 prior to or as part of a plan of reorganization, the Company agrees that:

                       (i)     the Company will promptly advise the UFCW in writing of its
               election and will grant the UFCW the right to organize a transaction to bid for
               such stores (by itself or with a third-party partner or partners) and, to the extent
               practicable, shall provide the UFCW with at least 30 days to organize and present
               a bid prior to choosing a buyer or stalking horse;

                       (ii)    the Company will provide the UFCW, subject to appropriate
               confidentiality restrictions, with information reasonably necessary for due
               diligence purposes so that the UFCW may determine whether it wishes to pursue
               a transaction, and the UFCW may share this information with a third-party partner
               or partners subject to confidentiality restrictions set by the Company;

                       (iii) the Company shall promptly notify the UFCW of the schedule
               and/or timetable for consideration by the Company of any possible transaction
               and shall provide the UFCW with the same time provided by the schedule and/or
               timetable given to other interested parties to submit an offer for the stores;

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                       (iv)    the Company will give the UFCW (alone or in combination with a
               third-party partner or partners) the opportunity to bid for a position as the stalking
               horse in any such sale/marketing process, it being understood that such
               opportunity is not exclusive to the UFCW (with or without a third party partner or
               partners), but that (with the exception of paragraph 4(b)(i) above, the UFCW shall
               be treated comparably to any other potential stalking horses; and

                       (v)     the Company agrees to grant the UFCW seven (7) days to advise
               the Company whether or not it intends to pursue the rights set forth in Paragraph
               4(b)(i)-(iv) above and, during this time period, will not enter into any stalking
               horse agreement or other contract regarding the stores that are subject to the
               bidding process with another party.

               (c)     Substantive Protections for Sales of 75+ Stores (If Any). In any sale
       process initiated by the Company between the effective date of the modifications in this
       Agreement and the Company’s emergence from Chapter 11 protection, or as part of a
       plan of reorganization, the Company agrees to provide the UFCW with the following
       substantive protections:

                        (i)    Stalking Horse Option—If UFCW Bids. In the event that the
               UFCW submits an offer pursuant to Section 4(b) above, the Company shall not be
               under any obligation to accept such offer; provided, however, that, the Company
               may not enter into an agreement with regard to the stores covered by the bidding
               procedures with an entity other than UFCW unless that transaction is higher and
               better than the UFCW bid. The Company may only deem a proposed transaction
               superior to the UFCW bid if its Board of Directors determines in its sole
               discretion that such transaction is more favorable to the Company and its
               stakeholders. If the UFCW-led bid is, in pure economic terms, higher than an
               alternative bid, there will be a rebuttable presumption that the UFCW-led bid is
               the higher and better bid, and the burden will be on the Company to demonstrate
               that its chosen bid is in fact the higher and better bid. For the avoidance of doubt,
               the Parties agree that the Company can take non-economic factors into account in
               determining which bid is the higher and better bid.

                       (ii)    Status of Modifications In Any Future Sales Of 75+ Stores. The
               Company agrees that if it sells more than seventy-five (75) stores to a single buyer
               between the effective date of the modifications to this agreement and the
               Company’s emergence from Chapter 11 protection, as part of a Section 363 sale
               or a plan of reorganization, the UFCW and its affected Local Unions may, at their
               option, elect to terminate the modifications to their collective bargaining
               agreements described in this Agreement in their entirety. The Company agrees to
               inform any potential buyer of more than seventy-five (75) stores of this provision
               and to involve the UFCW and the affected Local Unions in any such transaction
               that may cause the provision to be invoked. The UFCW and its affected Local
               Unions must inform the Company within seven (7) days of receiving notice of the
               Company’s intent to sell 75+ stores if it will elect to terminate the modifications
               described in this Agreement. If the UFCW and the affected Local Unions elect to

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               invoke the provisions of this paragraph, the Company may immediately or at any
               time thereafter invoke its rights under 11 U.S.C. § 1113 and section 1(d) of this
               agreement shall be null and void.

                (d)     Neither the provisions of Paragraph 4 nor any other portion of this
        Agreement (except, if applicable, the severance provision in Paragraph 5 below) shall
        apply to store closures.

        5.      Severance. At the option of each Local Union this severance provision will be
 included in the modified CBA with respect to any store closures that occur during the Term. If a
 Local Union elects within 10 days of the Effective Date to opt-in to this paid Severance Program
 (the “Severance Program”), it will consist of the following terms:

               (a)     Definitions. For purposes of Section 5, these definitions shall apply:

                      (i)     “Eligible Full-Time Associate” shall mean an associate who; (a) is
               a member a Local Union, (b) is classified as full-time by the Company on or
               about the date of the store closure; (c) is laid off, or forfeits a contractual right to
               bump to another store, as a result of store closings and (d) is no longer employed
               by the Company due to a store closing.

                       (ii)    “Eligible Part-Time Associate” shall mean an associate who (a) is
               a member of a Local Union, (b) was classified as part-time by the Company and
               (c) is no longer employed by the Company due to a store closing.

             (b)    Severance Terms. In the event of a store closing during the term of the
        CBA Modifications:

                       (i)     Each Eligible Full-Time Associate shall receive; (a) a severance
               benefit in the amount of one (1) week of base pay for each two (2) full years of
               service (from his or her most recent hire date), up to a maximum of four (4)
               weeks base pay (the “Severance Cap”); and (b) three (3) months of continued
               Health & Welfare contributions by the Company at the current rate as of the date
               of the store closing. The Severance Cap described above shall be extended to a
               maximum of 18 weeks pay for Eligible Full-Time Associates with more than 25
               years of continuous service to the Company, and a maximum of 9 weeks pay for
               Eligible Full-Time Associates with between 15 and 25 years of continuous service
               to the Company.

                       (ii)    Each Eligible Part-Time Associate shall receive; (a) a severance
               benefit in the amount of one (1) week of base pay (based on his or her average
               hours worked in the prior year) for each four (4) full years of service (from his or
               her most recent hire date), up to a maximum of four (4) weeks base pay, and (b)
               two (2) months of continued health & welfare contributions by the Company at
               the current rate as of the date of the store closing.




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                      (iii) All severance payments will be made in weekly installments on the
               Company’s regular pay dates, and will be subject to applicable state/federal tax
               withholding and union dues.

                       (iv)    Each Eligible Full-Time Associate and Eligible Part-Time
               Associate shall receive a payment for accrued but unused vacation time, personal
               days, and sick entitlements for the calendar year in which the severance takes
               place, if such a payment is required by the particular collective bargaining
               agreement between the Company and the Local Union of which the associate is a
               member, or is otherwise required by applicable state law.

                      (v)     The severance benefits and continued health & welfare
               contributions outlined in Section 5(b)(i), (ii), and (iv) (if any) above are
               conditioned upon and subject to the Company’s receipt of a Confidential
               Employment Separation and Release Agreement (“Release Agreement”) fully
               executed (and notarized) by the Eligible Associate in a form that is satisfactory to
               the Company and the applicable Local Union. By executing the Release
               Agreement, the Eligible Associate forfeits any and all recall rights.

                       (vi)    The Company will not contest any application for unemployment
               benefits filed by any Eligible Full-Time Associate or any Eligible Part-Time
               Associate.

                        (vii) The Company agrees to provide positive reference to severed
               associates in their attempts to obtain new employment upon request of the
               associate or a potential future employer. If the Company in good faith does not
               feel it can provide a positive reference, it shall provide a neutral reference that
               provides no more information than the employee’s dates of employment.

               (c)    Certain Limitations on Severance Program

                       (i)     The Severance Program described in this Section 5 shall not apply
               to any associate who, upon a sale of the store in which he or she works to a third
               party, obtains a job with the buyer.

                       (ii)   The Parties agree that the Severance Program is the entirety of
               effects bargaining of any layoff or store closing with respect to any issue that is
               covered directly or indirectly by this Agreement.

       6.      Post-Emergence Protections

              (a)     Capital Expenditures. The Company shall spend a minimum of $100
       million on an average annual basis on capital improvements for its stores in calendar
       years 2012-2015. If the Company does not spend at least $100 million in any specific
       year beginning in 2012, the UFCW shall be entitled to request, and the Company shall
       provide, a specific, reasonable plan by which the Company will meet the average annual
       spending commitment. Provided, however, that the Company shall in all circumstances


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       spend a minimum of $45 million on capital improvements for its stores in any calendar
       year.

              (b)    Store Sales. The Company agrees that for any store sales during the
       Term, even those occurring after the effective date of a plan of reorganization, it will:

                      (i)     consult with the UFCW and the affected Local Unions regarding
               any confidentiality agreements, information packages, process letters,
               management presentations, due diligence room links, sales procedures, and data
               information requests, before they are provided to any prospective purchasers;

                      (ii)   identify to the UFCW and the affected Local Unions any bona fide
               prospective buyers and facilitate an introduction of UFCW to any specific
               prospective buyer identified by the UFCW; and

                       (iii) in the event that the Company initiates a marketing process to sell
               stores during the Term, or receives an offer to buy stores during the Term, the
               Company will involve the UFCW and affected Local Unions in any such process
               and give the UFCW (alone or in combination with a third party bidder) the
               opportunity to bid on the stores that the Company puts up for sale.

               (c)     Successorship. At the option of each Local Union, the Company agrees
       that the following successorship provisions will be added to the applicable modified
       CBA, and would be binding on grocery store sales in batches of either; (1) 25 or more
       stores, regardless of the location or jurisdiction of such stores, within a 30 day period; or
       (2) 5 or more stores employing members of any single Local Union, to one or more
       operators that take place between the effective date of a plan of reorganization and the
       end of the Term, provided, however, that if a single Local Union represents employees at
       less than 50 of the Company’s stores, this successorship provision (if added) would apply
       to sales of any store(s):

                       (i)     This Agreement shall be binding on all signatories thereto, and
               their successors and assigns, whether such status is created by sale, lease,
               assignment, merger, joint venture or any other type of transfer, in whole or in part,
               of the store(s) covered by this Agreement during the term thereof.

                       (ii)    Any such sales shall not take place without the Company securing
               the written agreement of a successor to: (1) assume the applicable collective
               bargaining agreement(s) covering bargaining unit employees at the stores to be
               sold, inclusive of the CBA Modifications; and (2) offer comparable employment
               opportunities subject to the terms of the applicable collective bargaining
               agreement(s) (including the CBA Modifications) to substantially all of the
               Company’s then-current employees working at the respective stores to be sold,
               recognizing their accrued seniority for all relevant purposes vis a vis other
               employees of the Company.

                    (iii) At least 7 days prior to the closing of any such transaction, the
               Company agrees to provide the UFCW and the president of any affected Local
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               Union, subject to entry into a confidentiality agreement acceptable to the
               Company, with: (1) the successor or assignee’s name; (2) the date and location of
               the closing; and (3) proof of the buyer’s agreement to assume the applicable
               collective bargaining agreements, inclusive of the CBA Modifications and other
               obligations referred to above.

                (d)     Change in Control. The Parties agree that if during the Term there is a
        merger, share exchange, consolidation, or sale or disposition of all or substantially all of
        the assets of the Company (a “Change in Control”), such a Change in Control will trigger
        a partial reopener of this agreement and the modified CBAs with respect to working
        conditions.

               (e)    Potential Partial Reopener. The Parties may each reopen the modified
        CBAs in 2014, but solely to address the impact of the Patient Protection and Affordable
        care Act (“PACA”) and any directly related successor legislation, regulations, or any
        amendments thereto (if any).

        7.       Success Sharing. The Company will create and implement a profit-sharing plan
 to share the “upside” of its reorganization with its associates. Specifically, on an annual basis
 during the Term, the Company will create a pool of 5% of any EBITDA generated that is over
 and above that projected in the Business Plan, if there is any EBITDA generated that is over and
 above that projected in the Business Plan, for sharing with its UFCW and SEIU partners. The
 Company, the UFCW, and the Local Unions will negotiate in good faith the terms of the sharing
 and the distribution of any payments among associates affiliated with the Local Unions.

         8.     Buyout. The UFCW, Local Unions, and the Company will meet and confer over
 the terms of an employee buy-out.

         9.      Enforcement. During the pendency of the Company’s bankruptcy cases, the
 Parties agree that notwithstanding the arbitration provisions of the applicable collective
 bargaining agreements, the provisions of this agreement, with the exception of Paragraph 5
 hereof, may be enforced by the Bankruptcy Court solely. After the effective date of a plan of
 reorganization, the Parties agree that any disputes arising under the provisions of the CBA
 Modifications will be governed pursuant to the grievance and arbitration provisions of each
 CBA.




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                                        Exhibit B

                           Approved Disclosure Statement Order




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                                        Exhibit C

                      The Reorganized Debtors’ Financial Projections




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                                                   EXHIBIT C

                              The Reorganized Debtors’ Financial Projections

 Principal Assumptions

 The Reorganized Debtors’ Financial Projections (the “Projections”)1 are based on, and assume the
 successful implementation of, the Reorganized Debtors' business plan. Both the Reorganized Debtors'
 business plan and the Projections reflect numerous assumptions, including general business and economic
 conditions, as well as food retail industry trends, and other matters that, though considered reasonable by
 the Reorganized Debtors in light of current circumstances, may not materialize and are inherently subject
 to significant business, economic and competitive uncertainties and contingencies which are beyond the
 Reorganized Debtors' control. Additionally, the Projections assume the management of the Reorganized
 Debtors will perform according to certain expectations, which may not occur. Therefore, although the
 Projections are necessarily presented with numerical specificity, the actual results achieved during
 February 25, 2012 through the fiscal year ending February 25, 2016 (the “Projection Period”) are
 likely to vary from the Projections. These variations may be material. Accordingly, no
 representation can be or is being made with respect to the accuracy of the Projections or the ability
 of the Reorganized Debtors to achieve the Projections and the Projections may not be relied upon
 as a guaranty or other assurance with respect to the actual results that will occur. See Article IX of
 the Disclosure Statement for a discussion of certain factors that may affect the future financial
 performance of the Reorganized Debtors. The Projections also include assumptions as to the estimated
 value of certain of the Reorganized Debtors assets and liabilities as of the Effective Date. Such
 determinations will be based upon the estimated fair values as of that date, which could be materially
 higher or lower than the values assumed in the estimates contained in the Projections. In deciding
 whether to vote to accept or reject the Plan, holders of Claims entitled to vote must make their own
 determinations as to the reasonableness of the assumptions underlying, and the reliability of, the
 Projections. See Article II of the Disclosure Statement.

 The Projections have been included by the Debtors strictly for purposes of complying with the feasibility
 requirement of the Bankruptcy Code and have no impact on the actual terms of the Plan or the
 transactions contemplated therein. Nothing in the Projections shall obligate or be construed to obligate the
 Reorganized Debtors, or the Investors as the 100% owners of the Reorganized Debtors, to incur any of
 the liabilities contained in the Projections (except as otherwise provided for in the Plan) or to operate the
 Reorganized Debtors in accordance with the Debtors’ assumptions contained in the Projections. The
 Reorganized Debtors will operate in the ordinary course in accordance with their own business plan.

 Independent auditors have neither compiled nor examined the Projections to determine the reasonableness
 thereof and, accordingly, no independent auditors have expressed any opinion or other form of assurance
 with respect to them. Moreover, the Projections have not been prepared with a view toward compliance
 with guidelines established with respect to projections by the SEC or the American Institute of Certified
 Public Accountants ("AICPA"). The principal assumptions used in preparing the Projections are as
 follows:


 1
         Capitalized terms used herein and not otherwise defined shall have the meanings set forth in the Plan.

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 (a) Effective Date; Plan Terms: For purposes of these Projections, the Confirmation of the Plan is
     assumed to occur during the fourth quarter of fiscal 2011 and the Effective Date is assumed to occur
     on February 25, 2012. The Projections also assume that:

    (i) The total amount of Allowed Claims in each Class is the actual or estimated aggregate amount
        thereof set forth in Article II of the Disclosure Statement;

    (ii) The estimated total amount of Priority Tax Claims, Administrative Claims, the Unsecured
         Creditor Cash Pool and other reorganization expenses is approximately $250 million and
         includes, among other items: catch-up pension contributions, 503(b)(9) claims, contractual cure
         costs, exit financing fees, and legal, accounting, financial advisory and other professional fees
         associated with implementation of the Plan to be paid on the Effective Date.

 (b) General Economic Conditions: The Projections were prepared based on assumptions that the overall
     economy will grow throughout the Projection Period and that there will be no significant change in
     the markets in which the Debtors operate.

 (c) Principal Operating and Financial Assumptions

    (i) Revenues: The Projections assume the implementation of an estimated $560 million capital
        program over the Projection Period, approximately $390 million of which is targeted for store
        remodels, as well as the Debtors’ current footprint of 335 operating stores.

        (A) The revenue projections assume inflation of 1.3% in FY’12 and 1.0% in FY’13 and
            thereafter.

        (B) The revenue projections were developed for each store based on anticipated relative
            performance to the broader food retail market and the associated return on investment from
            the anticipated capital plan.

        (C) Assumptions imply consolidated same store sales growth of 2.2% in FY’12, 3.0% in FY’13,
            3.5% in FY’14 and 3.0% in FY’15.

    (ii) Merchandising Income: The Reorganized Debtors assume a 33.9% merchandising income margin
         in FY’12 and 33.8% thereafter, which is generally consistent with the Debtors’ recent
         performance.

    (iii) Expenses: Non-controllable expense growth is based on inflation or contractual path, whereas
          controllable expenses are generally derived based on a rate to sales.

        (A) Supply & Logistics: The Reorganized Debtors’ supply & logistics expenses are comprised of
            both a fixed and variable component. The fixed component is projected to remain constant
            over the Projection Period, while the variable component is derived based on a rate to sales.
            The Projections assume the terms of the contract reached with the Debtors’ main supplier,
            C&S Wholesale Grocers, as filed with the Bankruptcy Court on June 7, 2011.

        (B) Stock Loss: The Reorganized Debtors’ stock loss is projected on a store-by-store basis as a
            rate to sales.

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        (C) Productive Labor and Fringe: The Reorganized Debtors’ productive labor expense is
            comprised of both a fixed and variable component. The fixed component of productive labor
            expense (assuming a constant level of sales volumes) is assumed to grow at 2% per annum.
            The variable component of productive labor expense is based on a rate to sales and assumes
            that approximately 50% of productive labor expenses are variable. Fringe and benefits related
            expenses are assumed to increase 5% per annum. The Projections assume the realization of
            savings associated with the Debtors’ ongoing labor negotiations.

        (D) Other Store Level Expenses: The Reorganized Debtors’ other store level expenses include
            marketing/advertising, supplies, utilities, rent and other expenses. With the exception of
            occupancy expenses that are based on contractual increases, other store level expenses are
            primarily derived based on a rate to sales.

        (E) Banner Admin & Division Expenses: The Reorganized Debtors’ banner admin and division
            expenses primarily include salaries and fringe benefits associated with certain banner/division
            employees. Salaries and fringe benefits are assumed to grow at 2% and 5%, respectively, per
            annum.

        (F) Corporate Admin and Other Income/Expense: The Reorganized Debtors’ corporate admin
            and other income/expense primarily include salaries and fringe benefits associated with
            certain corporate employees. Salaries and fringe benefits are assumed to grow at 2% and 5%,
            respectively, per annum.

        (G) Depreciation & Amortization: The Reorganized Debtors’ depreciation and amortization
            expense incorporates existing fixed and intangible assets, as well as incremental assets (fixed
            and intangible) associated with the Reorganized Debtors’ capital program.

        (H) Self-Help Initiatives: Assumes the Reorganized Debtors achieve $50 million of annual
            savings in FY’12 and $75 million of annual savings in FY’13 and thereafter. Management's
            "self-help" initiatives include improving merchandising and pricing effectiveness, reducing
            “shrink” (and improving operational and administrative efficiencies through technology-
            driven automation primarily related to the more efficient inventory management and best
            practices associated with certain perishable goods), among others.

    (iv) Balance Sheet Projections: In order to forecast the change in net working capital and other non-
         current assets, certain balance sheet items are projected using assumptions consistent with
         historical trends. Accounts receivable, prepaid & other expenses, accrued salaries, wages &
         benefits and other current liabilities are generally projected based on sales. Accounts payable and
         inventory are projected based on cost of sales, though accounts payable are adjusted for certain
         expected improvements and/or contractions in trade terms over the Projection Period.

    (v) Post-Reorganization Debt and Cash Interest Expense: The Projections assume that, immediately
        after the Effective Date, the Reorganized Debtors will be capitalized with a $750 million Exit
        Facility (including a $400 million undrawn revolver (the “Revolver”) and a $350 million term




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         loan (the “Term Loan”)), $210 million of New Second Lien Notes (face amount)2 and
         $250 million of New Convertible Third Lien Notes (face amount)3. The Revolver and Term Loan
         are assumed to have market rates. For the purpose of the Projection, the New Second Lien Notes
         and New Convertible Third Lien Notes are assumed to be paid in kind at 12.5% and 14.0%,
         respectively. Cash interest expense also includes approximately $57 million per annum of cash
         rent expense associated with capital leases and other real estate liabilities pursuant to US GAAP.
         To the extent the Debtors and the Investors exercise the option under the Plan to provide the
         holders of Second Lien Note Claims with the Replacement Second Lien Notes, the Debtors may
         supplement or modify the Projections as appropriate.

     (vi) Post-Reorganization Taxes: The Projections assume the Reorganized Debtors pay approximately
          $5 million of annual cash taxes. While the Reorganized Debtors are expected to emerge with
          certain material “Operating Loss Carry Forwards,” the Projections do not take into account the
          benefit, if any, of such tax attributes during Projection Period.

     (vii) Fresh-Start Reporting: The Reorganized Debtors will be required to determine the amount by
          which its reorganization value as of the Effective Date exceeds, or is less than, the fair value of its
          assets as of the Effective Date. Such determination will be based upon the fair values as of that
          time, which could be materially higher or lower than the values assumed in the Projections, and
          may be based on a different methodology with respect to the determination of the Reorganized
          Debtors’ value. In all events, such valuation, as well as the determination of the fair value of the
          Reorganized Debtors’ assets and its actual liabilities, will be made as of the Effective Date, and
          the differences between the amounts as assumed in the Projections and the actual amounts thereof
          as of the Effective Date may be material. The Projections have been prepared to reflect a
          “simplified fresh-start” presentation as of the Effective Date. The Projections reflect adjustments
          to goodwill and intangible asset values based on the terms of the Plan and associated assumed
          assets and liabilities.




 2
          The $210 million face amount of the New Second Lien Notes will be issued with a 5.0% original issue
 discount, therefore, the aggregate amount of the securities includes $200 million•not $210 million•in funds from
 issuance of the New Second Lien Notes.
 3
          The $250 million face amount of the New Convertible Third Lien Notes includes a $40 million
 commitment fee.

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 Projections

 As indicated above, the projected consolidated financial statements of the Reorganized Debtors set forth
 below have been prepared based on the assumption that the Effective Date is February 25, 2012. There
 can be no assurance as to when the Effective Date will actually occur.

 The projected consolidated financial statements set forth below include:

 (a) The Reorganized Debtors’ projected pro forma balance sheet as of February 25, 2012, representing:
     (i) the projected consolidated financial position of the Reorganized Debtors as of February 25, 2012,
     but prior to the consummation of the transactions which the Plan contemplates will occur on the
     Effective Date; (ii) the projected adjustments to such projected consolidated financial position
     required to reflect Confirmation and the consummation of the transactions which the Plan
     contemplates will occur on the Effective Date (collectively, the "Emergence Adjustments"); and (iii)
     the projected consolidated financial position of the Reorganized Debtors as of February 25, 2012,
     after giving effect to the Emergence Adjustments. The Emergence Adjustments set forth in the
     column captioned “Adjustments” reflect the assumed effects of the consummation of the transactions
     contemplated by the Plan. The various Emergence Adjustments are described in greater detail in the
     notes to the Reorganized Debtors’ projected pro forma balance sheet.

 (b) The Reorganized Debtors’ projected pro forma consolidated balance sheet, representing the projected
     consolidated financial position of the Reorganized Debtors as of February 25, 2012, after giving
     effect to the consummation of the transactions which the Plan contemplates will occur on the
     Effective Date, and as of each of February 25, 2013, 2014, 2015 and 2016.

 (c) The Reorganized Debtors’ projected pro forma consolidated income statement, representing the
     projected consolidated income statement of the Reorganized Debtors for the fiscal years ending
     February 25, 2013, 2014, 2015 and 2016.

 (d) The Reorganized Debtors’ projected pro forma consolidated statements of cash flows, representing
     the projected consolidated cash flows of the Reorganized Debtors the fiscal years ending February 25,
     2013, 2014, 2015 and 2016.




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                             THE GREAT ATLANTIC & PACIFIC TEA CO.
                       PROJECTED PRO FORMA CONSOLIDATED BALANCE SHEET
                                       FEBRUARY 25, 2012
                                           (Unaudited)
                                        (Dollars in Millions)
                                    (Amounts may not add to totals due to rounding)
                                    PROJECTED PRO FORMA CON SOLIDATED BALAN CE SHEET

                                                           February 25, 2012     Emergence               February 25, 2012
      ASSETS                                                  Projected          Adjustments                Pro Forma
      Current Assets
                                                                                                   (a)
        Cash And Cash E quivalents                                    $179.3             ($42.5)                    $136.8
        Accounts Receivable, net                                       160.4                                         160.4
        Inventory                                                      366.1                                         366.1
        Prepaid and Other E xpenses                                       41.2                                        41.2
        Total Current Assets                                         $747.0             ($42.5)                    $704.5

      Non-Current Assets
        Property, net                                                 $976.3                                        $976.3
                                                                                                   (b)
        Goodwill & Intangible Assets                                   224.0            $200.7                       424.7
                                                                                                   (c)
        Deferred Financing Costs, net                                      0.0               7.0                        7.0
        Deferred Tax Assets                                                0.0                                          0.0
        Other Assets                                                   150.6                                         150.6
           Total N on-Current Assets                                $1,350.8            $207.7                    $1,558.6

      Total Assets                                                  $2,097.8            $165.2                    $2,263.0

      LIABILITIES & STOCKHOLDERS' EQUITY
      Current Liabilities
                                                                                                   (d)
        Accounts Payable                                              $208.0             ($49.5)                    $158.5
        Accrued Salaries, Wages & Benefits                                95.5                                        95.5
                                                                                                   (e)
        DIP Financing                                                  350.0             (350.0)                        0.0
                                                                                                   (f)
        Other Current Liabilities                                      137.0               (9.0)                     128.0
           Total Current Liabilities                                 $790.5            ($408.5)                    $382.0

      Non-Current Liabilities
                                                                                                   (g)
        E xit Term Loan                                                   $0.0          $350.0                      $350.0
                                                                                                   (h)
        2nd Lien Notes                                                     0.0           199.5                       199.5
                                                                                                   (i)
        3rd Lien Notes                                                     0.0           250.0                       250.0
                                                                                                   (j)
        Capital Leases                                                    47.3             53.6                      100.9
                                                                                                   (k)
        Real E state Liabilities                                       184.8             189.3                       374.2
                                                                                                   (l)
        Other Liabilities                                              134.6             391.8                       526.4
        Liabilities Subject to Compromise                            2,484.0           (2,484.0) (m)                    0.0
           Total N on-Current Liabilities                           $2,850.7          ($1,049.7)                  $1,801.0

      Total Liabilities                                             $3,641.2          ($1,458.2)                  $2,183.0

        Stockholders' E quity
                                                                                                   (n)
           Common Stock                                                $53.9             $26.1                       $80.0
                                                                                                   (o)
           Series A Preferred Stock                                    146.8             (146.8)                        0.0
                                                                                                   (o)
           Additional Paid-In Capital                                  509.6             (509.6)                        0.0
                                                                                                   (o)
           Retained E arnings                                         (2,254)            2,254                          0.0
        Stockholders' Equity/(Deficit)                             ($1,543.4)          $1,623.4                     $80.0

      Total Liabilities & Stockholders' Equity/(Deficit)            $2,097.8            $165.2                    $2,263.0




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                   NOTES TO THE GREAT ATLANTIC & PACIFIC TEA CO.
                 PROJECTED PRO FORMA CONSOLIDATED BALANCE SHEET


       (a)     Cash adjustments include:

               (i)    The net proceeds of the investment by the Investors, net of:

               (ii)   Emergence costs, including catch-up pension contribution, professional
                      fees, exit financing fees, unsecured claims costs, accrued DIP Facility
                      interest and fees and other miscellaneous expenses and cure costs, among
                      others.

       (b)     Represents implied goodwill and intangible assets based on proposed transaction.

       (c)     Represents deferred financing fees.

       (d)     Represents payment of accrued expenses at emergence.

       (e)     Represents repayment of the DIP Facility in full in cash.

       (f)     Represents payment of other current liabilities at closing.

       (g)     Represents proceeds from the Exit Facility.

       (h)     Represents proceeds from New Second Lien Notes, net of original issue discount.

       (i)     Represents proceeds from New Convertible Third Lien Notes and commitment fee
               payable to the Investors.

       (j)     Represents capital leases that will be assumed.

       (k)     Represents NQSLB and EITF 97-10 leases that will be assumed.

       (l)     Represents additional liabilities, including pension liabilities, mortgages and
               workman’s compensation, that will be assumed.

       (m)     Represents the elimination of various liabilities that are subject to compromise.

       (n)     Represents the proceeds from the Investors’ New Equity Investment.

       (o)     Represents adjustments for “Fresh Start Accounting.”




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                                 THE GREAT ATLANTIC & PACIFIC TEA CO.
                           PROJECTED PRO FORMA CONSOLIDATED BALANCE SHEET
                                        FEBRUARY 25, 2012 - 2016
                                              (Unaudited)
                                           (Dollars in Millions)
                                      (Amounts may not add to totals due to rounding)

                                            PROJECTED PRO FORMA CON SOLIDATED BALAN CE SHEET
                                                   February 25, 2012                            Fiscal Year Ended
                                                     Pro Forma             2012E            2013E               2014E         2015E
 ASSETS
 Current Assets
   Cash And Cash E quivalents                                $136.8            $158.8           $140.0              $181.2        $240.2
   Accounts Receivable, net                                   160.4             162.4            167.4               173.1         178.4
   Inventory                                                  366.1             370.7            382.1               395.5         407.6
   Prepaid and Other E xpenses                                 41.2              41.7             43.0                44.5          45.9
   Total Current Assets                                      $704.5            $733.6           $732.5              $794.3        $872.0

 Non-Current Assets
  Property, net                                              $976.3             $939.1           $913.2             $887.7         $860.5
  Goodwill & Intangible Assets                                424.7              414.9            408.4              401.9          395.4
  Deferred Financing Costs, net                                 7.0                5.6              4.2                2.8            1.4
  Other Assets                                                150.6              195.8            224.1              244.9          262.9
    Total N on-Current Assets                              $1,558.6           $1,555.4         $1,549.9           $1,537.4       $1,520.2
 Total Assets                                              $2,263.0          $2,289.0          $2,282.4           $2,331.7      $2,392.2

 LIABILITIES & STOCKHOLDE RS' EQUIT Y
 Current Liabilities
   Accounts Payable                                          $158.5            $217.5           $192.3              $200.9        $208.4
   Accrued Salaries, Wages & Benefits                          95.5              95.1             98.0               101.4         104.5
   Other Current Liabilities                                  128.0             129.7            133.6               138.2         142.4
     Total Current Liabilities                               $382.0            $442.3           $423.9              $440.5        $455.3

 Non-Current Liabilities
  E xit Term Loan                                            $350.0             $350.0           $350.0             $350.0        $350.0
  2nd Lien Notes                                               199.5             227.7            259.1              294.2         333.5
  3rd Lien Notes                                               250.0             285.0            324.9              370.4         422.2
  Capital Leases                                               100.9             100.9            100.9              100.9         100.9
  Real E state Liabilities                                     374.2             374.2            374.2              374.2         374.2
  Other Liabilities                                            526.4             501.9            487.8              476.3         465.1
     Total N on-Current Liabilities                         $1,801.0          $1,839.7         $1,896.9           $1,966.0      $2,046.0
   Total Liabilities                                       $2,183.0           $2,281.9         $2,320.8           $2,406.6       $2,501.2

 Stockholders' E quity
   Common Stock                                               $80.0                $80.0         $80.0               $80.0         $80.0
   Retained E arnings                                             --               (72.9)       (118.4)             (154.9)       (189.1)
 Stockholders' Equity/(Deficit)                               $80.0                 $7.1        ($38.4)             ($74.9)      ($109.1)
 Total Liabilities & Stockholders' Equity                  $2,263.0          $2,289.0          $2,282.4           $2,331.7      $2,392.2




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                          THE GREAT ATLANTIC & PACIFIC TEA CO.
                  PROJECTED PRO FORMA CONSOLIDATED INCOME STATEMENT
                                 FEBRUARY 25, 2013 - 2016
                                       (Unaudited)
                                    (Dollars in Millions)
                              (Amounts may not add to totals due to rounding)


                   PROJECTED PRO FORMA CON SOLIDATE D IN COME STATEMEN T
                                                               Fiscal Year E nded
                                               2012E         2013E            2014E            2015E

    Store Count                                     335           335              335             335
    Total Sales                                 $7,081.3      $7,297.3        $7,549.6         $7,778.7
      Cost Of Sales                              (4,683.4)    (4,827.5)        (4,995.9)       (5,148.8)
    Merchandising Income                        $2,398.0      $2,469.8        $2,553.7         $2,629.9
        % Margin                                  33.9%         33.8%           33.8%            33.8%
      Supply & Logistics                           (166.2)      (166.1)          (169.2)         (173.9)
      Stock Loss                                    (68.5)        (70.6)           (73.1)          (75.4)
    Gross Profit                                $2,163.3      $2,233.2        $2,311.4         $2,380.6
        % Margin                                  30.5%         30.6%           30.6%            30.6%
      Productive Labor & Fringe                  (1,142.9)    (1,176.1)        (1,208.5)       (1,240.0)
      Other Store Level E xpenses                  (877.3)      (884.2)          (901.4)         (917.9)
    Store Contribution                             $143.1       $172.9          $201.5          $222.8
      Banner Admin & Division E xpense              (10.8)        (11.0)           (11.2)          (11.5)
    Group Contribution                            $132.3        $161.9          $190.3           $211.3
      Store D&A                                     123.5        118.1            121.0           123.4
    4-WALL EBITDA                                 $255.9       $280.0            $311.3         $334.7
        % Margin                                    3.6%         3.8%             4.1%            4.3%
      Corp Admin                                   (165.9)      (174.1)          (180.2)         (187.3)
      Other Income & E xpenses                       16.1          22.1             23.7            24.7
    Operating Income (EBIT)                        ($17.4)         $9.9           $33.8           $48.7
      Total Company D&A                             183.8        175.3            180.1           185.7
    EBIT DA Pre-Initiatives                       $166.3        $185.2          $213.8          $234.4
      Self-Help Initiatives                         50.0          75.0             75.0            75.0
    EBIT DA Post-Initiatives                      $216.3       $260.2           $288.8           $309.4
      Cash Interest E xpense                       (28.4)        (28.4)           (28.4)          (29.0)
      OID / Financing Fees                          (3.3)         (3.3)            (3.3)           (3.3)
      PIK Interest E xpense                        (61.3)        (69.4)           (78.7)          (89.2)
      Rent Included in Interest                    (57.2)        (57.2)           (57.2)          (57.2)
    Pre-T ax Income                              ($117.6)       ($73.4)         ($58.8)          ($55.1)
      Income Tax E xpense                           44.7          27.9            22.4             20.9
    N et Income                                   ($72.9)       ($45.5)         ($36.5)          ($34.2)




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                           THE GREAT ATLANTIC & PACIFIC TEA CO.
                 PROJECTED PRO FORMA CONSOLIDATED CASH FLOW STATEMENT
                                 FEBRUARY 25, 2013 - 2016
                                        (Unaudited)
                                     (Dollars in Millions)
                                  (Amounts may not add to totals due to rounding)


                          PROJECTED PRO FORMA CON SOLIDATED CASH FLOW STATEMEN T
                                                                                        Fiscal Year Ended
                                                                          2012E       2013E           2014E       2015E
 Cash Flows from Operating Activities
 Net Income/ (Loss)                                                         ($72.9)     ($45.5)         ($36.5)      ($34.2)
 Depreciation & Amortization                                                 183.8       175.3           180.1        185.7
 Non-cash Interest E xpense                                                   61.3        69.4            78.7         89.2
 Amortization of Financing Fees/ OID                                           3.3         3.3             3.3          3.3
 E mployee Benefits Related Costs                                            (24.5)      (14.1)          (11.5)       (11.2)
 (Increase) Decrease in Receivables                                           (2.0)       (5.0)           (5.8)        (5.3)
 (Increase) Decrease in Inventories                                           (4.6)      (11.4)          (13.3)       (12.1)
 (Increase) Decrease in Prepaid E xpenses and Other Current Assets           (49.7)      (33.7)          (28.3)       (26.8)
 Increase in Accounts Payable                                                 59.0       (25.2)            8.6          7.4
 Increase in accrued Salaries, Wages, Benefits & Taxes                        (0.4)        2.9             3.4          3.1
 Increase in Other Current Liabilities                                         1.6         4.0             4.6          4.2
 N et Cash Provided by (Used In) Operating Activities                       $154.8      $120.1          $183.2      $203.5

 Cash Flows from Investing Activities
 Capital E xpenditures                                                      (132.8)     (138.9)         (142.0)     (144.4)
 N et Cash Provided by (Used In) Investing Activities                      ($132.8)    ($138.9)        ($142.0)    ($144.4)

 Cash Flows from Financing Activities
 Proceeds from Issuance of Long-Term Debt                                        --          --              --          --
 Proceeds from Revolving Credit Facility                                         --          --              --          --
 N et Cash Used In Financing Activities                                       $0.0        $0.0            $0.0        $0.0

 Cash and E quivalents at Beginning of Year                                 $136.8      $158.8          $140.0      $181.2
 Net Increase (Decrease) in Cash and E quivalents                             22.0       (18.8)           41.2        59.0
 Cash and Cash Equivalents at End of Year                                   $158.8      $140.0          $181.2      $240.2




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                                       Exhibit D

                                  Liquidation Analysis




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Liquidation Analysis
($ are in 000's)
                                                                                        Low Recovery Scenario                                              High Recovery Scenario
                                                                  Item #      Book Value             Estimated Value % of Book Value           Book Value                  Estimated Value % of Book Value
  A. Value of collateral asset proceeds
      Cash and cash equivalents                                    [1]     $            175,000      $            175,000          100.0%   $            175,000           $            175,000           100.0%
      Restricted cash                                              [1]                       4,000                             ‐     0.0%                     4,000                                   ‐     0.0%
      Accounts receivable                                          [2]                  167,000                   135,000           80.8%                 167,000                        148,000           88.6%
      Intercompany accounts                                        [3]                                                         ‐      N/A                                                             ‐      N/A
      Inventories                                                  [4]                  399,000                   359,000           90.0%                 399,000                        399,000          100.0%
      Prepaid expenses and other current assets                    [5]                    43,000                               ‐     0.0%                   43,000                                    ‐     0.0%
        Owned real estate                                          [6]                                              49,000            N/A                                                  61,000            N/A
        Leased real estate                                         [7]                                            263,000             N/A                                                438,000             N/A
        FF&E and Other                                             [8]               1,040,000                      19,000            N/A             1,040,000                            34,000            N/A
        Total Property and FF&E                                                      1,040,000                    331,000           31.8%             1,040,000                          533,000           51.3%
        Sale of RX Scripts                                          [9]                                             62,000            N/A                                                  78,000            N/A
        Sale of Liquor Licenses                                    [10]                                             10,000            N/A                                                  14,000            N/A
        Goodwill, intangible assets and joint ventures             [11]                 230,000                     24,000          10.4%                 230,000                          24,000          10.4%
        Other balance sheet assets                                 [12]                 156,000                                ‐     0.0%                 156,000                                     ‐     0.0%
       Gross collateral asset proceeds                                     $         2,214,000       $         1,096,000            49.5%   $         2,214,000            $         1,371,000             61.9%

  B. Cost to monetize assets
      Liquidation fees for GOB sales                               [13]                                             10,000                                                                 16,000
      Wind down related payroll and benefits                       [14]                                             55,000                                                                 45,000
      Operating costs                                              [15]                                           152,000                                                                141,000
     Total cost to monetize assets                                                                                217,000                                                                202,000

  C. PACA claims                                                   [16]                                                5,000                                                                  1,000
 Net Estimated Proceeds Available for Secured Claims ‐ DIP                                           $            874,000                                                  $         1,168,000

                                                                                                     Estimated Total Estimated % of                                        Estimated Total Estimated % of
                                                                             Estimated               Amount Paid to  Allowed Claim            Estimated                    Amount Paid to  Allowed Claim
                                                                           Allowed Claim                Creditors         Paid              Allowed Claim                     Creditors         Paid
  D. Secured claims ‐ DIP
      DIP Facility                                                 [17]                 355,000                   355,000          100.0%                 355,000                        355,000          100.0%
      Letters of Credit                                            [18]                 192,000                   192,000          100.0%                 191,000                        191,000          100.0%
      Carve Out                                                    [19]                   18,000                    18,000         100.0%                   18,000                         18,000         100.0%
     Total Secured Claims ‐ DIP                                                         565,000                   565,000          100.0%                 564,000                        564,000          100.0%
 Net Estimated Proceeds Available for Secured Claims ‐ Other                                         $            309,000                                                  $            604,000

  E. Secured Claims ‐ Other
      11.375% Senior Secured Notes due 2015                        [20]                 304,000                   288,000           94.7%                 304,000                        304,000          100.0%
      Other secured claims or secured tax claims                   [21]                      1,000                             ‐     0.0%                     1,000                           1,000       100.0%
     Total Secured Claims ‐ Other                                                       305,000                   288,000           94.4%                 305,000                        305,000          100.0%
 Total Value of Excess Collateral                                                                    $                         ‐                                           $            299,000

  F. Unencumbered Assets
      Avoidance actions assets                                     [22]                                                        ‐                                                                      ‐
 Total Value of Excess Collateral and Unencumbered Assets                                            $                         ‐                                           $            299,000

  G. Chapter 7 costs
      Chapter 7 Trustee fees                                       [23]                   11,000                    11,000         100.0%                   14,000                         14,000         100.0%
      Chapter 7 Professional fees                                  [24]                   10,000                    10,000         100.0%                   10,000                         10,000         100.0%
     Total Chapter 7 costs                                                                21,000                    21,000         100.0%                   24,000                         24,000         100.0%
 Net Estimated Proceeds Available for Super Priority Claims                                          $                         ‐                                           $            275,000

                                                                                                     Estimated Total Estimated % of                                        Estimated Total Estimated % of
                                                                             Estimated               Amount Paid to  Allowed Claim            Estimated                    Amount Paid to  Allowed Claim
                                                                           Allowed Claim                Creditors         Paid              Allowed Claim                     Creditors         Paid
 Net Estimated Proceeds Available                                                                    $                         ‐                                           $            275,000
  H.   Super priority claims (Second Lien Notes)                   [25]                   16,000                               ‐     0.0%                              ‐                              ‐     0.0%
  H.   Super priority claims (Other)                               [25]                   14,000                               ‐     0.0%                   14,000                         14,000         100.0%
  I.   Administrative claims                                       [26]                 698,000                                ‐     0.0%                 724,000                        261,000           36.0%
  J.   Other priority claims                                       [27]                     2,000                              ‐     0.0%                     2,000                                   ‐     0.0%
  K.   Unsecured claims                                            [28]              3,290,000                                 ‐     0.0%             2,544,000                                       ‐     0.0%




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                                           LIQUIDATION ANALYSIS

 OVERVIEW

 Under the “best interests” of creditors test set forth by section 1129(a)(7) of the Bankruptcy Code, the
 Bankruptcy Court may not confirm a plan of reorganization unless the plan provides each holder of a
 claim or interest who does not otherwise vote in favor of the plan with property of a value, as of the
 effective date of the plan, that is not less than the amount that such holder would receive or retain if
 the debtor was liquidated under chapter 7 of the Bankruptcy Code. See 11 U.S.C. § 1129(a)(7).1
 Accordingly, to demonstrate that the Plan satisfies the “best interests” of creditors test, the Debtors
 have prepared a hypothetical liquidation analysis presenting recoveries available assuming a
 hypothetical liquidation occurring at the Plan Effective Date, which is assumed to be February 29, 2012
 (this “Liquidation Analysis”).

 The Liquidation Analysis presents information based on, among other things, the Debtors’ books and
 records, available third party appraisals, and good faith estimates regarding asset recoveries and claims
 resulting from a hypothetical liquidation undertaken under chapter 7 of the Bankruptcy Code. The
 Liquidation Analysis has not been examined or reviewed by independent accountants in accordance
 with standards promulgated by the American Institute of Certified Public Accountants. Although the
 Debtors consider the estimates and assumptions set forth herein to be reasonable under the
 circumstances, such estimates and assumptions are inherently subject to significant uncertainties and
 contingencies beyond the Debtors’ control. Accordingly, there can be no assurance that the results set
 forth by the Liquidation Analysis would be realized if the Debtors were actually liquidated, and actual
 results in such a case could vary materially from those presented herein, and distributions available to
 members of applicable classes of claims could differ materially from the balances set forth by this
 Liquidation Analysis in such instance.

 THE LIQUIDATION ANALYSIS IS A HYPOTHETICAL EXERCISE THAT HAS BEEN PREPARED FOR THE SOLE
 PURPOSE OF PRESENTING A REASONABLE GOOD FAITH ESTIMATE OF THE PROCEEDS THAT WOULD BE
 REALIZED IF THE DEBTORS WERE LIQUIDATED IN ACCORDANCE WITH CHAPTER 7 OF THE BANKRUPTCY
 CODE AS OF THE PLAN EFFECTIVE DATE. THE LIQUIDATION ANALYSIS IS NOT INTENDED AND SHOULD
 NOT BE USED FOR ANY OTHER PURPOSE. THE LIQUIDATION ANALYSIS DOES NOT PURPORT TO BE A
 VALUATION OF THE DEBTORS’ ASSETS AS A GOING CONCERN, AND THERE MAY BE A SIGNIFICANT
 DIFFERENCE BETWEEN THE LIQUIDATION ANALYSIS AND THE VALUES THAT MAY BE REALIZED OR
 CLAIMS GENERATED IN AN ACTUAL LIQUIDATION.




 1
         Capitalized terms used but not defined herein shall have the meanings set forth in (a) the Debtors’
         Disclosure Statement for the Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the United
         States Bankruptcy Code (the “Disclosure Statement”), to which this Liquidation Analysis is attached as
         Exhibit D, or (b) the Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the United States
         Bankruptcy Code (the “Plan”), which is attached to the Disclosure Statement as Exhibit A, as applicable.


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 NOTHING CONTAINED IN THE LIQUIDATION ANALYSIS IS INTENDED TO BE, OR CONSTITUTES, A
 CONCESSION, ADMISSION, OR ALLOWANCE OF ANY CLAIM BY THE DEBTORS. THE ACTUAL AMOUNT
 OR PRIORITY OF ALLOWED CLAIMS IN THE CHAPTER 11 CASES COULD MATERIALLY DIFFER FROM THE
 ESTIMATED AMOUNTS SET FORTH AND USED IN THE LIQUIDATION ANALYSIS. THE DEBTORS RESERVE
 ALL RIGHTS TO SUPPLEMENT, MODIFY, OR AMEND THE ANALYSIS SET FORTH HEREIN.

 BASIS OF PRESENTATION

 For financial reporting purposes, the Debtors generally prepare consolidated financial statements, which
 include financial information for A&P and certain of its affiliates. The Liquidation Analysis was prepared
 as if the assets and liabilities of the Debtors’ estates were settled in a manner consistent with the
 settlement and compromise of issues related to substantive consolidation as set forth in the Plan and as
 discussed in the Disclosure Statement.

 Although the Liquidation Analysis was prepared after the deadline for filing claims against the estates of
 the Debtors, those claims have not been fully evaluated by the Debtors or adjudicated by the
 Bankruptcy Court and, accordingly, the amount of the final allowed claims against the Debtors’ estates
 may differ from the claim amounts used in this Liquidation Analysis.

 The Liquidation Analysis is based on estimated asset and liability values as of February 29, 2012 (except
 where indicated). However, and as noted above, the actual amount of assets available to the estates
 and claims arising in the event of an actual liquidation may differ from the assets assumed to be
 available pursuant to this Liquidation Analysis.

 CURRENT VALUES

 The Liquidation Analysis is based on asset balances as of September 10, 2011 (as of the end of the
 second quarter of the Debtors’ fiscal year), except where otherwise noted. The Debtors believe their
 September 10, 2011 balance sheet is a reasonable proxy for a pro forma balance sheet as of the
 assumed conversion date of February 29, 2012. Certain adjustments have been made to the
 September 10, 2011 balance sheet forecast to reasonably reflect forecasted asset balances as of the
 assumed conversion date and such adjustments are summarized herein.

 LIQUIDATION PERIOD
 The Liquidation Analysis assumes a liquidation scenario requiring three phases over a period of twelve
 months, commencing on March 1, 2012.

 Phase I – Comprises a three-month period during which the following assets would be marketed and
 sold:

     •   Inventory – Inventories would be sold in going-out-of-business sales (collectively, the “GOB
         Sales”) conducted by a third-party liquidator. Inventory sales are assumed to be completed
         over a five week period.
     •   Furniture, Fixtures and Equipment (collectively “FF&E”) – An FF&E sale process would be
         conducted concurrently with the inventory sales as part of the GOB Sales. Final removal of FF&E


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         is assumed to extend three weeks beyond the completion of the inventory sales (eight weeks in
         total).
     •   Real Property – Real property assets would be marketed throughout the Phase I period, and
         final sales are expected to be completed within four months of the conversion date.
     •   Pharmacy Assets – Pharmacy related assets, including customer scripts, are expected to be
         marketed and sold during the Phase I period.

 The Liquidation Analysis assumes that the hypothetical chapter 7 trustee would retain store-level and
 field employees no longer than the end of the inventory sale process (five weeks). Additionally, the
 Liquidation Analysis assumes that the chapter 7 trustee would not retain certain headquarters
 employees including staff of merchandising, merchandise finance, advertising, stores organization,
 accounts payable, training, communications, and purchasing during this period and would therefore
 terminate these positions at the commencement of the liquidation process. The Liquidation Analysis
 further assumes that lease-related obligations and related store occupancy costs would be terminated,
 and the related leases would be rejected, at the conclusion of the GOB Sales conducted during this
 Phase I at store locations with no appraised leasehold value.

 Phase II – Comprises a three-month period where headquarters operations continue to wind down and
 most remaining headquarters employees are terminated. A core group of headquarters employees,
 such as staff in legal, finance and accounting, treasury, collections, information technology, tax, human
 resources, and real estate would be retained as necessary to administer asset monetization and
 collections, and support Phase III.

 During this phase, remaining unsold intangible assets would be marketed and sold as appropriate.

 Phase III – Comprises the remaining six month period during which, among other things, final tax
 returns would be filed, reports and schedules would be filed with the Bankruptcy Court, and remaining
 assets would be monetized or abandoned.

 COMPONENTS OF WATERFALL LIQUIDATION MODEL

 A. COLLATERAL ASSET PROCEEDS

     1. Cash and cash equivalents – This balance is rolled-forward to the Debtors’ current forecasted
        cash balance as of the assumed conversion to chapter 7 on February 29, 2012. All cash and cash
        equivalents on hand are considered to be recoverable at 100%. This balance does not include
        approximately $4.0 million that currently collateralizes letters of credit issued in accordance
        with the Final DIP Order2 or that is held in escrow to satisfy certain lease-related obligations.



 2
         The “Final DIP Order” means the Final Order (I) Authorizing Debtors (A) to Obtain Post-Petition Financing
         Pursuant to 11 U.S.C. §§ 105, 361, 362, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) and 364(e) and (B) to
         Utilize Cash Collateral Pursuant to 11 U.S.C. § 363 and (II) Granting Adequate Protection to Pre-Petition
         Secured Parties Pursuant to 11 U.S.C. §§ 361, 362, 363 and 364 entered on January 11, 2011 [Docket No.
         479].


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     2. Accounts receivable – Assumed recoveries on accounts receivables are summarized as follows:
                   a. Vendor receivables – The Liquidation Analysis considers alternative scenarios
                       that evaluate the following:
                            i. The Liquidation Analysis assumes an overall recovery estimate of 80% –
                               90% of the book balance before certain set-off considerations,
                               discussed below. Ten percent of vendor receivable accounts are 91+
                               days past due and therefore deemed uncollectible for purposes of the
                               Liquidation Analysis.
                           ii. Vendor setoff rights are estimated to further reduce collections on
                               accounts receivable by 15% in the High Recovery Scenario and 50% in
                               the Low Recovery Scenario.
                   b. Pharmacy Receivables – The Liquidation Analysis assumes recoveries of 86% –
                       96% of book balance based on the results of the Debtors’ current accounts
                       receivable aging for those receivables. Four percent of the pharmacy
                       receivables are 91+ days past due and therefore deemed uncollectible for
                       purposes of this Liquidation Analysis.
                   c. Third Party Insurance Receivables – The Liquidation Analysis assumes recoveries
                       of 85% of book balance for both the High Recovery Scenario and Low Recovery
                       Scenario based on management’s estimates.
                   d. Rent Receivables – The Liquidation Analysis assumes recoveries of 27% – 37% of
                       book balance based on results of the current accounts receivable aging. Sixty
                       three percent of the recent receivable accounts on a consolidated basis are 91+
                       days past due and therefore deemed uncollectible for the purpose of this
                       Liquidation Analysis.
                   e. Government / Welfare Receivables – The Liquidation Analysis assumes
                       recoveries of 90% – 95% of book balance based on the nature of these
                       receivables and management estimates.
                   f. Coinstar – The Liquidation Analysis assumes recoveries of 90% – 95% of book
                       balance based on the nature of these receivables and management estimates.

     3. Intercompany balances – The Liquidation Analysis disregards intercompany balances, including
        intercompany balances held by non-debtor affiliates.

     4. Inventories – The Liquidation Analysis assumes that inventories located at both stores and
        distribution centers would be sold through GOB Sales occurring during a five-week period
        commencing immediately after the chapter 7 conversion date.




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                                            Book value          Low Recovery              High Recovery
 $000s                                     as of P7 FY11      %        Value            %         Value

 Store Inventories                         $    342,256
 Theoretical Stock Loss                         (18,941)
                                           $    323,315     100%     $    323,315     107%     $    345,947
 Store Pharmacy                            $      37,903     75%           28,427     100%           37,903
 C&S Warehouses                            $      30,699     25%           10,745      50%           18,419
 Estimated 10% logistics cost                       N/A                    (3,070)                   (3,070)
                                           $      30,699                    7,675                    15,350

 Other (LIFO reserve, supplies, other)     $       6,670       0%                -      0%                 -

 Total                                     $    398,587      90%     $    359,417     100%     $    399,200

     5. Prepaid expenses and other current assets – Other than prepaid expenses that reflect deposits,
        such as utility deposits, prepaid expenses have no assumed value in the Liquidation Analysis and
        the recovery for such assets is assumed to be zero.

     6. Owned real estate – The Debtors own nine parcels of real property with an aggregate appraised
        value of $61.3M based on available third party appraisals. The assumed recovery value in the
        Liquidation Analysis is 80% – 100% of available appraised values.

     7. Sale of leases – The Debtors’ real property leases have an aggregate appraised value of
        approximately $438.0M based on appraisals performed by Hilco Real Estate Appraisal, LLC, an
        affiliate of Hilco Real Estate, LLC, the Debtors’ retained real estate advisor. The assumed
        recovery value used in the Liquidation Analysis is 60% – 100% of the appraised leasehold
        interest value. Leases with no positive appraisal value are assumed to have no recovery in
        either the High Recovery Scenario or the Low Recovery Scenario.

         The Debtors, in consultation with their real estate advisors, believe this recovery range reflects a
         reasonable expected value for their lease portfolio, taken as a whole, in a hypothetical
         liquidation in which all of their leases are liquidated in the timeframe set forth herein. Actual
         recoveries for any given lease may differ based on, among other things, the conditions of a
         particular location at issue, buyer interest in a particular location, macroeconomic conditions,
         general retail activity in a geographic area, or other residual obligations associated with a
         particular leased location.

         Estimated postpetition cure costs associated with the sale and assignment of leasehold interests
         is estimated at four-months of common area maintenance (“CAM”) and two-months of real
         estate taxes for the applicable lease. CAM and applicable taxes are generally paid in arrears on
         a periodic basis, depending on the terms of the lease obligations and applicable tax laws. Rent is
         assumed to be current through February 2012 since it is generally paid in advance on a monthly


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         basis and these payments are reflected in the Debtors’ forecasted cash balance as of
         February 29, 2012.

     8. FF&E and other property – FF&E and other property recovery value is based on a specific
        evaluation of each asset class and a comparison of previous assets sales performed by the
        Debtors.

     9. Sale of pharmacy prescription files – The recoveries for the Debtors’ pharmacy prescription files
        are based on a third party valuation conducted with respect to the Debtors assuming an orderly
        liquidation of these assets and applying these estimates to the Debtors’ store footprint as of
        February 29, 2012.

     10. Liquor licenses – Recoverable value from liquor licenses utilized by the Debtors’ 19 stand-alone
         liquor stores is estimated to be approximately $500,000 – $750,000 per license.

     11. Other goodwill and intangible assets – Valuation for goodwill and intangible assets is assumed
         to be limited to the anticipated value of the Food Emporium trade name.

     12. Other balance sheet assets – Other balance sheet assets consist primarily of (a) prepaid pension
         assets totaling approximately $43M that are assumed to be offset against pension-related
         claims, (b) deferred assets totaling approximately $27M, including deferred debt expense and
         deferred tax assets, and (c) other deposits or prepaid assets that are assumed to be set-off
         against corresponding administrative liabilities.

 B. COSTS TO MONETIZE ASSETS

     13. Liquidation fees for GOB Sales – Liquidation fees are based on the actual commission terms the
         Debtors previously negotiated with third party liquidators in connection with GOB Sales
         previously conducted during the Chapter 11 Cases. The following are the commissions used in
         the Liquidation Analysis:
                     a. 1.50% of proceeds from real property assets (owned, leased)
                     b. 1.00% – 1.25% of proceeds from inventories
                     c. 10.00% of proceeds from FF&E

     14. Wind down related payroll and benefits – The Liquidation Analysis reflects customary
         employee-related wind down costs reasonably necessary to complete Phases I, II, and III. In
         addition to costs for normal labor, taxes, and certain benefits, retention bonuses are necessary
         to achieve the estimated asset recoveries. A bonus of 40% of wages earned during the wind
         down period is estimated for corporate employees. A bonus of 25% of wages earned during the
         wind down period is estimated for store level employees. 90% and 110% is applied to the
         targeted estimate described above to develop the range used in the High and Low Recovery
         Scenarios, respectively.




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         High Recovery Scenario                   Phase I           Phase II          Phase III
         $000s                                  (3 months)        (3 months)         (6 months)            Total
         Corporate Employees
          Payroll, taxes and benefits          $      3,075       $      1,482      $        807       $        5,364
          Bonus - 40% of payroll                        984                474               258                1,717
                                               $      4,059       $      1,957      $      1,066       $        7,081
         Store Employees
           Payroll, taxes and benefits         $     31,393       $          -      $          -       $       31,393
           Bonus - 25% of payroll                     6,439                  -                 -                6,439
                                               $     37,832       $          -      $          -       $       37,832
         Grand Total                           $     41,890       $      1,957      $      1,066       $       44,913



     15. Other wind down costs – Other operational costs necessary to complete Phases I, II, and III of
         the wind down process include, but are not limited to, occupancy costs, general and
         administrative costs, and reimbursable costs incurred by third party liquidators conducting the
         GOB Sales.

         As noted above, the Debtors are expected to incur store related occupancy (including rent,
         CAM, and pro-rated real estate taxes) and wind down costs during the eight week period
         necessary to complete the applicable GOB Sales (including the sale of FF&E). The Liquidation
         Analysis assumes that the Debtors’ leases with no positive appraisal value will be rejected upon
         the completion of such eight-week period—i.e., on or about April 30, 2012. The Liquidation
         Analysis further assumes the chapter 7 trustee will incur an additional 2 months of occupancy
         costs for the Debtors’ leased store locations with positive appraised leasehold value to facilitate
         the trustee’s marketing, sale, assumption, and assignment of such leases.

         The Liquidation Analysis assumes 90% of total estimated costs (for the High Recovery Scenario)
         and 110% of total estimated costs (for the Low Recovery Scenario) to present the estimated
         costs associated with the hypothetical chapter 7 liquidation in this respect. The following table
         summarizes estimated operational costs by each phase of the wind down process (High
         Recovery Scenario):




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         High Recovery Scenario                      Phase I            Phase II       Phase III
         $000s                                     (3 months)         (3 months)      (6 months)           Total


         Store Operating Costs
           Rent / Occupancy                        $        75,817    $        -      $          -     $        75,817
           Common Area Maintenance                           7,643             -                 -               7,643
           Utilities / Maintenance                           9,888             -                 -               9,888
           Insurance                                        13,840             -                 -              13,840
           Other expenses                                    7,223             -                 -               7,223
           Reimbursable Liquidator Expenses                 15,456             -                 -              15,456
           Estimated Cure Costs                              9,728             -                 -               9,728
           Utilities Deposit                                (3,996)            -                 -              (3,996)
                                                   $       135,599    $        -      $          -     $       135,599
         Corporate Headquarters / Other
          Rent / Occupancy                         $           890    $      890      $     1,779      $         3,558
           Utilities / Maintenance                             339           339              677                1,355
          Taxes / other                                        162           162              324                  648
                                                   $         1,390    $    1,390      $     2,780      $         5,561
           Warehouse (two months)                             131              -                -                  131
           Records storage                                     12             12               24                   49
         Total other wind down costs               $       137,133    $    1,402      $     2,805      $       141,339
         Grand Total Estimated Costs to Monetize
          High Recovery Scenario                   $       194,892    $    3,359      $     3,870      $       202,121
          Low Recovery Scenario                    $       209,228    $    3,794      $     4,107      $       217,129


 C. PACA/PASA CLAIMS

     16. PACA/PASA Claims – The Liquidation Analysis estimates total claims entitled to “trust fund”
         status pursuant to applicable provisions of The Perishable Agricultural Commodities Act of 1930,
         7 U.S.C. §§ 499a–499t, or The Packers and Stockyards Act of 1921, 7 U.S.C. §§ 181–229, of
         $1.46M (High Recovery Scenario) and $5.0M (Low Recovery Scenario) based upon the Debtors’
         books and records and management estimates.

 D. SECURED CLAIMS – DIP Facility

     17. DIP Facility Claims – Includes $350.0M principal plus accrued but unpaid fees and interest
         estimated to be due and owing under the DIP Facility as of February 29, 2012.

     18. Letters of credit outstanding – Includes outstanding amount of $196.4M in letters of credit
         issued under the DIP Facility that are assumed to be drawn upon the Debtors’ conversion to a
         liquidation under chapter 7, less $2.5M of restricted cash that already collateralizes such letters
         of credit, and less $2M – $3M of proceeds from drawn upon letters of credit that may be


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         recaptured by the estate upon resolution or settlement of applicable underlying obligations
         based on management estimates.

     19. Carve-out – Unpaid holdback and accrued professional fees and expenses as of February 29,
         2012 entitled to priority pursuant to the Final DIP Order are estimated at $18.0M.

 E. SECURED CLAIMS - OTHER

     20. 11.375% Second Lien Notes due 2015 (“Second Lien Notes”) – This balance includes calculated
         accreted par value of $256.1M through February 29, 2012 and unpaid pre-petition and
         post-petition interest. This total also excludes any “make whole” premium or additional claims
         allegedly arising under the Second Lien Notes, although the Debtors understand that certain
         holders of Second Lien Notes may assert such claims in these Chapter 11 Cases. If the make
         whole premium or additional claims arising under the Second Lien Notes are ultimately allowed
         by the Bankruptcy Court, the total amount of allowed claims arising under the Second Lien
         Notes would increase accordingly.

     21. Other Secured Claims – The Debtors’ books and records do not identify material levels of Other
         Secured Claims or Secured Tax Claims apart from those presented in the Liquidation Analysis.3
         However, significant numbers of claims (other than on account of the secured obligations noted
         above) have been filed in the Debtors’ Chapter 11 Cases alleging that such claims are
         collateralized by certain of the Debtors’ assets. As a result, the pool of Other Secured Claims or
         Secured Tax Claims allowed in these bankruptcy cases could differ materially from the
         assumptions set forth by the Liquidation Analysis, thereby reducing recoveries available to
         junior creditors in a liquidation.

 F. UNENCUMBERED ASSETS

     22. Avoidance Actions – To the extent that DIP Facility Claims and Second Lien Notes Claims are
         otherwise paid in full, proceeds from Causes of Action available to the Debtors’ estates pursuant
         to chapter 5 of the Bankruptcy Code are available for distribution to the Debtors’ administrative
         and prepetition creditors pursuant to the priorities otherwise established by the Bankruptcy
         Code. However, the Debtors believe that recoveries from such actions, if any, would be
         speculative in nature. Therefore, such recoveries are not included in the Liquidation Analysis.

 G. CHAPTER 7 COSTS

     23. Chapter 7 trustee fees – In a chapter 7 liquidation, the Bankruptcy Court may allow reasonable
         compensation for the trustee’s services, not to exceed 25% on the first $5,000 or less, 10% on
         any amount in excess of $5,000 but not in excess of $50,000, 5% on any amount in excess of

 3
         Other Secured Claims as set forth in Section E of the Liquidation Analysis includes an estimated
         $70,000.00 of secured claims that may be classified as Secured Tax Claims pursuant to the Debtors’ Plan,
         although the Debtors reserve all rights to contest the priority, perfection, allowance, or amount of such
         claims.


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         $50,000 but not in excess of $1 million, and reasonable compensation not to exceed 3% of such
         moneys in excess of $1 million, upon all moneys disbursed or turned over in the case by the
         trustee to parties in interest. In consideration of the overall size of the Debtors’ estates, the
         Liquidation Analysis assumes 1% of gross asset proceeds for the hypothetical chapter 7 trustee.

     24. Professional fees – The costs associated with a chapter 7 liquidation are assumed to include
         fees and costs for professionals retained by the chapter 7 trustee including legal, financial, and
         claims processing advisors. Professional fees assumed to be incurred by a hypothetical chapter
         7 trustee are estimated as follows:

                 Phase I               Phase II             Phase III
         $000s (3 months)            (3 months)            (6 months)          Total
                 $      4,500       $        2,250         $    3,000      $      9,750
                     $1.5 / mo.         $750k / mo.        $500K / mo.

 H. SUPERPRIORITY CLAIMS

     25. DIP Facility Claims – The current Liquidation Analysis results in the DIP Facility and related fees
         and interest being paid in full under either the High Recovery Scenario or the Low Recovery
         Scenario. Therefore any superpriority administrative claims claims related to the DIP Facility are
         not reflected in the Liquidation Analysis.

         Second Lien Superpriority Claims – Pursuant to the Final DIP Order, holders of Second Lien
         Notes Claims are entitled to adequate protection in the form of, among other things,
         superpriority administrative expense claims pursuant to section 507(b) of the Bankruptcy Code
         to the extent of any diminution in value occurring following the Commencement Date
         (collectively, the “Second Lien Superiority Claims”). The Second Lien Superpriority Claims are
         therefore assumed to hold priority over all other administrative claims to the extent that
         proceeds from the prepetition collateral securing the Second Lien Notes Claims are insufficient
         to satisfy the Second Lien Notes Claims in full.

         C&S Superpriority Administrative Claims – Pursuant to the Order (I) Authorizing the Debtors to
         (A) Enter Into Replacement Supply and Logistics Contract and (B) Reject Existing Warehousing,
         Distribution, and Related Services Agreement and (II) Approving Comprehensive Settlement of
         Prepetition Claims, Setoff Rights, and Rejection Damages Between the Debtors and C&S
         Wholesale Grocers, Inc. entered on June 23, 2011 [Docket No. 1964] (the “C&S Order”), C&S
         Wholesale Grocers, Inc. (“C&S”) holds a superpriority administrative expense claim for certain
         fees and expenses otherwise due from the Debtors to C&S under the C&S Order (the “C&S
         Superpriority Claims”).

         The C&S Superpriority Claims are junior only to superpriority claims granted pursuant to the
         Final DIP Order, including the Second Lien Superpriority Claims. The Liquidation Analysis
         assumes the C&S Superpriority Administrative Claims will be approximately $14.0M as of the
         date of conversion based on the applicable fees and expenses otherwise due and owing to C&S
         under the C&S Order and the applicable agreements between the parties.

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 Liquidation Analysis




 I.   ADMINISTRATIVE CLAIMS

      26. The following chart summarizes administrative claims estimated to arise in a hypothetical
          liquidation under Chapter 7 of the Bankruptcy Code:4
                                                                     Low             High
                                                                   Recovery        Recovery
                                                                   Scenario        Scenario

              503(b)(9) claims                                              $     73,869      $      73,869
              Post-petition Liabilities                                     $    345,080      $     345,080
               Accounts payable                                                  141,667            141,667
               Accrued employee obligations                                       81,232             81,232
               Accrued taxes                                                      35,896             35,896
               Self-insurance reserves                                            48,004             48,004
               Utilities                                                          13,824             13,824
               Prepayments on trade programs                                      10,589             10,589
               Other accruals                                                     13,868             13,868
              Damages from previously assumed leases                        $    297,900      $     297,900
              Estimated post-petition severance obligations                 $     20,346      $      20,346
              Administrative claim set-offs                                 $    (39,087)     $     (13,186)
              Total - Administrative claims estimate                        $    698,108      $     724,009

 J.   OTHER PRIORITY CLAIMS

      27. The Debtors’ books and records do not identify material levels of other claims that may be
          entitled to priority pursuant to section 507 of the Bankruptcy Code, except as noted above or as
          set forth in the Liquidation Analysis. However, significant numbers of claims have been filed in
          the Debtors’ Chapter 11 Cases alleging that such claims are otherwise entitled to priority under
          section 507 of the Bankruptcy Code. As a result, the pool of other priority claims allowed in
          these bankruptcy cases could differ materially from the assumptions set forth by the Liquidation
          Analysis, thereby reducing recoveries available to junior creditors in a liquidation.


 4
          This Liquidation Analysis does not include administrative claims arising in the event of liquidation
          pursuant to the relief requested by the Motion of the Debtors for Authority to Enter into Amendments to
          Certain Collective Bargaining Agreements with the United Food & Commercial Workers, International and
          13 Local UFCW Affiliates filed with the Bankruptcy Court on November 23, 2011 [Docket No. 2910]. The
          Liquidation Analysis also does not include administrative claims the Investors may seek to assert on
          account of their Break-Up Fee (as defined in the Securities Purchase Agreements) under certain scenarios.
          The Debtors reserve all rights to supplement the Liquidation Analysis (including by presenting evidence at
          confirmation) regarding such claims (or additional claims) and their impact on creditor recoveries.


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 Liquidation Analysis




 K. UNSECURED CLAIMS

     28. General unsecured claims arising in a hypothetical chapter 7 liquidation may include, among
         other things: (a) prepetition trade claims; (b) prepetition rejection damages claims; (c) claims
         arising from the termination of the Debtors’ various pension-related obligations; (d) damages
         arising from the termination or rejection of the Debtors’ various supply agreements or
         contracts; (e) unsecured bond claims; and (f) numerous other types of prepetition liabilities.
         The Liquidation Analysis concludes that no recovery is available to holders of general unsecured
         claims in a chapter 7 liquidation.




                                    *       *       *       *       *




                                                   12
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                                        Exhibit E

                      Debtors’ Prepetition Corporate Structure Chart




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                                                                                                                                                                                   Prepetition Corporate       of 260
                                                                                                                                                                                                          Structure Chart




                                                                                                                                                                                                        The Great Atlantic & Pacific Tea
                                                                                                                                                                                                               Company, Inc.
                                                                                                                                                                                                                  (Maryland)




                                                                                                                                                                                                                                     APW             North Jersey        Super Fresh /
St. Pancras Too,                         Compass Foods,         Food Basics,                                                                Pathmark               Kohl’s Food          Montvale         Lo-Lo Discount                                                                                       Super Plus Food       Hopelawn          2008 Broadway,                        Super Market
                   Best Cellars, Inc.                                                   Onpoint, Inc.           Kwik Save Inc.                                                                                                    Supermarket       Properties, Inc.     Sav-A-Center,      Borman’s, Inc.                                                              Shopwell, Inc.
     Limited                                   Inc                  Inc.                                                                   Stores, Inc.            Stores, Inc.       Holdings, Inc.       Stores, Inc.                                                                                       Warehouse, Inc.     Property I, Inc.         Inc.                             Service Corp.
                    (New York)**                                                        (Delaware)              (Pennsylvania)                                                                                                    Corporation             VI                 Inc.            (Delaware)                                                                  (Delaware)
   (Bermuda)                               (Delaware)            (Delaware)                                                                (Delaware)              (Wisconsin)        (New Jersey)           (Texas)                                                                                            (Delaware)         (Delaware)           (New York)                         (Pennsylvania)
                                                                                                                                                                                                                                   (Delaware)         (Delaware)          (Delaware)




                                                                                                                                                                    The South
                   Best Cellars DC,                         Best Cellars                                                      Grape Finds At                                           Super Fresh                            APW                                                                                                                                                The Old Wine      Tradewell Foods
A & P Bermuda                             Best Cellars                          Best Cellars VA,          Grape Finds                                              Dakota Great                                                                                                   Farmer Jack’s of                       Amsterdam         Clay-Park Realty      Gramatan                                                                 The Food
                         Inc.                              Massachusetts,                                                      DuPont, Inc.                                           Food Markets,                       Supermarkets,    Waldbaum, Inc.          Bev Ltd.                          SEG Stores, Inc.                                                            Emporium of        of Connecticut,   Shopwell, Inc.
    Limited                             Licensing Corp.                               Inc.              Licensing Corp.                                          Atlantic & Pacific                                                                                                  Ohio, Inc.                         Trucking Corp.         Co., Inc.      Foodtown Corp.                                                           Emporium, Inc.
                     (District of                               Inc.                                                            (District of                                              Inc.                                 Inc.         (New York)            (Delaware)                           (Delaware)                                                                Westport, Inc.          Inc.         (New Jersey)
  (Bermuda)                               (New York)                               (Virginia)             (New York)                                               Tea Co., Inc                                                                                                       (Ohio)                              (New York)          (New York)        (New York)                                                              (New Jersey)
                     Columbia)                            (Massachusetts)                                                       Columbia)                                              (Delaware)                          (New York)                                                                                                                                            (Connecticut)       (Connecticut)
                                                                                                                                                                  (South Dakota)




                                                                                                                                                 Mac Dade                                               Supermarkets                             Greenlawn Land
                     AAL Realty                           Bergen Street        Bridge Stuart       East Brunswick         Lancaster Pike                             Milik Service                                           Upper Darby                               LBRO Realty,      McLean Avenue        Spring Lane
A & P Hungary                           Adbrett Corp,                                                                                         Boulevard Stuart                        Plainbridge LLC   Oil Company,                              Development
                       Corp.                              Pathmark, Inc.            Inc.             Stuart LLC            Stuart, LLC                              Company, LLC                                             Stuart, LLC                                   Inc.           Plaza Corp.        Produce Corp.
  (Hungary)                              (Delaware)                                                                                                 LLC                                 (Delaware)           Inc.                                    Corp.
                     (New York)                           (New Jersey)          (New York)           (Delaware)             (Delaware)                                (Virginia)                                              (Delaware)                                (New York)         (New York)         (New York)
                                                                                                                                                (Delaware)                                              (New Jersey)                               (New York)




   * The summary provided herein is presented for illustrative purposes only and is qualified in its entirety by reference to the relevant, operative documents. The Debtors reserve all rights to amend, modifiy or supplement the information presented herein.
   ** Certain of the Debtors' insignificant non-operating subsidiaries were not included in this organizational chart.                                                                                                                                                                                                                                                                                                           20459330v1
